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 1

 2                           UNITED STATES DISTRICT COURT

 3                          NORTHERN DISTRICT OF CALIFORNIA

 4                                  SAN JOSE DIVISION

 5
         UNITED STATES OF AMERICA,                )   CR-18-00258-EJD
 6                                                )
                             PLAINTIFF,           )   SAN JOSE, CALIFORNIA
 7                                                )
                      VS.                         )   VOLUME 36
 8                                                )
         ELIZABETH A. HOLMES,                     )   NOVEMBER 19, 2021
 9                                                )
                             DEFENDANT.           )   PAGES 7014 - 7287
10                                                )

11
                           TRANSCRIPT OF TRIAL PROCEEDINGS
12                      BEFORE THE HONORABLE EDWARD J. DAVILA
                             UNITED STATES DISTRICT JUDGE
13
        A P P E A R A N C E S:
14
        FOR THE PLAINTIFF:          UNITED STATES ATTORNEY'S OFFICE
15                                  BY: JOHN C. BOSTIC
                                         JEFFREY B. SCHENK
16                                  150 ALMADEN BOULEVARD, SUITE 900
                                    SAN JOSE, CALIFORNIA 95113
17
                                    BY:  ROBERT S. LEACH
18                                       KELLY VOLKAR
                                    1301 CLAY STREET, SUITE 340S
19                                  OAKLAND, CALIFORNIA 94612

20            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER



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 1
        A P P E A R A N C E S: (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:       WILLIAMS & CONNOLLY LLP
                                    BY: KEVIN M. DOWNEY
 4                                       LANCE A. WADE
                                         KATHERINE TREFZ
 5                                       SEEMA ROPER
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 8                                  725 TWELFTH STREET, N.W.
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10                                  BY: JOHN D. CLINE
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12
        ALSO PRESENT:               FEDERAL BUREAU OF INVESTIGATION
13                                  BY: ADELAIDA HERNANDEZ

14                                  OFFICE OF THE U.S. ATTORNEY
                                    BY: LAKISHA HOLLIMAN, PARALEGAL
15                                       MADDI WACHS, PARALEGAL

16                                  WILLIAMS & CONNOLLY
                                    BY: TIMIKA ADAMS-SHERMAN, PARALEGAL
17
                                    TBC
18                                  BY:   BRIAN BENNETT, TECHNICIAN

19
        FOR ROGER PARLOFF:          JOSHUA KOLTUN
20

21

22

23

24

25



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           1      SAN JOSE, CALIFORNIA                              NOVEMBER 19, 2021

08:31AM    2                                P R O C E E D I N G S

08:31AM    3            (COURT CONVENED AT 8:31 A.M.)

08:31AM    4            (JURY OUT AT 8:31 A.M.)

08:31AM    5                   THE COURT:    THANK YOU.    PLEASE BE SEATED.

08:31AM    6            WE ARE ON THE RECORD IN THE HOLMES MATTER.          ALL COUNSEL

08:32AM    7      ARE PRESENT.     MS. HOLMES IS PRESENT.

08:32AM    8            WE ARE OUTSIDE OF THE PRESENCE OF THE JURY.

08:32AM    9            I HAVE DOCUMENT 1150 IN FRONT OF ME THAT WAS FILED LAST

08:32AM   10      NIGHT.    SHOULD WE TALK ABOUT THAT?

08:32AM   11                   MR. SCHENK:    YES.   THANK YOU.    GOOD MORNING,

08:32AM   12      YOUR HONOR.

08:32AM   13            YOUR HONOR, THE UNITED STATES FILED A MOTION TO EXCLUDE

08:32AM   14      THE TESTIMONY OF A WITNESS THAT THE DEFENSE DISCLOSED TO US

08:32AM   15      RECENTLY.

08:32AM   16            MAY I?

08:32AM   17                   THE COURT:    YES, YES.    THANK YOU.

08:32AM   18                   MR. SCHENK:    THE WITNESS'S NAME IS DR. BONANNI,

08:32AM   19      B-O-N-A-N-N-I, AND THERE ARE REALLY SORT OF TWO ARGUMENTS THAT

08:32AM   20      I THINK ARE WORTH THE COURT'S ATTENTION.

08:32AM   21            THE FIRST IS A RELEVANCE ARGUMENT.         THIS INDIVIDUAL JOINED

08:32AM   22      THE THERANOS BOARD AROUND MAY OF 2016.          THE COURT HEARD

08:32AM   23      TESTIMONY FROM DR. DAS THAT THE DECISION TO VOID THE TESTS THAT

08:32AM   24      WERE RUN ON THE EDISON OCCURRED EARLIER IN 2016.

08:32AM   25            WE'RE NOT SURE WHAT THE RELEVANCE COULD BE.          THE COURT HAS



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08:32AM    1      CERTAINLY HEARD PRIOR ARGUMENT THROUGHOUT THIS CASE ABOUT THE

08:32AM    2      RELEVANCE OF 2016 AND BEYOND TESTIMONY, AND WHILE IN CERTAIN

08:33AM    3      INSTANCES IT IS RELEVANT, WE DON'T SEE WHAT POSSIBLE RELEVANCE

08:33AM    4      THERE COULD BE FOR THIS WITNESS.

08:33AM    5            SO THAT'S SORT OF ISSUE ONE.

08:33AM    6            ISSUE TWO INVOLVES THE TIMING OF CERTAIN DISCLOSURES

08:33AM    7      RELATED TO THIS WITNESS.       THE DEFENSE INTENDS TO OFFER SOME

08:33AM    8      VIDEO CLIPS THROUGH THIS WITNESS.         THEY DISCLOSED THOSE CLIPS

08:33AM    9      TO US AT 10:00 O'CLOCK LAST NIGHT.

08:33AM   10            THE DEFENSE INTENDS TO OFFER SOME EXHIBITS THROUGH THIS

08:33AM   11      WITNESS.    AND MY UNDERSTANDING IS THAT ONE OF THE EXHIBITS, AT

08:33AM   12      LEAST, WAS DISCLOSED TO US FOR THE FIRST TIME THIS MORNING.

08:33AM   13      AND THAT WAS NOT THE ONLY ONE.        THERE WERE SOME THAT WE DIDN'T

08:33AM   14      HAVE UNTIL YESTERDAY WHEN THEY PROVIDED THEM TO US.

08:33AM   15            SO I'M NOT SURE HOW WE CAN MEANINGFULLY MAKE 106 ARGUMENTS

08:33AM   16      ABOUT THE VIDEO WHEN WE ACTUALLY RECEIVED THE CLIPS AT

08:33AM   17      10:00 O'CLOCK LAST NIGHT.

08:33AM   18            BUT, AGAIN, THAT'S REALLY SECONDARY.         THE PRIMARY POINT IS

08:33AM   19      THAT I'M NOT SURE WHAT THIS WITNESS COULD PROVIDE OF VALUE TO

08:33AM   20      THE JURY AS IT'S DELIBERATING, AND I THINK THE COURT COULD JUST

08:34AM   21      EXCLUDE IT ON THAT BASIS.

08:34AM   22                   THE COURT:    ALL RIGHT.    THANK YOU.

08:34AM   23            WHO IS GOING TO SPEAK TO THIS?

08:34AM   24            GOOD MORNING, MS. SAHARIA.        NICE TO SEE YOU AGAIN.

08:34AM   25                   MS. SAHARIA:    IT'S NICE TO BE HERE, YOUR HONOR.



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08:34AM    1            BEFORE I ADDRESS THE MOTION ON ITS SUBSTANCE, I JUST DO

08:34AM    2      WANT TO ADDRESS THE FACT THAT IT IS SOMEWHAT AWKWARD FOR US TO

08:34AM    3      BE ARGUING ABOUT THE CONTENT OF THE DEFENSE CASE BEFORE THE

08:34AM    4      GOVERNMENT HAS RESTED.

08:34AM    5            I'M HAPPY TO ADDRESS IT NOW IF THE GOVERNMENT IS WILLING

08:34AM    6      TO COMMIT THAT IT'S NOT GOING TO ALTER THE CONTENT OF ITS

08:34AM    7      CASE-IN-CHIEF BASED ON WHAT I SAY TODAY ABOUT WHAT WE EXPECT

08:34AM    8      WILL COME OUT IN THE DEFENSE CASE.

08:34AM    9                   THE COURT:    SO THANK YOU.

08:34AM   10            WELL, LET ME ASK YOU THE THRESHOLD QUESTION.          IS THIS

08:34AM   11      WITNESS -- IS IT ANTICIPATED THAT THIS WITNESS WILL TESTIFY

08:34AM   12      THIS MORNING, BE CALLED BY YOUR TEAM THIS MORNING?

08:34AM   13                   MS. SAHARIA:    I EXPECT THAT HE WILL BE OUR SECOND

08:34AM   14      WITNESS.    I DON'T KNOW THE TIMING OF WHETHER IT WILL BE THIS

08:34AM   15      MORNING.    I WOULD EXPECT THAT IT WILL BE AFTER THE MORNING

08:34AM   16      BREAK, SO WE COULD TAKE THIS UP WHEN THE GOVERNMENT RESTS SINCE

08:34AM   17      WE'RE GOING TO HAVE TO EXCUSE THE JURY BRIEFLY ANYWAY AT THAT

08:35AM   18      MOMENT.    I WOULD DEFER TO THE COURT.

08:35AM   19            BUT I WOULD WANT THAT COMMITMENT FROM THE GOVERNMENT

08:35AM   20      BEFORE TALKING ABOUT THE CONTENT OF THE DEFENSE CASE.

08:35AM   21                   THE COURT:    ALL RIGHT.    THANK YOU.

08:35AM   22            I'M JUST CURIOUS, THERE WERE A COUPLE OF ISSUES THAT

08:35AM   23      MR. SCHENK RAISED, AND ONE OF THEM WAS THE TIMING OF THESE,

08:35AM   24      WHATEVER IT IS THAT YOUR TEAM GAVE TO THE GOVERNMENT, AND THAT

08:35AM   25      CAUSES ME SOME CONCERN ABOUT THE OPPORTUNITY FOR THE GOVERNMENT



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08:35AM    1      TO PREPARE IF THIS WITNESS DOES TESTIFY TODAY.           AND THAT MIGHT

08:35AM    2      SUGGEST THAT THE COURT WOULD -- IF THE WITNESS DOES TESTIFY

08:35AM    3      ULTIMATELY, OR IS PERMITTED TO TESTIFY, THAT THE COURT WOULD

08:35AM    4      GIVE, UPON REQUEST BY THE GOVERNMENT, AN OPPORTUNITY TO REVIEW

08:35AM    5      THE DOCUMENTS THAT YOUR TEAM PROVIDES.

08:35AM    6                   MS. SAHARIA:    SURE.    I'LL LET MS. TREFZ SPEAK AS TO

08:35AM    7      PARTICULAR EXHIBITS.

08:35AM    8            BUT AS TO THE CLIPS, I WOULD JUST NOTE THEY'RE NOT AUDIO

08:35AM    9      CLIPS, IT'S JUST VIDEO.       THERE IS NOT GOING TO BE ANY AUDIO

08:35AM   10      PLAYED WITH THOSE CLIPS, SO THEREFORE, THERE ARE NO RULE 106

08:36AM   11      ISSUES.    RULE 106 APPLIES TO STATEMENTS AND THERE ARE NO

08:36AM   12      STATEMENTS THAT ACCOMPANY THOSE CLIPS.

08:36AM   13                   THE COURT:    ALL RIGHT.

08:36AM   14            MR. SCHENK, DO YOU WANT TO WAIT FOR THE DISCUSSION, OR DO

08:36AM   15      YOU WANT TO MAKE A COMMITMENT NOW AT MS. SAHARIA'S SUGGESTION?

08:36AM   16      OR WHAT ARE YOUR THOUGHTS?

08:36AM   17                   MR. SCHENK:    YOUR HONOR, TWO THOUGHTS IN RESPONSE TO

08:36AM   18      THAT.

08:36AM   19            FIRST, I WOULD BE HAPPY TO COMMIT TO NOT AFFECTING OR

08:36AM   20      CHANGING THE GOVERNMENT'S CASE BASED ON STATEMENTS MADE THIS

08:36AM   21      MORNING.

08:36AM   22            I WILL NOTE, THOUGH, THAT THE DEFENSE HAS BEEN PUTTING ON

08:36AM   23      ITS CASE SINCE THE CROSS-EXAMINATION OF THE GOVERNMENT'S FIRST

08:36AM   24      WITNESS THE FIRST TIME MS. SPIVEY TESTIFIED.

08:36AM   25            I HAVEN'T DONE THE CALCULATION IN A COUPLE OF DAYS, BUT I



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08:36AM    1       THINK THAT THE DEFENSE HAS HAD ABOUT 65 HOURS OF TRIAL

08:36AM    2       TRANSCRIPT TIME THROUGHOUT THE TRIAL, AND THE GOVERNMENT HAS

08:36AM    3       HAD ABOUT 53 HOURS.      THEY HAVE GONE WELL BEYOND THE SCOPE OF

08:36AM    4       THE DIRECT MANY TIMES AND THE COURT HAS ALLOWED THAT.

08:36AM    5             BUT THE DEFENSE CASE HAS BEGUN.       AND TO SUGGEST THAT THE

08:36AM    6       DEFENSE IS NOW GOING TO START PUTTING ON WITNESSES I THINK IS

08:36AM    7       DIFFERENT THAN WHAT THE RECORD SHOWS.

08:36AM    8             BUT I'M HAPPY TO AGREE TO NOT CHANGE THE GOVERNMENT'S CASE

08:37AM    9       BASED UPON ARGUMENT THIS MORNING.

08:37AM   10                   THE COURT:    ALL RIGHT.    WELL, THANK YOU.

08:37AM   11             MS. SAHARIA, YOU HAVE THAT ASSURANCE.

08:37AM   12                   MS. SAHARIA:    GREAT.

08:37AM   13                   THE COURT:    WHAT WOULD YOU LIKE ME TO KNOW?

08:37AM   14                   MS. SAHARIA:    GREAT.

08:37AM   15             WELL, LET ME DISCUSS THE RELEVANCE OF DR. BONANNI'S

08:37AM   16       TESTIMONY AND, MORE GENERALLY, EVENTS OCCURRING IN 2016 AND

08:37AM   17       LATER.

08:37AM   18             JUST FOR THE COURT'S BACKGROUND, DR. BONANNI WAS A BOARD

08:37AM   19       MEMBER AT THERANOS.      HE JOINED THE BOARD IN MAY 2016 AND HE

08:37AM   20       STAYED UNTIL THE END OF THE COMPANY IN 2018.         HE HELPED GUIDE

08:37AM   21       THE COMPANY AND MS. HOLMES THROUGH THE BUSINESS CHALLENGES THAT

08:37AM   22       THEY WERE FACING AT THE TIME.

08:37AM   23             HE OVERLAPPED ON THE BOARD WITH THE ONLY DIRECTOR THE

08:37AM   24       GOVERNMENT HAS CALLED IN THIS CASE, WHICH WAS GENERAL MATTIS.

08:37AM   25       THEY SERVED ON THE BOARD TOGETHER AT THE SAME TIME.



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08:37AM    1             AND HE SERVED ON THE BOARD AT THE TIME THAT THE GOVERNMENT

08:37AM    2       ALLEGES AT LEAST ONE OF THE CONSPIRACIES TOOK PLACE.           THE

08:37AM    3       GOVERNMENT'S ALLEGATIONS AND THE INDICTMENT IN PARAGRAPH 22 IS

08:37AM    4       THAT THE PATIENT FOCUSSED CONSPIRACY LASTED THROUGH 2016 AT A

08:38AM    5       TIME WHEN DR. BONANNI WAS ON THE BOARD.

08:38AM    6             THAT'S JUST BACKGROUND ON WHO HE IS.

08:38AM    7             THE GOVERNMENT HAS AT TIMES SUGGESTED THROUGHOUT THIS CASE

08:38AM    8       THAT EVENTS IN 2016 ARE NOT RELEVANT.        AS I'M GOING TO SHOW THE

08:38AM    9       COURT, THAT IS NOT A CONSISTENT POSITION THAT THEY HAVE TAKEN.

08:38AM   10       THEY HAVE THEMSELVES INJECTED THOSE EVENTS INTO THE CASE

08:38AM   11       THEMSELVES.

08:38AM   12             WE HAVE SOUGHT TO WORK AROUND THAT IN THEIR CASE AS -- IN

08:38AM   13       ORDER TO MOVE THE CASE ALONG, BUT AS WE'RE NOW ENTERING THE

08:38AM   14       DEFENSE CASE, IT IS CRITICAL THAT WE ARE PERMITTED TO PRESENT

08:38AM   15       WHAT WE VIEW AS CRITICAL DEFENSE EVIDENCE RELEVANT TO THE

08:38AM   16       CAPACITY OF THERANOS'S TECHNOLOGY AND RELEVANT TO MS. HOLMES'S

08:38AM   17       INTENT, AND THAT DIRECTLY REBUTS EVIDENCE THE GOVERNMENT

08:38AM   18       ELICITED IN ITS CASE.

08:38AM   19             LET ME START WITH HOW DR. BONANNI'S TESTIMONY WILL BE

08:38AM   20       RELEVANT TO THE CAPABILITIES OF THERANOS'S TECHNOLOGY.           THIS IS

08:38AM   21       AN ALLEGATION IN PARAGRAPH 12(A) OF THE INDICTMENT.          THAT

08:39AM   22       PARAGRAPH ALLEGES THAT MS. HOLMES KNOWINGLY MADE FALSE

08:39AM   23       STATEMENTS CONCERNING THE CAPABILITIES OF THERANOS'S

08:39AM   24       PROPRIETARY ANALYZER, THE TSPU, EDISON, OR MINILAB.

08:39AM   25             DR. BONANNI WE EXPECT WILL TESTIFY ABOUT THE CAPABILITIES



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08:39AM    1       OF THE MINILAB.

08:39AM    2             THE GOVERNMENT ALSO PUT THIS AT ISSUE IN ITS OPENING

08:39AM    3       STATEMENT.    THIS IS AT PAGE 539 OF THE TRANSCRIPT.

08:39AM    4             "THE DEFENDANT DECEIVED INVESTORS ABOUT THE CAPABILITIES

08:39AM    5       AND READINESS OF THE THERANOS MINIATURE BLOOD ANALYZER.

08:39AM    6       THERANOS'S BLOOD ANALYZER WENT BY MANY NAMES, EDISON 3.5, 4.0,

08:39AM    7       4S MINILAB, AND THERANOS SAMPLE PROCESSING UNIT."

08:39AM    8             DURING THE ENTIRETY OF THE CONSPIRACY PERIOD IN THIS CASE,

08:39AM    9       THE MINILAB IS THE PRODUCT THAT THE COMPANY WAS WORKING ON.              IT

08:39AM   10       IS THE DEVICE THAT ROGER PARLOFF DESCRIBED YESTERDAY SEEING IN

08:39AM   11       THE BOIES SCHILLER OFFICES AND HAD HIS BLOOD TESTED ON.           IT IS

08:40AM   12       THE TECHNOLOGY THAT THERANOS OBTAINED AN FDA APPROVAL FOR IN

08:40AM   13       2015.   THAT EVIDENCE CAME INTO THE RECORD THROUGH MR. EDLIN.

08:40AM   14             IT IS THE SAME FUNDAMENTAL TECHNOLOGY THAT MS. HOLMES WAS

08:40AM   15       DESCRIBING TO INVESTORS DURING THE ALLEGED CONSPIRACY.

08:40AM   16             NOW, THE GOVERNMENT OFTEN MERGES THESE VARIOUS FORMS OF

08:40AM   17       TECHNOLOGY, AS THEY DID IN THAT PORTION OF THE OPENING

08:40AM   18       STATEMENT THAT I JUST READ.

08:40AM   19             SO WHEN MS. HOLMES IS DESCRIBING THERANOS TECHNOLOGY TO

08:40AM   20       INVESTORS AND THE CAPACITY OF THAT TECHNOLOGY, THE GOVERNMENT

08:40AM   21       WANTS TO LINK THAT TO THE EDISON DEVICE THAT WAS OPERATING IN

08:40AM   22       THE CLIA LAB WHICH, AS WE BY NOW KNOW, OPERATED A SMALL NUMBER

08:40AM   23       OF TESTS.

08:40AM   24             BUT, IN FACT, THE MINILAB TECHNOLOGY THAT THERANOS WAS

08:40AM   25       WORKING ON THROUGHOUT THE ENTIRE CONSPIRACY PERIOD HAD A MUCH



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08:40AM    1       GREATER CAPACITY.

08:40AM    2             DR. BONANNI IS FAMILIAR WITH THAT CAPACITY.         HE'S FAMILIAR

08:41AM    3       WITH THE MINILAB.     AND HE WILL COME IN AND TESTIFY ABOUT THE

08:41AM    4       CAPACITY OF THE MINILAB.

08:41AM    5             THE GOVERNMENT INVITED THIS TESTIMONY ITSELF DURING AN

08:41AM    6       ARGUMENT ABOUT THE ADMISSIBILITY OF MS. HOLMES'S STATEMENTS IN

08:41AM    7       2016 AT THE AAC CONFERENCE.       YOU PROBABLY REMEMBER THERE WAS A

08:41AM    8       LOT OF DISCUSSION ABOUT WHETHER WE COULD PRESENT HER ORAL

08:41AM    9       STATEMENTS AT THAT CONFERENCE, AND THE GOVERNMENT OBJECTED ON

08:41AM   10       THE GROUND THAT IT WAS HEARSAY AT TRANSCRIPT 4591.

08:41AM   11             "WE CERTAINLY OBJECT TO WHOLESALE STATEMENTS BY THE

08:41AM   12       DEFENDANT UNSWORN ABOUT WHAT HER TECHNOLOGY CAN DO.          IF SHE

08:41AM   13       WANTS TO STAND BY THOSE STATEMENTS, SHE SHOULD TAKE THE STAND

08:41AM   14       AND SAY IT UNDER OATH SUBJECT TO CROSS-EXAMINATION."

08:41AM   15             WE ARE BRINGING A WITNESS WHO WILL BE SUBJECT TO OATH,

08:41AM   16       SUBJECT TO CROSS-EXAMINATION TO DESCRIBE WHAT THAT TECHNOLOGY

08:41AM   17       CAN DO.

08:41AM   18             AND, AGAIN, THE TECHNOLOGY THAT DR. BONANNI WILL DESCRIBE

08:41AM   19       THAT HE BECAME FAMILIAR WITH IS THE SAME FUNDAMENTAL TECHNOLOGY

08:41AM   20       THAT THERANOS WAS WORKING ON THROUGHOUT THE CONSPIRACY PERIOD

08:42AM   21       AND THAT MS. HOLMES WAS DESCRIBING TO INVESTORS.

08:42AM   22                   THE COURT:    WILL HE TESTIFY TO THAT, THE LAST POINT

08:42AM   23       THAT YOU JUST MADE?      DOES HE HAVE KNOWLEDGE OF THAT?

08:42AM   24                   MS. SAHARIA:    I DON'T KNOW IF HE HIMSELF HAS

08:42AM   25       KNOWLEDGE OF THAT, BUT WE EXPECT THE DEFENSE CASE WILL



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08:42AM    1       ESTABLISH THAT FACT.

08:42AM    2             NOW, THE GOVERNMENT --

08:42AM    3                   THE COURT:    PARDON ME.    IS IT PREMATURE FOR HIM TO

08:42AM    4       TESTIFY ABOUT THAT IF IT'S OUTSIDE OF HIS KNOWLEDGE?

08:42AM    5                   MS. SAHARIA:    WELL, I DON'T BELIEVE SO, BECAUSE THE

08:42AM    6       GOVERNMENT ITSELF HAS PUT AT ISSUE THE CAPABILITY OF THE

08:42AM    7       MINILAB TECHNOLOGY IN 2016 IN ITS OWN CASE-IN-CHIEF.           IT DID

08:42AM    8       THAT THROUGH MR. EDLIN, AND IT DID THAT THROUGH SECRETARY

08:42AM    9       MATTIS.

08:42AM   10                   THE COURT:    BUT THIS WITNESS WILL, YOU'RE SAYING HE

08:42AM   11       HAS THAT KNOWLEDGE AND HE WILL TESTIFY ABOUT HIS KNOWLEDGE OF

08:42AM   12       THE CAPABILITIES OF MINILAB, NOT EDISON, BUT MINILAB?

08:42AM   13                   MS. SAHARIA:    CORRECT.

08:42AM   14                   THE COURT:    AND HE WILL TESTIFY ABOUT THAT GIVEN HIS

08:42AM   15       TENURE ON THE BOARD?

08:42AM   16                   MS. SAHARIA:    ABSOLUTELY, YOUR HONOR.

08:42AM   17                   THE COURT:    OKAY.

08:42AM   18                   MS. SAHARIA:    AND LET ME JUST POINT THE COURT TO THE

08:43AM   19       TESTIMONY OF MR. EDLIN AND SECRETARY MATTIS.         THE GOVERNMENT

08:43AM   20       TWICE ASKED MR. EDLIN IN DIRECT EXAMINATION, AND THEN IN

08:43AM   21       REDIRECT, WHY HE LEFT THE COMPANY, AND HE PROVIDED TESTIMONY

08:43AM   22       THAT HE LEFT THE COMPANY BECAUSE HE LOST CONFIDENCE IN THE

08:43AM   23       COMPANY'S REPRESENTATIONS ABOUT THE CAPACITY OF THE TECHNOLOGY.

08:43AM   24             HE LEFT THE COMPANY IN DECEMBER OF 2016.        AND I'LL JUST

08:43AM   25       READ INTO THE RECORD THE SECOND OF THESE COLLOQUIES BECAUSE I



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08:43AM    1       THINK IT'S QUITE RELEVANT AT PAGE 3304.        THIS IS ON REDIRECT.

08:43AM    2       THIS WAS THE LAST Q AND A OF THE ENTIRE REDIRECT.

08:43AM    3             "QUESTION:    REMIND US WHEN YOU DECIDED TO LEAVE THERANOS.

08:43AM    4             "ANSWER:   DECEMBER OF 2016.

08:43AM    5             "QUESTION:    AND WHEN YOU MENTIONED THAT PART OF YOUR

08:43AM    6       REASON TO LEAVE WAS ABOUT THE DESIRE TO ATTEND BUSINESS SCHOOL?

08:43AM    7             "ANSWER:   YES.

08:43AM    8             "QUESTION:    AND WERE THERE ALSO THINGS ABOUT THERANOS OR

08:43AM    9       THINGS THAT YOU UNDERSTOOD THAT CAUSED YOU TO NO LONGER WANT TO

08:43AM   10       WORK THERE?

08:43AM   11             "ANSWER.   YES.

08:43AM   12             "QUESTION:    CAN YOU SUMMARIZE THOSE FOR US?

08:43AM   13             "ANSWER:   WELL, IN THE YEAR AFTER THE INITIAL

08:44AM   14       "WALL STREET JOURNAL" ARTICLES CAME OUT, THE COMPANY CLAIMED

08:44AM   15       THAT IT WOULD BE ABLE TO PROVE THAT THE TECHNOLOGY WORKED, AND

08:44AM   16       PROVE THAT THOSE CLAIMS WERE NOT TRUE, AND THAT THE COMPANY WAS

08:44AM   17       UNABLE TO CONVINCE ANYONE THAT THOSE CLAIMS WERE UNTRUE AND

08:44AM   18       THAT ITS TECHNOLOGY AND SCIENCE WORKED, AND THAT GAVE ME

08:44AM   19       SERIOUS DOUBTS AS TO WHETHER THE COMPANY WAS CAPABLE OF PROVING

08:44AM   20       THAT THE TECHNOLOGY WORKED.

08:44AM   21             "AND THERE WERE A NUMBER OF DIFFERENT OPPORTUNITIES THAT

08:44AM   22       THE COMPANY HAD TO PROVE ITSELF, AND THEY WERE ALL UNSUCCESSFUL

08:44AM   23       AND I ULTIMATELY REACHED THE CONCLUSION THAT THOSE ATTEMPTS

08:44AM   24       WERE UNSUCCESSFUL BECAUSE THEY COULDN'T HAPPEN AND THEY WERE

08:44AM   25       NEVER GOING TO HAPPEN."



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08:44AM    1             DR. BONANNI WILL REBUT THAT TESTIMONY.        HE WILL, WE

08:44AM    2       EXPECT, SAY THAT HE BELIEVED THE TECHNOLOGY AND SCIENCE WORKED.

08:44AM    3       HE WILL DESCRIBE THE EFFORTS THE COMPANY TOOK TO PROVE ITSELF,

08:44AM    4       AND HE WILL DESCRIBE WHAT HE VIEWED AS THE SUCCESSES IN THOSE

08:44AM    5       EFFORTS TO PROVE ITSELF.

08:44AM    6                   THE COURT:    THOSE EFFORTS, WHAT IS THE TIMING OF

08:44AM    7       THOSE EFFORTS THAT HE WILL TESTIFY TO?

08:44AM    8                   MS. SAHARIA:    I BELIEVE THEY ARE IN 2016, AND THEN

08:45AM    9       PERHAPS EVEN INTO 2017.      I'M NOT SURE ABOUT THE SPECIFIC TIMING

08:45AM   10       OF THOSE.

08:45AM   11             BUT THESE ARE THE SAME EFFORTS THAT MR. EDLIN WAS SAYING

08:45AM   12       WERE UNSUCCESSFUL AND MR. BONANNI IS GOING TO REBUT THE

08:45AM   13       TESTIMONY FROM MR. EDLIN.

08:45AM   14                   THE COURT:    WELL, FIRST OF ALL, MR. EDLIN DIDN'T

08:45AM   15       TALK ABOUT 2017.

08:45AM   16                   MS. SAHARIA:    THAT'S CORRECT.     HE WENT THROUGH THE

08:45AM   17       END OF DECEMBER OF 2016.

08:45AM   18                   THE COURT:    RIGHT.   SO THERE SHOULD BE A LIMITATION

08:45AM   19       AS TO THE REBUTTAL.

08:45AM   20                   MS. SAHARIA:    WELL, IF ALL HE'S DOING IS REBUTTING,

08:45AM   21       I WOULD -- PERHAPS.

08:45AM   22             BUT WE THINK HIS TESTIMONY MORE BROADLY SPEAKS TO

08:45AM   23       MS. HOLMES'S INTENT, WHICH I'M GOING TO REACH IN A MINUTE, AS

08:45AM   24       WELL AS THE CAPACITY OF THE TECHNOLOGY IN GENERAL.

08:45AM   25             AND WE'RE ALLOWED TO REBUT PARAGRAPH 12(A) OF THE



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08:45AM    1       INDICTMENT WITH OUR OWN EVIDENCE, AND HIS TESTIMONY WILL SPEAK

08:45AM    2       TO THAT, TO THAT ALLEGATION.

08:45AM    3                   THE COURT:    WHERE -- WHAT IS THE ISSUE AS TO

08:45AM    4       MS. HOLMES'S INTENT?

08:45AM    5                   MS. SAHARIA:    SURE.

08:45AM    6                   THE COURT:    AND WHAT IS THE INTENT ISSUE?

08:46AM    7                   MS. SAHARIA:    WELL, SO THE INTENT ISSUE IS THAT THE

08:46AM    8       GOVERNMENT HAS, AGAIN, PUT INTO EVIDENCE THROUGH A SERIES OF

08:46AM    9       WITNESSES EVIDENCE INTENDING TO SUGGEST THAT MS. HOLMES'S

08:46AM   10       EFFORTS TO ADDRESS CONCERNS AFTER THOSE CONCERNS WERE RAISED

08:46AM   11       WERE NOT GENUINE.

08:46AM   12             THE GOVERNMENT HAS ARGUED THAT THOSE -- AND I'LL SPEAK TO

08:46AM   13       THOSE -- THAT THOSE ARE EVIDENCE OF CONSCIOUSNESS OF GUILT.

08:46AM   14       THEY HAVE SPECIFICALLY ARGUED THAT THE LACK OF GENUINENESS IS

08:46AM   15       EVIDENCE THAT SHE DID NOT BELIEVE THAT THE TECHNOLOGY WORKED,

08:46AM   16       AND THAT IT GOES TO HER STATE OF MIND.

08:46AM   17             AND LET ME JUST GIVE THE COURT THREE EXAMPLES.

08:46AM   18             FIRST OF ALL, GENERAL MATTIS.       THE GOVERNMENT ELICITED

08:46AM   19       TESTIMONY FROM GENERAL MATTIS -- THIS IS AT 1593 OF THE

08:46AM   20       TRANSCRIPT -- THAT HE AND OTHER MEMBERS OF THE BOARD

08:46AM   21       RECOMMENDED THAT THE COMPANY ENGAGED IN COMPARATIVE TESTING OR

08:46AM   22       BLIND TESTING OF THE DEVICES, AND THAT THAT DIDN'T HAPPEN.

08:47AM   23             THIS IS AN ALLEGATION IN THE GOVERNMENT'S 404(B) NOTICE

08:47AM   24       THAT THEY SERVED ON US A LONG TIME AGO WHERE THEY ARGUE THAT

08:47AM   25       THAT IS EVIDENCE OF CONSCIOUSNESS OF GUILT.



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08:47AM    1             DR. BONANNI, WHO SERVED ON THE BOARD AT THE SAME TIME AS

08:47AM    2       GENERAL MATTIS, WILL REBUT THAT TESTIMONY.         WE EXPECT HIM TO

08:47AM    3       DESCRIBE TO THE COMPANY -- TO DESCRIBE TO THE JURY THE

08:47AM    4       DIFFERENT OPTIONS AVAILABLE TO THERANOS FOLLOWING "THE

08:47AM    5       WALL STREET JOURNAL" ARTICLE, THE PROS AND CONS OF THOSE

08:47AM    6       APPROACHES, WHAT HE RECOMMENDED TO THE COMPANY, WHY HE

08:47AM    7       RECOMMENDED THAT THE COMPANY PURSUE FDA APPROVAL AS OPPOSED TO

08:47AM    8       THE COMPARATIVE TESTING THAT GENERAL MATTIS WAS SUGGESTING, AND

08:47AM    9       WHY THE COMPANY ULTIMATELY AGREED WITH DR. BONANNI'S APPROACH

08:47AM   10       AND NOT WITH GENERAL MATTIS'S APPROACH.

08:47AM   11             SO THAT TESTIMONY DIRECTLY REBUTS THE SUGGESTION FROM THE

08:47AM   12       GOVERNMENT THAT THE LACK OF ENGAGEMENT AND COMPARATIVE TESTING

08:47AM   13       SOMEHOW SHOWS CONSCIOUSNESS OF GUILT.

08:47AM   14             DR. DAS.

08:48AM   15             THE GOVERNMENT ELICITED TESTIMONY FROM DR. DAS AT 5824 AND

08:48AM   16       5834 ABOUT SUPPOSED PUSH BACK FROM MS. HOLMES THAT HE RECEIVED

08:48AM   17       WHEN HE RAISED ISSUES IN THE CLINICAL LAB.

08:48AM   18             AND WHEN WE HAD ARGUMENT ABOUT THAT AND ARGUMENT ABOUT THE

08:48AM   19       VOIDING ISSUE IN PARTICULAR, THE GOVERNMENT ARGUED, THIS IS A

08:48AM   20       QUOTE, DR. DAS WILL SAY THAT WHEN HE TOLD MS. HOLMES WE NEED TO

08:48AM   21       VOID THE TESTS, HE GOT PUSH BACK.       SHE DID NOT WANT TO DO THAT.

08:48AM   22       SHE CAME UP WITH ALTERNATIVE REASONS FOR IT, AND THAT PUSH BACK

08:48AM   23       IS CONSCIOUSNESS OF GUILT.      IT GOES TO HER STATE OF MIND ABOUT

08:48AM   24       THERANOS'S TECHNOLOGY."      THAT'S AT 5589 AND -90.

08:48AM   25             AND THEN ON THE NEXT PAGE AGAIN THE GOVERNMENT SAYS, "THE



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08:48AM    1       WHOLE TRUTH HERE IS THEY CAME UP WITH AN EXPLANATION FOR WHY

08:48AM    2       THEY WERE VOIDING THE TESTS, THEY MINIMIZED THOSE ISSUES TO

08:48AM    3       THEIR INVESTORS, AND WHEN SHE'S GOING TO ACC AND THESE OTHER

08:48AM    4       THINGS, IT'S A PR SPIN, NOT GENUINE INDICATION OF CONFIDENCE IN

08:49AM    5       HER TECHNOLOGY.     IT GOES RIGHT TO HER STATE OF MIND."        THAT'S

08:49AM    6       AT 5590.

08:49AM    7             AND THEN WE HEARD FROM LISA PETERSON THE SAME TYPE OF

08:49AM    8       EVIDENCE, THAT SHE BELIEVED THAT MS. HOLMES WAS NOT BEING

08:49AM    9       FORTHCOMING, THAT SHE WAS DOWNPLAYING THE ISSUES THAT WERE

08:49AM   10       OCCURRING IN THE PRESS THAT SUGGESTED THAT MS. HOLMES WAS NOT

08:49AM   11       TAKING THESE ISSUES SERIOUSLY, AGAIN, AS EVIDENCE OF

08:49AM   12       CONSCIOUSNESS OF GUILT.

08:49AM   13             DR. BONANNI WILL REBUT ALL OF THIS TESTIMONY.         HE WILL

08:49AM   14       SPEAK TO MS. HOLMES'S STATE OF MIND IN, IN SEEKING PROACTIVELY

08:49AM   15       TO CORRECT ISSUES IN THE COMPANY.       HE WILL TESTIFY TO HER

08:49AM   16       ACTIONS IN 2016 AND BRINGING OUTSIDERS INTO THE COMPANY TO

08:49AM   17       EXAMINE THE TECHNOLOGY, NEW DIRECTORS, LIKE HIMSELF, WITH

08:49AM   18       RELEVANT EXPERTISE IN THE AREA OF MEDICAL TECHNOLOGY, MEMBERS

08:49AM   19       OF THE SCIENTIFIC AND MEDICAL ADVISORY BOARD, AND MEMBERS OF

08:50AM   20       THE TECHNOLOGY ADVISORY BOARD.

08:50AM   21             HE WAS TESTIFY TO HER EFFORTS TO OBTAIN FDA APPROVAL FOR

08:50AM   22       THE MINILAB TECHNOLOGY DURING THIS TIME, TO PRESENT THAT

08:50AM   23       TECHNOLOGY TO THE FDA FOR REVIEW.

08:50AM   24             HE, WE EXPECT, WILL BE TESTIFYING TO HER WILLINGNESS TO

08:50AM   25       EXPOSE THE TECHNOLOGY TO INDUSTRY SCRUTINY AT THE AAC



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08:50AM    1       CONFERENCE.

08:50AM    2             AND HE WILL TESTIFY THAT SHE BELIEVED IN THE TECHNOLOGY

08:50AM    3       UNTIL THE VERY END.

08:50AM    4                   THE COURT:    AND SO, MS. SAHARIA, LET ME ASK YOU, HOW

08:50AM    5       WILL HE TESTIFY AS TO THOSE ISSUES?        IS HE GOING TO SAY

08:50AM    6       "ELIZABETH HOLMES TOLD ME X"?       IS THAT THE PROPOSED TESTIMONY?

08:50AM    7                   MS. SAHARIA:    NO.   HE HAS PERSONAL KNOWLEDGE OF ALL

08:50AM    8       OF THOSE ACTIONS.

08:50AM    9                   THE COURT:    WELL, HE COULD -- IF SHE SAID THAT TO

08:50AM   10       HIM, THAT'S PERSONAL KNOWLEDGE.

08:50AM   11             SO I'M JUST TRYING TO DETERMINE WHAT, WHAT IS THE NATURE

08:50AM   12       OF THAT?   WILL HE BE TALKING ABOUT HIS OBSERVATIONS?

08:50AM   13                   MS. SAHARIA:    OF COURSE, YOUR HONOR.      HE WAS THERE

08:50AM   14       AT THE COMPANY ADVISING MS. HOLMES, INTERACTING WITH OTHER,

08:50AM   15       OTHER MEMBERS OF THE COMPANY.

08:51AM   16             HE HAS PERSONAL KNOWLEDGE NOT JUST BECAUSE SHE TOLD HIM.

08:51AM   17       HE HAS PERSONAL KNOWLEDGE FROM HIS OWN ACTIONS AT THE COMPANY.

08:51AM   18                   THE COURT:    DO YOU SEE WHAT I'M PROBING AS TO

08:51AM   19       WHETHER OR NOT THERE'S GOING TO BE HEARSAY OBJECTIONS AS TO

08:51AM   20       WHAT SHE TOLD HIM?

08:51AM   21                   MS. SAHARIA:    THE GOVERNMENT, IN MY VIEW, HAS AN

08:51AM   22       OVERLY BROAD VIEW OF HEARSAY, SO WE MAY VERY WELL MAY HAVE

08:51AM   23       OBJECTIONS.    BUT I THINK THAT'S AN ISSUE TO TAKE UP ON A

08:51AM   24       QUESTION BY QUESTION BASIS.

08:51AM   25             RIGHT NOW WE'RE JUST HERE TALKING ABOUT RELEVANCE, AND HE



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08:51AM    1       DOES HAVE PERSONAL KNOWLEDGE OF THESE ISSUES.

08:51AM    2                   THE COURT:    NO, THAT'S RIGHT.     JUST BECAUSE THE

08:51AM    3       JUDGE TYPICALLY GETS TO MANAGE THE COURSE OF EVIDENCE.

08:51AM    4                   MS. SAHARIA:    UNDERSTOOD.

08:51AM    5                   THE COURT:    AND WE HAVE LIMITED DAYS AVAILABLE TO US

08:51AM    6       AS THE HOLIDAYS LOOM, I'M TRYING TO DETERMINE HOW MUCH TIME WE

08:51AM    7       NEED TO SET ASIDE FOR ANY PROPOSED TESTIMONY AND ANTICIPATE

08:51AM    8       WHETHER OR NOT THERE'S GOING TO BE LENGTHY DISCUSSION ABOUT

08:51AM    9       ADMISSIBILITY ISSUES.

08:51AM   10                   MS. SAHARIA:    I WOULD HOPE NOT, YOUR HONOR.

08:51AM   11                   THE COURT:    THAT'S WHY I'M ASKING THE QUESTION.           BUT

08:51AM   12       HOPE SPRINGS ETERNAL, DOESN'T IT?       AND WE'VE LEARNED THAT.

08:51AM   13             SO TO THE EXTENT THAT WE CAN RESOLVE THOSE ISSUES IN

08:52AM   14       ADVANCE, I WOULD BE GRATEFUL.       I KNOW THE JURY WOULD BE

08:52AM   15       GRATEFUL.

08:52AM   16                   MS. SAHARIA:    UNDERSTOOD, YOUR HONOR.

08:52AM   17                   THE COURT:    THAT ALSO POINTS TO -- PARDON ME FOR

08:52AM   18       INTERRUPTING YOU.     BUT THAT ALSO POINTS TO RESOLVING ANY

08:52AM   19       EVIDENTIARY ISSUES IN ADVANCE, LIKE WE'RE DOING NOW IN THE

08:52AM   20       MORNING, INCLUDING, FROM THE GOVERNMENT'S PERSPECTIVE, LATE

08:52AM   21       DISCLOSURES WHICH CAUSES DELAY AS WE KNOW.

08:52AM   22             I'M NOT BEING CRITICAL HERE.      I'M POINTING OUT WHAT HAS

08:52AM   23       BEEN BROUGHT TO MY ATTENTION THIS MORNING.

08:52AM   24                   MS. SAHARIA:    I THINK ALL PARTIES HAVE OPERATED IN

08:52AM   25       GOOD FAITH DURING TRIAL.      I KNOW WE HAVE RECEIVED NEW EXHIBITS



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08:52AM    1       FROM THE GOVERNMENT LATE THE NIGHT BEFORE.         IT'S A FACT OF

08:52AM    2       TRIAL, YOUR HONOR.

08:52AM    3                   THE COURT:    IT'S A PHENOMENON OF TRIALS, THAT'S

08:52AM    4       RIGHT.

08:52AM    5                   MS. SAHARIA:    YES, IT IS.

08:52AM    6                   THE COURT:    I RECOGNIZE THAT.

08:52AM    7                   MS. SAHARIA:    LET ME JUST, IF I MAY MAKE CLEAR, YOUR

08:52AM    8       HONOR, IRRESPECTIVE OF THE FACT THAT WE THINK THE GOVERNMENT

08:52AM    9       HAS PUT INTO ISSUE HER STATE OF MIND IN 2016, DR. BONANNI WE

08:52AM   10       EXPECT WILL TESTIFY TO ACTIONS OF SOMEONE THAT, THAT GENUINELY

08:52AM   11       BELIEVES IN THE CAPABILITIES OF HER TECHNOLOGY.

08:53AM   12             IF MS. HOLMES DID NOT BELIEVE IN THE CAPABILITY OF THE

08:53AM   13       MINILAB, OF THERANOS'S TECHNOLOGY, OUR ARGUMENT IS THAT SHE

08:53AM   14       WOULD NOT HAVE BROUGHT IN INDUSTRY EXPERTS TO SCRUTINIZE THAT

08:53AM   15       TECHNOLOGY.    SHE WOULD NOT HAVE EXPOSED IT TO INDUSTRY PUBLICLY

08:53AM   16       AT A CONFERENCE.     SHE WOULD NOT HAVE CONTINUED ENGAGING WITH

08:53AM   17       THE FDA TO OBTAIN FDA APPROVAL FOR THAT TECHNOLOGY.

08:53AM   18             THAT IS A CORE ELEMENT OF OUR DEFENSE.         IT GOES DIRECTLY

08:53AM   19       TO HER STATE OF MIND, AND IMPOSING SOME SORT OF ARBITRARY TIME

08:53AM   20       LIMIT ON DEFENSE EVIDENCE, INCLUDING MR. BONANNI, WOULD DEPRIVE

08:53AM   21       US OF OUR CONSTITUTIONAL RIGHT TO PRESENT THE DEFENSE OF OUR

08:53AM   22       CHOOSING.

08:53AM   23                   THE COURT:    ALL RIGHT.    THANK YOU.

08:53AM   24                   MR. SCHENK:    A FEW RESPONSES.

08:53AM   25             FIRST, YOUR HONOR, THE DEFENSE HAS SUGGESTED TO THE COURT



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08:53AM    1       THAT THEY ANTICIPATE DR. BONANNI TO TESTIFY IN CERTAIN WAYS.              I

08:53AM    2       FIND THAT SURPRISING.      WE HAVE NOT RECEIVED ANY JENCKS

08:53AM    3       STATEMENTS REGARDING WHAT DR. BONANNI WOULD TESTIFY TO.

08:53AM    4             MY UNDERSTANDING IS THAT THEY HAVEN'T MET WITH HIM AND

08:54AM    5       ASKED HIM THESE QUESTIONS.      OTHERWISE I'M SURE WE WOULD HAVE

08:54AM    6       RECEIVED THOSE STATEMENTS.

08:54AM    7             SO I'M SURPRISED TO HEAR THAT THEY HAVE A VIEW ON WHAT HIS

08:54AM    8       TESTIMONY WOULD BE.

08:54AM    9             SECOND, MS. SAHARIA STARTED HER ARGUMENT BY SAYING TO THE

08:54AM   10       COURT THAT THE PATIENT CONSPIRACY WENT INTO 2016, AND THEN SHE

08:54AM   11       PIVOTED TO TELLING THE COURT REPRESENTATIONS THAT MS. HOLMES

08:54AM   12       MADE TO INVESTORS ARE WHAT MAKES DR. BONANNI'S TESTIMONY

08:54AM   13       RELEVANT.

08:54AM   14             THE GOVERNMENT ALLEGED THAT THE INVESTOR CONSPIRACY ENDED

08:54AM   15       IN 2015.    MS. HOLMES'S LULLING STATEMENTS AFTER THE FACT ARE

08:54AM   16       RELEVANT AND THE GOVERNMENT HAS ALWAYS BEEN CONSISTENT WITH THE

08:54AM   17       COURT ON THAT POSITION.

08:54AM   18             BUT TO SUGGEST THAT THE PATIENT CONSPIRACY WENT INTO 2016

08:54AM   19       AND DR. BONANNI SHOULD NOW BE ALLOWED TO TESTIFY BECAUSE HE CAN

08:54AM   20       PROVIDE USEFUL INSIGHT INTO WHAT MS. HOLMES'S INTENT WAS FOR

08:54AM   21       THE INVESTOR SCHEME FOR STATEMENTS MADE TO INVESTORS IN 2013 OR

08:54AM   22       2014 DOES NOT CONNECT.      AND I THINK WE NOW SEE WHY THE COURT

08:55AM   23       CAN EXCLUDE THIS TESTIMONY.

08:55AM   24             ONE FINAL POINT.     THE REPRESENTATIONS REGARDING THE

08:55AM   25       RELEVANCE OF DR. BONANNI'S TESTIMONY, INCLUDING STATEMENTS SUCH



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08:55AM    1       AS THERE WAS A DISPUTE AT THERANOS ABOUT WHETHER YOU SHOULD,

08:55AM    2       ACCORDING TO GENERAL MATTIS, SEEK COMPARATIVE TESTING.

08:55AM    3       DR. BONANNI'S PREFERENCE WAS FDA.

08:55AM    4             I'M NOT SURE HOW DR. BONANNI GETTING ON THE STAND AND

08:55AM    5       SAYING, "MY PREFERENCE WAS TO PURSUE THE FDA PATH" SAYS

08:55AM    6       ANYTHING ABOUT MS. HOLMES'S STATE OF MIND.

08:55AM    7             AGAIN, DR. BONANNI'S STATEMENTS, IF THE COURT ALLOWED THEM

08:55AM    8       IN, WON'T SPEAK TO WHAT WAS IN MS. HOLMES'S MIND VIS-A-VIS

08:55AM    9       PREFERENCES, WHAT SHE WANTED TO DO VERSUS AN AVENUE OF FUTURE

08:55AM   10       PURSUANT FOR THERANOS THAT SHE DIDN'T WANT TO DO.

08:55AM   11             THEY'RE GOING TO CALL SOMEONE WHO CAME ON TO THE SCENE

08:55AM   12       AFTER THE CRIME HAD BEEN COMMITTED TO SAY WHAT THE LANDSCAPE

08:55AM   13       LOOKED LIKE AT THAT TIME.

08:55AM   14             HE WON'T HAVE ANYTHING RELEVANT TO SAY ABOUT THE INVESTOR

08:55AM   15       SIDE, WHICH, AGAIN, IS WHAT HE REALLY DOES SPEAK TO, EVEN TO

08:56AM   16       THE EXTENT THAT THE DEFENSE PROFFERS IT.         IT'S INVESTOR SIDE

08:56AM   17       TESTIMONY, IT'S NOT PATIENT SIDE TESTIMONY.

08:56AM   18             AND AS MS. SAHARIA JUST CORRECTLY POINTED OUT TO THE

08:56AM   19       COURT, IT'S THE PATIENT SIDE CONSPIRACY THAT GOES INTO 2016.

08:56AM   20       THAT'S WHY I STARTED MY ARGUMENT THIS MORNING WITH YOUR HONOR

08:56AM   21       FOCUSSING ON DR. DAS, WHO DESCRIBED THE VOIDING OF THE TESTS OF

08:56AM   22       THERANOS IN THE MARCH TIMEFRAME OF 2016.

08:56AM   23                   MS. SAHARIA:    JUST I THINK THREE POINTS,

08:56AM   24       YOUR HONOR -- FOUR POINTS.

08:56AM   25             WE HAVE COMPLIED WITH OUR JENCKS OBLIGATION.         WE HAVE NO



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08:56AM    1       WRITTEN STATEMENTS FROM MR. BONANNI TO PRODUCE OTHER THAN WHAT

08:56AM    2       WE HAVE PRODUCED TO THE GOVERNMENT.        I DON'T KNOW WHAT ELSE TO

08:56AM    3       SAY.    WE'RE IN COMPLIANCE WITH OUR JENCKS OBLIGATION.

08:56AM    4              I HEARD MR. SCHENK ARGUE THAT LULLING STATEMENTS THAT

08:56AM    5       OCCURRED IN 2016 ARE RELEVANT.

08:56AM    6              IF THAT'S THE CASE, I DON'T SEE HOW THE GOVERNMENT CAN

08:56AM    7       ARGUE THAT MR. BONANNI CAN'T TESTIFY TO SIMILAR ACTIONS BY

08:56AM    8       MS. HOLMES THAT SHOW THAT SHE WAS NOT INTENDING TO LULL

08:56AM    9       INVESTORS, THAT SHE WAS NOT INTENDING TO DECEIVE THE PUBLIC IN

08:57AM   10       2016, THAT SHE WAS ENGAGED IN GOOD FAITH IN TRYING TO CORRECT

08:57AM   11       ISSUES AT THE COMPANY.

08:57AM   12              WITH RESPECT TO THE ISSUE OF HIS PREFERENCE AS TO WHAT

08:57AM   13       ACTIONS THE COMPANY SHOULD TAKE WITH RESPECT TO FDA APPROVAL

08:57AM   14       VERSUS COMPARATIVE TESTING, THE GOVERNMENT ELICITED FROM

08:57AM   15       GENERAL MATTIS WHAT HIS PREFERENCE WAS, AND THEY WANT TO USE

08:57AM   16       THAT, AS THEY'VE MADE VERY CLEAR IN THEIR 404(B) NOTICE, TO

08:57AM   17       ARGUE TO THE JURY THAT MS. HOLMES HAD THE INTENT TO DECEIVE

08:57AM   18       BECAUSE SHE DIDN'T PUT HER TECHNOLOGY TO COMPARATIVE TESTING

08:57AM   19       AND THAT REFLECTS HER KNOWLEDGE THAT THE TECHNOLOGY WAS NOT

08:57AM   20       CAPABLE OF DOING WHAT SHE HAD SAID.

08:57AM   21              IT'S HIGHLY RELEVANT TO HER STATE OF MIND THAT SHE

08:57AM   22       RECEIVED COMPETING ADVICE FROM ANOTHER MEMBER OF HER BOARD.

08:57AM   23              AND THAT, BY THE WAY, IS THE ADVICE THAT THE COMPANY

08:57AM   24       ULTIMATELY TOOK.     THAT'S, OF COURSE, RELEVANT TO HER STATE OF

08:57AM   25       MIND AND TO REBUTTING THE GOVERNMENT'S THEORY.



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08:58AM    1             AND THEN ON THE POINT OF THE INVESTOR CONSPIRACY, AS I

08:58AM    2       SAID, HE WILL TESTIFY TO THE CAPACITY OF THE MINILAB

08:58AM    3       TECHNOLOGY.    IT'S CLEARLY RELEVANT TO THE INVESTOR CONSPIRACY.

08:58AM    4       IT'S ALLEGED IN THE INDICTMENT AT PARAGRAPH 12(A), AND WE'RE

08:58AM    5       ENTITLED TO BRING A WITNESS TO DESCRIBE TO THE JURY WHAT THAT

08:58AM    6       TECHNOLOGY WAS CAPABLE OF DOING.

08:58AM    7                   MR. SCHENK:    JUST BRIEFLY ON THE JENCKS ISSUE,

08:58AM    8       YOUR HONOR.

08:58AM    9             IT SOUNDS LIKE THE DEFENSE HAS MET WITH WITNESSES, BUT

08:58AM   10       JUST IS NOT WRITING THINGS DOWN.       I CANNOT IMAGINE THAT THE

08:58AM   11       DEFENSE WOULD HAVE FOUND THAT AN ACCEPTABLE POSITION FOR THE

08:58AM   12       GOVERNMENT TO TAKE IN THIS CASE.       THAT TROUBLES ME.     AND I'M

08:58AM   13       SURPRISED TO HEAR THAT THAT'S AN OKAY POSITION ONE WAY WHEN

08:58AM   14       JENCKS OBLIGATIONS ARE RECIPROCAL.

08:58AM   15                   MS. SAHARIA:    JENCKS APPLIES TO WRITTEN STATEMENTS.

08:58AM   16       THE GOVERNMENT HAS BRADY OBLIGATION THAT APPLY TO ORAL

08:58AM   17       STATEMENTS.    SO HE'S COMPARING APPLES TO ORANGES, YOUR HONOR.

08:58AM   18                   THE COURT:    WELL, THE COMPARISON REALLY IS ABOUT

08:58AM   19       WHAT THE SEARCH FOR TRUTH IN A TRIAL IS, ISN'T IT?          IT'S

08:59AM   20       RESPONSIBILITY, IT'S ACCURACY, IT'S FAIRNESS.

08:59AM   21             AND SOMETIMES WE GET, IN TRIALS, WE GET INTO THESE ISSUES

08:59AM   22       ABOUT FAIRNESS.     IS IT FAIR FOR ONE SIDE TO INTERVIEW A WITNESS

08:59AM   23       FOR 30 HOURS, BUT YET NOT WRITE ANYTHING DOWN SUCH THAT THEY DO

08:59AM   24       AVOID ANY OBLIGATION THAT THE STATUTE REQUIRES TO PROVIDE

08:59AM   25       WRITTEN -- I SUPPOSE SOMEONE COULD DO THAT.



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08:59AM    1                   MS. SAHARIA:    I THINK THAT'S DONE ALL THE TIME,

08:59AM    2       YOUR HONOR, TO BE HONEST.

08:59AM    3                   THE COURT:    YES, I THINK IT IS.

08:59AM    4             AND IT'S SUPPOSEDLY -- I GUESS WE CAN LOOK AT IT AND SAY,

08:59AM    5       WELL, IT'S NOT IN THE TRUE SPIRIT OF RECIPROCAL DISCOVERY, IS

08:59AM    6       IT?   IT DOESN'T ALLOW WHAT JENCKS AND RECIPROCAL JENCKS SOUGHT

08:59AM    7       TO DO, WHICH IS TO ALLOW EACH SIDE AN OPPORTUNITY TO PREPARE

08:59AM    8       ACCORDINGLY SO THE TRIAL AND THE JURY CAN BE APPROPRIATELY

08:59AM    9       INFORMED.

08:59AM   10             BUT --

08:59AM   11                   MS. SAHARIA:    YOUR HONOR, JENCKS REQUIRES PRODUCTION

09:00AM   12       OF WRITTEN STATEMENTS OF A WITNESS.

09:00AM   13                   THE COURT:    I'M --

09:00AM   14                   MS. SAHARIA:    WE HAVE PRODUCED ANY WRITTEN

09:00AM   15       STATEMENTS WE HAVE FROM MR. BONANNI.

09:00AM   16                   THE COURT:    I UNDERSTAND.

09:00AM   17                   MS. SAHARIA:    THE GOVERNMENT HAS PROTOCOLS THAT IT,

09:00AM   18       IT --

09:00AM   19                   THE COURT:    YOU DON'T HAVE TO --

09:00AM   20                   MS. SAHARIA:    OKAY.

09:00AM   21                   THE COURT:    PERHAPS YOU'RE RESPONDING TO MY HIGH

09:00AM   22       LEVEL OBSERVATIONS.      WE KNOW WHAT JENCKS SAYS.      YOU HAVE TO

09:00AM   23       GIVE WRITTEN STATEMENTS.

09:00AM   24             AND AS I SAID, SOMETIMES PEOPLE INTERVIEW A WITNESS FOR

09:00AM   25       DAYS AND THEY DON'T TAKE A NOTEPAD, THEY DON'T TAKE A LAPTOP.



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09:00AM    1       THEY SOMEHOW AVOID WRITING SOMETHING DOWN SUCH THAT THEY DON'T

09:00AM    2       HAVE AN OBLIGATION.      THAT HAPPENS.    I UNDERSTAND.

09:00AM    3             ALL RIGHT.    WHAT ELSE?

09:00AM    4                   MR. SCHENK:    SUBMITTED.    THANK YOU.

09:00AM    5                   THE COURT:    WHAT ELSE?

09:00AM    6                   MS. SAHARIA:    THAT'S IT.

09:00AM    7                   THE COURT:    LET ME ASK YOU, MS. SAHARIA, I'M

09:00AM    8       CONCERNED ABOUT THE TIMING MAYBE, THE INVESTORS AND THE PATIENT

09:00AM    9       DISTINCTION AND WHAT THE WITNESS WOULD TESTIFY ABOUT THAT, AND

09:00AM   10       IF THERE'S A CROSSOVER BLENDING OF THOSE TWO.

09:00AM   11                   MS. SAHARIA:    WELL, THERE ABSOLUTELY IS BECAUSE THE

09:01AM   12       INTENT ISSUES THAT HE WILL SPEAK TO WE THINK GO ACROSS THE

09:01AM   13       ENTIRE INDICTMENT.

09:01AM   14             HE WILL SPEAK TO MS. HOLMES'S GOOD FAITH EFFORTS AT THE

09:01AM   15       COMPANY AFTER ISSUES WERE RAISED, WHICH SPEAK TO HER STATE OF

09:01AM   16       MIND BOTH WITH RESPECT TO WHAT SHE BELIEVED ABOUT THE

09:01AM   17       TECHNOLOGY AND THE REPRESENTATIONS THAT SHE WAS MAKING TO

09:01AM   18       INVESTORS, BUT ALSO I THINK SPEAK JUST AS EASILY TO WHAT SHE

09:01AM   19       BELIEVED ABOUT THE CAPACITIES OF THE LABORATORY.

09:01AM   20             AS I SAID, ONE OF THE THINGS THAT HE WILL TALK ABOUT IS

09:01AM   21       THE FACT THAT SHE BROUGHT IN A SCIENTIFIC AND MEDICAL ADVISORY

09:01AM   22       BOARD, AND THOSE PEOPLE WERE PEOPLE WITH EXPERTISE IN

09:01AM   23       LABORATORY SCIENCE AND MEDICINE IN PARTICULAR.

09:01AM   24             AND SO THE FACT THAT SHE BROUGHT THAT -- THOSE PEOPLE IN

09:01AM   25       TO EXAMINE THE WORK OF THE LABORATORY SPEAKS JUST AS HIGHLY TO



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09:01AM    1       HER, TO HER INTENT TO FIX ISSUES AFTER THEY CAME TO LIGHT AND

09:01AM    2       HER LACK OF KNOWLEDGE THAT THOSE ISSUES EXISTED BEFORE.

09:01AM    3       OTHERWISE SHE WOULDN'T HAVE BROUGHT IN THESE HIGHLY QUALIFIED

09:01AM    4       PEOPLE, INCLUDING DR. DAS FOR THAT MATTER, TO TURN OVER THOSE

09:02AM    5       ROCKS.

09:02AM    6             SO DR. BONANNI -- MR. BONANNI'S TESTIMONY ON INTENT WILL

09:02AM    7       GO ACROSS THE INDICTMENT TO BOTH THE PATIENT CONSPIRACY AND THE

09:02AM    8       INVESTOR CONSPIRACY.

09:02AM    9                   THE COURT:    AND I SUPPOSE YOU'RE SAYING, AND THE

09:02AM   10       GOVERNMENT, JUDGE, COULD ARGUE JUST THE CONTRARY.          THE

09:02AM   11       GOVERNMENT COULD ARGUE ONCE SHE FOUND OUT THAT THE LID WAS OFF

09:02AM   12       AND EVERYTHING WAS IN PUBLIC EYE, SHE SCRAMBLED, SHE DID

09:02AM   13       EVERYTHING SHE COULD TO COVER UP, TO MAKE HERSELF LOOK LIKE IT

09:02AM   14       WAS LEGITIMATE, AND THAT, IN FACT, WOULD BE A JURY QUESTION.

09:02AM   15                   MS. SAHARIA:    FOR SURE, YOUR HONOR.

09:02AM   16                   THE COURT:    AND THE GOVERNMENT IS PREPARED TO MAKE

09:02AM   17       THAT ARGUMENT, THAT ONCE SOMEBODY IS FOUND OUT TO HAVE DONE

09:02AM   18       WRONG AND THEY'RE IN THE DARK, THEY START TO LIGHT CANDLES.

09:02AM   19                   MS. SAHARIA:    THAT'S AN ARGUMENT THAT THEY CAN MAKE

09:02AM   20       TO THE JURY AND WE THINK WE'RE ENTITLED TO MAKE A COMPETING

09:02AM   21       ARGUMENT TO THE JURY, BUT WE NEED THIS EVIDENCE TO MAKE OUR

09:03AM   22       DEFENSE.

09:03AM   23                   THE COURT:    LET ME ASK YOU THE QUESTION ABOUT THIS

09:03AM   24       FROM MR. SCHENK'S POSITION.       RECEIPT OF INFORMATION AS LATE AS

09:03AM   25       10:00 P.M. LAST NIGHT, IT SEEMS TO ME THAT IT WOULD ONLY BE



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09:03AM    1       FAIR TO ALLOW THE GOVERNMENT SOME TIME TO REVIEW THIS BEFORE

09:03AM    2       THIS WITNESS TESTIFIES.

09:03AM    3                   MS. SAHARIA:    YOUR HONOR, I'M GOING TO DEFER THAT TO

09:03AM    4       MS. TREFZ WHO KNOWS WHAT THE PARTICULAR EXHIBITS ARE.           I'M JUST

09:03AM    5       NOT PREPARED TO SPEAK TO THAT ISSUE.

09:03AM    6                   THE COURT:    OKAY.   THANK YOU.

09:03AM    7                   MS. TREFZ:    GOOD MORNING.

09:03AM    8                   THE COURT:    GOOD MORNING.

09:03AM    9                   MS. TREFZ:    GOOD MORNING, YOUR HONOR.

09:03AM   10                   THE COURT:    SO LET ME ASK YOU THE QUESTION I ASKED

09:03AM   11       YOUR COLLEAGUE.     SHOULD I GIVE THE GOVERNMENT SOME TIME TO

09:03AM   12       REVIEW THESE DOCUMENTS THAT WERE REVEALED AS LATE AS 10:00 P.M.

09:03AM   13       LAST NIGHT?

09:03AM   14                   MS. TREFZ:    WE FREQUENTLY RECEIVED DOCUMENTS DURING

09:03AM   15       THE GOVERNMENT'S CASE THAT WERE PROVIDED TO US LATE THE NIGHT

09:03AM   16       BEFORE.

09:03AM   17                   THE COURT:    IS THAT A YES OR A NO?      I'M SORRY.

09:03AM   18                   MS. TREFZ:    I'M SORRY, YOUR HONOR.

09:03AM   19             IT DEPENDS.    I'M NOT SURE WHICH DOCUMENTS THEY'RE

09:03AM   20       PARTICULARLY CONCERNED ABOUT.       THERE ARE MANY OF THE ISSUES --

09:04AM   21       MANY OF THE ITEMS THAT WE DISCLOSED TO THEM THROUGHOUT THIS FOR

09:04AM   22       DR. BONANNI MAY ONLY BE OFFERED FOR DEMONSTRATIVE PURPOSES AS

09:04AM   23       OPPOSED TO EVIDENCE.

09:04AM   24                   THE COURT:    SURE.

09:04AM   25                   MS. TREFZ:    SO I'M HAPPY TO DISCUSS IT WITH THEM.           I



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09:04AM    1       HAVEN'T YET RECEIVED AN INDICATION OF WHAT THAT IS.

09:04AM    2                   THE COURT:    WELL, MY CONCERN IS THAT WHEN THIS

09:04AM    3       HAPPENS, AND I RECOGNIZE -- YOU KNOW, AS MS. SAHARIA POINTS

09:04AM    4       OUT, THIS IS THE PHENOMENON OF TRIALS, THINGS HAPPEN AND IT'S A

09:04AM    5       MOVEABLE FEAST.

09:04AM    6             BUT WHEN WE'RE ON THE EVE OF A POTENTIAL WITNESS'S

09:04AM    7       TESTIMONY -- AND I DON'T KNOW HOW MUCH LONGER MR. CLINE HAS.

09:04AM    8       I'M NOT SURE WHAT VALUE I CAN GIVE THE TIME ESTIMATES ANYMORE,

09:04AM    9       BUT I DON'T KNOW HOW MUCH TIME MR. CLINE HAS LEFT, AND THEN

09:04AM   10       THERE WILL BE SOME REDIRECT, AND THEN WE'LL SEE WHETHER THE

09:04AM   11       GOVERNMENT WISHES TO PUT ADDITIONAL EVIDENCE ON, OR WHETHER

09:04AM   12       IT'S YOUR TEAMS TURN TO PUT EVIDENCE ON IF YOU WISH.

09:04AM   13             IT SOUNDS LIKE, IF THE GOVERNMENT RESTS THIS MORNING, THAT

09:05AM   14       IT WILL BE YOUR TURN TO PUT SOME -- A WITNESS ON.

09:05AM   15             IT SOUNDS LIKE THIS WITNESS THAT WE'RE TALKING ABOUT WOULD

09:05AM   16       BE THE SECOND WITNESS THAT YOU WOULD CALL.

09:05AM   17                   MS. TREFZ:    CORRECT.

09:05AM   18                   THE COURT:    AND THAT'S WHY I'M SAYING IF THE

09:05AM   19       GOVERNMENT NEEDS AN OPPORTUNITY TO REVIEW SOMETHING THAT THEY

09:05AM   20       RECEIVED LATE IN THE EVENING, I'M INCLINED TO GIVE IT TO THEM.

09:05AM   21                   MS. TREFZ:    IF THE GOVERNMENT IS GOING TO ASK FOR AN

09:05AM   22       ADJOURNMENT IN ORDER TO DO SO, YOUR HONOR, WE'RE HAPPY TO

09:05AM   23       PROVIDE THEM THAT OPPORTUNITY.

09:05AM   24             WHAT I WOULD --

09:05AM   25                   THE COURT:    I'M NOT ASKING FOR AN ADJOURNMENT.        I'M



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09:05AM    1       SAYING CALL ANOTHER WITNESS.

09:05AM    2                   MS. TREFZ:    WELL, YOUR HONOR, I WOULD PUSH BACK IN

09:05AM    3       TWO WAYS, RESPECTFULLY.

09:05AM    4             ONE IS THAT I DON'T BELIEVE THAT THE PARTICULAR -- AGAIN,

09:05AM    5       I DON'T KNOW WHAT PARTICULAR EVIDENCE THEY'RE CONCERNED ABOUT.

09:05AM    6       I'D LIKE TO KNOW WHAT IT IS.

09:05AM    7             SECOND, I WOULD JUST NOTE THAT IT SHOULD NOT BE -- THE

09:05AM    8       GOVERNMENT SHOULD NOT BE ABLE TO DETERMINE THE ORDER THAT THE

09:05AM    9       DEFENSE CALLS WITNESSES IN.

09:06AM   10                   THE COURT:    I GET TO DO THAT TO SOME EXTENT, DON'T

09:06AM   11       I?

09:06AM   12                   MS. TREFZ:    I'M -- IT DEPENDS, YOUR HONOR.       IT

09:06AM   13       DEPENDS ON --

09:06AM   14                   THE COURT:    RIGHT.    I DON'T WANT TO MESS WITH EITHER

09:06AM   15       OF YOUR CASES.    I REALLY DON'T.

09:06AM   16                   MS. TREFZ:    YES.

09:06AM   17                   THE COURT:    MY CONCERN IS TO KEEP THE TRIAL MOVING

09:06AM   18       IN AN ORDERLY FASHION SUCH THAT UNNECESSARY TIME IS TAKEN FROM

09:06AM   19       THE JURY.

09:06AM   20             AND WE'VE HAD A LOT OF TIME.      I COMMENTED ON SOME

09:06AM   21       STATISTICS THE OTHER DAY.        YOU KNOW, I JUST POINT THOSE OUT.

09:06AM   22       THAT'S SOMETHING THAT -- YOU KNOW, MR. SCHENK TOLD US ABOUT

09:06AM   23       SOME OTHER STATISTICS.

09:06AM   24             I DON'T WANT TO BREAK UP THE TRIAL.        I DON'T WANT TO

09:06AM   25       INTERFERE WITH THE DEFENSE CASE.       I RECOGNIZE THIS.     THAT'S



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09:06AM    1       SACROSANCT.    JUDGES SHOULD NOT INTERFERE IN EITHER SIDE'S CASE.

09:06AM    2       WE SHOULDN'T DO THAT.

09:06AM    3             THERE'S TENSION BETWEEN THE JUDGE TRYING TO MANAGE A CASE

09:06AM    4       WHEN SHE IS TRYING TO GET ALL OF THE EVIDENCE IN AND THEN ALLOW

09:06AM    5       A JURY TO HEAR THE CASE AND TO BE MINDFUL OF THE JURY, THEIR

09:06AM    6       INCONVENIENCE SUCH THAT THEY HAVE CLARITY, SUCH THAT THEY DO

09:06AM    7       NOT LOSE INTEREST, THEY BECOME DISINTERESTED IN BOTH SIDES IN

09:07AM    8       THE TRIAL.

09:07AM    9             AND IT BECOMES DIFFICULT TO MANAGE THAT WHEN THESE TYPES

09:07AM   10       OF ISSUES COME UP.     SO IF THERE'S A WITNESS PROBLEM HERE -- AND

09:07AM   11       YOU SAID ADJOURNMENT.      IF THERE'S AN ADJOURNMENT, YOU KNOW, I

09:07AM   12       MAY HAVE TO TELL THEM, "LADIES AND GENTLEMEN, THERE WAS A LATE

09:07AM   13       DISCLOSURE ABOUT A PIECE OF EVIDENCE AND I NEED TO, IN ALL

09:07AM   14       FAIRNESS, I NEED TO ALLOW ONE SIDE TO LOOK AT THIS BEFORE

09:07AM   15       ANOTHER WITNESS IS CALLED."

09:07AM   16             THAT'S THE TYPE OF THING WHEN WE HAVE BACK-UP WITNESSES

09:07AM   17       WHERE WE CAN SAY, ALL RIGHT, WE CAN PUT THIS WITNESS ON.

09:07AM   18             IT'S NOT AN INVITATION TO CONTINUE AN EXAMINATION TO

09:07AM   19       STRETCH TIME AS THEY DO IN RADIO.       AND I'M PULLING MY HANDS

09:07AM   20       APART FROM LEFT TO RIGHT, WHICH IS A SIGN IN THE RADIO BUSINESS

09:07AM   21       OF STRETCH THINGS OUT AS MUCH AS YOU CAN.

09:07AM   22             IT'S NOT AN INVITATION TO DO THAT.       IT'S AN INVITATION TO

09:07AM   23       CONTINUE WITH EFFICIENCY WITHOUT DISRUPTING, WITHOUT DISRUPTING

09:08AM   24       THE PRESENTATION OF EITHER CASE IN A NEGATIVE WAY.

09:08AM   25                    MS. TREFZ:   I COMPLETELY UNDERSTAND, YOUR HONOR.



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09:08AM    1             MY POINT WAS SIMPLY THAT I WOULD LIKE TO KNOW WHAT THEIR

09:08AM    2       CONCERN ACTUALLY IS.     I'M NOT SURE WHAT MR. SCHENK WAS

09:08AM    3       REFERRING TO THAT WAS PROVIDED THIS MORNING.

09:08AM    4             IT MAY BE THAT THE EVIDENCE THAT THEY'RE POINTING TO OR

09:08AM    5       THE PARTICULAR EXHIBIT, IT MAY BE THAT IT'S SOMETHING THAT WE

09:08AM    6       ACTUALLY WILL NOT OFFER AND SO IT MAY NOT BE AN ISSUE.           I JUST,

09:08AM    7       I DO NOT KNOW WHAT IT IS.

09:08AM    8             THE VIDEO CLIPS, YOU KNOW, I CAN EXPLAIN THAT, YOU KNOW,

09:08AM    9       WHAT THEY ARE ARE VIDEOS OF THE TECHNOLOGY THAT'S BEEN

09:08AM   10       DESCRIBED MULTIPLE TIMES IN THE CASE.        THE GOVERNMENT HAS LONG

09:08AM   11       HAD NOTICE OF THE PARTICULAR VIDEO, ON THE -- THE FULL VIDEO ON

09:08AM   12       THE WITNESS LIST, OR THE EXHIBIT LIST.

09:08AM   13             WE ARE ONLY PLAYING SMALL -- WE INTEND TO PLAY FOR

09:08AM   14       DEMONSTRATIVE PURPOSES SMALL CLIPS THAT DR. BONANNI CAN, YOU

09:09AM   15       KNOW, EXPLAIN WHAT IS HAPPENING SO THAT THE JURY UNDERSTANDS

09:09AM   16       HOW THIS TECHNOLOGY WORKS AND PROVIDE VISUAL EVIDENCE AND --

09:09AM   17       YOU KNOW, RATHER THAN SIMPLY A WITNESS DESCRIPTION.

09:09AM   18             SO MANY OF THE VIDEOS -- THERE ARE FOUR VERY SHORT CLIPS,

09:09AM   19       AND THEY WILL -- MY INTENTION WAS TO OFFER THEM FOR

09:09AM   20       DEMONSTRATIVE PURPOSES.

09:09AM   21             AGAIN, I'M HAPPY TO HEAR WHAT THE CONCERNS ARE.         I THINK A

09:09AM   22       GENERAL STATEMENT THAT THERE WAS LATE DISCLOSURE IS A LITTLE

09:09AM   23       BIT -- IS PERHAPS AN OVERSTATEMENT, AND I WOULD LIKE THE

09:09AM   24       OPPORTUNITY TO ADDRESS WITH THE GOVERNMENT WHAT THE PARTICULAR

09:09AM   25       CONCERNS THEY HAVE ARE BECAUSE WE MAY BE ABLE TO ADDRESS THEM.



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09:09AM    1             AND SO I JUST -- I DON'T WANT THE COURT TO BE LEFT WITH

09:09AM    2       THE MISIMPRESSION THAT THERE WAS SOMEHOW NO DISCLOSURE HERE.

09:10AM    3       THE MAJORITY OF THE EXHIBITS THAT WE HAVE PROVIDED HAVE BEEN ON

09:10AM    4       OUR LIST SINCE ONE OF THE VERY FIRST DISCLOSURES IN THE CASE,

09:10AM    5       AND THERE ARE OTHER ITEMS THAT HAVE COME UP AS THE TRIAL

09:10AM    6       PROGRESSES, AS IS ALWAYS THE CASE.

09:10AM    7             AND SO I, I DIDN'T MEAN TO SUGGEST THAT, YOU KNOW, THAT

09:10AM    8       THERE SHOULD BE SOME KIND OF, YOU KNOW, ADJOURNMENT.

09:10AM    9             MY INITIAL POINT, AND STILL MY POSITION, IS THAT WE --

09:10AM   10       WHAT WE SHOULD HAVE THE OPPORTUNITY TO DO IS TO TALK WITH THE

09:10AM   11       GOVERNMENT AND TO UNDERSTAND WHAT THEIR CONCERNS ARE.

09:10AM   12             ANOTHER OPTION WOULD BE, YOU KNOW, IF THEY'RE ACTUALLY --

09:10AM   13       IF THEY HAVE CONCERNS AND THEY WOULD LIKE THE OPPORTUNITY TO

09:10AM   14       RECALL THE WITNESS ON CROSS TO PUT IN MORE -- PUT IN MORE

09:10AM   15       EVIDENCE, THAT COULD POTENTIALLY BE SOMETHING TO DO AS WELL.

09:10AM   16             I JUST -- I'M HESITANT TO ACCEPT THE REPRESENTATION THAT

09:10AM   17       THERE IS SOME KIND OF UNFAIRNESS HERE BECAUSE I DON'T BELIEVE

09:10AM   18       THAT THAT'S THE CASE.

09:11AM   19                   THE COURT:    ALL RIGHT.    WELL, WE'RE TEN AFTER 9:00.

09:11AM   20             MR. SCHENK, DO YOU WANT TO SAY ANYTHING BEFORE --

09:11AM   21                   MR. SCHENK:    I CAN QUICKLY SUPPLEMENT THE RECORD.

09:11AM   22             10679 WAS DISCLOSED THIS MORNING, 7673B AND C WERE NOT

09:11AM   23       PREVIOUSLY DISCLOSED, 9819A THROUGH D ARE THE VIDEOS.

09:11AM   24             AND PART OF THE PROBLEM HERE IS THAT WITHOUT ANY JENCKS

09:11AM   25       STATEMENTS, WE CAN'T READ WHAT THE WITNESS WOULD SAY.           SO WE



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09:11AM    1       HAVE NO INSIGHT INTO HOW THESE EXHIBITS WOULD BE USED.

09:11AM    2             AND WITH THAT I WOULD SUBMIT.       IT'S AFTER 9:00 AND WE

09:11AM    3       SHOULD GET STARTED.

09:11AM    4                   THE COURT:    OKAY.    ALL RIGHT.   THANK YOU FOR THIS

09:11AM    5       COLLOQUY.

09:11AM    6             WE HAVE -- LET'S SEE.       I THINK MR. CLINE IS STILL IN HIS

09:11AM    7       CROSS-EXAMINATION.     I DON'T KNOW HOW LONG THAT'S GOING TO BE.

09:12AM    8             FOLLOWING THAT, WE'LL SEE IF THE GOVERNMENT HAS ANY

09:12AM    9       REDIRECT AND WHETHER OR NOT THE GOVERNMENT HAS ANY ADDITIONAL

09:12AM   10       EVIDENCE.

09:12AM   11             WE'LL THEN TURN TO THE DEFENSE TO SEE IF THEY HAVE ANY

09:12AM   12       EVIDENCE TO OFFER.

09:12AM   13             WE'LL PROBABLY TAKE A BREAK BECAUSE THE DEFENSE MAY HAVE A

09:12AM   14       MOTION OR WISH TO PUT SOMETHING ON THE RECORD, AND WE CAN

09:12AM   15       CERTAINLY DO THAT.

09:12AM   16             MY COMMENTS ABOUT TIME ARE -- LET ME JUST SAY, YOU'RE ALL

09:12AM   17       EXPERIENCED TRIAL LAWYERS.        YOU ALL KNOW THIS.    I DON'T THINK

09:12AM   18       ANY OF YOU -- I HOPE NONE OF YOU ARE BEING STRATEGIC AS FAR AS

09:12AM   19       TIMING.

09:12AM   20             AND I SAY THAT BECAUSE MY SENSE IS THAT NONE OF YOU WANT

09:12AM   21       THIS JURY TO BE DELIBERATING THIS CASE ON THE HOLIDAY WEEK IN

09:12AM   22       DECEMBER, THE THIRD WEEK IN DECEMBER OR ANY WEEK LIKE THAT.              MY

09:12AM   23       SENSE IS THAT YOU DON'T WANT THAT.

09:12AM   24             AND I -- LET ME JUST CALL YOUR ATTENTION TO THAT.          I'M NOT

09:12AM   25       SUGGESTING -- I HAVEN'T TALKED TO THE JURY AT ALL.          WE JUST SEE



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09:12AM    1       THEM WHEN THEY COME IN, OF COURSE.

09:12AM    2              JURORS DON'T -- I DON'T THINK THEY ASCRIBE BLAME TO

09:13AM    3       THINGS.    THEY MIGHT LOOK AT RESPONSIBILITY, WHY ARE WE TAKING

09:13AM    4       SO LONG, AND WHAT IS THIS, AND WHY ARE THINGS GOING?           I DON'T

09:13AM    5       KNOW.    I DON'T TALK TO THEM.

09:13AM    6              WE ALL KNOW THAT, THOUGH.     WE'RE CONCERNED ABOUT THE JURY

09:13AM    7       AND THEIR COMFORT LEVEL AND KEEPING THEM ENGAGED.          I THINK YOU

09:13AM    8       ALL KNOW WHAT HAPPENS WHEN WE HAVE A JURY THAT GOES OUT ON A

09:13AM    9       HOLIDAY WEEK.    THAT DOESN'T BENEFIT EITHER SIDE.

09:13AM   10              AND I KNOW THAT BOTH SIDES ARE DOING EVERYTHING THAT YOU

09:13AM   11       CAN TO AVOID THAT AND NOT INCONVENIENCE THE JURY.

09:13AM   12              IT SEEMS LIKE WE'RE GOING TO GO -- WE'RE GOING TO EXCEED

09:13AM   13       OUR SCHEDULE.    I THINK WE TOLD THEM WE WOULD BE FINISHED BY THE

09:13AM   14       6TH.    MY SENSE IS THAT WE'RE GOING TO HAVE TO GO AT LEAST

09:13AM   15       ANOTHER WEEK BEYOND THAT BASED ON MY UNDERSTANDING OF WHERE

09:13AM   16       THINGS ARE.

09:13AM   17              AND SO I THINK THIS JURY HAS BEEN ENGAGED.        I THINK

09:13AM   18       THEY'RE THOROUGHLY INVESTED IN THIS CASE.         THEY'RE A GOOD JURY.

09:13AM   19       I'VE SEEN NO HANDS WHEN I ASK THAT QUESTION EVERY DAY, WHICH

09:14AM   20       TELLS ME THAT THEY'RE -- THEY OWE FIDELITY TO THE COURT AND TO

09:14AM   21       YOU AND TO THE TRIAL AND TO ALL OF YOU.        SO I HOPE WE CAN

09:14AM   22       CONTINUE THAT TRUST IN A RECIPROCAL MANNER.

09:14AM   23              THANK YOU VERY MUCH.    I'LL STEP DOWN AND WE'LL BRING THEM

09:14AM   24       IN AND WE'LL SEE WHERE WE GO THIS MORNING.

09:14AM   25                   MR. SCHENK:    THANK YOU.



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09:14AM    1                   THE CLERK:    COURT IS IN RECESS.

09:14AM    2             (RECESS FROM 9:14 A.M. UNTIL 9:21 A.M.)

09:21AM    3             (JURY IN AT 9:21 A.M.)

09:21AM    4                   THE COURT:    THANK YOU.    GOOD MORNING.

09:21AM    5             WE'RE BACK ON THE RECORD.      ALL PARTIES PREVIOUSLY PRESENT

09:21AM    6       ARE PRESENT AGAIN.

09:21AM    7             ALL COUNSEL ARE PRESENT.      OUR JURY IS PRESENT.

09:21AM    8             GOOD MORNING, LADIES AND GENTLEMEN.        LET ME ASK YOU THAT

09:21AM    9       QUESTION AGAIN.

09:21AM   10             DURING THE EVENING, DID ANY OF YOU HAVE CAUSE TO COME

09:21AM   11       ACROSS, DISCUSS, READ, INVESTIGATE, OR LEARN ABOUT ANYTHING

09:21AM   12       ABOUT THIS CASE OTHER THAN WHAT YOU'VE BEEN LEARNING HERE IN

09:21AM   13       THE COURTROOM?

09:21AM   14             IF SO, PLEASE RAISE YOUR HAND.

09:21AM   15             I SEE NO HANDS.

09:21AM   16             THANK YOU VERY MUCH.

09:21AM   17             LET ME -- WE'RE GOING TO CALL OUR WITNESS, MR. PARLOFF,

09:21AM   18       BACK IN IN JUST A MOMENT.

09:21AM   19             I DO WANT TO TALK A LITTLE BIT ABOUT SCHEDULING, AND I

09:22AM   20       THINK MS. KRATZMANN PROVIDED YOU WITH A CALENDAR TODAY.

09:22AM   21             LET ME SAY THAT I'VE BEEN WORKING WITH THE LAWYERS.          THE

09:22AM   22       LAWYERS HAVE BEEN VERY COOPERATIVE.        WE'RE LOOKING AT

09:22AM   23       SCHEDULING.    I HAVE TO TELL YOU, I DO THINK THAT I'M NOT GOING

09:22AM   24       TO BE ABLE TO MEET THE DECEMBER 6TH DEADLINE THAT I TOLD YOU

09:22AM   25       ABOUT.



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09:22AM    1             IT LOOKS LIKE WE'RE GOING TO EXCEED THAT DEADLINE, JUST

09:22AM    2       OUT OF NECESSITY.     AND THAT'S THE WAY TRIALS ARE SOMETIMES.           I

09:22AM    3       JUST WANT TO LET YOU KNOW THAT.

09:22AM    4             WE'RE GOING TO CONTINUE TO WORK, BOTH TEAMS ARE GOING TO

09:22AM    5       CONTINUE TO WORK WITH ME TO ENSURE THAT THINGS HAPPEN

09:22AM    6       EFFICIENTLY SO THAT WE CAN MANAGE THE CASE AS BEST AS WE CAN

09:22AM    7       AND GET WHAT NEEDS TO BE DONE ACCOMPLISHED IN AN EFFICIENT

09:22AM    8       MANNER FOR YOU.

09:22AM    9             SO I JUST WANT TO LET YOU KNOW THAT AND GIVE YOU A HEADS

09:22AM   10       UP.   WE MAY HAVE TO EXTEND A FEW DAYS, AND I'LL KEEP YOU

09:22AM   11       APPRISED OF THAT THROUGH MS. KRATZMANN AND OUR OTHER

09:22AM   12       DISCUSSIONS.

09:22AM   13             SO ON BEHALF OF THE LAWYERS, LET ME SAY, AND ON BEHALF OF

09:23AM   14       MYSELF AND OUR STAFF, I WANT TO THANK YOU SO MUCH FOR YOUR

09:23AM   15       CONSIDERATION, AND WE'LL KEEP YOU INFORMED OF HOW THINGS ARE

09:23AM   16       GOING.

09:23AM   17             OKAY.    THANK YOU.    LET'S BRING IN THE WITNESS.

09:23AM   18             GOOD MORNING, MR. PARLOFF.       I'LL INVITE YOU TO TAKE A SEAT

09:23AM   19       AGAIN.

09:23AM   20             AGAIN, MAKE YOURSELF COMFORTABLE.       YOU HAVE SOME -- I

09:23AM   21       THINK THERE'S A HOT BEVERAGE THERE FOR YOU.

09:23AM   22                     THE WITNESS:    YES.   THANK YOU.

09:23AM   23                     THE COURT:    AND -- NO, YOU CAN TAKE THAT OFF.

09:23AM   24       THAT'S FINE.     THANK YOU.

09:23AM   25             WHEN YOU ARE COMFORTABLE, WOULD YOU JUST STATE YOUR NAME,



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09:23AM    1       PLEASE.

09:23AM    2                     THE WITNESS:    ROGER PARLOFF.

09:23AM    3                     THE COURT:    THANK YOU.

09:23AM    4                     THE WITNESS:    P-A --

09:24AM    5                     THE COURT:    OH, THAT'S OKAY.

09:24AM    6             (GOVERNMENT'S WITNESS, ROGER PARLOFF, WAS PREVIOUSLY

09:24AM    7      SWORN.)

09:24AM    8                     THE COURT:    MR. CLINE.

09:24AM    9                              CROSS-EXAMINATION (RESUMED)

09:24AM   10       BY MR. CLINE:

09:24AM   11       Q.    GOOD MORNING.      I HOPE YOU'RE FEELING BETTER AND THE

09:24AM   12       ALLERGIES ARE A LITTLE BETTER THIS MORNING.

09:24AM   13       A.    THEY'RE GOOD.      THANK YOU.

09:24AM   14       Q.    I JUST HAVE A FEW -- BY THE WAY, DO YOU STILL HAVE THE TWO

09:24AM   15       NOTEBOOKS UP THERE?

09:24AM   16       A.    YES.

09:24AM   17       Q.    OKAY.    GOOD.    I HAVE A FEW TOPICS I WANT TO COVER WITH YOU

09:24AM   18       BEFORE WE FINISH UP FOR TODAY.

09:24AM   19             THE FIRST ONE HAS TO DO WITH YOUR DISCUSSIONS WITH

09:24AM   20       MS. HOLMES ABOUT THE MILITARY.

09:24AM   21       A.    YEAH.

09:24AM   22       Q.    DO YOU REMEMBER THAT SUBJECT COMING UP --

09:24AM   23       A.    UH-HUH, YES.

09:24AM   24       Q.    -- YESTERDAY?

09:24AM   25             TO BE CLEAR, YOU AND MS. HOLMES AGREED THAT NOTHING THAT



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09:24AM    1       SHE SAID TO YOU ABOUT THERANOS AND THE MILITARY WOULD APPEAR IN

09:24AM    2       THE ARTICLE; CORRECT?

09:24AM    3       A.    THAT'S RIGHT.

09:24AM    4       Q.    AND, IN FACT, YOU DIDN'T -- EXCUSE ME.        NOW I'VE GOT THE

09:24AM    5       ALLERGIES.

09:24AM    6             IN FACT, YOU DIDN'T USE ANYTHING THAT SHE OR OTHERS AT

09:24AM    7       THERANOS TOLD YOU ABOUT THERANOS AND THE MILITARY IN THE

09:24AM    8       ARTICLE; RIGHT?

09:24AM    9       A.    CORRECT, ABOUT THE ACTUAL DEPLOYMENTS, YEAH.

09:25AM   10       Q.    AND WHAT YOU SAID IN THE ARTICLE -- AND I'M GOING TO QUOTE

09:25AM   11       IT TO YOU, AND IF YOU NEED ME TO REFER IT TO YOU, I CAN -- YOU

09:25AM   12       SAID, "THE SMALL THERANOS DEVICE MAKES IT POSSIBLE TO IMAGINE

09:25AM   13       ONE DAY PLACING HOLMES'S LABS RIGHT BY THE OPERATING ROOMS IN

09:25AM   14       HOSPITALS OR IN MILITARY EVACUATION HELICOPTERS, OR ON SHIPS

09:25AM   15       AND SUBMARINES OR IN REFUGEE CAMPS OR IN TENTS IN THE AFRICAN

09:25AM   16       BUSH."

09:25AM   17             RIGHT?

09:25AM   18       A.    THAT'S CORRECT.

09:25AM   19       Q.    SO WHAT YOU TALKED ABOUT IN THE ARTICLE IS THAT THE

09:25AM   20       THERANOS DEVICE MAKES IT POSSIBLE TO IMAGINE ONE DAY DOING

09:25AM   21       THOSE THINGS; RIGHT?

09:25AM   22       A.    THAT'S RIGHT.

09:25AM   23       Q.    NOW, YOU TESTIFIED YESTERDAY, I BELIEVE, THAT MS. HOLMES

09:25AM   24       TOLD YOU, OFF THE RECORD AND NOT FOR USE IN YOUR ARTICLE, THAT

09:26AM   25       THE THERANOS DEVICE HAD BEEN USED IN AFGHANISTAN.



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09:26AM    1       A.    YES.

09:26AM    2       Q.    NOW, YOU MET -- WE TALKED YESTERDAY ABOUT THAT FIRST

09:26AM    3       MEETING YOU HAD WITH THE GOVERNMENT IN NEW YORK.

09:26AM    4             DO YOU REMEMBER THAT?

09:26AM    5       A.    YES.

09:26AM    6       Q.    DO YOU REMEMBER THE TOPIC COMING UP YESTERDAY?

09:26AM    7       A.    I THINK SO, YES.

09:26AM    8       Q.    ALL RIGHT.    AND THIS WAS YOUR FIRST INTERACTION WITH THE

09:26AM    9       GOVERNMENT, AT LEAST FACE TO FACE; RIGHT?

09:26AM   10       A.    YES.

09:26AM   11       Q.    AND YOU MET WITH THEM IN NEW YORK AT THE U.S. ATTORNEY'S

09:26AM   12       OFFICE THERE?

09:26AM   13       A.    YEAH, YES.

09:26AM   14       Q.    AND MR. BOSTIC WAS THERE AND AN FBI AGENT WAS THERE;

09:26AM   15       RIGHT?

09:26AM   16       A.    YES.

09:26AM   17       Q.    ALL RIGHT.    AND IN THAT MEETING, THAT FIRST MEETING, THE

09:26AM   18       SUBJECT CAME UP OF THERANOS AND THE MILITARY; RIGHT?

09:26AM   19       A.    YES.

09:26AM   20       Q.    AND WHAT YOU TOLD THE GOVERNMENT IN THAT MEETING IN APRIL

09:26AM   21       WAS THAT MS. HOLMES HAD ADVISED YOU IN ONE OF YOUR

09:26AM   22       CONVERSATIONS WITH HER BACK BEFORE YOU WROTE YOUR ARTICLE THAT

09:26AM   23       SHE CANNOT DISCUSS ACTUAL USE IN AFGHANISTAN, BUT SHE COULD

09:27AM   24       DISCUSS OTHER THINGS, AND THAT THAT GAVE YOU THE IMPRESSION

09:27AM   25       THAT SOMETHING WAS HAPPENING; RIGHT?



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09:27AM    1       A.    THAT MAY BE RIGHT.     THAT MUST BE WHAT I SAID.

09:27AM    2       Q.    ALL RIGHT.    WOULD IT HELP YOU IF I SHOWED YOU THAT PART OF

09:27AM    3       THE MEMORANDUM, OR CAN YOU ACCEPT THAT AS WHAT YOU TOLD THE

09:27AM    4       GOVERNMENT?

09:27AM    5       A.    I CAN ACCEPT THAT'S WHAT I SAID THEN.

09:27AM    6       Q.    ALL RIGHT.    AND THE FIRST TIME YOU TOLD THE GOVERNMENT

09:27AM    7       THAT MS. HOLMES HAD TOLD YOU THAT THERE WAS ACTUAL USE IN

09:27AM    8       AFGHANISTAN WAS TWO DAYS AGO; RIGHT?

09:27AM    9       A.    NO, I DON'T THINK SO.

09:27AM   10       Q.    WELL, YOU, YOU MET WITH THE GOVERNMENT TWO DAYS AGO;

09:27AM   11       RIGHT?

09:27AM   12       A.    YES.

09:27AM   13       Q.    OR MET -- HAD A VIDEO CONFERENCE WITH THEM; RIGHT?

09:27AM   14       A.    YEAH.

09:27AM   15       Q.    AND IN THAT VIDEO CONFERENCE, YOU TOLD THEM THAT

09:27AM   16       MS. HOLMES HAD MADE THAT COMMENT; RIGHT?

09:27AM   17       A.    YES.

09:27AM   18       Q.    YOU HADN'T TOLD THEM THAT IN ANY OF YOUR PREVIOUS

09:28AM   19       DISCUSSIONS WITH THEM, HAD YOU?

09:28AM   20       A.    I THOUGHT WE HAD HAD -- I THOUGHT IT HAD COME UP IN

09:28AM   21       PREVIOUS DISCUSSIONS.

09:28AM   22       Q.    SHALL WE GO THROUGH THOSE?

09:28AM   23       A.    OKAY.

09:28AM   24       Q.    THE FIRST ONE WAS APRIL 2018; RIGHT?

09:28AM   25       A.    YES.



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09:28AM    1       Q.    AND THAT'S THE MEETING WHERE YOU TOLD THE GOVERNMENT THAT

09:28AM    2       MS. HOLMES HAD TOLD YOU THAT SHE COULDN'T DISCUSS USE IN

09:28AM    3       AFGHANISTAN, AND YOU HAD THE IMPRESSION THAT THERE WAS USE

09:28AM    4       GOING ON; RIGHT?

09:28AM    5       A.    YES.

09:28AM    6       Q.    ALL RIGHT.    THE NEXT TIME YOU SPOKE WITH THE GOVERNMENT

09:28AM    7       WAS A VIDEO CONFERENCE ON SEPTEMBER THE 3RD, 2021, THIS YEAR;

09:28AM    8       RIGHT?

09:28AM    9       A.    YES.

09:28AM   10       Q.    AND MR. BOSTIC AND OTHERS PARTICIPATED FOR THE GOVERNMENT;

09:28AM   11       RIGHT?

09:28AM   12       A.    YES.

09:28AM   13       Q.    AND FOR THAT ONE YOU HAD A LAWYER WHO PARTICIPATED; RIGHT?

09:28AM   14       A.    YES.

09:28AM   15       Q.    AND IN THAT FIRST MEETING, YOU DIDN'T HAVE A LAWYER, BUT

09:29AM   16       NOW YOU DID; RIGHT?

09:29AM   17       A.    YEAH, UH-HUH.

09:29AM   18       Q.    AND THAT'S NOT MR. KOLTUN, THE LAWYER WHO HAS BEEN HERE IN

09:29AM   19       COURT WITH YOU, THAT WAS A MR. KORZENIK; RIGHT?

09:29AM   20       A.    YES.

09:29AM   21       Q.    AND AGAIN, THE SUBJECT OF MILITARY USE OF THERANOS

09:29AM   22       TECHNOLOGY CAME UP; RIGHT?

09:29AM   23       A.    I CAN'T REMEMBER.

09:29AM   24       Q.    LET ME HELP YOU WITH THAT.

09:29AM   25             MAY I APPROACH?



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09:29AM    1                     THE COURT:   YES.

09:29AM    2       BY MR. CLINE:

09:29AM    3       Q.    (HANDING.)

09:29AM    4             I'M GOING TO HAND YOU A MEMORANDUM OF THAT INTERVIEW, AND

09:29AM    5       I'M GOING TO REFER YOU TO PAGE 7, WHICH I THINK IS THE LAST

09:29AM    6       PAGE, AND ASK YOU TO READ THE LAST PARAGRAPH TO YOURSELF.

09:29AM    7       DON'T READ IT ALOUD.

09:30AM    8       A.    OKAY.

09:30AM    9       Q.    HAVE YOU HAD A CHANCE TO READ THAT?

09:30AM   10       A.    YEAH.

09:30AM   11       Q.    ALL RIGHT.    AND DOES THAT REFRESH YOUR RECOLLECTION THAT

09:30AM   12       ON SEPTEMBER 3RD, 2021, YOU AGAIN TOLD THE GOVERNMENT THAT

09:30AM   13       MS. HOLMES'S COMMENTS LEFT YOU WITH THE IMPRESSION THAT THERE

09:30AM   14       WAS USE IN AFGHANISTAN?

09:30AM   15       A.    YES.

09:30AM   16       Q.    ALL RIGHT.    AND THEN YOU TALKED AGAIN WITH THE GOVERNMENT?

09:31AM   17       A.    IT'S A PRETTY STRONG INFERENCE.       I MEAN, SHE WAS STATING,

09:31AM   18       DON'T TELL GENERAL MATTIS ABOUT THE DEPLOYMENTS IN AFGHANISTAN.

09:31AM   19             YOU KNOW, IT'S AN INFERENCE, BUT IT'S -- I MEAN, WHY -- TO

09:31AM   20       ME, IT'S, IT'S A, IT'S A VERY STRONG INFERENCE.          IT'S DON'T

09:31AM   21       TELL THEM ABOUT -- WELL --

09:31AM   22       Q.    MR. PARLOFF --

09:31AM   23       A.    YEAH.

09:31AM   24       Q.    -- MS. HOLMES TOLD YOU THAT SHE COULDN'T DISCUSS USE IN

09:31AM   25       AFGHANISTAN; RIGHT?



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09:31AM    1       A.    RIGHT.

09:31AM    2       Q.    AND THAT LEFT YOU WITH THE IMPRESSION THAT SOMETHING WAS

09:31AM    3       GOING ON; RIGHT?

09:31AM    4       A.    YES, AND THE FACT THAT SHE TOLD ME NOT TO -- THAT HE WOULD

09:31AM    5       NOT BE ABLE TO DISCUSS THAT AND I SHOULDN'T ASK HIM ABOUT IT.

09:31AM    6       Q.    SHE NEVER ACTUALLY TOLD YOU THAT THERE WAS USE IN

09:32AM    7       AFGHANISTAN, DID SHE?

09:32AM    8       A.    I THOUGHT SHE DID.

09:32AM    9       Q.    SO YOU THOUGHT YOU HAD MORE THAN JUST THE IMPRESSION THAT

09:32AM   10       YOU DESCRIBED TO THE GOVERNMENT IN THOSE FIRST TWO MEETINGS?

09:32AM   11       A.    WELL, IT IS SEVEN YEARS AGO.       IT MIGHT HAVE BEEN A VERY

09:32AM   12       STRONG IMPRESSION.     I, I -- I'M NOT CERTAIN.

09:32AM   13       Q.    ALL RIGHT.    I WANT TO TURN NOW TO THE QUESTION OF THE

09:32AM   14       NUMBER OF TESTS.

09:32AM   15             MAY I RETRIEVE THAT FROM YOU, THAT DOCUMENT?         I JUST DON'T

09:32AM   16       WANT IT TO BE DISTRACTING.

09:32AM   17             MAY I APPROACH?

09:32AM   18                   THE COURT:    YES.

09:32AM   19                   THE WITNESS:    (HANDING.)

09:32AM   20       BY MR. CLINE:

09:32AM   21       Q.    THANKS.

09:32AM   22             DO YOU REMEMBER -- MR. PARLOFF, WE ARE SWITCHING TOPICS A

09:32AM   23       LITTLE BIT HERE.

09:32AM   24             THERE WAS DISCUSSION YESTERDAY ABOUT THE NUMBER OF TESTS

09:33AM   25       THAT THERANOS COULD PERFORM.



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09:33AM    1             DO YOU REMEMBER THAT?

09:33AM    2       A.    YES.

09:33AM    3       Q.    AND DO YOU REMEMBER THE NUMBERS 200 AND 1,000?

09:33AM    4       A.    YES.

09:33AM    5       Q.    NOW, IN YOUR JUNE 2014 ARTICLE -- AND, AGAIN, I'M GOING TO

09:33AM    6       QUOTE IT TO YOU, BUT IF YOU NEED TO LOOK AT IT, NO PROBLEM --

09:33AM    7       YOU SAID THAT THERANOS, AND I'M QUOTING NOW, "CURRENTLY

09:33AM    8       OFFERING MORE THAN 200 AND IS RAMPING UP TO OFFER MORE THAN

09:33AM    9       1,000 OF THE MOST COMMONLY ORDERED BLOOD DIAGNOSTIC TESTS, ALL

09:33AM   10       WITHOUT NEED FOR A SYRINGE."

09:33AM   11             THAT'S WHAT YOU SAID IN THE ARTICLE; RIGHT?

09:33AM   12       A.    YES.

09:33AM   13       Q.    ALL RIGHT.    NOW, THE GOVERNMENT PLAYED YESTERDAY FOR YOU A

09:33AM   14       CLIP FROM MAY 21, 2014, AN AUDIO CLIP OF ONE OF YOUR

09:33AM   15       CONVERSATIONS WITH MS. HOLMES WHERE THE 200 AND 1,000 NUMBERS

09:34AM   16       CAME UP.

09:34AM   17       A.    YES.

09:34AM   18       Q.    AND I WANT TO JUST PLAY FOR YOU THE FIRST PART OF THAT

09:34AM   19       CLIP WHERE THOSE NUMBERS ARE FIRST BROACHED.         SO JUST HOLD ON A

09:34AM   20       SECOND AND I'M GOING TO PLAY IT FOR YOU.         OKAY?

09:34AM   21             THIS IS EXHIBIT 5474AB2 STARTING AT THE BEGINNING OF THE

09:34AM   22       CLIP THE GOVERNMENT PLAYED, AND THEN WE'LL STOP IT WHEN WE GET

09:34AM   23       TO THE POINT.

09:34AM   24             GO AHEAD.

09:34AM   25             (AUDIO RECORDING PLAYED OFF THE RECORD.)



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09:35AM    1                    MR. CLINE:   STOP, STOP.

09:35AM    2       Q.    NOW, MR. PARLOFF, DID YOU HEAR YOUR REFERENCE THERE TO

09:35AM    3       MORE THAN 1,000 CPT'S?

09:35AM    4       A.    YES.

09:35AM    5       Q.    BACK IN MAY OF 2014, DID YOU KNOW WHAT A CPT WAS?

09:35AM    6       A.    UH, SHE TOLD ME.

09:35AM    7       Q.    IT'S A BILLING CODE; RIGHT?

09:35AM    8       A.    YES.

09:35AM    9       Q.    AND IN MAY OF 2014, DID YOU UNDERSTAND THE DIFFERENCE

09:35AM   10       BETWEEN A TEST AND A CPT?

09:35AM   11       A.    ROUGHLY.

09:35AM   12       Q.    DID YOU UNDERSTAND IN MAY OF 2014 THAT A SINGLE TEST COULD

09:35AM   13       BE PART OF MANY DIFFERENT CPT CODES?

09:35AM   14       A.    I THINK I, I THINK I -- I KNEW THAT SOME CPT CODES WERE

09:35AM   15       FOR PANELS AND SOME WERE FOR INDIVIDUAL TESTS.

09:36AM   16             SO, YES.

09:36AM   17       Q.    IN YOUR ARTICLE, THE LANGUAGE THAT YOU USE IN THE ARTICLE,

09:36AM   18       YOU DON'T DISTINGUISH WHEN YOU'RE USING THAT 1,000 FIGURE

09:36AM   19       BETWEEN TESTS AND CPT'S, DO YOU?

09:36AM   20       A.    NO.

09:36AM   21             BUT I DON'T THINK I KNEW WHICH WAY IT -- WHICH DIRECTION.

09:36AM   22       I KNEW IT WOULDN'T BE AN IDENTICAL NUMBER, BUT I DIDN'T KNOW IF

09:36AM   23       THE CPT'S WOULD BE MORE THAN A THOUSAND.

09:36AM   24             I THINK THAT WAS MY IMPRESSION THAT, BECAUSE THEY COULD --

09:36AM   25       BUT ANYWAY.



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09:36AM    1       Q.    WELL, WHAT YOU SAID IN THE ARTICLE --

09:36AM    2       A.    YEAH, RIGHT.

09:36AM    3       Q.    -- WAS A THOUSAND TESTS; RIGHT?

09:36AM    4       A.    RIGHT.

09:36AM    5       Q.    YOU DIDN'T SAY A THOUSAND CPT'S?

09:36AM    6       A.    RIGHT.

09:36AM    7       Q.    I WANT TO MOVE NOW TO A DIFFERENT TOPIC.

09:36AM    8       A.    AND SHE HAD ALSO SAID THERE WAS SOME FUZZINESS ABOUT, WAS

09:36AM    9       IT A THOUSAND, WAS IT 1200?

09:36AM   10       Q.    YOU'RE TALKING ABOUT CPT'S; RIGHT?

09:37AM   11       A.    YES.

09:37AM   12       Q.    NOW, I WANT TO GET BACK A LITTLE BIT TO THE RESEARCH THAT

09:37AM   13       YOU DID.

09:37AM   14       A.    AND SHE NEVER TRIED TO CORRECT IT AFTERWARDS AS WELL.             SHE

09:37AM   15       DIDN'T CALL ME AND SAY, "OH, TERRIFIC ARTICLE, BUT YOU GOT ONE

09:37AM   16       LITTLE THING WRONG, IT WAS REALLY A THOUSAND CPT'S, NOT A

09:37AM   17       THOUSAND TESTS."

09:37AM   18       Q.    ARE WE FINISHED WITH THAT TOPIC?

09:37AM   19       A.    UP TO YOU.

09:37AM   20       Q.    ALL RIGHT.    LET'S MOVE TO A DIFFERENT TOPIC, WHICH IS YOUR

09:37AM   21       RESEARCH LEADING UP TO THE JUNE 2014 ARTICLE.

09:37AM   22       A.    YES.

09:37AM   23       Q.    WE TALKED ABOUT THAT YESTERDAY, AND THERE ARE JUST A FEW

09:37AM   24       ADDITIONAL POINTS THAT I WANT TO TOUCH ON THERE.

09:37AM   25             FIRST OF ALL, I WANT TO SHOW YOU AN EXHIBIT THAT IS NOT IN



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09:37AM    1       YOUR BOOK AND SO I'M GOING TO HAVE TO HAND IT UP TO YOU, WHICH

09:37AM    2       IS EXHIBIT 14271.

09:38AM    3             MAY I APPROACH?

09:38AM    4                    THE COURT:   YES.

09:38AM    5       BY MR. CLINE:

09:38AM    6       Q.    (HANDING.)

09:38AM    7             MR. PARLOFF, TAKE A MOMENT AND LOOK AT THAT.

09:38AM    8             (PAUSE IN PROCEEDINGS.)

09:39AM    9       BY MR. CLINE:

09:39AM   10       Q.    I DON'T MEAN TO RUSH YOU, BUT HAVE YOU HAD A CHANCE TO

09:39AM   11       LOOK AT THIS?

09:39AM   12       A.    I'M SORRY, I'M STILL --

09:39AM   13       Q.    OH, TAKE YOUR TIME.     TAKE YOUR TIME.

09:39AM   14             (PAUSE IN PROCEEDINGS.)

09:39AM   15                    THE WITNESS:   YEAH.   YES.

09:39AM   16       BY MR. CLINE:

09:39AM   17       Q.    ALL RIGHT.    THIS IS A MAY 9TH, 2014 EMAIL FROM YOU TO

09:39AM   18       MS. HOLMES?

09:39AM   19       A.    YES.

09:39AM   20       Q.    AND THE SUBJECT IS UPDATE?

09:39AM   21       A.    YES.

09:39AM   22       Q.    AND YOU'RE DESCRIBING TO HER SORT OF WHERE THINGS ARE ON A

09:39AM   23       NUMBER OF FRONTS --

09:39AM   24       A.    YES.

09:39AM   25       Q.    -- IN YOUR RESEARCH; RIGHT?



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09:39AM    1       A.    UH-HUH.

09:39AM    2                     MR. CLINE:    YOUR HONOR, I OFFER 14271.

09:39AM    3                     MR. BOSTIC:   NO OBJECTION.

09:39AM    4                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

09:39AM    5             (DEFENDANT'S EXHIBIT 14271 WAS RECEIVED IN EVIDENCE.)

09:39AM    6       BY MR. CLINE:

09:39AM    7       Q.    LET'S JUST BLOW UP THE WHOLE THING, AND WE'LL QUICKLY WORK

09:39AM    8       OUR WAY THROUGH IT.

09:39AM    9             CAN YOU SEE THAT OKAY?

09:40AM   10       A.    YES.    THANKS.

09:40AM   11       Q.    ALL RIGHT.    THIS WAS ONE OF A NUMBER OF EMAILS THAT YOU

09:40AM   12       EXCHANGED WITH MS. HOLMES IN THE COURSE OF -- BETWEEN APRIL AND

09:40AM   13       JUNE OF 2014 AS YOU WORKED ON YOUR ARTICLE; RIGHT?

09:40AM   14       A.    YES.

09:40AM   15       Q.    AND WE LOOKED AT A FEW YESTERDAY, BUT THERE WERE A

09:40AM   16       SIGNIFICANT NUMBER OF EMAILS BACK AND FORTH AS YOU ATTEMPTED TO

09:40AM   17       GATHER INFORMATION.

09:40AM   18             FAIR?

09:40AM   19       A.    YES.

09:40AM   20       Q.    SO LET'S JUST QUICKLY TICK THROUGH WHAT YOU'RE UPDATING

09:40AM   21       HER ON HERE.

09:40AM   22             TO BEGIN, YOU SAY YOU HAD LENGTHY DISCUSSIONS YESTERDAY --

09:40AM   23       I'M SORRY, WEDNESDAY WITH OFFICIALS AT A CERTAIN SIGNIFICANT

09:40AM   24       PLAYER IN THE BLOOD ANALYTICS INDUSTRY.

09:40AM   25             DO YOU SEE THAT?



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09:40AM    1       A.    YES.

09:40AM    2       Q.    AND THAT REFERS TO ONE OF THERANOS'S COMPETITORS?

09:40AM    3       A.    IT REFERS TO A SIGNIFICANT PLAYER IN THE BLOOD ANALYTICS

09:40AM    4       INDUSTRY.

09:40AM    5       Q.    WAS THAT ONE OF THERANOS'S COMPETITORS?

09:40AM    6       A.    THIS IS -- I THINK THIS IS -- I DON'T THINK IT'S

09:41AM    7       APPROPRIATE FOR ME TO ANSWER.

09:41AM    8       Q.    DO YOU HAVE YOUR LAWYER HERE TODAY?

09:41AM    9       A.    YES.

09:41AM   10                    MR. CLINE:    YOUR HONOR, COULD WE HAVE A BRIEF SECOND

09:41AM   11       HERE FOR HIM TO CHAT WITH HIS LAWYER?

09:41AM   12                    THE COURT:    DO YOU FEEL YOU NEED TO TALK TO YOUR

09:41AM   13       LAWYER, SIR, ABOUT THE --

09:41AM   14                    THE WITNESS:   I GUESS VERY BRIEFLY.

09:41AM   15                    THE COURT:    SURE.   OKAY.   WE'LL TAKE A STANDING

09:41AM   16       BREAK.

09:41AM   17                    MR. CLINE:    SURE, YOUR HONOR.

09:41AM   18             (STANDING BREAK.)

09:41AM   19                    MR. KOLTUN:    DO YOU HAVE A COPY OF IT?

09:41AM   20             (STANDING BREAK.)

09:42AM   21                    THE COURT:    FOLKS, FEEL FREE TO STAND FOR A MOMENT

09:42AM   22       AND STRETCH IF YOU WOULD LIKE.

09:42AM   23             (STRETCHING.)

09:42AM   24             (PAUSE IN PROCEEDINGS.)

09:42AM   25                    THE COURT:    MR. CLINE, DO YOU WANT TO STEP OUT AND



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09:42AM    1       JUST SEE IF THEY NEED ANY OF YOUR ASSISTANCE?

09:42AM    2                     MR. CLINE:   I'LL BE OF LIMITED VALUE, BUT I'M HAPPY

09:42AM    3       TO TRY.

09:42AM    4                     THE COURT:   OH, YOU UNDERESTIMATE YOUR SKILLS,

09:42AM    5       MR. CLINE.

09:42AM    6             (LAUGHTER.)

09:43AM    7             (PAUSE IN PROCEEDINGS.)

09:43AM    8                     MR. CLINE:   I'LL TAKE FULL CREDIT FOR THAT,

09:43AM    9       YOUR HONOR.

09:43AM   10                     THE COURT:   ALL RIGHT.   THANK YOU.

09:43AM   11             MR. PARLOFF, YOU'RE BACK ON THE STAND.         YOU'VE HAD

09:43AM   12       OCCASION TO SPEAK WITH YOUR ATTORNEY?

09:43AM   13                     THE WITNESS:   YES, YOUR HONOR.    THANK YOU.

09:43AM   14                     THE COURT:   YOU'RE WELCOME.

09:43AM   15             YOU CAN TAKE YOUR MASK OFF IF YOU WOULD LIKE.

09:43AM   16                     THE WITNESS:   THANK YOU.

09:43AM   17                     THE COURT:   MR. CLINE.

09:43AM   18       BY MR. CLINE:

09:43AM   19       Q.    MR. PARLOFF, ARE YOU ABLE TO ANSWER MY QUESTION?

09:43AM   20       A.    YEAH.    TO THE EXTENT THAT ANY SIGNIFICANT PLAYER IN THE

09:43AM   21       BLOOD ANALYTICS INDUSTRY WOULD BE CONSIDERED A COMPETITOR, YES.

09:43AM   22       Q.    ALL RIGHT.    SO YOU HAD HAD, AS YOU DESCRIBED, LENGTHY

09:43AM   23       DISCUSSIONS WITH AN ENTITY THAT YOU CONSIDERED TO BE A

09:43AM   24       COMPETITOR OF THERANOS; RIGHT?

09:43AM   25       A.    YES.



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09:44AM    1       Q.    AND YOU WANTED TO GET TOGETHER AND TALK WITH MS. HOLMES;

09:44AM    2       RIGHT?

09:44AM    3       A.    YES.

09:44AM    4       Q.    AND --

09:44AM    5       A.    WELL, A PHONE CALL.

09:44AM    6       Q.    YES.   AND AT LEAST PART OF YOUR REASON FOR WANTING TO TALK

09:44AM    7       WITH HER WAS TO DISCUSS ISSUES THAT THIS COMPETITOR HAD RAISED?

09:44AM    8       A.    YES, UH-HUH.

09:44AM    9       Q.    ALL RIGHT.    AND SO THEN THERE ARE A SERIES OF SORT OF

09:44AM   10       SPECIFIC ITEMS, AND LET'S JUST VERY QUICKLY TICK THROUGH THOSE.

09:44AM   11             YOU WANTED TO TALK TO GENERAL MATTIS; RIGHT?

09:44AM   12       A.    YES.

09:44AM   13       Q.    AND YOU WERE LOOKING FOR CONTACT INFORMATION FROM

09:44AM   14       MS. HOLMES; RIGHT?

09:44AM   15       A.    YES.

09:44AM   16       Q.    WHICH SHE PROVIDED AND THEN YOU TALKED TO GENERAL MATTIS;

09:44AM   17       RIGHT?

09:44AM   18       A.    THAT'S RIGHT.    THERE ARE CERTAIN LIMITATIONS ON WHAT I

09:44AM   19       COULD ASK.

09:44AM   20       Q.    AND THEN YOU NOTE THAT YOU WERE BOOKED TO SEE

09:44AM   21       HENRY KISSINGER; RIGHT?

09:44AM   22       A.    YES.

09:44AM   23       Q.    AND DID YOU ACTUALLY MEET FACE TO FACE WITH

09:44AM   24       HENRY KISSINGER?

09:44AM   25       A.    I DID.



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09:44AM    1       Q.    AND THAT'S, AGAIN, SOMETHING THAT THERANOS AND MS. HOLMES

09:44AM    2       HELPED ARRANGE?

09:44AM    3       A.    YES.

09:44AM    4       Q.    AND THEN ITEM 2, YOU SAY IT WOULD BE GREAT IF I COULD

09:44AM    5       VISIT YOUR FUNCTIONING LAB IN PHOENIX.

09:45AM    6             DO YOU SEE THAT?

09:45AM    7       A.    YES.

09:45AM    8       Q.    AND WAS THIS AT A TIME WHEN THE LAB WASN'T UP AND RUNNING?

09:45AM    9       A.    THAT'S RIGHT.

09:45AM   10       Q.    ALL RIGHT.    AND SO THAT VISIT DIDN'T HAPPEN; RIGHT?

09:45AM   11       A.    THAT'S RIGHT.

09:45AM   12       Q.    AND THEN THIRD YOU SAY, I'D LIKE TO CONTACT INTERMOUNTAIN

09:45AM   13       TO DISCUSS HOW FAR ALONG THEY ARE AND THEIR PLANS.

09:45AM   14             AND INTERMOUNTAIN WAS ANOTHER HOSPITAL CHAIN?

09:45AM   15       A.    YES.

09:45AM   16       Q.    AND WITH WHICH THERANOS WAS IN DISCUSSIONS; IS THAT RIGHT?

09:45AM   17       A.    YES.

09:45AM   18       Q.    AND YOU SAY, YOU COULD JUST CALL THEIR PR PEOPLE, BUT IF

09:45AM   19       YOU WOULD RATHER I APPROACH IT A DIFFERENT WAY, LET ME KNOW;

09:45AM   20       RIGHT?

09:45AM   21       A.    YES.

09:45AM   22       Q.    AND DID MS. HOLMES PROVIDE A CONTACT AT INTERMOUNTAIN?

09:45AM   23       A.    YES.

09:45AM   24       Q.    AND DID THAT CONTACT OCCUR?

09:45AM   25       A.    YES.



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09:45AM    1       Q.    ALL RIGHT.    YOU DON'T HAVE TO NAME NAMES, BUT YOU TALKED

09:45AM    2       TO SOMEONE AT INTERMOUNTAIN ABOUT THE RELATIONSHIP WITH

09:45AM    3       THERANOS; RIGHT?

09:45AM    4       A.    YES.

09:45AM    5       Q.    AND THEN THE FINAL POINT IS YOU SAY, I FOUND SOME HELPFUL

09:45AM    6       STUFF ON THE CMS AND FDA SITES REGARDING REGULATORY MATTERS.

09:46AM    7             DO YOU SEE THAT?     ITEM 4?

09:46AM    8       A.    YEAH, UH-HUH, YES.

09:46AM    9       Q.    AND THAT GOES BACK TO THE INTERNET RESEARCH THAT WE WERE

09:46AM   10       TALKING ABOUT BRIEFLY YESTERDAY; RIGHT?

09:46AM   11       A.    YES.

09:46AM   12       Q.    AND THEN YOU SAY, "AND SOMEBODY AT THE FDA HAS ALSO BEEN

09:46AM   13       HELPFUL IN ORIENTING ME THERE."

09:46AM   14             DO YOU SEE THAT?

09:46AM   15       A.    YES.

09:46AM   16       Q.    AND THAT --

09:46AM   17       A.    THAT WAS JUST A PR PERSON.

09:46AM   18       Q.    ALL RIGHT.    BUT YOU DID HAVE SOME SORT OF CONTACT AT THE

09:46AM   19       FDA; RIGHT?

09:46AM   20       A.    WELL, VIRTUALLY MINIMAL.       I MEAN, IT WAS JUST SHE SAID, I

09:46AM   21       CAN'T TELL YOU ANYTHING.      I CAN SHOW YOU WHAT IS ON THE SITE.

09:46AM   22       Q.    ALL RIGHT.    AND SO SHE HELPED YOU NAVIGATE THE SITE?

09:46AM   23       A.    EXACTLY.

09:46AM   24       Q.    ALL RIGHT.

09:46AM   25       A.    AND SHE GAVE ME THE LINKS.



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09:46AM    1       Q.    YES.   ALL RIGHT.    SO WE COULD PUT THAT ONE ASIDE.

09:46AM    2             AND I WANT TO GO TO ANOTHER ONE.       I'M HOPING THIS WON'T

09:46AM    3       PRESENT A PROBLEM, BUT IT MIGHT.

09:47AM    4             MAY I APPROACH?     YOUR HONOR, MAY I APPROACH?

09:47AM    5                    THE COURT:   YES.

09:47AM    6       BY MR. CLINE:

09:47AM    7       Q.    (HANDING.)

09:47AM    8             MR. PARLOFF, I'VE HANDED YOU WHAT HAS BEEN MARKED AS

09:47AM    9       EXHIBIT 10592.     DO YOU HAVE THAT?

09:47AM   10       A.    YES.

09:47AM   11       Q.    AND IF YOU START -- IT ACTUALLY STARTS ON THE BACK.

09:47AM   12       A.    YES.

09:47AM   13       Q.    IT'S DOUBLE SIDED.

09:47AM   14             AND THERE'S AN EMAIL THERE BETWEEN YOU AND A

09:47AM   15       DR. ERIC TOPOL.

09:47AM   16             DO YOU SEE THAT?

09:47AM   17       A.    YES.

09:47AM   18       Q.    AND THEN IF YOU WORKED YOUR WAY UP THE CHAIN, YOU SEE THAT

09:47AM   19       DR. TOPOL HAS RESPONDED TO YOUR EMAIL; RIGHT?

09:47AM   20       A.    YES.

09:48AM   21       Q.    AND THEN YOU SEE THAT DR. TOPOL HAS FORWARDED HIS EXCHANGE

09:48AM   22       WITH YOU ON TO MS. HOLMES; RIGHT?

09:48AM   23       A.    YES.

09:48AM   24       Q.    ALL RIGHT.    I WILL -- AND THIS IS MAY 9TH AND 10TH, 2014;

09:48AM   25       RIGHT?



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09:48AM    1       A.    YES.

09:48AM    2       Q.    DURING THE PERIOD THAT YOU'RE DOING THE RESEARCH FOR YOUR

09:48AM    3       JUNE 2014 ARTICLE?

09:48AM    4       A.    THAT'S RIGHT.

09:48AM    5                    MR. CLINE:    YOUR HONOR, I OFFER 10592.

09:48AM    6             BY THE WAY, ONE THING I WANT TO MAKE CLEAR, AFTER

09:48AM    7       DISCUSSING THIS WITH MR. BOSTIC, THE PORTION AT THE BOTTOM

09:48AM    8       WHERE DR. TOPOL IS RESPONDED TO QUESTIONS, IT'S NOT BEING

09:48AM    9       OFFERED FOR ITS TRUTH.

09:48AM   10                    MR. BOSTIC:    AND, YOUR HONOR, I APPRECIATE THAT.          I

09:48AM   11       WOULD SAY 801 AS TO THAT PORTION.

09:48AM   12             I WOULD JUST LIKE TO BETTER UNDERSTAND WHY IT IS COMING IN

09:48AM   13       AND THE PURPOSE.

09:48AM   14                    MR. CLINE:    AND I'M HAPPY TO EXPLAIN.

09:48AM   15             WE'RE OFFERING THIS, YOUR HONOR, TO SHOW A COUPLE OF

09:49AM   16       THINGS:   THE INDEPENDENT RESEARCH THAT MR. PARLOFF UNDERTOOK AS

09:49AM   17       HE DID THIS ARTICLE, IN OTHER WORDS, HE WASN'T JUST TALKING TO

09:49AM   18       MS. HOLMES, HE WAS TALKING TO A VARIETY OF OTHER PEOPLE,

09:49AM   19       INCLUDING EXPERTS; AND ALSO TO SHOW MS. HOLMES'S AWARENESS OF

09:49AM   20       THOSE EFFORTS AS THE ARTICLE PROGRESSED.

09:49AM   21             SO IT'S NOT BEING OFFERED FOR THE TRUTH OF ANYTHING THAT

09:49AM   22       DR. TOPOL TELLS HIM.       SIMPLY FOR STATE OF MIND AND TO SHOW THE

09:49AM   23       EXTENT OF DR. PARLOFF'S -- NOT DR. PARLOFF'S -- MR. PARLOFF'S

09:49AM   24       RESEARCH.

09:49AM   25                    THE COURT:    ISN'T IT IN EVIDENCE ALREADY THAT



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09:49AM    1       MS. HOLMES SUGGESTED HE SPEAK WITH OTHER PEOPLE?

09:49AM    2                   MR. CLINE:    THAT IS.    THIS PARTICULAR PERSON IS NOT,

09:49AM    3       AND THIS IS AN INDEPENDENT EXPERT, A MEDICAL DOCTOR AT A

09:49AM    4       PRESTIGIOUS INSTITUTION, AND THAT'S WHY WE WANTED TO PUT THAT

09:49AM    5       IN.

09:49AM    6                   THE COURT:    YOU JUST DID.

09:49AM    7                   MR. CLINE:    WELL, UNFORTUNATELY WHAT I SAY IS NOT

09:50AM    8       EVIDENCE.    I WISH IT WERE.

09:50AM    9                   THE COURT:    ALL RIGHT.    I'LL ALLOW THIS TO COME IN.

09:50AM   10             LADIES AND GENTLEMEN, IT'S ONLY COMING IN NOT FOR THE

09:50AM   11       TRUTH OF THE MATTER ASSERTED.

09:50AM   12             IS THAT WHAT YOU'RE TELLING THE JURY?

09:50AM   13                   MR. CLINE:    YES.

09:50AM   14                   THE COURT:    BUT ONLY TO SHOW KNOWLEDGE THAT

09:50AM   15       MS. HOLMES KNEW THAT THIS WITNESS WAS DOING ADDITIONAL RESEARCH

09:50AM   16       AT HER SUGGESTION?

09:50AM   17                   MR. CLINE:    WELL, ON THIS PARTICULAR PERSON, I'M NOT

09:50AM   18       SURE.   WE'LL FIND OUT.

09:50AM   19             BUT IN GENERAL, YES.

09:50AM   20                   THE COURT:    OKAY.   SO, LADIES AND GENTLEMEN, THIS IS

09:50AM   21       OFFERED NOT FOR THE TRUTH OF THE MATTER ASSERTED, BUT ONLY TO

09:50AM   22       SHOW THE STATE OF MIND OF MS. HOLMES, THAT IS, AS TO KNOWLEDGE

09:50AM   23       OF THIS WITNESS'S ENGAGING IN ADDITIONAL RESEARCH.

09:50AM   24             (DEFENDANT'S EXHIBIT 10592 WAS RECEIVED IN EVIDENCE.)

09:50AM   25                   THE COURT:    ALL RIGHT.



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09:50AM    1                    MR. CLINE:   THANK YOU.

09:50AM    2       Q.    ALL RIGHT.    MR. PARLOFF, IF YOU LOOK AT THIS DOCUMENT --

09:50AM    3       WE CAN PUT IT UP NOW.      IF WE CAN GO TO THE BOTTOM EMAIL THERE.

09:50AM    4             THIS, THIS RUNS OVER ON TO THE BACK PAGE, AND I'M NOT SURE

09:51AM    5       IF THERE'S ANYTHING THAT YOU CAN DO ABOUT THAT TO DISPLAY IT.

09:51AM    6             DO YOU SEE THAT THIS IS -- YOU'VE HAD AN EXCHANGE WITH A

09:51AM    7       DR. ERIC TOPOL.

09:51AM    8             DO YOU SEE THAT?

09:51AM    9       A.    YES.

09:51AM   10       Q.    AND WAS HE SOMEONE THAT MS. HOLMES HAD REFERRED YOU TO?

09:51AM   11       A.    YES.

09:51AM   12       Q.    AND DR. TOPOL IS -- HE'S A MEDICAL DOCTOR; RIGHT?

09:51AM   13       A.    YES.

09:51AM   14       Q.    AND HE'S AT THE SCRIPPS -- HE'S A -- AT THE SCRIPPS

09:51AM   15       TRANSLATIONAL SCIENCE INSTITUTE; RIGHT?

09:51AM   16       A.    YEAH, HE CERTAINLY WAS THEN.

09:51AM   17       Q.    I'M SORRY?

09:51AM   18       A.    AND HE MAY STILL BE THERE.

09:51AM   19       Q.    OF COURSE.    WE'RE TALKING ABOUT MAY OF 2014 WHEN YOU WERE

09:51AM   20       TALKING WITH HIM; RIGHT?

09:51AM   21       A.    YES.

09:51AM   22       Q.    HE'S A PROFESSOR OF GENOMICS AT THE SCRIPPS RESEARCH

09:51AM   23       INSTITUTE; IS THAT RIGHT?

09:51AM   24       A.    YES.

09:51AM   25       Q.    AND HE IS AN EXPERT THAT YOU WERE TALKING TO, ALONG WITH



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09:51AM    1       DR. HELFET WHO WE WERE DISCUSSING YESTERDAY, TO GET A READ ON

09:52AM    2       THERANOS'S WORK; RIGHT?

09:52AM    3       A.    YES.

09:52AM    4       Q.    AND YOU SENT HIM AN EMAIL, THIS IS THE BOTTOM EMAIL IN

09:52AM    5       THIS CHAIN; RIGHT?

09:52AM    6       A.    YES.

09:52AM    7       Q.    AND YOU SAY, "ERIC --

09:52AM    8             "I'M THE 'FORTUNE' REPORTER YOU SPOKE WITH A COUPLE OF

09:52AM    9       WEEKS," I THINK YOU MEANT TO SAY AGO, "ABOUT THERANOS AND

09:52AM   10       ELIZABETH HOLMES."     YOU GO ON, "I HAVE HAD SOME BACKGROUND

09:52AM   11       DISCUSSION WITH SOME OFFICIALS WITH AN INCUMBENT BLOOD

09:52AM   12       ANALYTICS COMPANY."

09:52AM   13             RIGHT?

09:52AM   14       A.    YES.

09:52AM   15       Q.    AND CAN WE SAY THAT THAT IS ONE OF THERANOS'S COMPETITORS?

09:52AM   16       A.    YES.

09:52AM   17       Q.    AND YOU SAY, "NOT SURPRISINGLY, THEY WERE POOH-POOH'ING

09:52AM   18       WHAT THEY UNDERSTAND TO BE THERANOS'S ACCOMPLISHMENTS IN A

09:52AM   19       NUMBER OF WAYS."

09:52AM   20             RIGHT?

09:52AM   21       A.    YES.

09:52AM   22       Q.    AND YOU LIST A NUMBER OF WAYS THAT THEY WERE POOH-POOH'ING

09:52AM   23       THE ACCOMPLISHMENTS IN NUMBER POINTS; RIGHT?

09:52AM   24       A.    YES.

09:53AM   25       Q.    AND DR. TOPOL RESPONDS TO YOU; RIGHT?



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09:53AM    1       A.    YES.

09:53AM    2       Q.    AND THAT'S THE NEXT EMAIL UP?

09:53AM    3       A.    IT LOOKS LIKE -- OH, YEAH, UH-HUH.

09:53AM    4       Q.    ALSO ON MAY 9TH, 2014; RIGHT?

09:53AM    5       A.    YES.

09:53AM    6       Q.    AND HE SAYS, "HI ROGER,

09:53AM    7             "THANKS FOR YOUR NOTE - NOT SURPRISING THAT THE THREATENED

09:53AM    8       ENTITIES WOULD COME BACK WITH THESE POINTS."

09:53AM    9             AND THEN HE INTERLINEATES HIS RESPONSES TO YOUR COMMENTS;

09:53AM   10       RIGHT?

09:53AM   11       A.    YES.

09:53AM   12       Q.    AND ALTHOUGH YOU'RE NOT COPIED ON THE EMAIL, THIS GETS

09:53AM   13       FORWARDED ON TO MS. HOLMES; RIGHT?

09:53AM   14             DO YOU SEE THAT?

09:53AM   15       A.    YES.

09:54AM   16       Q.    ALL RIGHT.    WE CAN TAKE THAT DOWN.

09:54AM   17             THE LAST THING I WANT TO DO -- AND I'M HOPING THAT WE CAN

09:54AM   18       TICK THROUGH THESE QUICKLY -- I WANT TO GET THESE DATES IN THE

09:54AM   19       RECORD.

09:54AM   20             IF YOU CAN REFER TO YOUR DOCUMENT, IT WILL BE TAB 1646 IN

09:54AM   21       THE NOTEBOOK THERE, AND I CAN POINT YOU TO PARTICULAR PAGES IF

09:54AM   22       YOU NEED ME TO REFRESH YOUR RECOLLECTION.

09:54AM   23             WE TALKED YESTERDAY ABOUT THE NUMBER OF HOURS TOTAL THAT

09:54AM   24       YOU SPENT TALKING WITH MS. HOLMES; RIGHT?

09:54AM   25       A.    YES.



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09:54AM    1       Q.     AND WHAT I WANT TO DO HERE IS QUICKLY TICK THROUGH THE

09:54AM    2       DATES, THE NUMBER OF INTERACTIONS THAT YOU HAD BETWEEN THE

09:54AM    3       FIRST ONE ON APRIL THE 7TH AND THE PUBLICATION OF YOUR ARTICLE

09:54AM    4       IN JUNE OF 2014.

09:54AM    5       A.     OKAY.

09:54AM    6       Q.     ALL RIGHT.   LET'S RUN THROUGH THESE DATES AND SEE IF WE

09:54AM    7       CAN JUST AGREE ON THEM QUICKLY.       OKAY?

09:54AM    8       A.     OKAY.

09:54AM    9       Q.     THE FIRST INTERVIEW WAS APRIL THE 7TH; RIGHT?

09:54AM   10       A.     YES.

09:54AM   11       Q.     AND YOU TALKED WITH MS. HOLMES FOR A COUPLE OF HOURS THAT

09:54AM   12       DAY?

09:54AM   13       A.     WHATEVER IS -- YEAH.

09:54AM   14       Q.     ALL RIGHT.   WE DON'T HAVE TO NAIL IT DOWN --

09:55AM   15       A.     YEAH.

09:55AM   16       Q.     -- BUT YOU RECORDED SOME OF THAT INTERACTION; RIGHT?

09:55AM   17       A.     YEAH.

09:55AM   18       Q.     AND YOU HAD DINNER WITH MS. HOLMES THAT EVENING; RIGHT?

09:55AM   19       A.     YES.

09:55AM   20       Q.     AND THEN APRIL THE 8TH YOU SPOKE AGAIN WITH MS. HOLMES?

09:55AM   21       A.     YES, UH-HUH.

09:55AM   22       Q.     AND THE 7TH AND THE 8TH, THOSE ARE THE TWO DAYS THAT YOU

09:55AM   23       WERE ACTUALLY AT THERANOS; RIGHT?

09:55AM   24       A.     YES.    I THINK I WAS THERE THE 10TH AS WELL.

09:55AM   25       Q.     OKAY.



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09:55AM    1       A.    AND I MIGHT HAVE SHOWN UP FOR PARTS OF THE 9TH, BUT TO SEE

09:55AM    2       OTHER PEOPLE.

09:55AM    3       Q.    ALL RIGHT.    SO YOU THINK A TOTAL OF FOUR DAYS --

09:55AM    4       A.    YEAH.

09:55AM    5       Q.    -- IN WHOLE OR IN PART YOU WERE IN CAMPUS THERE AT

09:55AM    6       THERANOS?

09:55AM    7       A.    YEAH, UH-HUH.

09:55AM    8       Q.    AND THAT'S WHEN YOU HAD THE TOUR THAT YOU DESCRIBED;

09:55AM    9       RIGHT?

09:55AM   10       A.    I DON'T KNOW WHICH DAY IT WAS.

09:55AM   11       Q.    BUT SOMEWHERE IN THAT FOUR DAY STRETCH?

09:55AM   12       A.    YES.

09:55AM   13       Q.    AND YOU ALSO SAT IN ON A PRODUCT MEETING OF SOME KIND?

09:55AM   14       A.    YES.

09:55AM   15       Q.    AND THAT WAS SOMETHING, EVEN THOUGH YOU WERE ABLE TO SIT

09:55AM   16       ON IT, IT WAS OFF THE RECORD AND YOU WERE NOT ABLE TO REPORT IT

09:55AM   17       IN YOUR ARTICLE; RIGHT?

09:55AM   18       A.    THAT'S RIGHT.

09:56AM   19       Q.    AM I REMEMBERING THAT RIGHT?

09:56AM   20       A.    AND THERE WERE NO NOTES OR TAPES.

09:56AM   21       Q.    AND THIS IS A MEETING WHERE MS. HOLMES IS MEETING WITH HER

09:56AM   22       TEAM AND THEY'RE TALKING ABOUT SOME ISSUE WITH THE TECHNOLOGY;

09:56AM   23       RIGHT?

09:56AM   24       A.    YES.

09:56AM   25       Q.    SO WE HAVE THE 7TH AND THE 8TH.



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09:56AM    1             AND THEN YOU SPOKE AGAIN WITH MS. HOLMES ON THE 10TH;

09:56AM    2       RIGHT?

09:56AM    3       A.    YES.

09:56AM    4       Q.    APRIL 10TH, 2014, JUST SO THE RECORD IS CLEAR HERE.

09:56AM    5             AND YOU SPOKE WITH HER AGAIN ON APRIL 22ND, 2014?

09:56AM    6       A.    UM --

09:56AM    7       Q.    THIS IS AT PAGE 60 OF THAT DOCUMENT IF YOU WANT TO REFER

09:56AM    8       TO IT.

09:56AM    9       A.    PAGE 60.    YES.

09:56AM   10       Q.    APRIL 29TH, 2014.     THAT'S AT PAGE 61?

09:56AM   11       A.    YES.

09:56AM   12       Q.    MAY 5TH, 2014.     THAT'S AT PAGE 65?

09:56AM   13       A.    YES.

09:56AM   14       Q.    MAY 12TH, 2014.    THAT'S AT PAGE 67?

09:56AM   15       A.    YES.

09:56AM   16       Q.    MAY 14TH, 2014.    THAT'S AT 84?

09:56AM   17       A.    YES.

09:57AM   18       Q.    MAY 21ST, 2014.    THAT'S AT 85?

09:57AM   19       A.    YES.

09:57AM   20       Q.    MAY 20 --

09:57AM   21       A.    MAY 21ST?   YES.

09:57AM   22       Q.    MAY 28TH, 2014.    THAT'S ALSO AT 85?

09:57AM   23       A.    YEAH.

09:57AM   24       Q.    AND THEN AGAIN ON JUNE THE 2ND, 2014.        AND UNFORTUNATELY,

09:57AM   25       I'M GOING TO RELY ON YOUR MEMORY FOR THAT ONE.          I DON'T HAVE A



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09:57AM    1       NOTE THAT I CAN POINT YOU TO.

09:57AM    2       A.    WHICH ONE WAS IT?

09:57AM    3       Q.    JUNE 2ND, 2014.

09:57AM    4       A.    THAT SOUNDS RIGHT.

09:57AM    5       Q.    AND AS WE DISCUSSED, IN ADDITION TO THESE CALLS AND

09:57AM    6       MEETINGS, THERE WERE A WHOLE SERIES OF EMAIL EXCHANGES, SOME OF

09:57AM    7       WHICH WE'VE SEEN; RIGHT?

09:57AM    8       A.    YES.

09:57AM    9       Q.    ALL RIGHT.

09:57AM   10             THAT'S ALL OF MY QUESTIONS, YOUR HONOR.        THANK YOU.

09:57AM   11                    THE COURT:    REDIRECT?

09:57AM   12                    MR. BOSTIC:    YES, YOUR HONOR.     THANK YOU.

09:57AM   13                                 REDIRECT EXAMINATION

09:57AM   14       BY MR. BOSTIC:

09:58AM   15       Q.    GOOD MORNING, MR. PARLOFF.

09:58AM   16       A.    GOOD MORNING.

09:58AM   17                    MR. BOSTIC:    YOUR HONOR, A BRIEF HOUSEKEEPING MATTER

09:58AM   18       FROM YESTERDAY AND TODAY.      THE PARTIES HAVE PLAYED AUDIO

09:58AM   19       EXCERPTS INTO THE RECORD.      WOULD THE COURT ORDER THAT THE

09:58AM   20       TRANSCRIPTS OF THOSE RECORDS BE APPENDED TO THE RECORD IN THIS

09:58AM   21       CASE?

09:58AM   22             I HAVE SPOKEN TO MR. CLINE AND I UNDERSTAND THERE'S NO

09:58AM   23       OBJECTION.

09:58AM   24                    MR. CLINE:    NO OBJECTION TO IT BEING APPENDED TO THE

09:58AM   25       RECORD.   IT WILL NOT BE EVIDENCE IN THE CASE.



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09:58AM    1                    MR. BOSTIC:   AGREED, YOUR HONOR.

09:58AM    2                    THE COURT:    YOU HAVE TRANSCRIPTS, INDEPENDENT

09:58AM    3       TRANSCRIPTS YOU'RE SPEAKING OF?

09:58AM    4                    MR. BOSTIC:   YES, YOUR HONOR.     THE PARTIES CAN AGREE

09:58AM    5       ON THEM AND PROVIDE THEM IN DUE COURSE.

09:58AM    6                    THE COURT:    ALL RIGHT.   THANK YOU.

09:58AM    7                    MR. BOSTIC:   THANK YOU, YOUR HONOR.

09:58AM    8                    THE COURT:    AND THAT'S APPROVED, YES.

09:58AM    9       BY MR. BOSTIC:

09:58AM   10       Q.    MR. PARLOFF, DO YOU RECALL DISCUSSIONS WITH MR. CLINE

09:59AM   11       ABOUT YOUR CONVERSATIONS WITH MS. HOLMES ABOUT USE OF THE

09:59AM   12       THERANOS TECHNOLOGY BY THE U.S. MILITARY?

09:59AM   13       A.    YES.

09:59AM   14       Q.    MR. CLINE PLAYED FOR YOU A CLIP YESTERDAY WHERE THAT TOPIC

09:59AM   15       CAME UP.

09:59AM   16             DO YOU REMEMBER THAT CLIP GENERALLY?

09:59AM   17       A.    YES.

09:59AM   18       Q.    AND IN THAT CLIP, IN RESPONSE TO A QUESTION BY YOU ABOUT

09:59AM   19       THE MILITARY, MS. HOLMES SAID SOMETHING TO THE EFFECT OF THAT

09:59AM   20       THE BEST WAY TO SAY THAT WAS IN TERMS OF DECENTRALIZING AND

09:59AM   21       THAT THE APPLICATION OF THAT MIGHT INCLUDE THE MILITARY.

09:59AM   22             DO YOU RECALL THAT?

09:59AM   23       A.    YES.

09:59AM   24       Q.    IN YOUR --

09:59AM   25       A.    IT MIGHT INCLUDE A MILITARY.



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09:59AM    1       Q.    THAT THE APPLICATION, ONE OF THE APPLICATIONS MIGHT BE THE

09:59AM    2       MILITARY?

09:59AM    3       A.    YES, YEAH.

09:59AM    4       Q.    THAT STATEMENT BY MS. HOLMES WAS CONSISTENT WITH WHAT

09:59AM    5       ENDED UP IN YOUR ARTICLE, CORRECT, THAT USE OF THE TECHNOLOGY

09:59AM    6       BY THE MILITARY IS SOMETHING THAT ONE COULD IMAGINE?

09:59AM    7       A.    YES.

10:00AM    8       Q.    THAT CONVERSATION WAS RECORDED; IS THAT RIGHT?

10:00AM    9       A.    I BELIEVE SO.

10:00AM   10       Q.    AND WE LISTENED TO A CLIP FROM IT?

10:00AM   11       A.    YEAH.

10:00AM   12       Q.    WHEN YOU RECORDED CONVERSATIONS WITH MS. HOLMES, DID YOU

10:00AM   13       MAKE A POINT OF MAKING SURE SHE KNEW THAT THAT RECORDING WAS

10:00AM   14       TAKING PLACE?

10:00AM   15       A.    YES, UH-HUH.

10:00AM   16       Q.    DID THAT HAPPEN EACH TIME?

10:00AM   17       A.    YES.

10:00AM   18       Q.    AND DID THE TOPIC OF THERANOS'S USE -- EXCUSE ME, THE

10:00AM   19       MILITARY USE OF THERANOS'S TECHNOLOGY ALSO COME UP IN

10:00AM   20       UNRECORDED CONVERSATIONS?

10:00AM   21       A.    YES.

10:00AM   22       Q.    LET ME ASK YOU A QUESTION ABOUT -- OR A COUPLE OF

10:00AM   23       QUESTIONS ABOUT YOUR SHORTHAND AND SPEED WRITING TECHNIQUES.

10:00AM   24       A.    YES.

10:00AM   25       Q.    DO YOU RECALL DISCUSSING THAT BOTH ON DIRECT AND CROSS?



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10:00AM    1       A.    YES.

10:00AM    2       Q.    AND JUST TO CLARIFY, THE TECHNIQUE THAT YOU USE, ARE YOU

10:00AM    3       JUST WRITING DOWN YOUR IMPRESSIONS OF WHAT THE SUBJECT IS

10:00AM    4       TELLING YOU, OR ARE YOU MAKING YOUR BEST EFFORTS TO ACTUALLY

10:00AM    5       CAPTURE THE WORDS THAT ARE BEING USED?

10:00AM    6       A.    IT ATTEMPTS TO BE VERBATIM, THE WORDS, THE EXACT WORDS.

10:01AM    7       Q.    THANK YOU.

10:01AM    8       A.    YEP.

10:01AM    9       Q.    AND YOU USED THAT PRACTICE IN RECORDING AND MEMORIALIZING

10:01AM   10       YOUR CONVERSATIONS WITH MS. HOLMES AND THE STATEMENTS THAT SHE

10:01AM   11       MADE TO YOU?

10:01AM   12       A.    YES.

10:01AM   13       Q.    AND YOU PRESERVE THOSE NOTES AFTERWARDS?

10:01AM   14       A.    YES.

10:01AM   15       Q.    AND HAVE YOU REVIEWED THOSE NOTES SINCE YOUR CONVERSATIONS

10:01AM   16       WITH MS. HOLMES AND BEFORE TESTIFYING IN THIS TRIAL?

10:01AM   17       A.    YES.

10:01AM   18       Q.    MULTIPLE TIMES?

10:01AM   19       A.    YES.

10:01AM   20       Q.    NO FURTHER QUESTIONS.

10:01AM   21             THANK YOU, MR. PARLOFF.

10:01AM   22                    MR. CLINE:    NOTHING MORE, YOUR HONOR.

10:01AM   23                    THE COURT:    MAY THIS WITNESS BE EXCUSED?

10:01AM   24                    MR. BOSTIC:   YES.

10:01AM   25                    MR. CLINE:    YES.



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10:01AM    1                   THE COURT:    SIR, YOU'RE EXCUSED.      YOU CAN JUST LEAVE

10:01AM    2       ALL OF THAT THERE ON THE COUNTER.

10:02AM    3             ALL RIGHT.    THANK YOU.   THE RECORD SHOULD REFLECT THAT

10:02AM    4       MR. PARLOFF HAS LEFT THE COURTROOM NOW.

10:02AM    5             DOES THE GOVERNMENT HAVE AN ADDITIONAL WITNESS TO CALL?

10:02AM    6                   MR. SCHENK:    YOUR HONOR, MAY I?

10:02AM    7                   THE COURT:    PLEASE.

10:02AM    8                   MR. SCHENK:    A COUPLE OF THINGS FIRST.

10:02AM    9             THE GOVERNMENT MOVES INTO EVIDENCE EXHIBIT 4859.          I

10:02AM   10       BELIEVE THE DEFENSE AGREES.

10:02AM   11                   MR. WADE:    THIS IS THE CONDITIONAL?

10:02AM   12             NO OBJECTION.

10:02AM   13                   THE COURT:    THAT'S ADMITTED WITHOUT OBJECTION.

10:02AM   14             (GOVERNMENT'S EXHIBIT 4859 WAS RECEIVED IN EVIDENCE.)

10:02AM   15                   MR. SCHENK:    SECOND, AS THE COURT KNOWS, BECAUSE ONE

10:02AM   16       PATIENT WILL NOT TESTIFY IN THIS TRIAL, THE GOVERNMENT MOVES TO

10:02AM   17       DISMISS, WITHOUT PREJUDICE, COUNT NINE AS TO THIS DEFENDANT.

10:02AM   18                   THE COURT:    ALL RIGHT.    COUNT NINE OF THE THIRD

10:02AM   19       SUPERSEDING INDICTMENT AS TO THIS DEFENDANT, MS. HOLMES?

10:02AM   20                   MR. SCHENK:    YES, YOUR HONOR.

10:02AM   21                   THE COURT:    ANY OBJECTION?

10:03AM   22                   MR. DOWNEY:    NO OBJECTION, YOUR HONOR.

10:03AM   23                   THE COURT:    ALL RIGHT.    THANK YOU.    THAT'S GRANTED.

10:03AM   24             THEN COUNT NINE, COUNT NINE, LADIES AND GENTLEMEN, THE

10:03AM   25       GOVERNMENT HAS MOVED TO DISMISS COUNT NINE OF THE THIRD



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10:03AM    1       SUPERSEDING INDICTMENT.      THAT IS GRANTED, AND THAT WILL NOT BE

10:03AM    2       BEFORE YOU FOR DECISION.

10:03AM    3             THANK YOU.

10:03AM    4                   MR. SCHENK:    THANK YOU, YOUR HONOR.

10:03AM    5             AND FINALLY, THE UNITED STATES RESTS.

10:03AM    6                   THE COURT:    ALL RIGHT.    THANK YOU.    THE GOVERNMENT

10:03AM    7       RESTS.

10:03AM    8             LADIES AND GENTLEMEN, WHAT THAT MEANS IS THAT THE

10:03AM    9       GOVERNMENT HAS PRESENTED THEIR ENTIRE CASE TO YOU NOW.

10:03AM   10             AT THIS TIME, LET ME CALL ON THE DEFENSE.

10:03AM   11             MR. DOWNEY, DO YOU HAVE A WITNESS TO CALL?

10:03AM   12                   MR. DOWNEY:    YOUR HONOR, BEFORE THAT BEGINS, THE

10:03AM   13       DEFENSE HAS SOME MOTIONS TO RAISE WITH THE COURT.

10:03AM   14                   THE COURT:    OKAY.

10:03AM   15                   MR. DOWNEY:    WE WILL NOT NEED THE PRESENCE OF THE

10:03AM   16       JURY FOR THAT.

10:03AM   17                   THE COURT:    ALL RIGHT.

10:03AM   18                   MR. DOWNEY:    SO IF WE CAN TAKE A BRIEF ADJOURNMENT

10:03AM   19       AND BEGIN WITH THAT?

10:03AM   20                   THE COURT:    LET'S DO THAT.

10:03AM   21             WE'LL TAKE A BREAK, LADIES AND GENTLEMEN.         I NEED TO TALK

10:03AM   22       WITH THE LAWYERS ABOUT THE NEXT STEPS, SO WE'LL TAKE A BREAK.

10:04AM   23             THIS WILL PROBABLY BE ABOUT -- WELL, I DON'T KNOW.          I'M

10:04AM   24       NOT GOING TO MAKE ANY TIMING PROMISES, BUT WE'LL TAKE A BREAK

10:04AM   25       AND WE'LL CALL YOU BACK IN WHEN NECESSARY.



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10:04AM    1              THANK YOU.

10:04AM    2              (JURY OUT AT 10:04 A.M.)

10:04AM    3                    THE COURT:    PLEASE BE SEATED.    THANK YOU.

10:04AM    4              THE RECORD SHOULD REFLECT THAT THE JURY HAS LEFT THE

10:04AM    5       COURTROOM.    ALL PARTIES REMAIN.       COUNSEL AND MS. HOLMES REMAIN.

10:04AM    6              MR. DOWNEY, SHOULD I HEAR FROM MS. SAHARIA NOW?

10:04AM    7                    MR. DOWNEY:    YES, YOUR HONOR.    MS. SAHARIA IS GOING

10:04AM    8       TO SPEAK TO THE COURT ABOUT ISSUES UNDER RULE 29, AS WELL AS

10:05AM    9       SOME OTHER ISSUES RELATED TO THE RECORD TO DATE IN THE CASE.

10:05AM   10                    THE COURT:    ALL RIGHT.    THANK YOU.

10:05AM   11              GOOD MORNING AGAIN, MS. SAHARIA.

10:05AM   12                    MS. SAHARIA:   GOOD MORNING AGAIN, YOUR HONOR.

10:05AM   13              WE DO INTEND TO MOVE FOR JUDGMENT OF ACQUITTAL UNDER

10:05AM   14       RULE 29, BUT BEFORE I DO THAT -- AND I THINK THE INTENT TODAY

10:05AM   15       IS TO DO THAT GENERALLY AND IN THE INTEREST OF MOVING ALONG,

10:05AM   16       AND THEN WE CAN TAKE UP THE ARGUMENT AT A LATER DATE IF THAT'S

10:05AM   17       THE COURT'S PREFERENCE.

10:05AM   18              BUT BEFORE I DO THAT, WE HAVE THREE HOUSEKEEPING MATTERS

10:05AM   19       TO RAISE WITH RESPECT TO THE EVIDENCE THAT HAS COME INTO THE

10:05AM   20       GOVERNMENT'S CASE, AND MR. LOOBY IS GOING TO ADDRESS THE FIRST

10:05AM   21       OF THOSE HOUSEKEEPING MATTERS.

10:05AM   22                    THE COURT:    OKAY.

10:05AM   23                    MS. SAHARIA:   AND THEN I'LL RETURN FOR THE OTHER

10:05AM   24       TWO.

10:05AM   25                    THE COURT:    ALL RIGHT.    THANK YOU.



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10:05AM    1             MR. LOOBY?    SHOULD I SAY IT'S NICE TO SEE YOU AGAIN AS

10:05AM    2       WELL, MR. LOOBY?

10:05AM    3                   MR. LOOBY:    YES, YOUR HONOR, IT'S WONDERFUL TO BE

10:06AM    4       BACK UP HERE.    GOOD MORNING.

10:06AM    5             WE'RE DISCUSSING THE CMS REPORT AGAIN.

10:06AM    6             SO THIS EVIDENTIARY RULING THE DEFENSE IS MOVING TO

10:06AM    7       STRIKE, UNDER RULE 403 AND THE CONFRONTATION CLAUSE, THE

10:06AM    8       PORTIONS OF THE JANUARY 25, 2016 CMS FORM 2567 AND COVER LETTER

10:06AM    9       AND RELATED TESTIMONY THAT WERE ADMITTED DURING THE TESTIMONY

10:06AM   10       OF DR. DAS, AND THAT'S EXHIBIT 4621 AS REDACTED, AND I BELIEVE

10:06AM   11       IT CAME IN AS 4621A AND 4621B.

10:06AM   12             WE MAKE THIS MOTION NOW THAT THE GOVERNMENT HAS RESTED.

10:06AM   13       THERE ARE TWO REASONS WHY THE GOVERNMENT'S CASE, NOW THAT WE

10:06AM   14       HAVE SEEN IT, THE COMPLETE CASE, CANNOT JUSTIFY ADMISSION OF

10:06AM   15       THE REPORT.

10:06AM   16             THE FIRST AND PROBABLY THE MOST IMPORTANT IS THE

10:06AM   17       GOVERNMENT HAS RESTED WITHOUT CALLING A CMS WITNESS.           THIS

10:06AM   18       RAISES 403 AND CONFRONTATION CLAUSE CONCERNS.

10:06AM   19             THE GOVERNMENT HAD PREVIOUSLY NOTED THAT THIS TESTIMONY IS

10:07AM   20       A NECESSARY PREREQUISITE TO THE REPORT'S ADMISSION.          THE FACT

10:07AM   21       THAT A CMS INSPECTOR WOULD TESTIFY WAS THE PRIMARY REASON WHY

10:07AM   22       THE GOVERNMENT ASKED THE COURT TO REJECT OUR RULE 403 ARGUMENTS

10:07AM   23       WHEN WE FIRST LITIGATED THIS MATTER PRETRIAL, AND THAT'S AT

10:07AM   24       DOCKET 675.

10:07AM   25             SO THEY SAID FUNDAMENTALLY THE EVIDENCE IS NOT EXCLUDABLE



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10:07AM    1       BECAUSE IT'S SUBJECTIVE.      THE REMEDY IS CROSS-EXAMINATION.          AND

10:07AM    2       THAT'S AT PAGE 8 OR 9, 8 TO 9.       AND AGAIN AT PAGE 8, MS. HOLMES

10:07AM    3       REMAINS FREE TO CROSS-EXAMINE THE CMS WITNESSES AND ATTEMPT TO

10:07AM    4       UNDERCUT THEIR OBSERVATIONS.

10:07AM    5             THIS CONCESSION FROM THE GOVERNMENT PRETRIAL, IT MAKES

10:07AM    6       SENSE, THE CMS REPORT POSES SEVERAL ISSUES AS A PIECE OF

10:07AM    7       EVIDENCE, MANY OF WHICH WE HAVE ALREADY DISCUSSED, THAT MAKE IT

10:07AM    8       DANGEROUS WITHOUT CONTEXT FROM ITS AUTHORS.         THAT'S THE

10:08AM    9       TECHNICAL NATURE, THE FACT THAT IT SETS FORTH OBSERVATIONS OF

10:08AM   10       REGULATORY VIOLATIONS THAT ARE DETERMINED BY THE INSPECTORS

10:08AM   11       THEMSELVES, AND ALSO THAT WE WOULD PROFFER THAT THE CMS

10:08AM   12       INSPECTORS WOULD HAVE TESTIFIED THAT A LOT OF THOSE

10:08AM   13       OBSERVATIONS, INCLUDING WHETHER OR NOT A LAB PRACTICE IS

10:08AM   14       DEFICIENT, WHETHER A LAB, DEFICIENT LAB PRACTICE RISES TO A

10:08AM   15       STANDARD OR A CONDITION LEVEL, AND WHETHER IMMEDIATE JEOPARDY

10:08AM   16       IS FOUND OR INHERENTLY SUBJECTIVE OBSERVATIONS.

10:08AM   17             THE REPORT HAS BEEN ADMITTED AND MS. HOLMES DID NOT HAVE

10:08AM   18       AN OPPORTUNITY TO CONFRONT THE AUTHORS ON THOSE POINTS.

10:08AM   19             AND I'LL BE BRIEF ON THIS POINT, BUT THE SECOND REASON,

10:08AM   20       AND IT DOVETAILS WITH THE FIRST, IS THAT THE GOVERNMENT MOVED

10:08AM   21       TO ADMIT THE REPORT AS BEARING ON MS. HOLMES'S STATE OF MIND

10:08AM   22       AND NOTICE TO HER, AND THAT IS AT -- THE FIRST OF THOSE

10:08AM   23       EXCHANGES WITH THE COURT AND MR. LEACH WAS AT 5810 OF THE

10:08AM   24       TRANSCRIPT.

10:09AM   25             THE ISSUE THAT THIS PRESENTS IS THAT IT'S ONLY NOTICE AND



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10:09AM    1       STATE OF MIND AS OF JANUARY 25TH, 2016, AND THE GOVERNMENT HAS

10:09AM    2       NOT IDENTIFIED WHAT STATEMENTS OR ACTIONS THE DEFICIENT LAB

10:09AM    3       PRACTICES IN THE REPORT ARE RELEVANT TO AND WHETHER OR NOT

10:09AM    4       MS. HOLMES MADE STATEMENTS ABOUT THESE PARTICULAR ISSUES ON THE

10:09AM    5       PORTIONS THAT WERE ADMITTED AFTERWARDS.

10:09AM    6             OF COURSE, NONE OF THE KNOWLEDGE THAT WOULD HAVE COME IN

10:09AM    7       THE JANUARY 25TH, 2016 REPORT CAN BE TRANSPORTED BACK IN TIME.

10:09AM    8       SO I DON'T THINK THAT THE GOVERNMENT HAS ACTUALLY LINKED UP THE

10:09AM    9       NOTICE PORTION FOR WHAT IT ADMITTED IT FOR TO ANY RELEVANT

10:09AM   10       STATEMENT OR POINT IN ITS CASE.

10:09AM   11             AND SO GIVEN THAT ITS PROBATIVE VALUE ON THIS POINT IS

10:09AM   12       EITHER ZERO OR AT THE MINIMUM VERY LOW AND THAT THE 403

10:09AM   13       CONCERNS ARE NOW HEIGHTENED GIVEN THE WAY THAT IT CAME IN,

10:09AM   14       WITHOUT CONTEXT AND WITHOUT THE TESTIMONY OF A SMS WITNESS, WE

10:10AM   15       MOVE TO STRIKE THE REPORT AND THE RELATED TESTIMONY.

10:10AM   16             WE'RE PREPARED TO IDENTIFIED FOR THE COURT EXACTLY WHAT

10:10AM   17       PORTIONS OF THOSE TESTIMONY FROM DR. DAS THAT WOULD BE.           IT'S

10:10AM   18       SOME OF HIS TESTIMONY ABOUT THIS, BUT NOT ALL OF IT.

10:10AM   19             AND IT WOULD BE, YOU KNOW, QUESTIONS WHERE THE GOVERNMENT

10:10AM   20       READ PORTIONS OF THE REPORT INTO EVIDENCE AND ASKED DR. DAS IF

10:10AM   21       HE HAD SAW AND READ THEM; QUESTIONS WHERE THE GOVERNMENT ASKED

10:10AM   22       DR. DAS IF HE EVER TOLD CMS THAT HE DISAGREED WITH A PARTICULAR

10:10AM   23       FINDING; AND QUESTIONS WHERE THE GOVERNMENT ASKED DR. DAS TO

10:10AM   24       EXPLAIN WHAT HE HAD UNDERSTOOD CERTAIN TERMS IN THE REPORT TO

10:10AM   25       MEAN.



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10:10AM    1             SO UNLESS THE COURT HAS FURTHER QUESTIONS?

10:10AM    2                   THE COURT:    NO.

10:10AM    3             LET ME ASK THE GOVERNMENT TO RESPOND IF THEY WISH.

10:10AM    4                   MR. LEACH:    BRIEFLY, YOUR HONOR.

10:10AM    5             ALL OF THE ARGUMENTS I JUST HEARD FROM MR. LOOBY WERE

10:10AM    6       RAISED AND REJECTED BY THE COURT ON MULTIPLE OCCASIONS.           I

10:11AM    7       THINK THIS MIGHT BE THE FOURTH OR FIFTH MOTION RELATING TO THE

10:11AM    8       CMS REPORT.

10:11AM    9             THERE WAS AN OBJECTION IN THE MOMENT.        IT WAS OVERRULED.

10:11AM   10       THE RULING WAS CORRECT.

10:11AM   11             DR. DAS -- IT WAS RELEVANT TO MS. HOLMES'S STATE OF MIND,

10:11AM   12       THE SPEED AND ATTENTION WITH WHICH SHE RESPONDS TO THE REPORT,

10:11AM   13       HER CONVERSATIONS WITH DR. DAS ABOUT WHETHER THE FINDINGS ARE

10:11AM   14       CORRECT OR INCORRECT, DR. DAS'S TESTIMONY ABOUT THE REASON FOR

10:11AM   15       THE VOIDING AND WHETHER MS. HOLMES WAS TRYING TO MINIMIZE IT OR

10:11AM   16       NOT MINIMIZE IT, THE STATEMENTS MS. HOLMES MAKES TO

10:11AM   17       MS. PETERSON ATTEMPTING TO MINIMIZE WHAT CMS IS FINDING

10:11AM   18       SUGGESTS THAT SHE DIDN'T TAKE THE REGULATORY ISSUES SERIOUSLY.

10:11AM   19             SO FOR ALL OF THOSE REASONS IT WAS RELEVANT AND

10:11AM   20       APPROPRIATE TO COME IN.

10:11AM   21             THIS IS THE FIRST TIME THAT I'M HEARING ABOUT A RENEWED

10:11AM   22       MOTION, AND I THINK IT'S QUITE PREJUDICIAL TO DO IT AT THIS

10:11AM   23       POINT RATHER THAN WHEN DR. DAS HAD COMPLETED HIS TESTIMONY.

10:11AM   24             I WOULD ALSO SAY THE IDEA OF IMMEDIATE JEOPARDY FIRST CAME

10:12AM   25       INTO EVIDENCE DURING THE PLAYING OF THE "TODAY SHOW" INTERVIEW,



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10:12AM    1       WHICH WAS ADDED IN RESPONSE TO THE DEFENDANT'S RULE OF

10:12AM    2       COMPLETENESS ARGUMENTS.

10:12AM    3              SO I DON'T THINK THERE'S SOMETHING PARTICULARLY

10:12AM    4       PREJUDICIAL ABOUT THE LETTER OR DR. DAS'S REVIEW, REPORT TO

10:12AM    5       MS. HOLMES, AND ULTIMATE CONCURRENCE WITH THE OBSERVATIONS BY

10:12AM    6       CMS.

10:12AM    7              I'M HAPPY TO RESPOND MORE FULSOMELY IN WRITING IF THE

10:12AM    8       COURT WISHES, BUT FOR ALL OF THOSE REASONS AND OTHERS, THE

10:12AM    9       MOTION SHOULD BE DENIED.

10:12AM   10                   THE COURT:    THANK YOU.

10:12AM   11              DO YOU WISH TO COMMENT NOW OR AT SOME OTHER TIME ON THE

10:12AM   12       CONFRONTATION ISSUE?

10:12AM   13                   MR. LEACH:    YES, YOUR HONOR.

10:12AM   14              FIRST, THE CMS REPORT IS NOT TESTIMONIAL, SO THE

10:12AM   15       CONFRONTATION CLAUSE DOESN'T COME INTO PLAY AT ALL.          THAT'S THE

10:12AM   16       FIRST REASON.

10:12AM   17              THE SECOND REASON IS IT CAME IN FOR ITS STATE OF MIND ON

10:12AM   18       MS. HOLMES, AND WE ASKED QUESTIONS OF DR. DAS THAT TOUCHED ON

10:12AM   19       HER STATE OF MIND.

10:12AM   20              SO IT CAME IN FOR A NONHEARSAY PURPOSE.       THERE'S NO POINT

10:13AM   21       TO CROSS-EXAMINING THE CMS WITNESS ABOUT IT, AND IT'S REALLY

10:13AM   22       DR. DAS'S AGREEMENT AND, FRANKLY, MS. HOLMES'S AGREEMENT ON

10:13AM   23       SOME LEVEL TO VOID THE TESTS THAT MADE ALL OF THIS RELEVANT,

10:13AM   24       AND DR. DAS'S SUBSEQUENT INVESTIGATION TO SEE IF THESE WERE

10:13AM   25       ABERRATIONS OR NOT ABERRATIONS.



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10:13AM    1             SO THERE WOULD HAVE BEEN NO POINT TO CROSS-EXAMINING

10:13AM    2       SARAH BENNETT FOR THE PURPOSE FOR WHICH IT CAME IN.

10:13AM    3             BUT THE CONFRONTATION CLAUSE DOESN'T COME INTO PLAY AT ALL

10:13AM    4       BECAUSE THE CMS REPORT IS NOT TESTIMONIAL, WHICH IS ONE OF THE

10:13AM    5       REQUIREMENTS FOR THE SIXTH AMENDMENT ANALYSIS.

10:13AM    6                   THE COURT:    THANK YOU.

10:13AM    7                   MR. LOOBY:    YOUR HONOR, AND THE DEFENSE BELIEVES

10:13AM    8       THAT THE CMS REPORT AND ITS OBSERVATIONS WERE TESTIMONIAL

10:13AM    9       BECAUSE THEY WERE PREPARED IN ADVANCE WITH AN EYE TOWARDS

10:13AM   10       LITIGATION AND POTENTIAL CRIMINAL LITIGATION.

10:13AM   11             THIS IS AN ISSUE, YOU KNOW, THAT WE DISCUSSED AS IT

10:13AM   12       RELATED TO THE HEARSAY ISSUES.       INITIALLY THE DEFENSE JUST

10:13AM   13       REITERATES AND PRESERVES ITS POSITION ON THAT.

10:14AM   14             AND THEN AS FOR THE NONHEARSAY PURPOSE IN WHICH IT CAME

10:14AM   15       IN, I THINK, YOU KNOW, EVEN IF -- THE REPORT ITSELF CAME IN FOR

10:14AM   16       NONHEARSAY, BUT THEN THE GOVERNMENT ASKED DR. DAS WHETHER OR

10:14AM   17       NOT HE AGREED WITH CERTAIN PORTIONS OF IT.

10:14AM   18             SO I THINK THE 403 CONCERNS ARE STILL PRESENT, AND WE

10:14AM   19       DISAGREE THAT THEY CAN BE ALLEVIATED OR ADDRESSED WITHOUT THE

10:14AM   20       TESTIMONY OF A CMS INSPECTOR, THE PEOPLE WHO MADE THE FINDINGS.

10:14AM   21             AND SO WE SUBMIT THAT IT'S BOTH THE 403 AND THE

10:14AM   22       CONFRONTATION REASONS ARE WHY THE REPORT MUST BE EXCLUDED.

10:14AM   23             AND WE'RE MAKING THIS MOTION NOW AT THE CONCLUSION OF THE

10:14AM   24       GOVERNMENT'S CASE JUST BECAUSE WE HAVE SEEN HOW IT WAS USED AND

10:14AM   25       WHICH EVIDENCE DID AND DIDN'T COME IN.



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10:14AM    1                   THE COURT:    UNDERSTOOD.    ALL RIGHT.    THANK YOU.

10:14AM    2             ANYTHING FURTHER, MR. LEACH?

10:14AM    3                   MR. LEACH:    NO, YOUR HONOR.

10:14AM    4                   THE COURT:    ALL RIGHT.    THANK YOU VERY MUCH.     THANK

10:14AM    5       YOU FOR THAT.

10:15AM    6             MS. SAHARIA.

10:15AM    7                   MS. SAHARIA:    THANK YOU, YOUR HONOR.

10:15AM    8             JUST TWO MORE BRIEF HOUSEKEEPING MATTERS.         I HOPE THE

10:15AM    9       COURT CAN APPRECIATE THAT WE FEEL COMPELLED TO MAKE THE RECORD

10:15AM   10       NOW TO PRESERVE THESE ARGUMENTS NOW THAT THE GOVERNMENT HAS

10:15AM   11       RESTED.

10:15AM   12             SO A SECOND POINT IS THAT WE MOVE TO STRIKE THE TESTIMONY

10:15AM   13       OF E.T., THIS IS THE PATIENT THAT TESTIFIED THIS WEEK, NOW THAT

10:15AM   14       THE GOVERNMENT HAS RESTED WITHOUT CALLING THE CORRESPONDING

10:15AM   15       DOCTOR, DR. ASIN.     E.T. IS NOT QUALIFIED TO INTERPRET THE

10:15AM   16       COMPLEX HIV TEST REPORT THAT SHE RECEIVED, THEREFORE, IT POSES

10:15AM   17       ISSUES WITH RESPECT TO LAY OPINION THAT IS NOT -- FOR SOMEONE

10:15AM   18       WHO IS NOT QUALIFIED TO OFFER THAT OPINION.

10:15AM   19             AND IT ALSO POSES VERY SEVERE 403 CONCERNS WHERE A WITNESS

10:15AM   20       WHO DOES NOT KNOW HOW TO INTERPRET THIS REPORT HAS OFFERED

10:15AM   21       ESSENTIALLY AN OPINION THAT SHE RECEIVED INACCURATE TEST

10:16AM   22       RESULTS WITHOUT A PERSON QUALIFIED TO OFFER THAT OPINION TO THE

10:16AM   23       JURY.

10:16AM   24             I'LL JUST NOTE A COUPLE OF THINGS FROM THE HISTORY OF THE

10:16AM   25       LITIGATION OF THIS ISSUE.      I KNOW YOUR HONOR KNOWS THAT WE'VE



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10:16AM    1       BEEN LITIGATING THESE ISSUES AROUND THESE PATIENTS AND DOCTORS

10:16AM    2       NOW FOR QUITE A LONG TIME, AND THE, THE GOVERNMENT PREVIOUSLY

10:16AM    3       RECOGNIZED THE IMPORTANCE OF CALLING DOCTORS FOR THE PURPOSE OF

10:16AM    4       EXPLAINING WHETHER A TEST WAS INACCURATE.         THIS IS AT ECF 660.

10:16AM    5             AT TRIAL, THE GOVERNMENT WILL PRESENT TESTIMONY FROM

10:16AM    6       SEVERAL OF THE PATIENT VICTIMS, ALONG WITH PATIENT TESTIMONY.

10:16AM    7       THE GOVERNMENT PLANS TO INTRODUCE TESTIMONY FROM TREATING

10:16AM    8       PHYSICIANS.    SUCH TESTIMONY WILL BE AN ESSENTIAL PART OF THE

10:16AM    9       GOVERNMENT'S PROOF AT TRIAL BECAUSE THOSE PHYSICIANS ARE

10:16AM   10       QUALIFIED AND EQUIPPED TO DELIVER RELIABLE OPINIONS THAT

10:16AM   11       CERTAIN THERANOS TEST RESULTS WERE DEMONSTRABLY INACCURATE.

10:16AM   12             AGAIN, AT THE HEARING ON THAT MOTION -- THIS IS MAY 4TH,

10:17AM   13       2021 -- AT PAGES 130 AND 131, THE GOVERNMENT DISTINGUISHED

10:17AM   14       PATIENT TESTIMONY FROM DOCTOR TESTIMONY.         THE GOVERNMENT SAID,

10:17AM   15       A PATIENT CAN TESTIFY ABOUT THE PROMOTIONAL MATERIALS OR THE

10:17AM   16       MARKETING MATERIALS THAT THEY WERE EXPOSED TO FROM THERANOS,

10:17AM   17       ABOUT THEIR REASONS FOR CHOOSING THERANOS, ABOUT THEIR

10:17AM   18       EXPERIENCES WITH THE COMPANY, THE REASONS -- THE RESULTS THAT

10:17AM   19       THEY GOT.    BUT HER DOCTOR IS THE ONE WHO IS IN THE BEST

10:17AM   20       POSITION TO TESTIFY REGARDING WHAT AN HCG TEST WAS -- THEY WERE

10:17AM   21       DISCUSSING THERE THE PREGNANCY TEST -- HOW IT WAS USED, WHY IT

10:17AM   22       WAS ORDERED IN THIS SPECIFIC PATIENT'S CASE, AND ALSO TO

10:17AM   23       EXPLAIN WHAT RESULTS MEAN, SO INCLUDING THE SIGNIFICANCE OF THE

10:17AM   24       SPECIFIC RESULTS RECEIVED BY THAT PARTICULAR PATIENT AT ISSUE.

10:17AM   25             AND THEN JUST EARLIER THIS WEEK IN AN ARGUMENT ON THE



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10:17AM    1       CUSTOMER SPREADSHEETS THAT WE DISCUSSED, THE GOVERNMENT

10:17AM    2       EXPLAINED TO THE COURT, I SHOULD SAY, THAT EVEN AFTER A PATIENT

10:17AM    3       RECEIVES A RESULT, I THINK THE EVIDENCE IN THE CASE HAS SHOWN

10:18AM    4       THAT IT IS NOT ALWAYS CLEAR WHETHER THE RESULT IS ACCURATE OR

10:18AM    5       NOT.    A PATIENT LOOKING AT A SHEET OF RESULTS CANNOT BE COUNTED

10:18AM    6       ON TO SAY, HERE'S AN INACCURATE ONE, I'M THEREFORE NOT GOING TO

10:18AM    7       GIVE THERANOS A POSITIVE REVIEW WHEN I FILL OUT THIS SURVEY.

10:18AM    8              WE JUST DON'T HAVE ACCURATE AND RELIABLE TESTIMONY IN THIS

10:18AM    9       RECORD THAT E.T. RECEIVED AN INACCURATE RESULT.          THE TEST

10:18AM   10       RESULT THAT SHE RECEIVED HAD A SERIES OF DIFFERENT RESULTS.

10:18AM   11       ONE WAS REACTIVE, OTHERS WERE NONREACTIVE.

10:18AM   12              NO ONE QUALIFIED HAS COME BEFORE THE JURY TO EXPLAIN WHAT

10:18AM   13       THAT MEANS, AND FOR THAT REASON WE MOVE TO EXCLUDE HER

10:18AM   14       TESTIMONY.

10:18AM   15                    THE COURT:    ALL RIGHT.   THANK YOU.

10:18AM   16              MR. BOSTIC?

10:18AM   17                    MR. BOSTIC:   THANK YOU, YOUR HONOR.

10:18AM   18              THE GOVERNMENT OPPOSES THIS MOTION.       THE TESTIMONY OF --

10:18AM   19       I'LL USE HER NAME BECAUSE SHE TESTIFIED UNDER HER NAME.

10:18AM   20              THE TESTIMONY OF MS. TOMPKINS SHOULD REMAIN IN THE RECORD.

10:18AM   21              FIRST OF ALL, THE DEFENSE IS ARGUING ABOUT LAY OPINIONS AS

10:19AM   22       TO THE ACCURACY OF THE TEST IN THIS CASE, BUT TO MY MEMORY,

10:19AM   23       THIS WITNESS DID NOT OFFER ANY LAY OPINIONS OR CONCLUSIONS

10:19AM   24       ABOUT THE ACCURACY OF THE TEST.

10:19AM   25              I IMAGINE THAT SUCH TESTIMONY, HAD IT BEEN OFFERED, WOULD



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10:19AM    1       HAVE DRAWN AN OBJECTION FROM THE DEFENSE THAT THIS WITNESS DID

10:19AM    2       NOT HAVE A BASIS TO REACH A CONCLUSION ON THAT ULTIMATE ISSUE.

10:19AM    3              SO I THINK THE DEFENSE IN THAT RESPECT IS POINTING TO A

10:19AM    4       PROBLEM THAT DOESN'T EXIST WITH THIS TESTIMONY.

10:19AM    5              THIS PATIENT WAS QUALIFIED TO TALK ABOUT HER EXPERIENCE

10:19AM    6       WITH THE THERANOS TEST AND PRESENT TO THE JURY THE RESULTS THAT

10:19AM    7       SHE OBTAINED.

10:19AM    8              IN THE PAST THE GOVERNMENT HAS NOTED THAT IN NOT EVERY

10:19AM    9       CASE IS IT POSSIBLE TO TELL WHETHER TEST RESULTS ARE ACCURATE

10:19AM   10       OR NOT.

10:19AM   11              IN SOME CASES, EVEN A DOCTOR OR AN EXPERT CANNOT TELL

10:20AM   12       AFTER THE FACT AND AT THE TIME WHETHER RESULTS ARE ACCURATE OR

10:20AM   13       NOT.

10:20AM   14              OTHER RESULTS REQUIRE THE TESTIMONY AND THE EXPERT OPINION

10:20AM   15       OF SOMEONE WHO KNOWS HOW THAT TEST WORKS AND WHO CAN PROVIDE

10:20AM   16       THE JURY WITH BACKGROUND INFORMATION ABOUT THE SIGNIFICANCE OF

10:20AM   17       CERTAIN RESULTS VERSUS OTHER RESULTS AND WHAT THEY CORRESPOND

10:20AM   18       TO IN THE BODY OF THE PATIENT.

10:20AM   19              OTHER TEST RESULTS SPEAK FOR THEMSELVES.       A RESULT THAT

10:20AM   20       TELLS THE PATIENT THAT THERE ARE HIV ANTIBODIES PRESENT IN HER

10:20AM   21       BLOODSTREAM IS INCOMPATIBLE WITH ANOTHER TEST RESULT THAT SAYS

10:20AM   22       THE OPPOSITE.    THEY CANNOT BOTH BE CORRECT.

10:20AM   23              EXPERT TESTIMONY IS NOT NECESSARY TO, YOU KNOW, EXPLAIN

10:20AM   24       HOW THE VIRUS WORKS OR HOW THE TEST IS PERFORMED IN ORDER FOR

10:20AM   25       THOSE TWO CONFLICTING RESULTS TO HAVE PROBATIVE VALUE FOR THE



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10:20AM    1       JURY.   AND THAT'S WHAT THIS IS ABOUT.

10:20AM    2             I WOULD ALSO ADD ON THAT, THOUGH, THAT THE TESTIMONY OF

10:21AM    3       MS. TOMPKINS IS ADMISSIBLE AND THE COUNT THAT IS BASED ON HER

10:21AM    4       WIRE IS STILL A VALID COUNT EVEN IF THAT TEST RESULT WAS NOT

10:21AM    5       INACCURATE.

10:21AM    6             THIS WAS A WIRE IN FURTHERANCE OF THE SCHEME TO DEFRAUD

10:21AM    7       PATIENTS, SO IT IS NOT NECESSARY THAT IT RELATE TO A TEST

10:21AM    8       RESULT THAT THE JURY MUST FIND TO BE INACCURATE.          THAT'S NOT A

10:21AM    9       FINDING THAT THE JURY IS REQUIRED TO MAKE IN ORDER TO RULE ON

10:21AM   10       ANY OF THESE COUNTS.

10:21AM   11             AS THE COURT KNOWS, THE WIRE UNDERLYING A WIRE FRAUD COUNT

10:21AM   12       DOES NOT NEED TO CONVEY ANY FALSE OR FRAUDULENT INFORMATION.

10:21AM   13       IT MERELY NEEDS TO BE IN FURTHERANCE OF THE SCHEME TO DEFRAUD.

10:21AM   14             SO THAT IS, I THINK, A FINAL REASON WHY I THINK THIS

10:21AM   15       MOTION SHOULD NOT BE GRANTED.

10:21AM   16                   THE COURT:    OKAY.   THANK YOU.

10:21AM   17             MS. SAHARIA?

10:21AM   18                   MS. SAHARIA:    HER TEST RESULT DOES NOT SPEAK FOR

10:22AM   19       ITSELF, YOUR HONOR.      THERE WERE MULTIPLE LEVELS OF TEST RESULTS

10:22AM   20       ON THE DOCUMENT THAT WAS PUT INTO EVIDENCE.          IT WAS A DIFFERENT

10:22AM   21       WAY OF TESTING FOR HIV THAN THE ONE THAT MS. TOMPKINS RECEIVED

10:22AM   22       RECENTLY WHERE THE TEST WAS A DIFFERENT KIND OF TEST.

10:22AM   23             MS. TREFZ TRIED TO WALK THROUGH WITH THE WITNESS THE CDC

10:22AM   24       ALGORITHM THAT THERE IS A SCREENING STEP THAT PROMPTS YOU TO

10:22AM   25       FURTHER ANALYSES.



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10:22AM    1             OF COURSE THAT WITNESS WAS NOT QUALIFIED TO TALK ABOUT

10:22AM    2       THAT SCREENING ALGORITHM, BUT THERE'S NO ONE QUALIFIED IN THIS

10:22AM    3       COURTROOM TO TELL US WHAT THAT TEST RESULT MEANS OR WHETHER

10:22AM    4       THAT TEST RESULT CONFLICTS WITH HER LATER ONE.

10:22AM    5             SO AT A MINIMUM, HER TESTIMONY ABOUT THAT TEST RESULT

10:22AM    6       SHOULD NOT BE A PART OF THIS RECORD BECAUSE THE ONLY IMPRESSION

10:22AM    7       THAT IT WILL LEAVE THE JURY WITH IS A MISLEADING ONE, THAT

10:22AM    8       THERE WAS IN FACT AN INACCURATE HIV TEST RESULT, WHICH IS

10:22AM    9       SOMETHING THAT WE JUST DON'T KNOW FROM THE CURRENT RECORD.

10:22AM   10                    THE COURT:   IS IT SUFFICIENT THEN FOR HER TO -- FOR

10:22AM   11       THE JURY TO HAVE THESE TWO DIFFERENT TESTS AND THEN THEY

10:23AM   12       DETERMINE?

10:23AM   13                    MS. SAHARIA:   I DON'T THINK THEY'RE QUALIFIED TO

10:23AM   14       MAKE THAT DETERMINATION EITHER, YOUR HONOR.

10:23AM   15                    THE COURT:   WITHOUT EXPERT TESTIMONY --

10:23AM   16                    MS. SAHARIA:   EXACTLY.

10:23AM   17                    THE COURT:   -- TO SAY WHAT IT IS.

10:23AM   18             THE DOCUMENTS, I THINK MR. BOSTIC SUGGESTS, THEY SPEAK FOR

10:23AM   19       THEMSELVES.

10:23AM   20             IS THAT SUFFICIENT?

10:23AM   21                    MS. SAHARIA:   I DON'T BELIEVE THAT A COMPLICATED LAB

10:23AM   22       REPORT THAT DOESN'T SAY, YES, YOU HAVE HIV, NO, YOU DON'T HAVE

10:23AM   23       HIV, THAT'S NOT WHAT THAT REPORT SAYS.

10:23AM   24             IT SAID ONE WAS REACTIVE, OTHERS WERE NONREACTIVE.          IT

10:23AM   25       DIDN'T SAY, YES, YOU HAVE HIV, NO, YOU DON'T.



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10:23AM    1             I DON'T KNOW HOW THE JURY COULD INTERPRET THOSE RESULTS

10:23AM    2       WITHOUT AN EXPERT TO TELL THEM WHAT THEY MEAN.

10:23AM    3                   THE COURT:    THANK YOU.

10:23AM    4             AND THEN FURTHER TO MR. BOSTIC'S POINT, THAT MIGHT NOT BE

10:23AM    5       RELEVANT IF IT'S IN FURTHERANCE OF THE SCHEME.

10:23AM    6                   MS. SAHARIA:    SO I DO THINK THAT RAISES SOME ISSUES

10:23AM    7       THAT WE CAN DISCUSS WHEN WE ARGUE THE MOTION FOR JUDGMENT OF

10:23AM    8       ACQUITTAL, BUT I THINK AT A MINIMUM SHE CAN -- I THINK HER

10:23AM    9       TESTIMONY ABOUT WHY SHE CAME TO THERANOS AND WHAT WAS IMPORTANT

10:23AM   10       TO HER MAY STILL BE RELEVANT TESTIMONY.

10:24AM   11             BUT I, I DON'T BELIEVE THAT IT IS PROPER TO LEAVE IN HER

10:24AM   12       TESTIMONY ABOUT THE TEST RESULTS THEMSELVES AND THE

10:24AM   13       CORRESPONDING EXHIBITS BECAUSE THE JURY IS JUST AS EQUALLY

10:24AM   14       UNQUALIFIED TO INTERPRET THOSE EXHIBITS AS SHE WAS.

10:24AM   15             AND WE CAN PROVIDE THOSE EXHIBIT NUMBERS FOR THE RECORD.

10:24AM   16       I'M NOT SURE I HAVE THEM IN FRONT OF ME, YOUR HONOR.

10:24AM   17                   THE COURT:    THE TEST RESULTS?

10:24AM   18                   MS. SAHARIA:    THE TWO TEST RESULTS, YOUR HONOR.

10:24AM   19                   THE COURT:    RIGHT.    THEY WERE ADMITTED WITHOUT

10:24AM   20       OBJECTION IF I RECALL.

10:24AM   21                   MS. SAHARIA:    WELL, WE OBJECTED IN ADVANCE OF HER

10:24AM   22       TESTIMONY TO THE FACT THAT THE GOVERNMENT HAD INDICATED THAT

10:24AM   23       THEY MAY NOT CALL MR. ASIN.        MS. TREFZ DID RAISE THAT ISSUE AND

10:24AM   24       OUR OBJECTION TO CALLING THE WITNESS WITHOUT THE DOCTOR.           THAT

10:24AM   25       WAS AN OBJECTION THAT WAS MADE ON THE RECORD.



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10:24AM    1             THE GOVERNMENT REFUSED AT THAT TIME TO COMMIT TO WHETHER

10:24AM    2       THEY WERE CALLING HIM OR NOT.

10:24AM    3             NOW THAT WE KNOW THAT THEY'RE NOT CALLING HIM, THAT'S WHY

10:24AM    4       I'M MAKING THIS MOTION.

10:24AM    5                   THE COURT:    OKAY.   THANK YOU.

10:24AM    6                   MR. BOSTIC:    YOUR HONOR?

10:24AM    7                   THE COURT:    YES.

10:24AM    8                   MR. BOSTIC:    THE COURT IS CORRECT THEY WERE ADMITTED

10:24AM    9       WITHOUT OBJECTION.     THE DEFENSE COULD HAVE MADE A REQUEST THAT

10:24AM   10       THEY BE CONDITIONALLY ADMITTED AT THAT TIME.         THEY DID NOT DO

10:25AM   11       SO.

10:25AM   12             MS. SAHARIA JUST SAID THAT THE REPORTS DON'T SAY THAT YOU

10:25AM   13       DON'T HAVE HIV OR YOU DO HAVE HIV.        THAT'S NOT HOW THESE

10:25AM   14       REPORTS WERE PRESENTED TO THE JURY IN THE MOMENT, AND THAT'S

10:25AM   15       NOT HOW THEY'LL BE ARGUED BECAUSE, THAT'S CORRECT, THEY DO NOT

10:25AM   16       SAY THOSE THINGS.

10:25AM   17             HOWEVER, THEY ARE TWO TESTS FOR HIV ANTIBODIES.         ONE CAME

10:25AM   18       BACK REACTIVE.    THE OTHER CAME BACK NEGATIVE.       THOSE ARE TWO

10:25AM   19       CONFLICTING RESULTS.

10:25AM   20             THIS IS NOT THE ONLY TIME IN THIS CASE THAT SPECIFIC

10:25AM   21       INSTANCES OF INCONSISTENT OR CONFLICTING RESULTS HAVE BEEN PUT

10:25AM   22       IN FRONT OF THE JURY WITHOUT THE DEFENSE OBJECTING.

10:25AM   23             THE JURY HAS SEEN EMAILS INTERNAL AT THERANOS RELATING TO

10:25AM   24       RESULTS THAT CAME BACK ON DIFFERENT ASSAYS WHERE THE PATIENT

10:25AM   25       GOT ONE RESULT FROM THERANOS AND A DIFFERENT RESULT FROM



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10:25AM    1       ANOTHER LAB.

10:25AM    2             IN THOSE CASES -- LET'S BE CLEAR.       IN EACH OF THOSE CASES,

10:25AM    3       WE WOULD HAVE BEEN COMPARING TEST RESULTS GENERATED BY

10:26AM    4       DIFFERENT METHODS OF RUNNING THE TESTS BY DEFINITION.           THAT'S

10:26AM    5       THE POINT OF THIS EVIDENCE IS THAT THE THERANOS TEST METHOD

10:26AM    6       WAS, AS SHOWN BY THESE CASES, PROBLEMATIC OR HAD ACCURACY

10:26AM    7       PROBLEMS NOT EXPERIENCED BY TRADITIONAL METHODS.

10:26AM    8             SO WHEN THE EDISON MACHINE PRODUCED A RESULT THAT WAS

10:26AM    9       INCONSISTENT WITH A RESULT PRODUCED BY A CONVENTIONAL MACHINE

10:26AM   10       FROM ANOTHER LAB, THAT'S THE SAME KIND OF I THINK WHAT

10:26AM   11       MS. SAHARIA WOULD CALL HERE AN APPLES TO ORANGES COMPARISON,

10:26AM   12       BUT IT'S NOT.

10:26AM   13             THESE ARE TWO DIFFERENT METHODS AIMED AT MEASURING THE

10:26AM   14       SAME THING, AIMED AT TESTING THE SAME THING, AND IF THEY

10:26AM   15       PRODUCE CONFLICTING RESULTS, THEY CAN'T BOTH BE CORRECT.

10:26AM   16             IT'S FAIR FOR THE JURY TO INFER THAT, BASED ON ALL OF THE

10:26AM   17       EVIDENCE IN THE CASE, THE THERANOS RESULTS WERE INCORRECT.

10:26AM   18       EXPERT TESTIMONY IS NOT REQUIRED FOR THAT.

10:26AM   19             BUT I'LL ALSO POINT OUT ONE MORE TIME THAT THE JURY IS NOT

10:26AM   20       REQUIRED TO MAKE A FINDING AS TO THE ACCURACY OF EACH TEST

10:26AM   21       PRESENTED TO THEM, EVEN IF THOSE ARE TESTS IN CONNECTION WITH

10:27AM   22       COUNTS ALLEGED IN THE INDICTMENT.

10:27AM   23                   THE COURT:    THANK YOU.

10:27AM   24                   MS. SAHARIA:    JUST VERY BRIEFLY.

10:27AM   25             IF THAT'S THE CASE, THEN THERE'S NO REASON TO HAVE THESE



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10:27AM    1       MISLEADING TEST RESULTS IN FRONT OF THE JURY WITHOUT AN EXPERT

10:27AM    2       TO INTERPRET THEM.

10:27AM    3             I'LL NOTE THAT THE HIV TEST WAS NOT RUN ON THE EDISON

10:27AM    4       TECHNOLOGY, SO THAT COMPARISON DOES NOT WORK.

10:27AM    5             BUT PUTTING THAT ASIDE, THE EMAILS THAT MR. BOSTIC

10:27AM    6       REFERRED TO WERE ADMITTED THROUGH KNOWLEDGEABLE WITNESSES AT

10:27AM    7       THE COMPANY WITH PERCIPIENT KNOWLEDGE OF THEM WHO DEALT WITH

10:27AM    8       THOSE EVERY DAY AND KNEW HOW TO INTERPRET THOSE EMAILS.

10:27AM    9             MS. TOMPKINS DOES NOT KNOW HOW TO INTERPRET THOSE HIV

10:27AM   10       REPORTS AND THEY JUST DON'T SPEAK FOR THEMSELVES.

10:27AM   11                   THE COURT:    OKAY.   ALL RIGHT.

10:27AM   12             THANK YOU VERY MUCH.     THANK YOU.

10:27AM   13                   MS. SAHARIA:    JUST ONE FINAL HOUSEKEEPING MATTER,

10:27AM   14       YOUR HONOR, AND THIS ONE IS TRULY IN AN ABUNDANCE OF CAUTION

10:27AM   15       AND TO PRESERVE OUR RIGHTS GOING FORWARD ON THIS ISSUE.

10:28AM   16             WE RESPECTFULLY RENEW OUR MOTION TO SUPPRESS EVIDENCE OF

10:28AM   17       CUSTOMER COMPLAINTS AND TESTING RESULTS, AS WELL AS FINDINGS IN

10:28AM   18       THE CMS REPORT WHICH WAS FILED AT ECF 810.

10:28AM   19             THE COURT HAS DENIED THIS MOTION.        THIS WAS A PRETRIAL

10:28AM   20       MOTION THAT WAS SUBMITTED TO THE COURT BASED ON A PAPER RECORD.

10:28AM   21       THE COURT DENIED THAT AT 886 AND 887.

10:28AM   22             WE INCORPORATE BY REFERENCE ALL OF OUR PRIOR ARGUMENTS AND

10:28AM   23       THE PRIOR EVIDENCE.

10:28AM   24             AND JUST TO BE COMPLETE, THAT'S AT 810, 811, 850, 851, AS

10:28AM   25       WELL AS AT THE ORAL ARGUMENT ON JULY 7TH.



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10:28AM    1             I'LL JUST STATE FOR THE RECORD THAT THAT MOTION AND THE

10:28AM    2       REQUESTED RELIEF, WHICH WAS THE MOTION TO SUPPRESS, AND NOW WE

10:28AM    3       RENEW THAT AND MOVE TO STRIKE THE FOLLOWING CATEGORIES OF

10:28AM    4       EVIDENCE:    TESTIMONY AND EXHIBITS OFFERED BY PATIENTS

10:28AM    5       RELATED TO THEIR SPECIFIC TESTING RESULTS; TESTIMONY AND

10:28AM    6       EXHIBITS OFFERED BY DOCTORS OR OTHER MEDICAL PROFESSIONALS

10:29AM    7       RELATED TO CUSTOMER'S SPECIFIC RESULTS; THE CMS REPORTS

10:29AM    8       DISCUSSION OF QUALITY CONTROL RESULTS AND OTHER TESTING DATA

10:29AM    9       MAINTAINED IN THE LIS; ALL OTHER CUSTOMER COMPLAINTS AND

10:29AM   10       TESTING RESULTS OFFERED THROUGH THERANOS WITNESSES; AND ALL

10:29AM   11       TESTIMONY AND EXHIBITS RELATING TO QUALITY CONTROL DATA AND

10:29AM   12       OTHER DATA IN THE LIS OFFERED BY THERANOS WITNESSES.

10:29AM   13             I'LL NOTE FOR THE RECORD THAT THAT MOTION WAS MADE UNDER

10:29AM   14       BOTH THE DUE PROCESS CLAUSE AND THE BALANCING TESTS SET FORTH

10:29AM   15       IN UNITED STATES VERSUS LOUD HAWK, WHICH IS A NINTH CIRCUIT

10:29AM   16       CASE FROM 1979.

10:29AM   17             AS THE COURT WILL RECALL, THE LOUD HAWK CASE INVOLVED A

10:29AM   18       BALANCING TEST BETWEEN THE QUALITY OF THE GOVERNMENT'S CONDUCT

10:29AM   19       AND THE PREJUDICE TO THE DEFENDANT AND THE NATURE OF THAT

10:29AM   20       EVIDENCE.

10:29AM   21             WE HAVE NOT CURRENTLY PUT AT ISSUE AT TRIAL THE

10:30AM   22       GOVERNMENT'S CONDUCT.      WE HAVE NOT PUT ANY EVIDENCE FORWARD ON

10:30AM   23       THAT PRONG OF THAT ANALYSIS.

10:30AM   24             SO THAT RECORD IS EXACTLY WHERE IT WAS AT THE TIME THAT WE

10:30AM   25       FIRST MADE THIS MOTION.



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10:30AM    1             HOWEVER, ON THE OTHER SIDE OF THE LEDGER, THERE HAS BEEN

10:30AM    2       EVIDENCE ADDUCED AT TRIAL THAT GOES TO THE POTENTIALLY

10:30AM    3       EXCULPATORY NATURE OF THE LIS AND THE AMOUNT OF PREJUDICE TO

10:30AM    4       MS. HOLMES ASSOCIATED WITH THE LOSS OF THAT DATABASE.

10:30AM    5             I WOULD RESPECTFULLY INCORPORATE THAT EVIDENCE INTO OUR

10:30AM    6       MOTION JUST TO PRESERVE THE RECORD AS IT NOW STANDS.           THAT

10:30AM    7       TESTIMONY INCLUDES THE TESTIMONY OF MS. CHEUNG, DR. ROSENDORFF,

10:30AM    8       AND DR. SAWYER, AS WELL AS EXHIBIT 13655, WHICH PROVIDE

10:30AM    9       EVIDENCE ABOUT THE WAY THE LIS DATABASE COULD BE USED TO

10:30AM   10       INVESTIGATE BOTH PARTICULAR PATIENT OR DOCTOR INQUIRIES, BUT

10:30AM   11       ALSO TO CONDUCT MORE STATISTICAL ANALYSES ACROSS PATIENTS AND

10:30AM   12       TESTS, AND DR. ROSENDORFF IN PARTICULAR TESTIFIED TO THAT.

10:31AM   13             A SIGNIFICANT AMOUNT OF EVIDENCE HAS COME OUT AT TRIAL

10:31AM   14       BASED ON THE LIS DATA.      AS THE COURT KNOWS, THAT DATA IS

10:31AM   15       UNAVAILABLE.    WE'VE BEEN UNABLE TO USE THAT DATA TO CHECK THE

10:31AM   16       PATIENT ASSESSMENT WORK OF DR. DAS.        WE HAVE BEEN UNABLE TO

10:31AM   17       PROBE THE ANECDOTAL EMAILS SENT BY DR. ROSENDORFF WITH RESPECT

10:31AM   18       TO CERTAIN TESTS OR TO CONFRONT OTHER ANECDOTAL EVIDENCE

10:31AM   19       WITHOUT THAT DATABASE.

10:31AM   20             SO WE JUST RESPECTFULLY RENEW THAT MOTION TO PRESERVE IT

10:31AM   21       BASED ON THE CURRENT RECORD.

10:31AM   22                   THE COURT:    ALL RIGHT.    THANK YOU.

10:31AM   23             MR. BOSTIC?

10:31AM   24                   MR. BOSTIC:    YOUR HONOR, JUST BRIEFLY.

10:31AM   25             THE UNITED STATES OPPOSES THIS MOTION AS WELL, OF COURSE.



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10:31AM    1       THE RULINGS MADE BY THE COURT PREVIOUSLY ON THESE ISSUES ARE

10:31AM    2       CORRECT AND SHOULD STAND.

10:31AM    3             THE EVIDENCE AT TRIAL HAS NOT ALTERED THE ANALYSIS IN THE

10:31AM    4       DEFENSE'S FAVOR.     IF ANYTHING, IT HAS DONE THE OPPOSITE,

10:31AM    5       ESPECIALLY WHEN IT COMES TO THE IMPORTANCE OF THE LIS.

10:32AM    6             SEVERAL TIMES DURING THE TRIAL THE DEFENSE HAS ASKED A

10:32AM    7       WITNESS TO CONFIRM THAT THEY RELIED ON THE LIS FOR ONE THING OR

10:32AM    8       ANOTHER, AND I RECALL INSTANCES WHERE WITNESSES HAVE COME BACK

10:32AM    9       AND SAID, NO, I DIDN'T USE THE LIS FOR THAT, OR NO, I'M NOT

10:32AM   10       SURE WHETHER THAT WAS IN THE LIS.

10:32AM   11             SO IF ANYTHING, I THINK THE EVIDENCE AT TRIAL HAS

10:32AM   12       UNDERMINED THE DEFENSE'S ARGUMENT THAT THE LIS WAS A CRITICAL

10:32AM   13       PIECE OF EVIDENCE IN THIS CASE WHOSE ABSENCE SEVERELY

10:32AM   14       PREJUDICES THE DEFENSE.

10:32AM   15             I THINK, AS PREVIOUSLY SHOWN BY THE GOVERNMENT, IT'S MORE

10:32AM   16       LIKELY, FAR MORE LIKELY THAT THE EVIDENCE IN THE LIS WOULD HAVE

10:32AM   17       BEEN INCULPATORY OF THIS DEFENDANT RATHER THAN EXCULPATORY.

10:32AM   18             I THINK THE EVIDENCE SHOWS THAT.

10:32AM   19             AND THEN FINALLY, WHEN IT COMES TO THE LOUD HAWK STANDARD

10:32AM   20       AND THE OTHER CASES ADDRESSING THE GOVERNMENT'S OBLIGATION TO

10:32AM   21       OBTAIN AND PRESERVE EVIDENCE, THE FACTS OF THIS CASE REALLY

10:33AM   22       AREN'T CLOSE TO THE STANDARD THAT WOULD REQUIRE OR SUPPORT ANY

10:33AM   23       KIND OF SUPPRESSION OF EVIDENCE HERE.

10:33AM   24             AS THE COURT KNOWS, THE GOVERNMENT SOUGHT AND OBTAINED, OR

10:33AM   25       BELIEVED IT OBTAINED, A COPY OF THE LIS DATABASE.          THE



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10:33AM    1       GOVERNMENT WAS INFORMED BY MS. HOLMES'S COMPANY, BY THERANOS,

10:33AM    2       THAT THE GOVERNMENT HAD IN ITS POSSESSION A COPY OF THE LIS

10:33AM    3       DATABASE.

10:33AM    4             WITHIN DAYS OF PROVIDING THAT COPY TO THE GOVERNMENT -- A

10:33AM    5       COPY THAT TURNED OUT TO BE DOUBLE ENCRYPTED AND INACCESSIBLE --

10:33AM    6       WITHIN DAYS OF PROVIDING THAT COPY, THERANOS ITSELF DISMANTLED

10:33AM    7       THE LIS DATABASE HARDWARE IN A WAY THAT MADE THAT INFORMATION

10:33AM    8       PERMANENTLY IRRETRIEVABLE.

10:33AM    9             ON THOSE FACTS, IT SIMPLY CANNOT BE SAID THAT WE'RE

10:33AM   10       ANYWHERE CLOSE TO THE LOUD HAWK STANDARD OR THE STANDARDS

10:33AM   11       ADOPTED BY THE OTHER CASES ALONG THOSE LINES.

10:34AM   12                   THE COURT:    ALL RIGHT.

10:34AM   13                   MS. SAHARIA:    I'M CONTENT TO REST ON OUR PRIOR

10:34AM   14       SUBMISSIONS AND OUR PRIOR STATEMENTS.

10:34AM   15                   THE COURT:    ALL RIGHT.    THANK YOU VERY MUCH.     THANK

10:34AM   16       YOU FOR THAT.

10:34AM   17                   MS. SAHARIA:    SO WITH THAT, YOUR HONOR, MS. HOLMES

10:34AM   18       RESPECTFULLY MOVES FOR JUDGMENT OF ACQUITTAL UNDER RULE 29.              WE

10:34AM   19       RESPECTFULLY SUBMIT THAT THE EVIDENCE PRESENTED BY THE

10:34AM   20       GOVERNMENT IS INSUFFICIENT ON EVERY ELEMENT OF EVERY COUNT, AND

10:34AM   21       WE ARE HAPPY TO ADDRESS THAT IN MORE DETAIL WHENEVER IS

10:34AM   22       CONVENIENT FOR THE COURT AT A LATER TIME.

10:34AM   23                   THE COURT:    ALL RIGHT.    THANK YOU VERY MUCH.

10:34AM   24             FIRST OF ALL, LET ME NOTE THAT THE RECORD SHOULD REFLECT

10:34AM   25       THAT YOU HAVE TIMELY RESERVED AND MADE YOUR MOTION UNDER



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10:34AM    1       RULE 29.

10:34AM    2             THE COURT WILL RESERVE JUDGMENT ON THAT AND WILL INFORM

10:34AM    3       THE PARTIES WHETHER OR NOT THE COURT WISHES ADDITIONAL BRIEFLY

10:34AM    4       AS TO THE RULE 29 MOTION.

10:34AM    5             BUT YOU HAVE PRESERVED IT TIMELY FOR YOUR CLIENT AND FOR

10:34AM    6       YOUR TEAM.    I'LL NOTE THAT.

10:34AM    7             FOR PURPOSES OF THE RECORD, AS I SAID, I'LL RESERVE

10:35AM    8       JUDGMENT AND TAKE IT UNDER SUBMISSION AT THIS POINT, AND THEN

10:35AM    9       WE'LL TAKE UP PROCEEDINGS AS IS NECESSARY.

10:35AM   10                    MS. SAHARIA:    THANK YOU, YOUR HONOR.

10:35AM   11                    THE COURT:    YOU'RE WELCOME.

10:35AM   12             LET'S TAKE A BREAK.

10:35AM   13             YOU HAVE A WITNESS?     I ASSUME YOU HAVE A WITNESS HERE.

10:35AM   14                    MR. DOWNEY:    WE DO.   I THINK WE CAN APPROACH IT

10:35AM   15       EITHER WAY.    I THINK WE CAN BEGIN FOR HALF AN HOUR WITH THAT

10:35AM   16       WITNESS, OR WE CAN BREAK NOW, WHATEVER SUITS THE COURT.

10:35AM   17                    MR. LEACH:    YOUR HONOR, I UNDERSTAND THE WITNESS THE

10:35AM   18       DEFENSE IS REFERRING TO IS TRENT MIDDLETON --

10:35AM   19                    MR. DOWNEY:    THAT'S RIGHT.

10:35AM   20                    MR. LEACH:    -- WHO IS GOING TO PRESENT SOME SUMMARY

10:35AM   21       CHARTS.

10:35AM   22             THERE WERE SOME ISSUES RELATING TO THAT THAT I WANTED TO

10:35AM   23       RAISE WITH THE COURT.       I DON'T KNOW WHEN IT'S GOING TO COME UP

10:35AM   24       ON THE EXAMINATION, AND I JUST WANTED AN OPPORTUNITY TO DO THAT

10:35AM   25       OUTSIDE OF THE PRESENCE OF THE JURY.



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10:35AM    1                   MR. DOWNEY:    THAT'S RIGHT.     WHY DON'T WE DO THAT

10:35AM    2       BEFORE WE BRING THE JURY BACK IN AND GET THAT RESOLVED.

10:35AM    3                   THE COURT:    SURE.   DO YOU WANT TO TALK?

10:35AM    4                   MR. CLINE:    MAYBE WE SHOULD BREAK AND HAVE THAT

10:35AM    5       DISCUSSION.

10:35AM    6                   THE COURT:    LET'S DO THAT.     LET'S DO THAT, SO WE

10:36AM    7       DON'T HAVE MULTIPLE BREAKS.

10:36AM    8                   MR. DOWNEY:    YES.

10:36AM    9                   THE COURT:    THAT REQUIRES THE TWO OF YOU TO TALK

10:36AM   10       ABOUT, UNDER 1006, WHETHER THIS WITNESS IS GOING TO TESTIFY AS

10:36AM   11       A SUMMARY WITNESS, OR?

10:36AM   12                   MR. DOWNEY:    I THINK -- IS THIS THAT ISSUE OR --

10:36AM   13       MS. TREFZ IS GOING TO HANDLE THIS WITNESS, YOUR HONOR.

10:36AM   14                   THE COURT:    OKAY.   OKAY.

10:36AM   15                   MR. LEACH:    IT RELATES TO SOME OF THE SUMMARY

10:36AM   16       CHARTS, YOUR HONOR, AND IT INVOLVES EVIDENCE FROM 2018, 2019,

10:36AM   17       2021 THAT THE GOVERNMENT VIEWS AS IRRELEVANT AND 403.

10:36AM   18                   THE COURT:    I TRUST THAT THE SUMMARY WITNESS IS

10:36AM   19       GOING TO SPEAK ABOUT, IF HE OR SHE SPEAKS AT ALL, EVIDENCE THAT

10:36AM   20       IS IN EVIDENCE IN THIS CASE.

10:36AM   21                   MR. DOWNEY:    EVIDENCE THAT IS EITHER ADMISSIBLE IN

10:36AM   22       THE CASE OR HAS BEEN ADMITTED, YOUR HONOR, YES.

10:36AM   23                   THE COURT:    ALL RIGHT.    LET'S TAKE A BREAK FOR ABOUT

10:36AM   24       30 MINUTES THEN AND LET YOU DO THAT.

10:36AM   25                   MR. DOWNEY:    THANK YOU, YOUR HONOR.



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10:36AM    1             (RECESS FROM 10:36 A.M. UNTIL 11:09 A.M.)

11:09AM    2                   THE COURT:    WE'RE ON THE RECORD.      ALL PARTIES ARE

11:09AM    3       PRESENT.   WE'RE OUTSIDE OF THE PRESENCE OF THE JURY.

11:09AM    4             MR. LEACH.

11:10AM    5                   MR. LEACH:    THANK YOU, YOUR HONOR.

11:10AM    6             MAY I REMOVE MY MASK?

11:10AM    7                   THE COURT:    YES, PLEASE.    THANK YOU.

11:10AM    8                   MR. LEACH:    AND DOES YOUR HONOR HAVE THE BINDER FOR

11:10AM    9       THE EXHIBITS FOR THE EXAMINATION OF TRENT MIDDLETON?

11:10AM   10                   THE COURT:    I THINK I DO, YES.

11:10AM   11                   MR. LEACH:    OKAY.   THE GOVERNMENT'S OBJECTION

11:10AM   12       RELATES TO EXHIBIT 10684, WHICH PURPORTS TO BE A SUMMARY OF

11:10AM   13       U.S. PATENTS ISSUED.

11:10AM   14             WE HAVE NO OBJECTION TO PATENTS THAT WERE APPLIED FOR AND

11:10AM   15       ISSUED DURING THE CONSPIRACY TIME PERIOD, SO UP THROUGH 2016.

11:10AM   16             THIS EXHIBIT PURPORTS TO SUMMARIZE A NUMBER OF PATENTS

11:10AM   17       THAT WERE BOTH APPLIED FOR AND ISSUED IN 2017, 2018, AND 2019,

11:10AM   18       ALL OF THE WAY UP THROUGH 2021.

11:10AM   19             THE SUMMARY ALSO MAKES REFERENCE, OR THE EXHIBIT THAT IT

11:10AM   20       SUMMARIZES ALSO INCLUDES REFERENCE TO ENTITIES SUCH AS

11:10AM   21       LABRADOR DIAGNOSTICS LLC, THERANOS IP COMPANY LLC, ALL OF WHICH

11:11AM   22       TOUCH ON, YOU KNOW, ENTITIES RELATED TO THE BANKRUPTCY THAT

11:11AM   23       HAPPENED IN 2018 AND 2019.

11:11AM   24             I THINK IT'S IRRELEVANT TO THE ISSUES IN THE INDICTMENT.

11:11AM   25       IT RAISES A NUMBER OF 403 ISSUES IN TERMS OF ARE WE GOING TO



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11:11AM    1       HAVE A MINI TRIAL ON WHAT HAPPENED AT THERANOS ALL OF THE WAY

11:11AM    2       UP THROUGH 2021?

11:11AM    3             THERE ALSO PURPORTS TO BE A COMPARISON BETWEEN THE NUMBER

11:11AM    4       OF PATENTS ISSUED PRIOR TO 2016 AND PATENTS ISSUED AFTER THE

11:11AM    5       INDICTMENT, WHICH I DON'T SEE HOW THAT COULD BE RELEVANT.

11:11AM    6             SO WE HAVE A NUMBER OF 401 AND 403 OBJECTIONS TO THIS

11:11AM    7       SUMMARY EXHIBIT.

11:11AM    8                   THE COURT:    MS. TREFZ.

11:11AM    9                   MS. TREFZ:    GOOD AFTERNOON, YOUR HONOR.       OR MORNING.

11:11AM   10       I GUESS WE'RE STILL IN THE MORNING.

11:11AM   11             WITH RESPECT TO THE PATENTS, JUST TO MAKE SURE THAT IT'S

11:11AM   12       CLEAR, THE PATENTS ARE -- WE BELIEVE THAT THEY ARE ADMISSIBLE

11:11AM   13       AND THEREFORE APPROPRIATE FOR A SUMMARY CHART.

11:12AM   14             I HEAR MR. LEACH -- IF I UNDERSTAND IT CORRECTLY, THEN THE

11:12AM   15       ISSUE IS NOT WITH PATENTS APPLIED FOR IN ADVANCE OF THE -- BY

11:12AM   16       THE END OF 2016; IS THAT CORRECT?

11:12AM   17                   MR. LEACH:    WITHIN THE TIME OF THE CONSPIRACY

11:12AM   18       COUNTS, YOUR HONOR.      WE HAVE NO OBJECTION TO THOSE -- I MEAN,

11:12AM   19       I'M NOT SURE THEY'RE RELEVANT, BUT WE AREN'T OBJECTING TO THEM.

11:12AM   20                   THE COURT:    RIGHT.   RIGHT.

11:12AM   21                   MS. TREFZ:    AND DOES THAT GO THROUGH THE END OF

11:12AM   22       2016?

11:12AM   23                   MR. LEACH:    YES.

11:12AM   24                   MS. TREFZ:    SO WITH RESPECT TO THAT, I THINK -- WE

11:12AM   25       BELIEVE THAT THE PATENTS ARE RELEVANT TO A NUMBER OF DIFFERENT



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11:12AM    1       PURPOSES.

11:12AM    2             ONE IS THAT WE BELIEVE THAT THE PATENTS ARE RELEVANT TO

11:12AM    3       MS. HOLMES'S STATE OF MIND, THE AWARD OF PATENTS FOR THERANOS'S

11:12AM    4       INVENTIONS IS RELEVANT TO HER GOOD FAITH BELIEF THAT THE

11:12AM    5       TECHNOLOGY WORKED AND HER CONTINUED GOOD BELIEF THAT THE

11:12AM    6       TECHNOLOGY WORKED, HER GOOD FAITH BELIEF.

11:12AM    7                   THE COURT:    HOW DO THOSE CONNECT?      HOW DO THOSE

11:12AM    8       CONNECT?

11:12AM    9                   MS. TREFZ:    HOW DO THEY?

11:13AM   10                   THE COURT:    HOW DOES IT PROVE HER STATE OF MIND FOR

11:13AM   11       THAT PURPOSE?

11:13AM   12                   MS. TREFZ:    BECAUSE THESE ARE -- WHEN YOU DO A

11:13AM   13       PATENT APPLICATION, YOU NEED TO PUT IN INFORMATION ABOUT THE

11:13AM   14       INVENTION AND WHAT WAS INVENTED, AND IT GOES TO HER

11:13AM   15       UNDERSTANDING THAT THE, THAT THE INFORMATION APPLIED FOR OR THE

11:13AM   16       PATENTS APPLIED FOR WERE NOVEL INVENTIONS, AND THAT THEY WERE

11:13AM   17       THINGS ACTUALLY INVENTED BY THERANOS.

11:13AM   18             BUT I --

11:13AM   19                   THE COURT:    HOW DOES THAT GO TO HER STATE OF MIND?

11:13AM   20       WHAT DOES THAT SAY?

11:13AM   21                   MS. TREFZ:    WELL, WE BELIEVE THAT AN ALLEGATION IN

11:13AM   22       THE CASE IS THAT MS. HOLMES UNDERSTOOD THAT THE TECHNOLOGY AT

11:13AM   23       ISSUE, THAT SHE HAD CERTAIN UNDERSTANDINGS ABOUT THE TECHNOLOGY

11:13AM   24       AT ISSUE IN THE CASE THAT WERE INCONSISTENT WITH REALITY, AND

11:14AM   25       WE BELIEVE THAT THAT IS -- WE SHOULD HAVE THE OPPORTUNITY TO



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11:14AM    1       MEET THAT ALLEGATION OF HER KNOWLEDGE ABOUT THE STATE OF THE

11:14AM    2       TECHNOLOGY WITH --

11:14AM    3                   THE COURT:    DO THESE PATENTS RELATE TO THE

11:14AM    4       TECHNOLOGY AT ISSUE?

11:14AM    5                   MS. TREFZ:    IN THE SENSE THAT THEY WERE ALL APPLIED

11:14AM    6       FOR -- IN THE SENSE THAT THEY WERE ALL INVENTED AT THERANOS AND

11:14AM    7       ALL REPRESENT THERANOS DEVELOPED TECHNOLOGY, YES.

11:14AM    8             IF I MAY, THOUGH, WE MAY BE ACTUALLY -- IT MAY TAKE US A

11:14AM    9       MOMENT TO ADDRESS THIS IN THE SUMMARY CHART, BUT I BELIEVE THAT

11:14AM   10       WE DO HAVE A NATIVE EXCEL SPREADSHEET THAT CAN BE SORTED.           WE

11:14AM   11       WOULD WANT THE CHANCE TO JUST ADDRESS IT WITH OUR WITNESS

11:14AM   12       QUICKLY.

11:14AM   13             BUT, YOU KNOW --

11:14AM   14                   THE COURT:    SO I GUESS I'M -- I'M SORRY, I DON'T

11:14AM   15       MEAN TO BE THICK ON THIS.      BUT WE'RE TALKING ABOUT THE

11:14AM   16       MACHINES.    IS THAT THE ALLEGATION IN THE TSI, THAT THE MACHINES

11:14AM   17       DIDN'T OPERATE AS REPRESENTED?

11:15AM   18                   MR. LEACH:    CORRECT, YOUR HONOR.

11:15AM   19             AND PART OF MY ISSUE WITH JUST DUMPING 176 PATENTS ALL OF

11:15AM   20       THE WAY THROUGH 2021 INTO EVIDENCE IS JUST FROM THE PATENT -- I

11:15AM   21       MEAN, SOME OF THESE SAY SYSTEMS AND METHODS FOR FLUID AND

11:15AM   22       COMPONENT HANDLING.

11:15AM   23             THERE'S NO PROFFER, AND NOT GOING TO BE ONE FROM THIS

11:15AM   24       WITNESS, ABOUT WHAT THESE ARE AND HOW THEY RELATE TO PARTICULAR

11:15AM   25       THINGS WITHIN THE TECHNOLOGY.



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11:15AM    1             THESE ARE ALSO PATENTS.      THEY'RE PIECES OF PAPER.      THEY'RE

11:15AM    2       NOT PROOF THAT THE TECHNOLOGY WORKS.

11:15AM    3             SO I THINK IT HAS VERY LIMITED RELEVANCE.         IT COULD

11:15AM    4       INVOLVE WORK FROM 2017, 2018, 2019, 2021, AND I JUST THINK

11:15AM    5       IT'S -- TO DUMP A LIST OF PATENTS WITHOUT TYING THEM TO

11:15AM    6       PARTICULAR THINGS RELATING TO THE MINILAB, THE EDISON, OR THE

11:15AM    7       TSPU REALLY SERVES NO PURPOSE THAT I CAN SEE FROM A RELEVANCE

11:15AM    8       POINT OF VIEW.

11:15AM    9                   THE COURT:    IF IT'S THE -- WE'RE TALKING ABOUT THE

11:15AM   10       TESTING THAT WAS DONE ON COMPLETED MACHINES; IS THAT RIGHT?

11:16AM   11                   MS. TREFZ:    IN, IN --

11:16AM   12                   THE COURT:    THE MINILAB AND THE EDISON, AND THEN THE

11:16AM   13       ITERATION OF EACH OF THOSE, I THINK THERE'S BEEN TESTIMONY

11:16AM   14       ABOUT THAT.

11:16AM   15                   MS. TREFZ:    THE THERANOS TECHNOLOGY WAS BROADER THAN

11:16AM   16       THAT, YOUR HONOR.

11:16AM   17             BUT I DID JUST WANT TO SAY I THINK WE CAN LIMIT -- LIKE I

11:16AM   18       SAID, WE WILL HAVE TO CHANGE THE EXHIBIT, BUT I THINK WE CAN

11:16AM   19       LIMIT IT TO THE APPLICATIONS FILED BY THE END OF 2016, AND IT

11:16AM   20       SOUNDS LIKE THAT WILL RESOLVE THE GOVERNMENT'S CONCERN.            IT WAS

11:16AM   21       RAISED NOW, AND I'M HAPPY TO ADDRESS IT QUICKLY.

11:16AM   22                   THE COURT:    IS THIS WITNESS GOING TO TESTIFY ABOUT

11:16AM   23       THE PATENT PROSECUTION PROCESS AND HOW LONG --

11:16AM   24                   MS. TREFZ:    NO.

11:16AM   25                   THE COURT:    -- AND HOW LONG THAT TAKES?



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11:16AM    1                    MS. TREFZ:    WE DID INTEND FOR -- THE SECOND PAGE, OR

11:16AM    2       ACTUALLY THE THIRD PAGE OF EXHIBIT 10684 DOES SHOW THE

11:16AM    3       DIFFERENCE BETWEEN WHEN A PATENT WAS APPLIED FOR AND WHEN IT

11:16AM    4       WAS ISSUED.

11:17AM    5             WE CAN DO THAT IN A SLIGHTLY DIFFERENT WAY.         SO HE'S NOT

11:17AM    6       GOING TO TESTIFY SUBSTANTIVELY ABOUT, ABOUT THAT PROCESS, WHAT,

11:17AM    7       WHAT HE WAS -- WHAT WE WOULD LIKE HIM TO BE ABLE TO IDENTIFY IS

11:17AM    8       THAT SOMETIMES PATENTS APPLIED FOR IN A -- YOU KNOW, OBVIOUSLY

11:17AM    9       A PATENT IS APPLIED FOR AS A PARTICULAR DATE, AND THEN IT'S

11:17AM   10       ISSUED LATER.

11:17AM   11             AND SO WE WOULD LIKE TO BE ABLE TO SAY THAT, WHICH YOU CAN

11:17AM   12       SEE FROM THE FACE OF THE PATENTS, THE APPLICATION DATE.

11:17AM   13                    THE COURT:    IS HE GOING TO PUT THE WRAPPER IN AS TO

11:17AM   14       THE PATENT?

11:17AM   15                    MS. TREFZ:    HE'S NOT GOING TO PUT IN THE WRAPPER.

11:17AM   16       WE'RE NOT OFFERING THE PATENTS, WE'RE OFFERING THE SUMMARY.

11:17AM   17       THE PATENTS ARE ON OUR EXHIBIT LIST, BUT WE'RE OFFERING THE

11:17AM   18       SUMMARY.

11:17AM   19             THEY COULD COME IN FROM A DIFFERENT WITNESS, BUT --

11:17AM   20                    THE COURT:    THIS GOES TO -- WHAT YOU'RE SAYING IS

11:17AM   21       THIS GOES TO HER STATE OF MIND, PARDON ME, YOUR CLIENT'S STATE

11:17AM   22       OF MIND TO SHOW THAT SHE, WHAT, CONTINUED TO BELIEVE IN THE

11:17AM   23       PRODUCT?

11:17AM   24             I'M SORRY, I DON'T UNDERSTAND THAT.

11:17AM   25                    MS. TREFZ:    RIGHT.   SO IS THE COURT'S QUESTION WITH



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11:18AM    1       RESPECT TO PATENTS AFTER -- APPLIED FOR AFTER THE CONSPIRACY?

11:18AM    2                    THE COURT:    LET'S ASSUME THAT THOSE AREN'T COMING

11:18AM    3       IN, AND I THINK THERE'S AGREEMENT THAT THEY WON'T.

11:18AM    4             BUT WHAT DO THE ONES THAT ARE GOING TO COME IN, WHAT DO

11:18AM    5       THOSE -- STATE OF MIND YOU SAID.        I'VE BEEN HEARING THAT A LOT,

11:18AM    6       AND I'M NOT SURE WHAT IT'S FOR.

11:18AM    7                    MS. TREFZ:    I APOLOGIZE FOR --

11:18AM    8                    THE COURT:    NO, NO.

11:18AM    9                    MS. TREFZ:    THERE ARE ACTUALLY, TO BE CLEAR, FIVE

11:18AM   10       REASONS WHY WE THINK THEY ARE RELEVANT.

11:18AM   11             BUT WITH RESPECT TO STATE OF MIND, MS. HOLMES IS AN

11:18AM   12       INVENTOR ON MANY OF THESE PATENTS.        SHE OVERSAW THE PATENT --

11:18AM   13       SHE OVERSAW THE INVENTION PROCESS AT THERANOS IN SOME WAY.

11:18AM   14             WE BELIEVE THAT THERE HAS BEEN KIND OF EVIDENCE, I THINK

11:18AM   15       FROM MR. EDLIN, THAT SHE WAS INVOLVED MORE IN THE TECHNOLOGY.

11:18AM   16             SO THE IDEA OF, THE IDEA THAT SHE -- THAT THESE PATENTS

11:18AM   17       WERE PATENTS APPLIED FOR BY THERANOS, MANY OF WHICH SHE'S THE

11:19AM   18       INVENTOR ON, AND WHICH I THINK IN FACT DO COVER THE TECHNOLOGY

11:19AM   19       THAT THERANOS DEVELOPED AND THE ALLEGATIONS IN THE CASE ARE

11:19AM   20       ABOUT THE TECH -- ARE NOT JUST ABOUT THE DEVICE ITSELF, BUT --

11:19AM   21                    THE COURT:    WHAT IS THE STATE OF MIND?      IS IT THAT

11:19AM   22       SHE'S SMART?

11:19AM   23                    MS. TREFZ:    NO, YOUR HONOR.

11:19AM   24                    THE COURT:    WHAT IS THE STATE OF MIND?

11:19AM   25                    MS. TREFZ:    WELL, IT'S THAT SHE UNDERSTOOD THAT THE



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11:19AM    1       COMPANY HAD, IN FACT, DEVELOPED NOVEL TECHNOLOGY, WHICH IS ONE

11:19AM    2       OF THE THINGS THAT YOU DO WHEN YOU APPLY FOR -- IF A PATENT IS

11:19AM    3       ISSUED, IT HAS TO BE NOVEL.

11:19AM    4             AND, YOU KNOW, THERE IS A WHOLE PROCESS.         WE'RE NOT

11:19AM    5       INTENDING TO GO INTO THE WHOLE PROCESS.         WE'RE NOT TRYING TO

11:19AM    6       MAKE THIS A PATENT CASE.

11:19AM    7                    THE COURT:    I'M SORRY.   AND AGAIN, I DON'T MEAN TO

11:19AM    8       BE THICK ON THIS, BUT STATE OF MIND AS TO AN ISSUE OF?

11:19AM    9                    MS. TREFZ:    OF HER UNDERSTANDING OF THE STATE OF

11:19AM   10       THERANOS'S TECHNOLOGY THROUGHOUT THE CONSPIRACY PERIOD.

11:19AM   11                    THE COURT:    AT THE TIME THE PATENT WAS ISSUED?

11:20AM   12                    MS. TREFZ:    AT THE TIME IT WAS APPLIED FOR IS WHAT I

11:20AM   13       BELIEVE WE'RE -- AND THEN ISSUED.        MANY OF THESE WERE ISSUED

11:20AM   14       DURING THE ALLEGED CONSPIRACY AS WELL.

11:20AM   15                    THE COURT:    SO IT GOES TO HER KNOWLEDGE OF THE

11:20AM   16       TECHNOLOGY?

11:20AM   17                    MS. TREFZ:    YES, HER UNDERSTANDING OF THE TECHNOLOGY

11:20AM   18       AND THAT IT WAS NOVEL.

11:20AM   19             AND THERE ARE OTHER REASONS THAT IT'S ADMISSIBLE THAT I'M

11:20AM   20       HAPPY TO EXPLAIN.     I DON'T WANT US TO GET TOO FOCUSSED ON ONE

11:20AM   21       REASON.

11:20AM   22                    THE COURT:    SURE.

11:20AM   23                    MS. TREFZ:    THE SECOND IS THAT -- I THINK KIND OF

11:20AM   24       RELATED IS THAT THE PATENTS REFLECT RESEARCH AND DEVELOPMENT

11:20AM   25       WORK, AND FOR THAT REASON THEY'RE RELEVANT TO ALLEGATIONS OF



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11:20AM    1       FALSITY.    THEY MAKE IT MORE LIKELY THAT HER STATEMENTS

11:20AM    2       CONCERNING THE CAPABILITY OF THE TECHNOLOGIES WERE TRUE.

11:20AM    3             NOW, AGAIN, WE'RE NOT INTENDING TO MAKE THIS -- TO GO INTO

11:20AM    4       ALL OF THE DETAILS OF THE PATENTS THROUGH THIS WITNESS, BUT

11:20AM    5       IT'S POSSIBLE THAT, YOU KNOW, THE STATE OF THE TECHNOLOGY MAY

11:20AM    6       COME IN IN OTHER AREAS OF THE CASE.

11:21AM    7                    THE COURT:    IS SHE THE INVENTOR IN EACH OF THESE

11:21AM    8       PATENTS?

11:21AM    9                    MS. TREFZ:    THERE ARE MANY INVENTORS ON THE PATENTS.

11:21AM   10       SHE'S AN INVENTOR ON MANY, BUT NOT ALL OF THEM.

11:21AM   11             AND THERE ARE THREE REASONS I JUST WANTED TO IDENTIFY.

11:21AM   12             THIRD IS THAT THERANOS'S PATENTS AND IP RELATES TO THE

11:21AM   13       MATERIALITY OF THE INVESTOR CONSPIRACY.         MULTIPLE INVESTOR

11:21AM   14       WITNESSES HAVE TESTIFIED THAT THEY WERE SENT PATENT PORTFOLIOS

11:21AM   15       BY THERANOS AND THAT THERANOS'S IP WAS IMPORTANT TO PROSPECTIVE

11:21AM   16       INVESTORS.    THAT INCLUDES MR. MOSLEY.

11:21AM   17             AND INVESTOR -- AND MR. MOSLEY ALSO, YOU KNOW, IDENTIFIED

11:21AM   18       THAT HE VIEWED PATENT APPLICATIONS, NOT THE FINALIZED PATENTS,

11:21AM   19       AS IMPORTANT.     HE TESTIFIED TO THAT.

11:21AM   20             FOURTH, THE GOVERNMENT PUT AT ISSUE I THINK PROPRIETARY

11:21AM   21       PATENTED TECHNOLOGY BY INTRODUCING EXHIBITS THROUGH WITNESSES,

11:22AM   22       INCLUDING, INCLUDING THE PRESENTATION THAT WAS ADMITTED THROUGH

11:22AM   23       MS. PETERSON.     THAT'S EXHIBIT 4858 AND THE TRANSCRIPT AT 4664.

11:22AM   24             AND SO WE BELIEVE THAT IT'S ESSENTIAL TO, YOU KNOW, MAKE

11:22AM   25       SURE THAT THERE'S NO MISIMPRESSION THAT THIS WAS SOME SORT OF



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11:22AM    1       MISREPRESENTATION THAT SHE SAID THERE WERE A LOT OF PATENTS

11:22AM    2       BECAUSE IT'S HIGHLIGHTED, BECAUSE IT'S INCLUDED IN THESE

11:22AM    3       PRESENTATIONS THAT THE GOVERNMENT, I UNDERSTAND, WILL LIKELY

11:22AM    4       ARGUE, YOU KNOW, CONTAINED MISLEADING STATEMENTS.

11:22AM    5             AND THEN --

11:22AM    6                    THE COURT:    SO WHAT IS THE RELEVANCE OF THE PATENTS

11:22AM    7       TO THAT?    TO SHOW THAT THE PATENTS ACTUALLY EXISTED?

11:22AM    8                    MS. TREFZ:    CORRECT, THAT THEY WERE APPLIED FOR AND

11:22AM    9       ISSUED, AND THAT IT'S FROM THE FACE OF THE PATENT.

11:23AM   10             I MEAN, THE INVESTOR MATERIALS INCLUDE A THICK SET OF

11:23AM   11       PATENT, OF INTELLECTUAL PROPERTY DISCLOSURES.

11:23AM   12                    THE COURT:    IS THAT IN DISPUTE THAT THEY'RE PATENTS?

11:23AM   13                    MR. LEACH:    NO, YOUR HONOR.

11:23AM   14                    THE COURT:    IT'S NOT IN DISPUTE.      THEY'RE NOT GOING

11:23AM   15       TO SAY, OH, NO, THERE WEREN'T PATENTS ISSUED.          THEY SAID IN

11:23AM   16       THEIR CASE THAT THERE WERE PATENTS.

11:23AM   17             I GUESS THERE IS EVIDENCE THAT INVESTORS RECEIVED THE

11:23AM   18       PATENTS, AND YOU WANT TO SHOW THAT, YEAH, THE PATENTS ACTUALLY

11:23AM   19       EXIST.

11:23AM   20                    MS. TREFZ:    EXACTLY, YOUR HONOR.

11:23AM   21             AND I THINK THAT'S IMPORTANT TO JUST PROVIDE THE CONTEXT

11:23AM   22       FOR THE KINDS OF INFORMATION THAT WAS BEING PROVIDED FOR

11:23AM   23       INVESTORS.

11:23AM   24             AND, YOU KNOW, I DON'T -- I WOULD DISPUTE THE, THE CONCEPT

11:23AM   25       THAT THE DEFENSE IS ONLY REQUIRED TO KIND OF TAKE AT ISSUE IN



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11:23AM    1       ITS CASE, YOU KNOW, PURELY WHAT THE GOVERNMENT HAS KIND OF

11:23AM    2       IDENTIFIED AS, YOU KNOW, AND EXPLICITLY SUGGESTED WAS A

11:24AM    3       REPRESENTATION.

11:24AM    4             SO I -- MY HOPE IS THAT THE -- YOU KNOW, IF WE CAN LIMIT

11:24AM    5       THIS EXHIBIT TO 2016, THE PATENTS APPLIED FOR THROUGH 2016,

11:24AM    6       THAT WE WILL RESOLVE THE GOVERNMENT'S CONCERN.

11:24AM    7             AND, AND --

11:24AM    8                    THE COURT:    ARE ALL OF THESE PATENTS RELATED TO THE

11:24AM    9       TECHNOLOGY OF THE MACHINES, OR ARE THERE PATENTS THAT ARE HERE

11:24AM   10       IN THESE CHARTS THAT ARE OUTSIDE OF THAT?

11:24AM   11                    MS. TREFZ:    THERE ARE MULTIPLE, OBVIOUSLY MULTIPLE

11:24AM   12       INVENTIONS USUALLY THAT GO INTO A MACHINE LIKE THIS.           SO I

11:24AM   13       WOULD SAY MANY OF THEM ARE RELATED TO THE SYSTEMS THAT THERANOS

11:24AM   14       DEVELOPED, INCLUDING THE DIFFERENT PIECES OF THOSE SYSTEMS.

11:24AM   15             I THINK IF YOU LOOK AT THE TITLES OF THE PATENTS, WHICH

11:24AM   16       ARE -- THE FULL LIST IS AT 10691 IN THE COURT'S BINDER, YOU CAN

11:25AM   17       SEE A NUMBER OF DIFFERENT --

11:25AM   18                    THE COURT:    SO HOW MANY OF THESE ARE SOFTWARE

11:25AM   19       PATENTS?

11:25AM   20                    MS. TREFZ:    THERE ARE, THERE ARE PROBABLY A FEW OF

11:25AM   21       THEM.    I'M NOT SURE OFF THE TOP OF MY HEAD.

11:25AM   22                    THE COURT:    DOES THAT MATTER?    SHOULD WE GO INTO

11:25AM   23       THAT?

11:25AM   24                    MS. TREFZ:    WELL, I DO BELIEVE THAT SOFTWARE WAS

11:25AM   25       PART OF THE THERANOS TECHNOLOGY, AND I THINK THAT THAT'S AT



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11:25AM    1       ISSUE IN THE CASE.

11:25AM    2                    THE COURT:    AND I ASK THAT BECAUSE, YOU KNOW, IT'S A

11:25AM    3       RABBIT HOLE, ISN'T IT?      DO WE WANT TO GO DOWN EVERY PATENT AND

11:25AM    4       ASK, WHAT WAS THIS PATENT FOR?       THIS WAS A SYSTEMS PATENT,

11:25AM    5       SOFTWARE PATENT TO ALLOW FOR THE MACHINES TO TALK TO THEMSELVES

11:25AM    6       WITH GREATER EFFICIENCY.

11:25AM    7             THIS IS A PATENT FOR A KNOB.

11:25AM    8             THIS IS A PATENT FOR A WIRE THAT CONNECTS THE CIRCUIT

11:25AM    9       BOARDS.

11:25AM   10             DO WE -- ARE WE GOING TO GET GRANULAR ON THIS?

11:25AM   11                    MS. TREFZ:    I WAS NOT INTENDING TO GO THROUGH THIS

11:25AM   12       WITH THIS WITNESS, YOUR HONOR.

11:25AM   13             HOWEVER, I WOULD JUST NOTE THAT THE PATENTS FOR SOFTWARE

11:26AM   14       FOR THE MACHINES TO BE ABLE TO TALK TO EACH OTHER IS ACTUALLY A

11:26AM   15       CORE PART OF THE THERANOS TECHNOLOGY, AND SO I WOULDN'T WANT, I

11:26AM   16       WOULDN'T WANT TO LEAVE THE MISIMPRESSION THAT IT IS NOT.            IT

11:26AM   17       IS.

11:26AM   18                    THE COURT:    WELL, I UNDERSTAND THE IMPORTANCE OF

11:26AM   19       THIS.

11:26AM   20                    MS. TREFZ:    OKAY.

11:26AM   21                    THE COURT:    I JUST -- I DON'T KNOW WHAT THE VALUE OF

11:26AM   22       THIS IS.    YOU TELL ME IT'S INCREDIBLY VALUABLE TO YOUR CASE,

11:26AM   23       AND I'LL TAKE YOU AT YOUR WORD.

11:26AM   24             SO WE'RE GOING TO LIMIT IT TO THE 2016 TIME PERIOD.

11:26AM   25                    MR. LEACH:    THAT WAS ALL MY CONCERN, YOUR HONOR.          I



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11:26AM    1       THINK YOU'RE HITTING ON A LOT OF THE RELEVANCE POINTS THAT I

11:26AM    2       SEE WITH THIS AND THE LIMIT OF THIS EVIDENCE, BUT THE NATURE OF

11:26AM    3       MY 403 OBJECTION WAS REALLY THIS BECOMES A MINI TRIAL ABOUT

11:26AM    4       LATER YEARS THAT I DON'T THINK IS APPROPRIATE.

11:26AM    5                    THE COURT:    OKAY.    WELL, AT A MINIMUM -- AND THANK

11:26AM    6       YOU, MS. TREFZ.

11:26AM    7             SO YOU'LL REDO YOUR CHARTS AND YOU'LL TELL YOUR WITNESS

11:26AM    8       AND YOU'RE NOT GOING TO ASK YOUR WITNESS QUESTIONS ABOUT THE

11:26AM    9       2017 PATENTS.

11:26AM   10                    MS. TREFZ:    THAT'S CORRECT, YOUR HONOR.      I WILL NEED

11:26AM   11       A MOMENT TO ADDRESS THAT.

11:26AM   12                    THE COURT:    RIGHT.

11:26AM   13                    MS. TREFZ:    IT WILL NOT BE A PROBLEM.      THESE ARE

11:27AM   14       CHARTS RUN.

11:27AM   15                    THE COURT:    WE'RE NOT GOING TO HAVE MARKMAN HEARINGS

11:27AM   16       THIS MORNING ABOUT ANY OF THESE PATENTS.

11:27AM   17                    MS. TREFZ:    I HOPE NOT.

11:27AM   18                    THE COURT:    NO, WE'RE NOT.

11:27AM   19             (LAUGHTER.)

11:27AM   20                    MS. TREFZ:    I KNOW.   I KNOW.   I AM NOT PREPARED TO

11:27AM   21       DO SO AND I WAS NOT INTENDING TO DO SO.

11:27AM   22                    THE COURT:    OKAY.    FAIR ENOUGH.

11:27AM   23                    MS. TREFZ:    THANK YOU, YOUR HONOR.

11:27AM   24                    THE COURT:    IS THAT IT?

11:27AM   25                    MR. LEACH:    THAT WAS IT, YOUR HONOR.



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11:27AM    1                    THE COURT:    WE WERE JUST GETTING STARTED TALKING

11:27AM    2       ABOUT PATENTS.

11:27AM    3             ALL RIGHT.    SO IS THIS YOUR FIRST WITNESS THEN?        HE'S A

11:27AM    4       SUMMARY WITNESS?

11:27AM    5                    MS. TREFZ:    YES, HE IS OUR FIRST WITNESS.      I THINK

11:27AM    6       IT WOULD -- IT'S NOT GOING TO TAKE US A LONG TIME TO ADDRESS

11:27AM    7       THIS PARTICULAR ISSUE.

11:27AM    8             YOU KNOW, THERE ARE A LOT OF NUMBERS IN THIS BINDER, BUT

11:27AM    9       AS THE COURT KNOWS, WE DON'T ALWAYS USE THE NUMBERS IN THE

11:27AM   10       BINDER AND SOME OF THEM WILL --

11:27AM   11                    THE COURT:    WHAT ABOUT THIS?     ARE WE GOING TO GO

11:27AM   12       THROUGH THIS (INDICATING)?

11:27AM   13                    MS. TREFZ:    IF YOU WANT TO.

11:27AM   14             I'M JOKING, YOUR HONOR.      EXCUSE ME.

11:27AM   15             WE'RE NOT INTENDING TO GO THROUGH THAT EXHIBIT.

11:27AM   16             HOWEVER, WE DO HAVE IT IN THE EVENT THAT --

11:28AM   17                    THE COURT:    AN INTEREST ARISES SOMEHOW IN THE CASE?

11:28AM   18                    MS. TREFZ:    NO, YOUR HONOR.    BUT THERE IS A SUMMARY

11:28AM   19       BASED ON THAT EXHIBIT.

11:28AM   20                    THE COURT:    OKAY.

11:28AM   21                    MS. TREFZ:    AND WE DO WANT TO HAVE THE OPPORTUNITY

11:28AM   22       FOR THE GOVERNMENT OR THE WITNESS TO BE ABLE TO LOOK AT THAT

11:28AM   23       DOCUMENT IF THEY NEED TO.

11:28AM   24                    THE COURT:    ALL RIGHT.   THANK YOU.

11:28AM   25             AND JUST TIMING WISE, THIS WITNESS WILL TESTIFY, THIS



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11:28AM    1       SUMMARY WITNESS.

11:28AM    2             WHERE DO YOU THINK WE'LL BE AT THE CONCLUSION -- IN OUR

11:28AM    3       DAY AT THE CONCLUSION OF THIS WITNESS'S DIRECT?

11:28AM    4                    MS. TREFZ:    I ANTICIPATE THAT THIS DIRECT WILL TAKE

11:28AM    5       AN HOUR OR LESS.

11:28AM    6                    THE COURT:    OKAY.

11:28AM    7                    MS. TREFZ:    AS THE COURT KNOWS, IT'S A LITTLE

11:28AM    8       DIFFICULT TO PLAN EXACTLY, BUT THAT IS -- BASED ON OUR

11:28AM    9       UNDERSTANDING, THAT IS ABOUT HOW LONG IT WOULD TAKE.

11:28AM   10                    THE COURT:    OKAY.   OKAY.

11:28AM   11             AND CROSS IS PROBABLY GOING TO BE -- ARE WE GOING TO FLIP

11:28AM   12       THEN?    WILL YOU HAVE SIX AND A HALF HOURS OF CROSS?

11:28AM   13                    MR. LEACH:    I ASPIRE TO BE SHORTER THAN THE DIRECT,

11:28AM   14       AND SIGNIFICANTLY SHORTER, BUT I'M NOT ENTIRELY SURE WHERE IT'S

11:28AM   15       GOING.

11:28AM   16                    THE COURT:    AND THEN YOUR NEXT WITNESS WILL BE THE

11:28AM   17       NEXT WITNESS THAT WE SPOKE ABOUT THIS MORNING.          SHOULD WE TALK

11:29AM   18       MORE ABOUT THAT THEN NOW, OR SHOULD WE DO THAT AT A BREAK?

11:29AM   19       WHAT ARE YOUR THOUGHTS?

11:29AM   20                    MS. TREFZ:    I'M HAPPY TO TALK ABOUT IT NOW.

11:29AM   21             I DID GIVE MR. SCHENK THE BINDER AND I EXPLAINED TO HIM

11:29AM   22       THAT WE WON'T ACTUALLY SEEK TO INTRODUCE MOST OF THE EXHIBITS,

11:29AM   23       AND I EXPLAINED WHAT -- FOR SOME OF THE DEMONSTRATIVES WHAT WE

11:29AM   24       INTEND TO DO WITH THAT.

11:29AM   25             SO HOPEFULLY -- I DON'T KNOW IF HE'S HAD A CHANCE TO



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11:29AM    1       CONSIDER THAT, BUT I WANTED TO MAKE HIM AWARE.

11:29AM    2                    MR. SCHENK:    YES, THE DEFENSE DID DO THAT.       WE MET

11:29AM    3       AND CONFERRED AND I WAS SHOWN THE EXHIBITS AND HOW THEY'RE

11:29AM    4       INTENDED TO BE USED, AND I'M FINE WITH PROCEEDING WITH THIS AS

11:29AM    5       THE SECOND WITNESS.

11:29AM    6             WE MAY HAVE RELEVANCE CONCERNS AS THE TESTIMONY COMES IN,

11:29AM    7       BUT I DON'T THINK WE NEED TO ADJOURN OR DELAY.

11:29AM    8                    THE COURT:    THANK YOU.

11:29AM    9             AND THANK YOU FOR MEETING AND CONFERRING ON THAT.          SO MUCH

11:29AM   10       GETS DONE THAT WAY.       I APPRECIATE IT.    THANK YOU.

11:29AM   11             LET ME DO TALK, BEFORE I STEP DOWN AND WE BRING OUR JURY

11:29AM   12       IN, AND THIS IS SOMETHING, MR. SCHENK, YOU AND I HAD, AND

11:29AM   13       MR. DOWNEY TALKED ABOUT, THIS IS THE MEDIA MOTION.

11:29AM   14             I JUST WANTED TO SAY -- I'LL INVITE YOUR COLLEAGUE UP.

11:30AM   15             THANK YOU, MS. TREFZ.

11:30AM   16             WE HAD SOME DISCUSSION, THE THREE OF US, ABOUT TIMING OF

11:30AM   17       THIS.

11:30AM   18             I THINK, MR. DOWNEY, YOU SUGGESTED THAT THE COURT ISSUE

11:30AM   19       ITS ORDER AT THE END OF THE GOVERNMENT'S CASE, AND PROBABLY AT

11:30AM   20       THE END OF THE DAY TODAY I THINK.

11:30AM   21             LET ME JUST SAY THAT WOULD BE MY INTENT.         I'M WORKING ON

11:30AM   22       FINALIZING THAT.     IT WOULD BE MY INTENT TO INFORM THE JURY, AS

11:30AM   23       I PROMISED THEM I WOULD DO, OF THE COURT'S RULING AND WHAT THE

11:30AM   24       COURT'S INTENT WOULD BE ON THE RULING AND TO LET THEM KNOW

11:30AM   25       THAT.



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11:30AM    1             AND I THINK YOUR SUGGESTION, MR. DOWNEY, TO DO IT AT THE

11:30AM    2       END OF TODAY IS ONE THAT I'D LIKE TO FOLLOW.

11:30AM    3                    MR. DOWNEY:    WELL, I'D JUST BE HAPPY FOR IT TO

11:30AM    4       HAPPEN NOW AND WOULD PREFER IT TO HAPPEN IN BETWEEN THE CASES,

11:30AM    5       BUT IT DOESN'T SOUND LIKE THE JUDGE IS READY, SO -- THE COURT

11:30AM    6       IS READY QUITE YET, SO I THINK WITH THE END OF THE DAY YOU'LL

11:30AM    7       DO SO.

11:30AM    8                    THE COURT:    YES.

11:30AM    9                    MR. DOWNEY:    AND I DON'T KNOW IF YOU WANT TO GIVE US

11:31AM   10       A HINT AS TO WHAT IS IN IT, BUT --

11:31AM   11             (LAUGHTER.)

11:31AM   12                    THE COURT:    IS THAT STEAL OR IS IT STAY?

11:31AM   13                    MR. DOWNEY:    AS THE COURT KNOWS, OUR POSITION IS

11:31AM   14       THAT THERE'S A SIGNIFICANT FIFTH AND SIXTH AMENDMENT ISSUE AT

11:31AM   15       STAKE, AND WE PREFER THAT THE JURY BE TOLD OF A PARTICULAR

11:31AM   16       RESULT, BUT WE'VE ALREADY DISCUSSED THAT.

11:31AM   17                    THE COURT:    RIGHT.   AND I WILL, I WILL.     I TOLD THEM

11:31AM   18       I WOULD DO THAT PRIOR TO THE COURT ISSUING ITS ORDER, AND I

11:31AM   19       INTEND TO TELL THEM THAT.

11:31AM   20             AND I WANT TO GET IT FILED CONCURRENT WITH ME INFORMING

11:31AM   21       THEN -- AND YOU'VE SHARED WITH ME BOTH OF YOUR POSITIONS.            I

11:31AM   22       DON'T THINK YOU'LL BE DISAPPOINTED.        IS THAT INFORMATIVE?

11:31AM   23                    MR. DOWNEY:    THANK YOU, YOUR HONOR.

11:31AM   24                    THE COURT:    OKAY.    THANK YOU.

11:32AM   25             ANYTHING ELSE BEFORE WE GET STARTED?



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11:32AM    1                     MR. SCHENK:    NO.    THANK YOU, YOUR HONOR.

11:32AM    2                     THE COURT:    OKAY.   IS MR. CLINE HERE NOW?

11:32AM    3                     MR. CLEARY:    YES.

11:32AM    4                     THE COURT:    YEAH, DID MR. CLINE SHARE WITH YOU THE

11:32AM    5       COURT'S COMMENTS?

11:32AM    6                     MR. CLEARY:    HE DID CONVEY THOSE COMMENTS AND THE

11:32AM    7       COURT WAS MOST GENEROUS.

11:32AM    8                     THE COURT:    WELL, I JUST WANTED TO MAKE SURE.      I

11:32AM    9       DIDN'T HAVE ANY DOUBT IN MR. CLINE'S ABILITY TO DO THAT.            HE

11:32AM   10       HAD A LOT ON HIS MIND, AND I JUST WANTED TO MAKE SURE THAT HE

11:32AM   11       SHARED THAT WITH YOU.       SO THANK YOU, SIR.    THANK YOU.

11:32AM   12             IT'S NICE TO SEE YOU.

11:32AM   13                     MR. CLEARY:    THANK YOU, YOUR HONOR.

11:32AM   14                     THE COURT:    YOU'RE WELCOME.   THANK YOU.

11:32AM   15             OKAY.    I'LL STEP DOWN AND THEN WE'LL BRING IN OUR JURY.

11:32AM   16                     THE CLERK:    COURT IS IN RECESS.

11:32AM   17             (RECESS FROM 11:32 A.M. UNTIL 11:52 A.M.)

11:53AM   18             (JURY IN AT 11:53 A.M.)

11:53AM   19                     THE COURT:    ALL RIGHT.   WE'RE BACK ON THE RECORD.

11:53AM   20             ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN.

11:53AM   21       COUNSEL ARE PRESENT.        MS. HOLMES IS PRESENT.

11:53AM   22             LADIES AND GENTLEMEN, THAT BREAK WAS A LITTLE LONGER THAN

11:53AM   23       ANTICIPATED.     I WANT YOU TO KNOW THAT WE DID USE THE TIME.            I

11:53AM   24       NEEDED TO ASK THESE LAWYERS SOME QUESTIONS AND I NEEDED SOME

11:53AM   25       HELP ON THESE ISSUES, AND SOMETIMES THAT TAKES A LITTLE LONGER.



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11:53AM    1             SO YOU SHOULD KNOW THAT BY SPENDING THE TIME THAT WE DID

11:53AM    2       DURING THIS BREAK, IT DID INCREASE THE EFFICIENCY OF THE TRIAL.

11:53AM    3       WE WERE ABLE TO NARROW DOWN SOME ISSUES, SO I THINK THE

11:54AM    4       EVIDENCE WILL BE ABLE TO COME IN, AT LEAST INITIALLY, WITH

11:54AM    5       GREATER EFFICIENCY.

11:54AM    6             WHICH IS TO SAY THAT WE SAVED SOME TIME DOING -- SPENDING

11:54AM    7       THIS TIME TOGETHER.       SO THANK YOU FOR THAT.

11:54AM    8             THE GOVERNMENT HAS RESTED.        I'VE TOLD YOU THAT, LADIES AND

11:54AM    9       GENTLEMEN, WHICH IS TO SAY THAT THE GOVERNMENT HAS PRESENTED

11:54AM   10       ALL OF THEIR EVIDENCE IN THEIR CASE-IN-CHIEF THAT THEY FEEL

11:54AM   11       THAT THEY'RE GOING TO PRESENT.

11:54AM   12             AND NOW I TURN TO THE DEFENSE.

11:54AM   13             DOES THE DEFENSE HAVE A WITNESS TO CALL?

11:54AM   14                    MS. TREFZ:    WE DO, YOUR HONOR.

11:54AM   15             THE DEFENSE CALLS TRENT MIDDLETON.

11:54AM   16                    THE COURT:    ALL RIGHT.    THANK YOU.

11:54AM   17             IF YOU WOULD COME FORWARD AND FACE OUR COURTROOM DEPUTY

11:54AM   18       WHILE YOU RAISE YOUR RIGHT HAND, SHE HAS A QUESTION FOR YOU.

11:54AM   19             (DEFENDANT'S WITNESS, TRENT MIDDLETON, WAS SWORN.)

11:54AM   20                    THE WITNESS:    YES.

11:55AM   21                    THE COURT:    PLEASE HAVE A SEAT THERE, SIR.

11:55AM   22             FEEL FREE TO MAKE YOURSELF COMFORTABLE, ADJUST THAT CHAIR

11:55AM   23       AND MICROPHONE AS YOU NEED.

11:55AM   24             WHEN YOU ARE COMFORTABLE, WOULD YOU PLEASE STATE YOUR NAME

11:55AM   25       AND THEN SPELL IT, PLEASE.



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11:55AM    1                     THE WITNESS:   SURE.   MY NAME IS TRENT MIDDLETON.

11:55AM    2       T-R-E-N-T.     M-I-D-D-L-E-T-O-N.

11:55AM    3                     THE COURT:    THANK YOU.   COUNSEL.

11:55AM    4                                  DIRECT EXAMINATION

11:55AM    5       BY MS. TREFZ:

11:55AM    6       Q.    MR. MIDDLETON, IF ARE YOU ARE FULLY VACCINATED AND

11:55AM    7       COMFORTABLE TESTIFYING WITHOUT YOUR MASK, YOU MAY REMOVE IT,

11:55AM    8       AND I WILL DO THE SAME.

11:55AM    9       A.    THANK YOU.    I AM.

11:55AM   10       Q.    HELLO.    THERE'S A WATER UP THERE.

11:55AM   11             AND I'VE ALSO, JUST FOR YOUR REFERENCE, PLACED A BINDER UP

11:55AM   12       THERE FOR YOU AS WELL, AND WE MAY REFER TO IT DURING THE EXAM.

11:55AM   13       A.    PERFECT.

11:55AM   14       Q.    CAN YOU DESCRIBE YOUR EDUCATIONAL BACKGROUND FOR US?

11:55AM   15       A.    SURE.    I HAVE A BACHELOR'S DEGREE IN ECONOMICS, AND A

11:55AM   16       MASTER'S DEGREE IN POLITICAL SCIENCE FROM MICHIGAN STATE

11:55AM   17       UNIVERSITY.

11:55AM   18       Q.    AND WHERE ARE YOU EMPLOYED?

11:56AM   19       A.    I'M EMPLOYED WITH WILLIAMS & CONNOLLY.

11:56AM   20       Q.    AND IS THAT THE LAW FIRM REPRESENTING MS. HOLMES?

11:56AM   21       A.    THAT IS.

11:56AM   22       Q.    AND WHAT IS YOUR ROLE AT WILLIAMS & CONNOLLY?

11:56AM   23       A.    I'M A PARALEGAL FOR THE COMPANY.

11:56AM   24       Q.    AND HOW LONG HAVE YOU WORKED FOR THE FIRM?

11:56AM   25       A.    I HAVE WORKED FOR 12 YEARS AT WILLIAMS & CONNOLLY.



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11:56AM    1       Q.    AND HAVE -- OTHER THAN THE WORK THAT YOU'VE DONE THAT IS

11:56AM    2       THE SUBJECT OF YOUR TESTIMONY TODAY, HAVE YOU WORKED ON THIS

11:56AM    3       MATTER FOR MS. HOLMES?

11:56AM    4       A.    NO, I HAVE NOT.

11:56AM    5       Q.    AND OTHER THAN IN CONNECTION WITH THE WORK THAT YOU HAVE

11:56AM    6       DONE THAT WE'LL TALK ABOUT TODAY, HAVE YOU EVER WORKED DIRECTLY

11:56AM    7       WITH ANY OF THE LAWYERS ON OUR TEAM?

11:56AM    8       A.    I HAVE NOT.

11:56AM    9       Q.    WHAT WERE YOU ASKED TO DO?

11:56AM   10       A.    I WAS ASKED TO REVIEW SOME VOLUMINOUS DOCUMENTS IN THIS

11:56AM   11       CASE AND TO PROVIDE SOME SUMMARIES TO HELP EVERYONE OUT IN

11:56AM   12       TERMS OF TIME, AS WELL AS TO PROVIDE SOME SIMPLE STATISTICS

11:56AM   13       FROM THOSE DOCUMENTS.

11:56AM   14       Q.    OKAY.    DO YOU HAVE A SENSE OF THE VOLUME OF THE MATERIAL

11:57AM   15       THAT YOU REVIEWED IN TERMS OF CAN YOU GIVE US A SENSE OF

11:57AM   16       WHETHER IT WAS HUNDREDS OF PAGES, THOUSANDS OF PAGES?

11:57AM   17       A.    EASILY THOUSANDS OF PAGES.       YES, JUST ONE SET OF DOCUMENTS

11:57AM   18       WAS HUGE IN TERMS OF PATIENT RECORDS.

11:57AM   19       Q.    OKAY.    AND WE'RE GOING TO GO THROUGH THE DIFFERENT

11:57AM   20       CATEGORIES THAT ARE -- THAT WILL BE THE SUBJECT OF YOUR

11:57AM   21       TESTIMONY.

11:57AM   22             AND LET'S START FIRST WITH THE QUESTION, DID YOU REVIEW A

11:57AM   23       SET OF U.S. ISSUED PATENTS THAT WERE ASSIGNED TO THERANOS?

11:57AM   24       A.    I DID.

11:57AM   25       Q.    AND WHAT DID YOU DO WITH THAT INFORMATION?



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11:57AM    1       A.    SO I REVIEWED THOSE PATENTS FOR THE DATE THAT THEY WERE

11:57AM    2       ISSUED, THE DATE THAT THEY WERE APPLIED FOR, AS WELL AS THE

11:57AM    3       INVENTOR AND THE ASSIGNEE ON THE PATENT, AND THE DESCRIPTION OF

11:57AM    4       THE PATENT.

11:57AM    5             THESE ALL CAME FROM THE U.S.A. PATENT OFFICE.

11:57AM    6       Q.    OKAY.    AND DID YOU ENSURE THAT A CHART THAT CONTAINED THE

11:58AM    7       INFORMATION THAT YOU JUST DESCRIBED WAS ACCURATE?

11:58AM    8       A.    THAT'S CORRECT, YES.

11:58AM    9       Q.    AND IF YOU'LL LOOK IN YOUR BINDER, IT'S IN THE FRONT LEFT

11:58AM   10       POCKET, AND IF YOU'LL LOOK FOR EXHIBIT 10691.

11:58AM   11       A.    OKAY.    YEP.

11:58AM   12       Q.    AND WHAT IS EXHIBIT 10691?

11:58AM   13       A.    SO 10691 IS THE DOCUMENT THAT I USED TO COMPILE ALL OF THE

11:58AM   14       INFORMATION FROM THE FACE OF THE PATENTS, SO THAT HAS THE

11:58AM   15       JURISDICTION, THE PATENT NUMBER, THE TITLE OF THE PATENT, AS

11:58AM   16       WELL AS THE ASSIGNEE, THE INVENTORS, AND THEN THE DATE THE

11:58AM   17       APPLICATION WAS FILED WITH THE U.S. PATENT OFFICE, AS WELL AS

11:58AM   18       THE DATE IT WAS ISSUED FROM THE PATENT OFFICE.

11:58AM   19       Q.    AND DOES EXHIBIT 10691 FAIRLY AND ACCURATELY RELATE THE

11:58AM   20       INFORMATION THAT YOU REVIEWED, THAT IT PURPORTS TO SUMMARIZE?

11:59AM   21       A.    YES.

11:59AM   22                     MS. TREFZ:   YOUR HONOR, WE WOULD MOVE TO ADMIT

11:59AM   23       10691.

11:59AM   24                     MR. LEACH:   YOUR HONOR, NO OBJECTION, CONSISTENT

11:59AM   25       WITH THE DISCUSSION THAT WE'VE HAD.



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11:59AM    1             I'M NOTING, GOING THROUGH THE EXHIBIT, THERE'S A COUPLE OF

11:59AM    2       PAGES WITH -- ON THE FAR RIGHT COLUMN THAT --

11:59AM    3                    THE COURT:    I'M NOTING PAGE 3.     PARDON ME FOR

11:59AM    4       INTERRUPTING YOU.     I SEE SOME ISSUES WITH PAGE 3, BEGINNING ON

11:59AM    5       PAGE 3.

11:59AM    6                    MR. LEACH:    YES.    BUT IF WE LIMIT THE DISPLAY TO 1

11:59AM    7       AND 2, THAT WOULD BE FINE.

11:59AM    8                    MS. TREFZ:    WE DON'T NECESSARILY -- WE'LL START WITH

11:59AM    9       PAGE 1 AND WE WILL ONLY DISPLAY PAGE 1, YOUR HONOR.

11:59AM   10                    THE COURT:    SO FOR PURPOSES OF YOUR MOTION TO ADMIT,

11:59AM   11       YOU'RE ASKING THAT THIS DOCUMENT BE ADMITTED UP TO 13 LINES AND

12:00PM   12       13 COLUMNS ON PAGE 3, AND EVERYTHING ELSE YOU'RE NOT ASKING TO

12:00PM   13       BE ADMITTED?

12:00PM   14                    MS. TREFZ:    THAT'S FINE, YOUR HONOR.      IT'S MOSTLY

12:00PM   15       FOR THE PURPOSES OF DISPLAY.

12:00PM   16                    THE COURT:    OKAY.

12:00PM   17                    MS. TREFZ:    AND SO IF WE CAN --

12:00PM   18                    THE COURT:    SO IT WILL BE ADMITTED.     THOSE THREE

12:00PM   19       PAGES WILL BE ADMITTED.      THE BALANCE IS NOT ADMITTED.

12:00PM   20                    MS. TREFZ:    OKAY.

12:00PM   21             (DEFENDANT'S EXHIBIT 10691, PAGES 1 - 3 WAS RECEIVED IN

12:00PM   22      EVIDENCE.)

12:00PM   23                    MS. TREFZ:    MR. BENNETT, IF YOU COULD DISPLAY THE

12:00PM   24       FIRST PAGE OF THE CHART FOR US.

12:00PM   25       Q.    AND, MR. MIDDLETON, IS THIS, IS THIS THE FIRST PAGE OF



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12:00PM    1       10691 THAT YOU WERE JUST DESCRIBING?

12:00PM    2       A.    IT IS NOT, IN FACT, THE FIRST PAGE OF 10691 THAT I HAVE IN

12:00PM    3       FRONT OF ME.

12:00PM    4       Q.    OKAY.    WELL, THEN LET'S -- WHILE WE WORK OUT THAT ISSUE,

12:01PM    5       LET US JUST MOVE ON.

12:01PM    6             I THINK YOU TESTIFIED A MOMENT AGO THAT YOU -- THAT YOU

12:01PM    7       REVIEWED CERTAIN INFORMATION FROM THE FACE OF THE PATENT.

12:01PM    8       A.    THAT'S CORRECT.

12:01PM    9       Q.    AND WHAT I WOULD LIKE TO PULL UP IS THE -- AN ISSUED

12:01PM   10       PATENT THAT IS IN EVIDENCE AS 96453.

12:01PM   11             SORRY, 9645.

12:01PM   12             AND IS THIS -- JUST FOR THE UNDERSTANDING OF THE JURY, IS

12:01PM   13       THIS AN EXAMPLE OF THE FORMAT OF THE PATENTS THAT YOU REVIEWED?

12:01PM   14       A.    THAT IS CORRECT.

12:01PM   15       Q.    AND IS THIS PATENT CONTAINED IN 10691?

12:01PM   16       A.    ALLOW ME TO DOUBLE-CHECK THAT REAL QUICK.

12:02PM   17             YES, IT IS CONTAINED.

12:02PM   18       Q.    ALL RIGHT.    AND CAN YOU IDENTIFY FOR US WHERE -- CAN YOU

12:02PM   19       IDENTIFY FOR US THE INFORMATION FROM THE FACE OF THE PATENT

12:02PM   20       THAT YOU SUMMARIZED?

12:02PM   21       A.    SURE.    SO AT THE TOP OF THE PATENT -- I'M TOLD THIS IS

12:02PM   22       TOUCHSCREEN, SO WE'LL SEE IF THAT WORKS.         ANYTHING?    NOPE.

12:02PM   23                     THE CLERK:   I DON'T BELIEVE OUR ANNOTATION IS

12:02PM   24       WORKING.    WE HAD AN ISSUE WITH THE COMPONENT.

12:02PM   25                     THE WITNESS:   SO AT THE VERY TOP THERE'S A 10 AND A



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12:02PM    1       PATENT NUMBER.     AND THAT IS THE PATENT NUMBER THAT IS CAPTURED

12:02PM    2       IN THE DATA CHART.

12:02PM    3             THANK YOU.

12:02PM    4             AND THEN IF WE GO TO THE TITLE OF THE PATENT, YOU'LL FIND

12:02PM    5       THAT RIGHT UNDERNEATH WHERE THERE'S 54, DEVICES, METHODS AND

12:02PM    6       SYSTEMS FOR REDUCING SAMPLE VOLUME.

12:02PM    7             ASSIGNEE CAN BE FOUND UNDERNEATH THE INVENTORS, RIGHT

12:03PM    8       THERE, THERE YOU GO, TO THERANOS.

12:03PM    9             INVENTORS ARE RIGHT ABOVE THAT IN 72, THANK YOU.

12:03PM   10             AND FINALLY YOU CAN FIND THE DATE THE APPLICATION WAS

12:03PM   11       FILED AS 22.

12:03PM   12             AND THE DATE THE PATENT WAS ISSUED IS RIGHT UP THERE AT

12:03PM   13       THE TOP UNDERNEATH THE PATENT NUMBER.

12:03PM   14       Q.    OKAY.    THANK YOU.

12:03PM   15             AND DID YOU USE THE EXHIBIT 10691 TO FURTHER QUANTIFY AND

12:03PM   16       IDENTIFY VARIOUS ASPECTS OF THE SET OF MATERIALS THAT YOU

12:03PM   17       REVIEWED?

12:03PM   18       A.    I DID.   AFTER PUTTING THEM INTO THIS CHART, I THEN SORTED

12:03PM   19       THEM BY THE DATE THAT THEY WERE ISSUED AND DETERMINED HOW MANY

12:03PM   20       WERE ISSUED IN A CERTAIN TIMEFRAME.

12:03PM   21       Q.    OKAY.    AND IF I COULD HAVE YOU -- IF I COULD DIRECT YOUR

12:03PM   22       ATTENTION TO WHAT HAS BEEN MARKED AS 10684, WHICH IS ALSO IN

12:03PM   23       THE LEFT POCKET OF YOUR BINDER.

12:03PM   24             HAVE -- IS 10684 -- HAVE YOU HAD THE OPPORTUNITY TO

12:04PM   25       CONFIRM THAT 10684 IS AN ACCURATE REPRESENTATION OF THE



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12:04PM    1       MATERIAL IT PROVIDES?

12:04PM    2       A.    I HAVE.

12:04PM    3       Q.    AND IS ALL OF THAT INFORMATION CONTAINED IN 10691, WHICH

12:04PM    4       WAS YOUR ORIGINAL SUMMARY CHART?

12:04PM    5       A.    YES, THAT INFORMATION IS CORRECT.

12:04PM    6                     MS. TREFZ:   YOUR HONOR, I WOULD MOVE TO ADMIT 10684.

12:04PM    7                     MR. LEACH:   NO OBJECTION, YOUR HONOR.

12:04PM    8                     THE COURT:   IT'S ADMITTED.

12:04PM    9             AND JUST FOR THE RECORD THIS WITNESS IS TESTIFYING

12:04PM   10       PURSUANT TO 1006 AS A SUMMARY WITNESS; CORRECT?

12:04PM   11                     MS. TREFZ:   CORRECT, YOUR HONOR.

12:04PM   12                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:04PM   13             (DEFENDANT'S EXHIBIT 10684 WAS RECEIVED IN EVIDENCE.)

12:04PM   14       BY MS. TREFZ:

12:04PM   15       Q.    AND MR. MIDDLETON, CAN YOU WALK US THROUGH WHAT WE CAN

12:04PM   16       FIND ON THE FIRST PAGE OF 10684?

12:04PM   17       A.    SURE.    SO 10684 HAS THE TOTAL NUMBER OF ISSUED PATENTS,

12:04PM   18       THE DATE THAT THE PATENT WAS FIRST ISSUED ON THE CHART, AS WELL

12:04PM   19       AS THE TOTAL NUMBER OF PATENTS ISSUED BETWEEN 2010 AND 2016, AS

12:05PM   20       WELL AS THOSE THAT WERE APPLIED FOR BETWEEN 2010 AND 2016.

12:05PM   21       Q.    AND JUST TO UNDERSTAND THE LAST BULLET, THE NUMBER OF

12:05PM   22       ISSUED PATENTS WITH APPLICATION IN 2010 TO 2016, CAN YOU

12:05PM   23       EXPLAIN THE DISTINCTION BETWEEN THAT FOURTH BULLET AND THE

12:05PM   24       THIRD BULLET?

12:05PM   25       A.    SURE.    SO NUMBER OF PATENTS ISSUED IS LITERALLY A PATENT



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12:05PM    1       WAS ISSUED FROM THE U.S. PATENT OFFICE, WHEREAS THE LAST BULLET

12:05PM    2       IS DEALING WITH THE APPLICATIONS MADE TO THE U.S. PATENT

12:05PM    3       OFFICE.    SO THEY MAY NOT HAVE RECEIVED YET AN ISSUED PATENT.

12:05PM    4       Q.    THE APPLICATION WAS MADE BEFORE THE PATENT WAS ISSUED?

12:05PM    5       A.    THAT'S CORRECT, YES.      YOU MAKE AN APPLICATION TO THE U.S.

12:05PM    6       PATENT OFFICE, AND THEN YOU GET YOUR OFFICIAL U.S. PATENT.

12:05PM    7       Q.    OKAY.   AND IF WE CAN TURN TO PAGE 2 OF EXHIBIT 10684.

12:05PM    8             WHAT IS PAGE 2 OF EXHIBIT 10684?

12:05PM    9       A.    SO PAGE 2 IS A BAR CHART SHOWING THE NUMBER OF

12:05PM   10       APPLICATIONS MADE IN EACH YEAR FROM 2004 TO 2016.

12:05PM   11       Q.    AND DOES THIS -- HAVE YOU HAD AN OPPORTUNITY TO CHECK THE

12:06PM   12       DATA ON 10684?

12:06PM   13       A.    I HAVE.

12:06PM   14       Q.    AND DOES IT ACCURATELY REFLECT THE DATA THAT WAS

12:06PM   15       SUMMARIZED -- THE CORRESPONDING DATA THAT WAS SUMMARIZED IN

12:06PM   16       10691?

12:06PM   17       A.    THAT IS CORRECT, IT IS AN ACCURATE REPRESENTATION.

12:06PM   18       Q.    AND IN WHAT YEARS WERE THERE THE MOST PATENT APPLICATIONS

12:06PM   19       FILED?

12:06PM   20       A.    2014 AND 2015 HAD THE MOST APPLICATIONS.

12:06PM   21       Q.    OKAY.   AND WE CAN PUT THAT EXHIBIT ASIDE AND WE CAN TAKE

12:06PM   22       IT DOWN.

12:06PM   23             I'D LIKE TO CALL UP EXHIBIT 5172, WHICH IS IN EVIDENCE,

12:06PM   24       AND I WOULD LIKE TO SEE THE NATIVE VERSION IF WE CAN, PLEASE.

12:06PM   25             THANK YOU.



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12:06PM    1             MR. MIDDLETON, AS PART OF YOUR WORK, WERE YOU ASKED TO

12:06PM    2       REVIEW TRIAL EXHIBIT 5172 AND MAKE SOME CALCULATIONS FROM THE

12:07PM    3       DATA IN THAT EXHIBIT?

12:07PM    4       A.    THAT IS CORRECT.

12:07PM    5       Q.    AND JUST TO UNDERSTAND A LITTLE BIT ABOUT 5172, IS -- CAN

12:07PM    6       YOU EXPLAIN THE FORMAT OF THE EXHIBIT?

12:07PM    7       A.    SURE.   SO THE FORMAT IS A VERY, VERY LARGE EXCEL.         IT HAS

12:07PM    8       MANY, MANY COLUMNS.

12:07PM    9       Q.    AND HOW MANY COLUMNS DOES IT HAVE?

12:07PM   10       A.    I BELIEVE TOTAL 312 COLUMNS.

12:07PM   11       Q.    AND OUT OF THAT 312 COLUMNS, HOW MANY OF THEM HAVE DATA IN

12:07PM   12       THEM?

12:07PM   13       A.    311 HAVE DATA IN THEM.

12:07PM   14       Q.    IS THAT BECAUSE THE FIRST COLUMN IS THE -- WELL, WHAT IS

12:07PM   15       IN THE FIRST COLUMN?

12:07PM   16       A.    THE FIRST COLUMN HAS THE DESCRIPTIONS FOR EACH ROW.           SO

12:07PM   17       THAT WOULDN'T HAVE DATA IN IT.

12:07PM   18       Q.    OKAY.

12:07PM   19       A.    SO 311 WITH DATA.

12:07PM   20       Q.    OKAY.   AND USING 5172, WHAT WERE YOU ASKED TO DO FROM

12:07PM   21       5172?

12:07PM   22       A.    FOR 5172 I WAS ASKED TO REVIEW ROWS 26 AND 27, THE

12:08PM   23       CUSTOMER RECEIPTS AND OPTION/STOCK PROCEEDS FOR CERTAIN TIME

12:08PM   24       PERIODS.

12:08PM   25       Q.    OKAY.   AND DID YOU THEN -- IF I COULD DRAW YOUR ATTENTION



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12:08PM    1       TO 10685, WHICH IS A TAB IN YOUR BINDER.

12:08PM    2             DO YOU HAVE THAT IN FRONT OF YOU?

12:08PM    3       A.    I DO.

12:08PM    4       Q.    AND ARE THE CALCULATIONS THAT YOU MADE FROM THE ROWS THAT

12:08PM    5       YOU CAPTURED IN 10685?

12:08PM    6       A.    THAT IS CORRECT.

12:08PM    7       Q.    AND DO YOU BELIEVE THAT 10685 IS A FAIR AND ACCURATE

12:08PM    8       REPRESENTATION OF THE DATA AND CALCULATIONS THAT YOU PERFORMED?

12:08PM    9       A.    IT IS.

12:08PM   10                     MS. TREFZ:   YOUR HONOR, WE WOULD MOVE THE ADMISSION

12:08PM   11       OF 10685 UNDER 1006.

12:08PM   12                     MR. LEACH:   NO OBJECTION, YOUR HONOR.

12:08PM   13                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:08PM   14             (DEFENDANT'S EXHIBIT 10685 WAS RECEIVED IN EVIDENCE.)

12:08PM   15                     MS. TREFZ:   ALL RIGHT.   LET'S START WITH THE FIRST

12:08PM   16       PAGE.    THANK YOU.

12:08PM   17       Q.    EXPLAIN WHAT THIS FIRST PAGE OF 10685 REPRESENTS.

12:08PM   18       A.    SURE.    SO THIS IS CAPTURING I BELIEVE ROW 26, THE CUSTOMER

12:09PM   19       RECEIPTS BETWEEN JANUARY 17TH, 2011, UNTIL THE BEGINNING OF

12:09PM   20       2014.

12:09PM   21             AND IN IT YOU CAN FIND THE LISTING OF EACH COLUMN THAT HAD

12:09PM   22       DATA DURING THAT TIMEFRAME AND THE SPECIFIC WEEK THAT THAT

12:09PM   23       COLUMN WAS ASSIGNED TO, AS WELL AS A TOTAL VALUE AMOUNT THAT

12:09PM   24       WAS LISTED IN THAT COLUMN FOR THAT WEEK.

12:09PM   25       Q.    AND THE -- ON THAT THIRD COLUMN THE TITLE CUSTOMER



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12:09PM    1       RECEIPTS, WHERE DOES THAT TITLE COME FROM?

12:09PM    2       A.    THAT COMES FROM THE ROW ITSELF, ROW 26 IS LABELED CUSTOMER

12:09PM    3       RECEIPTS.

12:09PM    4       Q.    IN COLUMN A?

12:09PM    5       A.    IN COLUMN A, THAT'S CORRECT.

12:09PM    6       Q.    AND DID YOU DO ANY SUBSEQUENT ANALYSIS TO UNDERSTAND WHAT

12:09PM    7       THE VARIOUS CUSTOMER RECEIPTS -- THE SOURCE OF THE VARIOUS

12:09PM    8       CUSTOMER RECEIPTS?

12:09PM    9       A.    NO.

12:09PM   10       Q.    AND IS IT FAIR TO SAY THAT ALL YOU DID WAS TITLE, OR SUM

12:09PM   11       THE AMOUNTS IN THESE PARTICULAR --

12:10PM   12       A.    THAT IS EXACTLY RIGHT.      I PURELY TOOK THE VALUES THAT WERE

12:10PM   13       PROVIDED IN THE EXCEL AND ADDED THEM UP AND CAME UP WITH A

12:10PM   14       NUMBER.

12:10PM   15       Q.    AND THEN WHAT WAS, WHAT WAS THE TOTAL?

12:10PM   16       A.    THE GRAND TOTAL WAS 217,817,591.

12:10PM   17       Q.    IS THAT IN DOLLARS?

12:10PM   18       A.    THAT IS IN DOLLARS.

12:10PM   19       Q.    THANK YOU.

12:10PM   20             IF WE CAN TURN TO PAGE 2 OF EXHIBIT 10685.

12:10PM   21             DESCRIBE FOR THE JURY WHAT IS CAPTURED IN PAGE 2 OF 10685.

12:10PM   22       A.    SO PAGE 2 IS AN EXCERPT OF ROW 27, WHICH WAS THE

12:10PM   23       OPTION/STOCK PROCEEDS FOR THE YEAR 2013, AND SO IT CAPTURES

12:10PM   24       EVERY COLUMN FOR 2013 THAT HAS A VALUE, THE WEEK THAT THAT

12:10PM   25       VALUE OCCURRED, AS WELL AS THE TOTAL VALUE AMOUNT FOR THAT



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12:10PM    1       WEEK.

12:10PM    2       Q.    AND I JUST NOTE ON COLUMN FB, WHICH IS THE LAST ROW BEFORE

12:10PM    3       THE TOTAL, I JUST WANTED TO POINT OUT IT GOES THROUGH

12:11PM    4       JANUARY 5TH, 2014.

12:11PM    5             WHY IS THAT?

12:11PM    6       A.    I BELIEVE IT IS FOR CARRY-OVER.       IT'S TO HELP CAPTURE THE

12:11PM    7       VERY LAST END OF THE YEAR PROCEEDS.

12:11PM    8       Q.    OKAY.   AND THEN IT SAYS AT THE TOP OPTION/STOCK PROCEEDS

12:11PM    9       2013.

12:11PM   10             I NOTICE THAT IT BEGINS WITH COLUMN DR, WHICH BEGINS

12:11PM   11       APRIL 22ND, 2013.

12:11PM   12             WHY DOES IT BEGIN ON APRIL 22ND?

12:11PM   13       A.    SO I DID NOT INCLUDE ANY WEEKS THAT DID NOT HAVE VALUES,

12:11PM   14       SO THERE WERE NO VALUES BEFORE 4-22-2013.

12:11PM   15       Q.    THANK YOU.

12:11PM   16             AND WHAT WERE THE OPTION/STOCK PROCEEDS, WHAT WAS THE

12:11PM   17       TOTAL AMOUNT THAT YOU HAD CALCULATED?

12:11PM   18       A.    THE TOTAL AMOUNT WAS $58,579,988.

12:11PM   19       Q.    OKAY.   I'D NOW LIKE TO, IF WE CAN, MR. BENNETT, BRING UP

12:12PM   20       EXHIBIT 14206, WHICH IS IN EVIDENCE, AND IN PARTICULAR I WANT

12:12PM   21       TO DRAW -- IF WE CAN BRING UP PAGE, I BELIEVE IT'S 482, BATES

12:12PM   22       ENDED 482.

12:12PM   23             THANK YOU.

12:12PM   24             AND, MR. MIDDLETON, THIS EXHIBIT IS IN EVIDENCE, AND I'M

12:12PM   25       NOT GOING TO ASK YOU TO DESCRIBE THE EXHIBIT OR ANYTHING LIKE



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12:12PM    1       THAT.

12:12PM    2              WHAT I DID WANT TO ASK YOU, HOWEVER, IS UNDER PROCEEDS

12:12PM    3       FROM EQUITY TRANSACTIONS ON THIS EXHIBIT, WHAT NUMBER DO YOU

12:12PM    4       SEE?

12:12PM    5       A.     I SEE 59 MILLION.

12:12PM    6       Q.     YEAH, SORRY.    FOR THE PERIOD ENDING 12-31-2013?

12:13PM    7       A.     THAT'S CORRECT.

12:13PM    8       Q.     AND HOW DOES THAT COMPARE TO THE TOTAL IN PAGE 2 OF 10685?

12:13PM    9       A.     VERY SIMILAR.    IT LOOKS LIKE IT'S A ROUNDED VERSION OF

12:13PM   10       THAT 58.5 MILLION THAT I CALCULATED.

12:13PM   11       Q.     IT COULD BE AROUND THAT?

12:13PM   12       A.     IT COULD BE.

12:13PM   13       Q.     YOU DON'T HAVE ANY KNOWLEDGE OF WHAT HAPPENED WITH --

12:13PM   14       A.     I DO NOT.

12:13PM   15       Q.     -- THIS OTHER EXHIBIT?

12:13PM   16              ALL RIGHT.   WE CAN MOVE ON.

12:13PM   17              THE NEXT -- DID YOU ALSO REVIEW A SPREADSHEET THAT LISTED

12:13PM   18       THE NAMES OF INDIVIDUALS AND ENTITIES THAT RECEIVED THERANOS

12:13PM   19       STOCK?

12:13PM   20       A.     I DID.

12:13PM   21       Q.     AND IF YOU CAN JUST TAKE A LOOK AT EXHIBIT 10692.

12:13PM   22       A.     OKAY.

12:13PM   23       Q.     THIS HAS BEEN MARKED FOR IDENTIFICATION PURPOSES, AND CAN

12:13PM   24       YOU -- IS THIS THE EXHIBIT THAT YOU REVIEWED?

12:14PM   25       A.     IT IS.



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12:14PM    1       Q.    AND CAN YOU -- WHAT IS THE NATIVE -- THERE'S AN ATTACHMENT

12:14PM    2       HERE.    WHAT IS THE NATIVE FILE FORMAT IS IT IN?

12:14PM    3       A.    IT IS A NATIVE EXCEL.

12:14PM    4       Q.    OKAY.    AND WHAT DID YOU DO WITH THE INFORMATION IN THAT

12:14PM    5       TABLE?

12:14PM    6       A.    SURE.    SO THE SECOND TAB OF THE NATIVE EXCEL LISTS THE

12:14PM    7       NUMBER OF INVESTMENTS BY ROUND OR SERIES, AND SO I REVIEWED THE

12:14PM    8       SECOND TAB OF THAT EXCEL AND CALCULATED HOW MANY INVESTMENTS

12:14PM    9       WERE MADE FOR EACH SERIES.

12:14PM   10       Q.    AND DID YOU THEN SUMMARIZE THAT INFORMATION INTO A CHART?

12:14PM   11       A.    I DID.

12:14PM   12       Q.    AND IF YOU CAN LOOK, I DRAW YOUR ATTENTION TO 10686.

12:14PM   13       A.    OKAY.    I'M THERE.

12:14PM   14       Q.    AND IS 10686 THE CHART THAT YOU SUMMARIZED FROM 10692?

12:14PM   15       A.    THAT IS CORRECT.

12:14PM   16                     MS. TREFZ:    YOUR HONOR, I MOVE INTO EVIDENCE 1068 --

12:15PM   17       OH, ONE MORE QUESTION.

12:15PM   18       Q.    IS IT A FAIR AND ACCURATE REPRESENTATION OF THE

12:15PM   19       CALCULATIONS THAT YOU PERFORMED?

12:15PM   20       A.    IT IS FAIR AND ACCURATE.

12:15PM   21                     MS. TREFZ:    YOUR HONOR, I WOULD MOVE INTO EVIDENCE,

12:15PM   22       PURSUANT TO 1006, 10686.

12:15PM   23                     MR. LEACH:    YOUR HONOR, NO OBJECTION TO 10686.

12:15PM   24             I WOULD REQUEST ALSO THAT EXHIBIT 10692 ALSO COME INTO

12:15PM   25       EVIDENCE.



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12:15PM    1                      MS. TREFZ:   THAT'S FINE, YOUR HONOR.

12:15PM    2                      THE COURT:   BOTH OF THOSE ARE ADMITTED AND MAY BE

12:15PM    3       PUBLISHED.

12:15PM    4              (DEFENDANT'S EXHIBITS 10686 AND 10692 WERE RECEIVED IN

12:15PM    5      EVIDENCE.)

12:15PM    6       BY MS. TREFZ:

12:15PM    7       Q.     LOOKING AT 10686, CAN YOU EXPLAIN TO THE JURY WHAT THIS

12:15PM    8       REPRESENTS?

12:15PM    9       A.     SURE.    SO THIS TABLE IS SUMMARIZING THE TOTAL NUMBER OF

12:15PM   10       INVESTMENTS MADE FOR EACH SERIES, STARTING WITH SERIES A AND

12:15PM   11       GOING THROUGH SERIES C-2.

12:15PM   12       Q.     OKAY.    AND HOW MANY TOTAL INVESTMENTS WERE THERE?

12:15PM   13       A.     TOTAL NUMBER OF INVESTMENTS ACROSS ALL OF THE SERIES WAS

12:16PM   14       275.

12:16PM   15       Q.     AND JUST, JUST SO THAT WE'RE CLEAR, THIS -- I THINK YOU'VE

12:16PM   16       BEEN SAYING THE NUMBER OF INVESTMENTS, AND THAT'S WHAT IT SAYS

12:16PM   17       ON THE RIGHT COLUMN OF THE CHART.

12:16PM   18              TO BE CLEAR, IS THIS THE TOTAL NUMBER OF INVESTORS OR

12:16PM   19       INVESTMENTS THAT IS REFLECTED?

12:16PM   20       A.     TOTAL NUMBER OF INVESTMENTS.

12:16PM   21       Q.     SO THERE COULD BE DUPLICATES FROM THE SAME ENTITY?

12:16PM   22       A.     THAT IS CORRECT.

12:16PM   23       Q.     OR THE SAME INDIVIDUAL?

12:16PM   24       A.     THAT IS CORRECT.

12:16PM   25       Q.     AND DID YOU MAKE AN EFFORT TO DEDUPLICATE THEM?



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12:16PM    1       A.    I DID NOT.

12:16PM    2       Q.    AND WHY NOT?

12:16PM    3       A.    IT'S JUST -- IT SEEMED LIKE SOMETHING I DIDN'T WANT TO GET

12:16PM    4       INTO.    IT SEEMED MUCH EASIER TO JUST COUNT THE NUMBER OF

12:16PM    5       INVESTMENTS FOR EACH SERIES SO IT WAS A MUCH MORE

12:16PM    6       STRAIGHTFORWARD NUMBER TO CALCULATE.

12:16PM    7       Q.    AND IN ORDER TO CALCULATE THAT, HOW DID YOU DO THAT IN THE

12:16PM    8       EXCEL?

12:16PM    9       A.    SURE.    SO THERE'S A COLUMN ON THE FAR LEFT THAT JUST LISTS

12:16PM   10       THE SERIES, AND I FILTERED THAT COLUMN TO SHOW JUST SERIES A

12:17PM   11       AND COUNTED THE TOTAL NUMBER OF INVESTMENTS MADE FOR THAT

12:17PM   12       SERIES, AND THEN REPEATED THE PROCESS FOR SERIES B, SERIES C,

12:17PM   13       SERIES C-1, SERIES C-2.      THEY'RE ALL LISTED IN THAT COLUMN.

12:17PM   14       Q.    THEY'RE ALL SEPARATELY LISTED?

12:17PM   15       A.    THEY'RE ALL SEPARATELY LISTED, YES, THAT'S CORRECT.           EACH

12:17PM   16       INVESTMENT HAS A SERIES NEXT TO IT.

12:17PM   17       Q.    AND IN YOUR REVIEW, DID YOU SEE MS. HOLMES'S NAME?

12:17PM   18       A.    I DID.

12:17PM   19       Q.    DID YOU ALSO SEE AN ENTRY FOR CHRIS AND NOEL HOLMES?

12:17PM   20       A.    I DID.

12:17PM   21       Q.    ALL RIGHT.    LET'S MOVE ON TO THE NEXT SECTION HERE.

12:17PM   22             IF WE CAN BRING UP WHAT IS IN EVIDENCE AS EXHIBIT 3741A.

12:17PM   23       AND IF YOU CAN TURN THERE IN YOUR BINDER AS WELL?

12:17PM   24       A.    UH-HUH.    OKAY, I'M THERE.

12:17PM   25       Q.    DID YOU -- WAS ONE OF THE THINGS THAT YOU DID WAS REVIEW



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12:17PM    1       THE THERANOS -- REVIEW EXHIBIT 3741A?

12:18PM    2       A.    I DID.

12:18PM    3       Q.    AND WHAT DID YOU DO WITH THIS EXHIBIT?

12:18PM    4       A.    SO THIS EXHIBIT, I WENT THROUGH THE TOTAL NUMBER A THROUGH

12:18PM    5       Z OF ALL OF THE TESTS OFFERED ON THIS TEST MENU AND CALCULATED

12:18PM    6       TOTAL NUMBER OF TESTS PROVIDED, AS WELL AS HOW MANY TESTS AND

12:18PM    7       INDIVIDUAL BUCKETS OF PRICING.

12:18PM    8       Q.    OKAY.    AND EXHIBIT 3741A IS, I BELIEVE IS A FIVE PAGE

12:18PM    9       EXHIBIT.

12:18PM   10             AT WHAT PAGES OF THE EXHIBIT DID YOU USE FOR YOUR

12:18PM   11       CALCULATIONS?

12:18PM   12       A.    I FOCUSSED ON PAGES 1 THROUGH 3, WHICH IS THE LISTING A

12:18PM   13       THROUGH Z OF ALL OF THE TESTS OFFERED BY THERANOS.

12:18PM   14       Q.    OKAY.    AND DID YOU MAKE FURTHER -- FROM THAT, DID YOU

12:18PM   15       SUMMARIZE THE INFORMATION IN 3741A INTO ANOTHER CHART?

12:19PM   16       A.    I DID.   SO I TOOK THOSE SUMMARIES AND PUT THEM INTO

12:19PM   17       ANOTHER CHART.

12:19PM   18       Q.    SO IF YOU CAN TURN TO EXHIBIT 10689.

12:19PM   19             AND WHAT IS 10689?

12:19PM   20       A.    ACTUALLY, HOLD ON.     I DON'T THINK I HAVE IT IN MY BINDER,

12:19PM   21       BUT IF YOU WANT TO PUT IT UP ON THE SCREEN.

12:19PM   22       Q.    OH, WELL, WE CAN'T DO THAT UNTIL WE PUT IT IN YOUR BINDER.

12:19PM   23       A.    OH, OKAY.

12:19PM   24       Q.    GIVE ME ONE SECOND.

12:19PM   25             DO YOU HAVE IT IN YOUR BINDER?



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12:19PM    1                     MR. LEACH:   I DO.

12:19PM    2                     MS. TREFZ:   MAY I APPROACH, YOUR HONOR?

12:19PM    3                     THE COURT:   YES.

12:19PM    4       BY MS. TREFZ:

12:19PM    5       Q.    (HANDING.)

12:19PM    6       A.    THANK YOU.

12:19PM    7       Q.    ARE YOU NOW LOOKING AT EXHIBIT 10689?

12:19PM    8       A.    I AM.

12:19PM    9       Q.    AND WHAT IS 10689?

12:19PM   10       A.    SO 10689 IS SOME SUMMARY CHARTS DEPICTING THE TOTAL NUMBER

12:20PM   11       OF TESTS OFFERED, AS WELL AS IT'S BREAKING THEM DOWN INTO PRICE

12:20PM   12       BUCKETS.

12:20PM   13       Q.    OKAY.    AND DID YOU -- DOES 10689 FAIRLY AND ACCURATELY

12:20PM   14       REPRESENT OR REFLECT THE WORK THAT YOU PERFORMED FROM

12:20PM   15       EXHIBIT 3741A?

12:20PM   16       A.    THAT IS CORRECT.

12:20PM   17                     MS. TREFZ:   YOUR HONOR, I MOVE UNDER 1006 FOR THE

12:20PM   18       ADMISSION OF 10689.

12:20PM   19                     MR. LEACH:   RELEVANCE, YOUR HONOR.

12:20PM   20                     MS. TREFZ:   YOUR HONOR, WE BELIEVE THAT THE NUMBER

12:20PM   21       OF TESTS OFFERED BY THERANOS HAS BEEN AN ISSUE IN THE CASE

12:20PM   22       BEFORE.

12:20PM   23             WE BELIEVE THAT THE PRICE OF THE TEST IS MATERIAL TO

12:20PM   24       PATIENTS, AND WE'VE HEARD TESTIMONY AND DOCTORS -- AND WE'VE

12:20PM   25       HEARD TESTIMONY AS TO THAT.



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12:20PM    1                    THE COURT:    WE HAVE.   I JUST DON'T KNOW WHAT THIS

12:21PM    2       HAS TO DO WITH THAT.      WHY DOES THIS ADD ANYTHING TO THAT?

12:21PM    3             I COULD SEE ON PAGE 1.       I DON'T THINK THERE'S BEEN ANY

12:21PM    4       CONTROVERSY ABOUT PERCENTAGE OF COST BREAKDOWNS.

12:21PM    5                    MS. TREFZ:    YOUR HONOR, THIS IS -- THE INITIAL

12:21PM    6       EXHIBIT IS ALREADY IN EVIDENCE.           WE ARE TRYING TO PROVIDE

12:21PM    7       HELPFUL PERSPECTIVES ON HOW TO VIEW THAT EXHIBIT, AND WE

12:21PM    8       BELIEVE THAT THE -- THAT THE MATERIALITY ISSUE IS RELEVANT TO

12:21PM    9       COUNT TWO.

12:21PM   10                    MR. LEACH:    RELEVANCE, YOUR HONOR.      403.

12:21PM   11                    THE COURT:    I'LL ALLOW THE FIRST PAGE.      BUT THE

12:21PM   12       WHEEL AND THE OTHER MENU PRICE, I DON'T THINK THAT'S REALLY

12:22PM   13       RELEVANT.    I DON'T THINK IT GOES TO AN ISSUE REALLY.         I DON'T

12:22PM   14       SEE IT.

12:22PM   15             SO UNDER 403 AND UNDER 401.

12:22PM   16             (DEFENDANT'S EXHIBIT 10689, PAGE 1 WAS RECEIVED IN

12:22PM   17       EVIDENCE.)

12:22PM   18                    MS. TREFZ:    OKAY.   LET'S OFFER EXHIBIT 1 -- I

12:22PM   19       BELIEVE THEN -- CAN WE JUST DISPLAY PAGE 1 OF EXHIBIT 10689?

12:22PM   20                    THE COURT:    YES.    YES.

12:22PM   21       BY MS. TREFZ:

12:22PM   22       Q.    WHAT IS PAGE 1 OF EXHIBIT 10689?

12:22PM   23       A.    SO PAGE 1 HAS THE TOTAL NUMBER OF TESTS OFFERED UNDER

12:22PM   24       THERANOS'S TEST MENU, AND IT ALSO SHOWS THE TOTAL NUMBER OF

12:22PM   25       REFLEX TESTS THAT CAN BE FOUND ON THE TESTING MENU.



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12:22PM    1       Q.    AND HOW MANY TESTS WERE OFFERED BY THERANOS?

12:22PM    2       A.    THERE'S A GRAND TOTAL OF 269 TESTS UNDER THE TESTING MENU.

12:22PM    3       Q.    OKAY.    AND IF WE CAN GO BACK TO EXHIBIT 3741.

12:23PM    4             I WANT TO UNDERSTAND WHAT YOU IDENTIFIED AS REFLEX TEST,

12:23PM    5       HOW YOU CAME TO THAT NUMBER.

12:23PM    6       A.    SURE.

12:23PM    7       Q.    SO CAN YOU -- IS THERE AN EXAMPLE ON 3741A?

12:23PM    8       A.    SURE.    SO THE FIRST EXAMPLE OF A REFLEX TEST SHOWING UP ON

12:23PM    9       THE TESTING MENU IS UNDER THESE ANTINUCLEAR ANTIBODIES SCREEN,

12:23PM   10       ANA, YOU'LL FIND A LITTLE INDENTATION THAT SAYS REFLEX TO ANA

12:23PM   11       CONFIRMATORY, AND THE PRICE IS $7.68.         YEP.

12:23PM   12       Q.    OKAY.    AND HOW MANY REFLEX TESTS DID YOU FIND ON THIS

12:23PM   13       MENU?

12:23PM   14       A.    THE GRAND TOTAL ON THIS MENU IS 23 REFLEX TESTS.

12:23PM   15       Q.    OKAY.    LET'S MOVE ON TO THE NEXT CATEGORY.

12:23PM   16             DID YOU ALSO REVIEW COMPILATIONS OF TESTING DATA, OR,

12:23PM   17       YEAH, TESTING REPORTS FROM CERTAIN HEALTH CARE PROVIDERS?

12:24PM   18       A.    I DID.

12:24PM   19       Q.    LET'S START WITH, LET'S START WITH DATA RELATED TO

12:24PM   20       PROVIDER DR. GERALD ASIN.

12:24PM   21       A.    OKAY.

12:24PM   22       Q.    DID YOU -- WHAT DID YOU DO WITH RESPECT TO -- FIRST OF

12:24PM   23       ALL, DID YOU REVIEW LAB REPORTS -- THERANOS LAB REPORTS

12:24PM   24       CONTAINED IN DR. ASIN'S MEDICAL FILES?

12:24PM   25       A.    THAT IS CORRECT.



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12:24PM    1       Q.    AND WHAT FORMAT WERE THEY IN?

12:24PM    2       A.    I REVIEWED PDF SCANS OF THE FILES.

12:24PM    3       Q.    AND WHAT DID YOU, WHAT DID YOU DO IN YOUR REVIEW?

12:24PM    4       A.    SO BASICALLY I WENT THROUGH EACH OF THE PDF SCANS AND

12:24PM    5       REVIEWED THEM FOR THERANOS LAB RESULTS, AND THEN NOTED THAT IN

12:24PM    6       TERMS OF DATE THAT THE VISIT OCCURRED AND OTHER STATISTICS FROM

12:24PM    7       THOSE LAB RESULTS.

12:25PM    8       Q.    OKAY.    AND WERE ALL OF THE, WERE ALL OF THE LAB REPORTS

12:25PM    9       THAT YOU REVIEWED FROM THERANOS?

12:25PM   10       A.    NO, THAT IS NOT CORRECT.

12:25PM   11       Q.    BUT WERE YOU -- AND THEN SO HOW DID YOU DISTINGUISH

12:25PM   12       BETWEEN WHAT WAS A -- WHAT SHOULD BE -- I'M SORRY.           LET ME

12:25PM   13       STRIKE THAT AND START OVER.

12:25PM   14             DID YOU DISTINGUISH BETWEEN A THERANOS LAB REPORT AND

12:25PM   15       ANOTHER ENTITY'S LAB REPORT?

12:25PM   16       A.    I DID.   I DID.

12:25PM   17             SO THE SCAN HAS ALL OF THE LAB REPORTS FOR A CUSTOMER, BUT

12:25PM   18       I ONLY FOCUSSED ON THE THERANOS LAB REPORTS AND IGNORED THE

12:25PM   19       OTHER PROVIDERS.

12:25PM   20       Q.    AND HOW MANY, HOW MANY OF THESE PDF FILES DID YOU REVIEW?

12:25PM   21       A.    I BELIEVE SOMETHING AROUND 277 PDF'S.

12:25PM   22       Q.    AND DID ALL OF THEM HAVE THERANOS LAB REPORTS IN THEM?

12:25PM   23       A.    NO.

12:25PM   24       Q.    AND DID YOU THEN SUMMARIZE THE INFORMATION THAT YOU, THAT

12:26PM   25       YOU WERE SEEING INTO A, INTO A CHART?



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12:26PM    1       A.    I DID.

12:26PM    2       Q.    AND CAN YOU DRAW YOUR ATTENTION TO 10690?

12:26PM    3       A.    OKAY.

12:26PM    4       Q.    AND --

12:26PM    5                     MS. TREFZ:   YOUR HONOR, I WOULD JUST NOTE FOR THE

12:26PM    6       COURT THAT I DON'T INTEND TO ADMIT THIS EXHIBIT, BUT WE DO HAVE

12:26PM    7       A REDACTED VERSION, BUT I WANTED TO MAKE SURE THAT THE COURT

12:26PM    8       AND THE WITNESS AND THE GOVERNMENT HAVE THE FULL MATERIAL HERE.

12:26PM    9                     THE COURT:   OKAY.   THANK YOU.

12:26PM   10       BY MS. TREFZ:

12:26PM   11       Q.    AND WHAT, WHAT INFORMATION IS CONTAINED IN 10690?

12:26PM   12       A.    SO THE EXHIBIT HAS THE CONTROL NUMBER OR THE IDENTIFYING

12:26PM   13       DOCUMENT THAT HAD A THERANOS LAB RESULT IN IT, THE PATIENT'S

12:26PM   14       FULL NAME, THE PATIENT'S INITIALS, THE TOTAL NUMBER OF VISITS

12:26PM   15       THAT WERE FOUND IN THE LAB RECORDS, THE DATE OF THE VISIT TO A

12:27PM   16       THERANOS LAB, OR DATES IF THERE WERE MULTIPLE VISITS, THE TOTAL

12:27PM   17       NUMBER OF TESTS FOR EACH VISIT, AS WELL AS THE TOTAL NUMBER OF

12:27PM   18       VISITS AFTER MAY 11TH OF 2015, TOTAL NUMBER OF VISITS BY THAT

12:27PM   19       PATIENT IN OCTOBER 15TH OF 2015, AND TOTAL NUMBER OF VISITS BY

12:27PM   20       THAT CUSTOMER AFTER JANUARY 25TH, 2016.

12:27PM   21       Q.    AND DID YOU CALCULATE THE SUM OF CERTAIN OF THE -- OF

12:27PM   22       CERTAIN OF THE COLUMNS IN THIS -- IN 106?

12:27PM   23       A.    YES.    SO THEN I SUMMED UP THE TOTAL NUMBER OF VISITS MADE,

12:27PM   24       AS WELL AS THE TOTAL NUMBER OF TESTS ORDERED, AS WELL AS THE

12:27PM   25       TOTAL NUMBER OF VISITS AFTER THOSE DATES DESCRIBED.



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12:27PM    1       Q.    OKAY.    AND WAS THAT INFORMATION THEN SUMMARIZED IN 10687?

12:27PM    2       A.    IT WAS.

12:27PM    3       Q.    CAN YOU TAKE A -- CAN I DRAW YOUR ATTENTION TO 10687.

12:27PM    4       A.    OKAY.    I'M THERE.

12:27PM    5       Q.    AND IS THIS THE DOCUMENT THAT YOU SUMMARIZED?          OR IS THIS

12:28PM    6       THE SUMMARY OF THE -- THAT YOU CREATED FROM THE CHART THAT WE,

12:28PM    7       THAT WE WERE JUST LOOKING AT AT 10690?

12:28PM    8       A.    YES, THIS IS A TABLE SUMMARIZING THE INFORMATION FOUND IN

12:28PM    9       THE DOCUMENT.

12:28PM   10       Q.    I'M SORRY.    AND DOES 10687 FAIRLY AND ACCURATELY REPRESENT

12:28PM   11       THE INFORMATION THAT IS PURPORTS TO CONVEY?

12:28PM   12       A.    IT DOES.

12:28PM   13                     MS. TREFZ:    YOUR HONOR, PURSUANT TO RULE 1006, I

12:28PM   14       WOULD OFFER 10687.

12:28PM   15                     THE COURT:    THE SECOND PAGE AS WELL?

12:28PM   16                     MS. TREFZ:    I WOULD OFFER THE SECOND PAGE.

12:28PM   17                     MR. LEACH:    401, 403 TO PAGE 2, YOUR HONOR.

12:28PM   18                     THE COURT:    I THINK THERE'S A LACK OF FOUNDATION ON

12:28PM   19       THE SECOND PAGE.

12:28PM   20                     MS. TREFZ:    ON THE SECOND PAGE?    OKAY.

12:28PM   21                     THE COURT:    BUT I'LL ADMIT 10687, THE FIRST PAGE.

12:29PM   22                     MS. TREFZ:    MAY I TRY TO LAY A FOUNDATION FOR THE

12:29PM   23       SECOND PAGE?

12:29PM   24                     THE COURT:    SURE.

12:29PM   25       BY MS. TREFZ:



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12:29PM    1       Q.    SO WE JUST DISCUSSED PAGE 1 OF 10687.        IS THERE A SECOND

12:29PM    2       PAGE TO 10687?

12:29PM    3       A.    I'M SORRY.    ALLOW ME TO GET BACK THERE.

12:29PM    4             THERE IS A SECOND PAGE TO 10687.

12:29PM    5       Q.    AND WHAT IS 10687, PAGE 2?       WHAT DOES THAT REPRESENT?

12:29PM    6       A.    SO PAGE 2 SHOWS THE TOTAL NUMBER OF VISITS THAT WAS

12:29PM    7       CALCULATED ACROSS ALL OF THE MEDICAL RECORDS THAT ARE VIEWED

12:29PM    8       FOR DR. ASIN'S MEDICAL RECORDS, AND THEN IT PROVIDES THE FIRST

12:29PM    9       DATE I FOUND, AND THE MEDICAL RECORDS THAT A CUSTOMER VISITED A

12:29PM   10       CUSTOMER LAB.

12:29PM   11       Q.    AND WHAT DATE WAS THAT, THE FIRST DATE?

12:29PM   12       A.    THE FIRST DATE WAS DECEMBER 30TH OF 2013.

12:29PM   13       Q.    OKAY.

12:29PM   14       A.    AND THEN IT ALSO SHOWS THE LAST DATE THAT I FOUND IN THE

12:29PM   15       MEDICAL RECORDS OF SOMEBODY VISITING A THERANOS LAB, AND THAT

12:29PM   16       DATE WAS OCTOBER 3RD, 2016.

12:30PM   17             AND THEN IT BREAKS OUT THOSE 490 VISITS IN TERMS OF WHEN

12:30PM   18       THOSE VISITS OCCURRED BY CERTAIN DATES THAT WE HAD DESCRIBED

12:30PM   19       PREVIOUSLY.

12:30PM   20       Q.    AND IS IT SHOWN IN A DIFFERENT FORMAL THAN THE ORIGINAL

12:30PM   21       SUMMARY THAT YOU CREATED?

12:30PM   22       A.    YES.    SO THE ORIGINAL FORMAT WAS PURELY A DATA SHEET, WAS

12:30PM   23       ALMOST TALLYING THE NUMBERS.       THIS IS MORE GRAND TOTAL FOR EACH

12:30PM   24       DATE.

12:30PM   25                     MS. TREFZ:   YOUR HONOR, I WOULD OFFER PAGE 2 OF



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12:30PM    1       10687.

12:30PM    2                     MR. LEACH:   401, 403, AND I DON'T THINK THIS IS

12:30PM    3       PROPER 1006.

12:30PM    4                     THE COURT:   THERE'S SOME -- I'M GOING TO SUSTAIN THE

12:30PM    5       OBJECTION.     THERE'S SOME MATERIAL BRACKETED HERE THAT THERE'S

12:30PM    6       NO FOUNDATION FOR.      SO I'LL SUSTAIN THE OBJECTION.

12:30PM    7                     MS. TREFZ:   UNDERSTOOD, YOUR HONOR.     I BELIEVE THAT

12:30PM    8       THOSE DATES ARE IN THE RECORD, BUT I UNDERSTAND THE COURT'S

12:30PM    9       ORDER.

12:30PM   10                     THE COURT:   PURSUANT TO 1006, THIS IS A 1006

12:31PM   11       WITNESS, NOT AN OTHERWISE FACT WITNESS.

12:31PM   12                     MS. TREFZ:   I UNDERSTAND, YOUR HONOR.

12:31PM   13                     THE COURT:   PAGE 1 IS ADMITTED.

12:31PM   14             ARE YOU STILL ON THIS TOPIC?

12:31PM   15             (DEFENDANT'S EXHIBIT 10687, PAGE 1 WAS RECEIVED IN

12:31PM   16      EVIDENCE.)

12:31PM   17                     MS. TREFZ:   I WAS GOING TO ASK TO DISPLAY PAGE 1 IF

12:31PM   18       WE CAN.

12:31PM   19                     THE COURT:   SURE.

12:31PM   20                     MS. TREFZ:   DID THE COURT HAVE AN INQUIRY?

12:31PM   21                     THE COURT:   NOT ON THIS.    ON SOMETHING ELSE.

12:31PM   22                     MS. TREFZ:   OKAY.

12:31PM   23       Q.    MR. MIDDLETON, CAN YOU EXPLAIN WHAT 10687, PAGE 1, IS?

12:31PM   24       A.    YEAH.    SO IT'S A SUMMARY OF THE TEST RESULTS FROM

12:31PM   25       DR. ASIN, AND IT'S A SUMMARY OF MY REVIEW OF THOSE TEST RESULTS



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12:31PM    1       FOR THERANOS LABS.

12:31PM    2       Q.    OKAY.   AND BY THAT YOU MEAN THERANOS LAB REPORTS?

12:31PM    3       A.    THAT'S CORRECT, YES.

12:31PM    4       Q.    AND JUST TO BE CLEAR, IS ALL OF THE INFORMATION IN TERMS

12:31PM    5       OF THE VISIT DATE, WAS IT CONTAINED ON THE FACE OF THE LAB

12:32PM    6       REPORT?

12:32PM    7       A.    YES.    THE DATE OF THE VISIT CAN BE FOUND ON -- WHEN YOU

12:32PM    8       REVIEW THE LAB RESULTS, IT'S ON THE FIRST PAGE OF THE -- THE

12:32PM    9       DATE OF THE VISIT.

12:32PM   10       Q.    AND WHEN YOU WERE CALCULATING THOSE NUMBERS, DID YOU FOCUS

12:32PM   11       ON THE VISIT DATE OR THE REPORT DATE?

12:32PM   12       A.    I FOCUSSED ON THE DATE OF VISIT.

12:32PM   13       Q.    OKAY.

12:32PM   14       A.    THE SPECIFIC DATE CALLED OUT.

12:32PM   15       Q.    OKAY.   AND HOW MANY TOTAL THERANOS CUSTOMERS DID YOU SEE

12:32PM   16       LAB REPORTS FOR IN THE FILES THAT YOU'VE REVIEWED?

12:32PM   17       A.    SO A GRAND TOTAL OF 233 PEOPLE I FOUND HAD VISITED

12:32PM   18       THERANOS LABS FROM DR. ASIN'S MEDICAL RECORDS.

12:32PM   19       Q.    OKAY.   AND HOW MANY CUSTOMERS HAD MULTIPLE VISITS TO

12:32PM   20       THERANOS?

12:32PM   21       A.    OF THOSE, I FOUND 110 HAD VISITED AT LEAST TWICE TO

12:32PM   22       THERANOS LABS.

12:32PM   23       Q.    AND THE -- AND HOW MANY TOTAL VISITS WERE REFLECTED IN --

12:32PM   24       AMONG THOSE THERANOS CUSTOMERS?

12:32PM   25       A.    SO ACROSS ALL OF THOSE 233 CUSTOMERS, THEY MADE A GRAND



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12:33PM    1       TOTAL OF 490 VISITS TO THERANOS.

12:33PM    2       Q.    AND WHAT WAS THE TOTAL NUMBER OF TESTS ORDERED IN THOSE

12:33PM    3       LAB REPORTS?

12:33PM    4       A.    THE GRAND TOTAL NUMBER OF TESTS ORDERED FOR ALL OF THOSE

12:33PM    5       CUSTOMERS WAS 1969 TESTS.

12:33PM    6       Q.    AND THE JURY HAS PREVIOUSLY SEEN THESE LAB REPORTS BEFORE.

12:33PM    7             AND JUST TO UNDERSTAND HOW YOU CALCULATED THE TESTS, WERE

12:33PM    8       THERE ANY TESTS THAT YOU EXCLUDED FROM YOUR CALCULATION, OR ANY

12:33PM    9       RESULTS THAT YOU EXCLUDED FROM YOUR CALCULATION?

12:33PM   10       A.    WELL, THERE WAS -- IF YOU -- WHEN YOU REVIEW THE LAB

12:33PM   11       RESULTS, YOU WILL SEE AT THE TOP IT WILL LIST OUT ABNORMAL

12:33PM   12       RESULTS.

12:33PM   13             I DID NOT INCLUDE THOSE IN THE COUNT BECAUSE THAT WOULD BE

12:33PM   14       DUPLICATIVE.     I SKIPPED THAT SECTION AND WENT TO PURELY THE

12:33PM   15       TOTAL LISTING OF TESTS THAT WERE ORDERED AND THE RESULTS.

12:33PM   16       Q.    AND HOW DID YOU DO THAT?

12:33PM   17       A.    IN TERMS OF -- I REVIEWED THE PDF AND SKIPPED OVER THE

12:34PM   18       ABNORMAL RESULTS SECTION.

12:34PM   19       Q.    I'M SORRY.    HOW DID YOU CALCULATE THE NUMBER OF TESTS?

12:34PM   20       A.    OH.   LITERALLY JUST SCROLLING THROUGH THE LAB REPORT AND

12:34PM   21       COUNTING ONE, TWO, THREE, AND SO ON AND SO FORTH.

12:34PM   22       Q.    OKAY.    ALL RIGHT.

12:34PM   23             I'M GOING TO MOVE TO ANOTHER EXHIBIT WITHIN THE SAME

12:34PM   24       TOPIC.    SO WAS THERE AN ISSUE THAT YOU WANTED TO --

12:34PM   25                     THE COURT:    THERE WAS.   I SUSTAINED THE OBJECTION TO



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12:34PM    1       10689, AND I THINK I ONLY ALLOWED PAGE 1 AS TO THAT EXHIBIT.

12:34PM    2             I'VE REVISITED 3741A, FROM WHICH -- I THINK THAT IS THE

12:34PM    3       GENESIS OF 10689.

12:34PM    4             I NOTE THAT 3741A HAS PRICES IN THE COLUMNS.

12:34PM    5                    MS. TREFZ:    IT DOES.

12:34PM    6                    THE COURT:    AND THEREFORE, I'M GOING TO CHANGE MY

12:34PM    7       RULING ON THAT AND THOSE PAGES, 2 AND 3, THAT SHOW THE

12:35PM    8       BREAKDOWN, THAT IS APPROPRIATE PRESENTATION FOR THE PRICING

12:35PM    9       THAT IS LISTED ON 3741A.

12:35PM   10             SO THOSE TWO PAGES ARE ADMITTED.        THEY DO ENCOMPASS THE

12:35PM   11       MATERIAL THERE.     SO I'LL CHANGE THE COURT'S RULING.        THOSE ARE

12:35PM   12       ADMITTED.    THEY CAN BE PUBLISHED IF YOU WANT TO DO THAT.

12:35PM   13                    MS. TREFZ:    THANK YOU, YOUR HONOR.     I APPRECIATE THE

12:35PM   14       OPPORTUNITY TO DO SO.

12:35PM   15             (DEFENDANT'S EXHIBIT 10689, PAGES 2 AND 3 WAS RECEIVED IN

12:35PM   16      EVIDENCE.)

12:35PM   17       BY MS. TREFZ:

12:35PM   18       Q.    IF WE CAN GO BACK, MR. MIDDLETON, AND MR. BENNETT, TO

12:35PM   19       10689, AND PULL UP PAGE 2 OF 10689.

12:35PM   20             AND, MR. MIDDLETON, WHAT -- CAN YOU EXPLAIN WHAT IS

12:35PM   21       REFLECTED IN PAGE 2 OF 10689?

12:35PM   22       A.    SO PAGE 2 IS -- I MENTIONED BEFORE THAT I REVIEWED THE

12:35PM   23       TESTING MENU AND BROKE OUT THE TESTS INTO VARIOUS BUCKETS OF

12:35PM   24       PRICING, SO PAGE 2 SUMMARIZES THE NUMBER OF TESTS IN VARIOUS

12:35PM   25       PRICE BUCKETS.



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12:35PM    1       Q.    OKAY.   AND, AND WE SEE THERE -- WHY DON'T YOU TELL US

12:36PM    2       WHICH PRICE BUCKETS YOU USED?

12:36PM    3       A.    SURE.   SO I FOCUSSED ON NUMBER OF TESTS UNDER $5, THE

12:36PM    4       TOTAL NUMBER OF TESTS UNDER $10, THE TOTAL NUMBER OF TESTS

12:36PM    5       UNDER $20, THE TOTAL NUMBER OF TESTS UNDER $50, AND FINALLY,

12:36PM    6       THE TOTAL NUMBER OF TESTS UNDER $100.

12:36PM    7       Q.    AND JUST SO WE'RE CLEAR, IS THIS -- FOR THIS PAGE 2 OF

12:36PM    8       10689, DO THE TESTS UNDER $100 AT 265 TESTS INCLUDE ALL OF THE

12:36PM    9       TESTS THAT WERE ABOVE?

12:36PM   10       A.    THAT IS CORRECT.     IT'S CUMULATIVE.

12:36PM   11       Q.    OKAY.   SO UNDER $10 INCLUDES THE TESTS UNDER $5 AND ALSO

12:36PM   12       THE TESTS BETWEEN $5 AND $10?

12:36PM   13       A.    THAT'S CORRECT.

12:36PM   14       Q.    OKAY.   AND THEN DID -- WHAT IS REFLECTED IN THE -- IN THE

12:36PM   15       THIRD COLUMN?

12:36PM   16       A.    SO THE THIRD COLUMN BASICALLY SHOWS THE PERCENTAGE OF

12:36PM   17       TAKING -- SO UNDER $5, THERE WERE 64 TESTS THAT WERE UNDER $5.

12:37PM   18       IF YOU DIVIDE THAT BY THE TOTAL NUMBER OF TESTS OF 269 TESTS,

12:37PM   19       THAT'S THE PERCENTAGE OF TESTS THAT ARE AVAILABLE UNDER $5

12:37PM   20       UNDER THE TESTING MENU.

12:37PM   21       Q.    AND JUST SO WE'RE CLEAR ON THE PERCENTAGE THERE, THAT'S OF

12:37PM   22       THE TESTS OFFERED THAT ARE LISTED -- THE TOTAL NUMBER OF TESTS

12:37PM   23       LISTED ON PAGE 1 OF THIS EXHIBIT; RIGHT?

12:37PM   24       A.    THAT'S CORRECT, YES.

12:37PM   25       Q.    AND THEN LET'S GO TO PAGE 3 OF THE EXHIBIT.



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12:37PM    1             AND WHAT IS REFLECTED ON PAGE 3 OF THE EXHIBIT?

12:37PM    2       A.    SO PAGE 3 IS A PIE CHART SHOWING THE BREAKDOWN OF THE TEST

12:37PM    3       PRICES, AND THIS IS A LITTLE BIT DIFFERENT JUST BECAUSE IT'S

12:37PM    4       NOT CUMULATIVE.     YOU CAN ACTUALLY SEE HOW MANY ARE ATTRIBUTED

12:37PM    5       TO EACH BUCKET IN THIS CASE.

12:37PM    6       Q.    AND WHAT WAS THE LARGEST BUCKET?

12:37PM    7       A.    IT WAS THE $5 TO $10 RANGE, CLOSELY FOLLOWED BY 10 TO 20

12:37PM    8       AND -- YEAH.

12:37PM    9       Q.    OKAY.   WE CAN MOVE ON.

12:38PM   10             WE'RE GOING TO GO BACK TO YOUR REVIEW OF TEST RECORDS.

12:38PM   11             THE NEXT ITEM I'D LIKE TO DISCUSS IS, CAN I DRAW YOUR

12:38PM   12       ATTENTION TO EXHIBIT 13781.

12:38PM   13       A.    OKAY.   I'M THERE.

12:38PM   14       Q.    AND DID YOU HAVE AN UNDERSTANDING OF WHAT EXHIBIT 13781

12:38PM   15       IS?

12:38PM   16       A.    YES.

12:38PM   17       Q.    OH.    AND WHAT WAS YOUR UNDERSTANDING?

12:38PM   18       A.    MY UNDERSTANDING IS THAT THIS IS THE LAB -- THIS IS THE

12:38PM   19       SWC BLOOD TESTING ORDERS AFTER AUGUST OF 2015.

12:38PM   20       Q.    AND IF I CAN DRAW YOUR ATTENTION TO 10693, THAT IS ALSO IN

12:38PM   21       YOUR BINDER FOR IDENTIFICATION PURPOSES.

12:39PM   22             AND IS THE -- AND IS YOUR UNDERSTANDING OF THE RECORDS

12:39PM   23       CONTAINED IN EXHIBIT 13781 INFORMED BY 10693?

12:39PM   24       A.    THAT'S CORRECT.

12:39PM   25       Q.    OKAY.   AND WHAT DID YOU -- WHAT DID YOU DO WITH THE



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12:39PM    1       INFORMATION IN 13781?

12:39PM    2       A.    SO FOR 13781, I REVIEWED FOR THE GRAND TOTAL NUMBER OF

12:39PM    3       TESTS THAT WERE ORDERED, AS WELL AS I ALSO LOOKED FOR HOW MANY

12:39PM    4       TESTS WERE ASKED FOR HCG.

12:39PM    5       Q.    OKAY.   AND DID YOU ALSO COUNT THE NUMBER OF PROVIDERS

12:39PM    6       THAT --

12:39PM    7       A.    I ALSO -- THAT IS CORRECT, YES.       I ALSO COUNTED THE NUMBER

12:39PM    8       OF PROVIDERS THAT WERE LISTED.

12:39PM    9       Q.    AND ARE ALL OF THOSE DIFFERENT PIECES IDENTIFIED OR

12:39PM   10       IDENTIFIABLE FROM 13781?

12:40PM   11       A.    THAT IS CORRECT.

12:40PM   12       Q.    AND CAN YOU JUST EXPLAIN, HOW DID YOU CALCULATE THE, THE

12:40PM   13       NUMBER OF VISITS?

12:40PM   14       A.    SURE.   SO THE TOTAL NUMBER OF VISITS, I BOTH HAND COUNTED

12:40PM   15       STARTING AT 1 AND GOING TO THE END OF THE ROWS HOW MANY VISITS,

12:40PM   16       AS WELL AS I COPIED OVER THE ORDER NUMBERS INTO AN EXCEL, AND I

12:40PM   17       SAW HOW MANY ROWS THEY TOOK UP.

12:40PM   18       Q.    OKAY.   AND HOW MANY VISITS DID YOU IDENTIFY?

12:40PM   19       A.    OVER 1100.

12:40PM   20       Q.    AND WHAT ABOUT HCG TESTS ORDERED AFTER AUGUST 2015?

12:40PM   21       A.    SO PAGES 1 TO 22 OF THE DOCUMENT HAS THE ORDER

12:40PM   22       DESCRIPTION, AND SO I HAD ADOBE DRAW A BOX AROUND EVERY

12:40PM   23       INSTANCE WHERE THERE WAS HCG IN THE TEXT, AND THEN I REVIEWED

12:41PM   24       MANUALLY STARTING FROM THE VERY TOP ROW GOING ALL OF THE WAY

12:41PM   25       UNTIL THE END OF PAGE 22 FOR -- TO MAKE SURE THAT IT CORRECTLY



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12:41PM    1       COUNTED HCG, AND ALSO TO MAKE SURE THAT NOTHING WAS MISSED AND

12:41PM    2       NOTHING WAS INCORRECTLY INCLUDED IN THAT COUNT.

12:41PM    3       Q.    SO IS IT FAIR TO SAY THAT FOR BOTH OF THOSE -- BOTH

12:41PM    4       COUNTING THE NUMBER OF VISITS AND THE NUMBER OF TESTS ORDERED,

12:41PM    5       YOU MANUALLY COUNTED AND ALSO DID SOME KIND OF ELECTRONIC CHECK

12:41PM    6       FOR YOURSELF?

12:41PM    7       A.    THAT'S CORRECT.

12:41PM    8       Q.    AND THEN WITH RESPECT TO THE NUMBER OF PROVIDERS, HOW DID

12:41PM    9       YOU CALCULATE THAT NUMBER?

12:41PM   10       A.    SO NUMBER OF PROVIDERS.      SO THE PROVIDERS ARE LISTED ON

12:41PM   11       PAGES 23 TO 46 OF THE DOCUMENT, AND SO I COPIED THOSE PROVIDERS

12:41PM   12       INTO AN EXCEL, USED THE DEDUPE FUNCTION AND THEN KIND OF -- TO

12:42PM   13       BASICALLY COME UP WITH UNIQUE VALUES.

12:42PM   14             I ALSO MANUALLY REVIEWED TO MAKE SURE THAT FUNCTION DIDN'T

12:42PM   15       DO ANYTHING STRANGE.

12:42PM   16       Q.    SO YOU ALSO MANUALLY REVIEWED?

12:42PM   17       A.    I -- YES.    I ORDERED THEM ALPHABETICALLY AND LOOKED FOR

12:42PM   18       UNIQUE VALUES MYSELF.

12:42PM   19       Q.    BUT IN ADDITION TO WHATEVER REVIEW YOU DID IN THE EXCEL,

12:42PM   20       DID YOU ALSO DOUBLE-CHECK ON THE HARD -- ON THE PDF COPY OF THE

12:42PM   21       EXHIBIT THAT YOU HAD?

12:42PM   22       A.    I USED MY COPYING METHOD INTO AN EXCEL.

12:42PM   23       Q.    OKAY.   DID YOU -- AND SO DOES EXHIBIT -- I'D LIKE TO DRAW

12:42PM   24       YOUR ATTENTION TO 10688.

12:42PM   25       A.    OKAY.



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12:42PM    1       Q.    AND DOES EXHIBIT 10688 ACCURATELY SUMMARIZE CERTAIN -- THE

12:43PM    2       INFORMATION THAT YOU CALCULATED THAT WE WERE JUST DISCUSSING?

12:43PM    3       A.    IT DOES.

12:43PM    4                     MS. TREFZ:   YOUR HONOR, I WOULD OFFER, PURSUANT TO

12:43PM    5       1006, EXHIBIT 10688.

12:43PM    6                     MR. LEACH:   NO OBJECTION, YOUR HONOR.

12:43PM    7                     THE COURT:   IT'S ADMITTED.    IT MAY BE PUBLISHED.

12:43PM    8             (DEFENDANT'S EXHIBIT 10688 WAS RECEIVED IN EVIDENCE.)

12:43PM    9       BY MS. TREFZ:

12:43PM   10       Q.    MR. MIDDLETON, CAN YOU EXPLAIN TO US WHAT WE ARE SEEING IN

12:43PM   11       EXHIBIT 10688?

12:43PM   12       A.    SO THIS SUMMARIZES THE TOTAL NUMBER OF VISITS MADE AS

12:43PM   13       LISTED IN THE ORDER FORM, THE HCG TESTS ORDERED AND THOSE BLOOD

12:43PM   14       TEST ORDERS, AS WELL AS THE UNIQUE NUMBER OF PROVIDERS THAT

12:43PM   15       WERE FOUND THAT HAD ORDERED THERANOS TESTS.

12:43PM   16       Q.    OKAY.    AND HOW MANY VISITS DID YOU IDENTIFY?

12:43PM   17       A.    OVER 1100.

12:43PM   18       Q.    AND HOW MANY HCG TESTS DID YOU IDENTIFY?

12:44PM   19       A.    OVER 270.

12:44PM   20       Q.    AND HOW MANY PROVIDERS DID YOU IDENTIFY?

12:44PM   21       A.    OVER 20.

12:44PM   22       Q.    OKAY.    WE ARE DONE WITH THIS EXHIBIT.

12:44PM   23             I HAVE ONE LAST TOPIC FOR YOU.

12:44PM   24       A.    OKAY.

12:44PM   25       Q.    AND I WOULD LIKE TO DRAW YOUR ATTENTION IN YOUR BINDER TO



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12:44PM    1       EXHIBIT 14259.

12:44PM    2             AND, MR. MIDDLETON, THIS IS NOT A DOCUMENT THAT YOU --

12:44PM    3       THAT YOU'RE ON; CORRECT?

12:44PM    4       A.    NO.

12:44PM    5       Q.    CAN YOU IDENTIFY THE DATE OF THE TOP EMAIL IN THIS

12:44PM    6       DOCUMENT?

12:44PM    7       A.    SURE.    THE TOP EMAIL WAS SENT ON MAY 12TH OF 2015.

12:44PM    8       Q.    AND CAN YOU IDENTIFY -- IS THERE A BATES NUMBER ON THE

12:44PM    9       BOTTOM RIGHT OF THE DOCUMENT?

12:45PM   10       A.    YES.

12:45PM   11       Q.    AND WHAT IS?

12:45PM   12       A.    THE BATES IS HOLMES 0019255.

12:45PM   13                     MS. TREFZ:   YOUR HONOR, I WOULD MOVE TO ADMIT 14259

12:45PM   14       PURSUANT TO RULE 803(6).

12:45PM   15                     MR. LEACH:   HEARSAY, FOUNDATION, YOUR HONOR.       HE'S

12:45PM   16       NOT SUMMARIZING ANYTHING.       401.

12:45PM   17                     THE COURT:   IS THIS EMAIL IN EVIDENCE, OR PART OF IT

12:45PM   18       IN EVIDENCE?

12:45PM   19                     MS. TREFZ:   IT IS NOT, YOUR HONOR.     I AM ATTEMPTING

12:45PM   20       TO MOVE IT INTO EVIDENCE.       IT WAS SHOWN YESTERDAY TO THE

12:45PM   21       PATIENT.

12:45PM   22                     THE COURT:   UNDERSTOOD.

12:45PM   23                     MS. TREFZ:   I'M SORRY?

12:45PM   24                     THE COURT:   IT WAS NOT ADMITTED, THOUGH?

12:45PM   25                     MS. TREFZ:   CORRECT, IT WAS NOT.



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12:45PM    1             AND SINCE THEN THE GOVERNMENT MOVED TO ADMIT OVER OUR

12:45PM    2       OBJECTION 4415, AND WE BELIEVE NOW THAT THIS CAN BE ADMITTED.

12:45PM    3                    THE COURT:    MR. LEACH, 4415?

12:45PM    4                    MR. LEACH:    THE COURT HASN'T HEARD FROM A SINGLE ONE

12:46PM    5       OF THE WITNESSES ON THIS DOCUMENT.        I DON'T KNOW HOW THAT WOULD

12:46PM    6       SATISFY 803(6).

12:46PM    7                    MS. TREFZ:    AND IF I COULD JUST RESPOND, YOUR HONOR?

12:46PM    8                    THE COURT:    SURE.

12:46PM    9                    MS. TREFZ:    THE GOVERNMENT ADMITTED DURING ITS

12:46PM   10       CASE-IN-CHIEF A NUMBER OF DOCUMENTS FOR WHICH THERE WAS NO

12:46PM   11       WITNESS, AND IN PARTICULAR I NOTE, AS I DID BEFORE,

12:46PM   12       EXHIBIT 4415 WAS ADMITTED BY THE GOVERNMENT YESTERDAY OVER OUR

12:46PM   13       OBJECTION DURING THE TESTIMONY OF DR. BURNES, AND IT WAS

12:46PM   14       ADMITTED PURSUANT TO 803(6), AND WE BELIEVE THIS IS

12:46PM   15       SUBSTANTIALLY SIMILAR AND FOR SUBSTANTIALLY SIMILAR REASONS.

12:46PM   16                    THE COURT:    DO YOU NEED TO MAKE A FOUNDATION, AN

12:46PM   17       803(6) FOUNDATION FOR THIS?

12:46PM   18                    MS. TREFZ:    I CAN THROUGH ASKING THE WITNESS WHAT IS

12:46PM   19       IDENTIFIED IN THE DOCUMENT, YOUR HONOR, BUT OBVIOUSLY HE'S NOT

12:46PM   20       THERE.

12:46PM   21                    THE COURT:    RIGHT.   SO I'M NOT SURE -- ON THE FACE,

12:46PM   22       I DON'T THINK IT QUALIFIES UNDER 803(6).

12:46PM   23                    MS. TREFZ:    IF I COULD DRAW THE COURT'S ATTENTION TO

12:46PM   24       THE CONTEXT OF THE EMAIL AND JUST MAKE A COMPARISON?           AND I CAN

12:47PM   25       DO THIS OUTSIDE OF THE PRESENCE OF THE JURY LATER ON IF THE



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12:47PM    1       COURT --

12:47PM    2                    THE COURT:    OKAY.   WELL, I'LL SUSTAIN THE OBJECTION.

12:47PM    3                    MS. TREFZ:    OKAY.

12:47PM    4       Q.    AND IF I COULD JUST DRAW YOUR ATTENTION TO 13609 AS WELL.

12:47PM    5             AND I ASSUME THAT WE'RE GOING TO HAVE THE SAME ISSUE,

12:47PM    6       YOUR HONOR, SO I JUST WANTED TO MAKE A RECORD --

12:47PM    7                    THE COURT:    SURE.

12:47PM    8                    MS. TREFZ:    -- OF THIS.

12:47PM    9       Q.    MR. MIDDLETON, CAN YOU IDENTIFY THE DATE SENT ON

12:47PM   10       EXHIBIT 13069?

12:47PM   11       A.    THE DATE SENT WAS MAY 12TH OF 2015.

12:47PM   12       Q.    AND THE -- WHAT IS THE BATES NUMBER ON THE BOTTOM RIGHT?

12:47PM   13       A.    THE BATES NUMBER IS THER-3090166.

12:48PM   14       Q.    AND IF I COULD JUST DRAW YOUR ATTENTION TO THE BOTTOM

12:48PM   15       EMAIL, THE FIRST EMAIL IN THE CHAIN.

12:48PM   16             WHAT, WHAT DO YOU SEE IN THE TO LINE OF 13069?

12:48PM   17       A.    THE TO LINE ON THE VERY BOTTOM EMAIL IS LAB ESCALATE.

12:48PM   18       Q.    THANK YOU.

12:48PM   19             I HAVE NO FURTHER QUESTIONS, YOUR HONOR.

12:48PM   20                    THE COURT:    OKAY.   THANK YOU.

12:48PM   21                    MS. TREFZ:    OH, ACTUALLY, I'M SORRY, YOUR HONOR.

12:48PM   22       MAY I MOVE THE ADMISSION OF THAT DOCUMENT?

12:48PM   23                    MR. LEACH:    SAME OBJECTION, YOUR HONOR.

12:48PM   24                    THE COURT:    ALL RIGHT.    THE OBJECTION IS SUSTAINED.

12:48PM   25                    MS. TREFZ:    ALL RIGHT.



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12:48PM    1                    THE CLERK:    COUNSEL, CAN YOU STATE THAT EXHIBIT

12:48PM    2       NUMBER AGAIN, PLEASE?

12:48PM    3                    MS. TREFZ:    YES, I CAN.

12:48PM    4             IT IS 13609.

12:48PM    5                    THE COURT:    13069.

12:48PM    6                    MS. TREFZ:    13069.   I'VE SAID IT PROBABLY FOUR

12:48PM    7       DIFFERENT WAYS, AND I APOLOGIZE TO MS. RODRIGUEZ AND TO THE

12:48PM    8       COURT.

12:48PM    9                    THE CLERK:    THANK YOU.

12:48PM   10                    THE COURT:    ALL RIGHT.    THANK YOU.

12:48PM   11                    MS. TREFZ:    WITH THAT, NO FURTHER QUESTIONS,

12:49PM   12       YOUR HONOR.

12:49PM   13                    THE COURT:    ALL RIGHT.    CROSS-EXAMINATION?

12:49PM   14                    MR. LEACH:    THANK YOU, YOUR HONOR.

12:49PM   15                                 CROSS-EXAMINATION

12:49PM   16       BY MR. LEACH:

12:49PM   17       Q.    GOOD AFTERNOON, MR. MIDDLETON.

12:49PM   18       A.    GOOD AFTERNOON.

12:49PM   19       Q.    MY NAME IS BOB LEACH.      I'M ONE OF THE PROSECUTORS ON THE

12:49PM   20       CASE.

12:49PM   21             YOU WORK FOR THE LAW FIRM WILLIAMS & CONNOLLY LLP?

12:49PM   22       A.    THAT'S CORRECT.

12:49PM   23       Q.    AND YOU LIVE IN WASHINGTON, D.C.?

12:49PM   24       A.    THAT'S CORRECT.

12:49PM   25       Q.    AND THAT'S WHERE WILLIAMS & CONNOLLY'S OFFICES ARE?



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12:49PM    1       A.    YES, THEIR ONE OFFICE.

12:49PM    2       Q.    AND YOU SUPPORT ATTORNEYS FROM WILLIAMS & CONNOLLY IN

12:49PM    3       THEIR WORK REPRESENTING CLIENTS; IS THAT CORRECT?

12:49PM    4       A.    THAT IS CORRECT.

12:49PM    5       Q.    DO YOU DO LITIGATION WORK?

12:49PM    6       A.    I DO.

12:49PM    7       Q.    OKAY.   AND DO YOU TAKE DIRECTION FROM THE ATTORNEYS WHO

12:50PM    8       SUPERVISE YOU?

12:50PM    9       A.    I TAKE DIRECTION FROM, YES, THE ATTORNEYS THAT ARE IN MY

12:50PM   10       CASE.

12:50PM   11       Q.    OKAY.   SO THE ATTORNEYS DIRECT YOU AND GUIDE YOU IN THE

12:50PM   12       WORK THAT YOU DO AS A PARALEGAL?

12:50PM   13       A.    THAT'S CORRECT.

12:50PM   14       Q.    OKAY.   AND IN THE TRIAL CONTEXT, THAT MIGHT INVOLVE

12:50PM   15       ORGANIZING AND REVIEWING DOCUMENTS LIKE ONE OF THE BINDERS THAT

12:50PM   16       YOU HAVE IN FRONT OF YOU?

12:50PM   17       A.    YES, YES.    I'VE MADE MANY A BINDER IN MY TIME.

12:50PM   18       Q.    AND SOME DAYS IT MIGHT ASSIST PULLING EXHIBITS OR

12:50PM   19       DOCUMENTS FROM DATABASES; IS THAT RIGHT?

12:50PM   20       A.    THAT IS CORRECT.

12:50PM   21       Q.    AND ON DAYS LIKE TODAY IT MEANS YOU GIVE TESTIMONY HERE IN

12:50PM   22       FEDERAL COURT?

12:50PM   23       A.    I WILL SAY THIS IS UNIQUE, BUT YES.

12:50PM   24       Q.    HAVE YOU EVER TESTIFIED BEFORE?

12:50PM   25       A.    NO.



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12:50PM    1       Q.    OKAY.   HOW DID YOU GET THIS ASSIGNMENT?

12:50PM    2       A.    I GOT THIS ASSIGNMENT -- I GOT CALLED BY MY FELLOW

12:50PM    3       PARALEGAL THAT THEY WERE LOOKING FOR SOMEONE TO PROVIDE SOME

12:50PM    4       SUMMARIES, SO --

12:50PM    5       Q.    OKAY.   WHEN DID YOU GET THIS ASSIGNMENT?

12:50PM    6       A.    I BELIEVE MAYBE THE BEGINNING OF AUGUST THIS YEAR.

12:50PM    7       Q.    OKAY.   AND YOU'VE BEEN WORKING HARD ON THAT SINCE AUGUST?

12:50PM    8       A.    THAT'S CORRECT, OFF AND ON.

12:51PM    9       Q.    OKAY.   WILLIAMS & CONNOLLY PAYS YOUR SALARY I PRESUME?

12:51PM   10       A.    THAT IS CORRECT.

12:51PM   11       Q.    OKAY.   ARE PARALEGALS AT WILLIAMS & CONNOLLY ELIGIBLE FOR

12:51PM   12       SOME TYPE OF BONUS?

12:51PM   13       A.    NO.   THERE IS A VERY SMALL YEAR END BONUS, YES, I GUESS

12:51PM   14       THERE IS.     THAT WAS NEWLY INSTITUTED, SO YES.

12:51PM   15       Q.    THAT'S GREAT NEWS FOR YOU.

12:51PM   16             AND HOW IS YOUR BONUS CALCULATED?

12:51PM   17       A.    I BELIEVE IT IS PURELY JUST A MERITS BASED BONUS.

12:51PM   18       Q.    OKAY.   AND BY MERIT, THAT MEANS YOUR PERFORMANCE?

12:51PM   19       A.    THAT IS CORRECT.

12:51PM   20       Q.    SO IN THE TRIAL CONTEXT, HOW WELL YOU'RE ORGANIZING AND

12:51PM   21       REVIEWING DOCUMENTS?

12:51PM   22       A.    AH, YES.

12:51PM   23       Q.    AND IN THE TRIAL CONTEXT -- AND DO THE ATTORNEYS WHO

12:51PM   24       SUPERVISE YOU HAVE A SAY IN YOUR PERFORMANCE REVIEWS?

12:51PM   25       A.    YES, THE ATTORNEYS WRITE PERFORMANCE REVIEWS, YES.



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12:51PM    1       Q.    OKAY.   AND THAT PERFORMANCE -- OR THE -- SO THE BONUS IS

12:51PM    2       BASED IN SOME PART ON THE QUALITY OF YOUR WORK?

12:51PM    3       A.    YES, UH-HUH.

12:51PM    4       Q.    AND THE ATTORNEYS HAVE INPUT INTO THAT PROCESS?

12:52PM    5       A.    THAT WOULD BE CORRECT.

12:52PM    6       Q.    AND WILLIAMS & CONNOLLY CAN HIRE OR FIRE YOU IF THEY WANT

12:52PM    7       TO?

12:52PM    8       A.    YES.    I CAN'T SAY LEGALLY IT'S AN AT-WILL STATE, BUT I

12:52PM    9       ASSUME, YES, THEY CAN FIRE ME ANY TIME.

12:52PM   10       Q.    OKAY.   WHAT DO YOU MEAN BY "AT-WILL"?

12:52PM   11       A.    I'M OFFERING SOMETHING THAT I DON'T KNOW ANYTHING ABOUT.

12:52PM   12             I KNOW THAT THERE'S AT-WILL LEGAL STATES, AND YEAH.

12:52PM   13       Q.    OKAY.   BUT THE ATTORNEYS WHO YOU WORK FOR HAVE SOME SAY IN

12:52PM   14       YOUR CONTINUED EMPLOYMENT AT WILLIAMS & CONNOLLY; IS THAT FAIR?

12:52PM   15       A.    YES.

12:52PM   16       Q.    OKAY.   YOU NEVER WORKED AT THERANOS; RIGHT?

12:52PM   17       A.    NO.

12:52PM   18       Q.    YOU HAVE NO PERSONAL KNOWLEDGE ABOUT THE FACTS OF THIS

12:52PM   19       CASE; CORRECT?

12:52PM   20       A.    NO.

12:52PM   21       Q.    YOU'RE WHAT IS CALLED A SUMMARY WITNESS; IS THAT YOUR

12:52PM   22       UNDERSTANDING?

12:52PM   23       A.    THAT'S CORRECT.

12:52PM   24       Q.    SO YOU REVIEW DOCUMENTS AND YOU ADD UP NUMBERS AND YOU

12:52PM   25       PRESENT THEM AS BEST AS YOU CAN?



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12:52PM    1       A.    THAT IS CORRECT.

12:52PM    2       Q.    OKAY.    IN ADVANCE OF YOUR TESTIMONY TODAY, DID YOU MEET

12:52PM    3       WITH THE WILLIAMS & CONNOLLY LAWYERS REPRESENTING MS. HOLMES?

12:52PM    4       A.    I DID.

12:52PM    5       Q.    AND DID THEY GO THROUGH THE QUESTIONS THAT THEY WOULD ASK

12:52PM    6       YOU HERE TODAY?

12:52PM    7       A.    YES, WE REVIEWED THE QUESTIONS.

12:53PM    8       Q.    OKAY.    HOW MANY MEETINGS DID YOU HAVE?

12:53PM    9       A.    I GOT IN TUESDAY EVENING, AND I BELIEVE I MET WITH AT

12:53PM   10       LEAST ONE ATTORNEY EVERY DAY SINCE.        SO FOUR MEETINGS.

12:53PM   11       Q.    OKAY.    DID YOU MEET WITH MR. DOWNEY?

12:53PM   12       A.    NO.

12:53PM   13       Q.    OKAY.    DID YOU MEET WITH MR. WADE?

12:53PM   14       A.    NO.

12:53PM   15       Q.    DID YOU MEET WITH --

12:53PM   16       A.    CORRECTION.    I BELIEVE MR. WADE MIGHT HAVE BEEN IN THE

12:53PM   17       ROOM.

12:53PM   18       Q.    OKAY.    AND DID YOU MEET WITH JOHN CLINE, ONE OF

12:53PM   19       MS. HOLMES'S OTHER ATTORNEYS?

12:53PM   20       A.    NO.

12:53PM   21       Q.    DID YOU MEET WITH ANY OF THE ASSOCIATES WORKING ON THIS

12:53PM   22       CASE WITH MR. DOWNEY AND HIS TEAM?

12:53PM   23       A.    YES.

12:53PM   24       Q.    OKAY.    WHICH ONES DID YOU MEET WITH?

12:53PM   25       A.    J.R.



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12:53PM    1       Q.    J.R?

12:53PM    2       A.    YES, RIGHT THERE.

12:53PM    3       Q.    YOU'RE POINTING TO A GENTLEMAN IN THE COURTROOM?

12:53PM    4       A.    THAT'S CORRECT, YES.

12:53PM    5       Q.    OKAY.   DID YOU MEET WITH AMY SAHARIA?

12:53PM    6       A.    NO.

12:53PM    7       Q.    AND DO YOU KNOW WHO MS. SAHARIA IS?

12:53PM    8       A.    YES.

12:53PM    9       Q.    WHO IS SHE?

12:53PM   10       A.    SHE IS AN ATTORNEY WITH WILLIAMS & CONNOLLY.

12:53PM   11       Q.    REPRESENTING MS. HOLMES?

12:54PM   12       A.    YES.

12:54PM   13       Q.    AND DID YOU MEET WITH PATRICK LOOBY?

12:54PM   14       A.    NO.

12:54PM   15       Q.    AND WHO IS PATRICK LOOBY?

12:54PM   16       A.    I CAN'T SAY.

12:54PM   17       Q.    OKAY.   YOU DON'T KNOW HIM AS AN ATTORNEY AT

12:54PM   18       WILLIAMS & CONNOLLY?

12:54PM   19       A.    NO.

12:54PM   20       Q.    OKAY.   HOW ABOUT RICH CLEARY?      DID YOU MEET WITH HIM?

12:54PM   21       A.    NO.

12:54PM   22       Q.    YOU DON'T KNOW WHO HE IS?

12:54PM   23       A.    NO.

12:54PM   24       Q.    AND YOU DON'T KNOW HIM AS AN ATTORNEY AT

12:54PM   25       WILLIAMS & CONNOLLY?



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12:54PM    1       A.    NO.

12:54PM    2       Q.    HOW ABOUT ANDREW LEMENS?      DO YOU KNOW WHO THAT IS?

12:54PM    3       A.    I KNOW THAT NAME.

12:54PM    4       Q.    AND WHO IS HE?

12:54PM    5       A.    I BELIEVE AN ATTORNEY AT WILLIAMS & CONNOLLY.

12:54PM    6       Q.    AND DID YOU MEET WITH HIM IN CONNECTION WITH THIS?

12:54PM    7       A.    NO.

12:54PM    8       Q.    AND SO IN YOUR MEETING WITH MS. TREFZ AND MR. WADE AND

12:54PM    9       MAYBE OTHERS, DID YOU SEE ANYBODY TAKING NOTES AS THEY WERE

12:54PM   10       ASKING YOU QUESTIONS?

12:54PM   11       A.    I DON'T RECALL THEM TAKING NOTES.

12:54PM   12       Q.    OKAY.   DID YOU SHOW THEM THE SUMMARY CHARTS THAT YOU

12:54PM   13       PREPARED HERE TODAY?

12:54PM   14       A.    YES.

12:54PM   15       Q.    AND DID YOU MAKE ANY CHANGES BASED ON THEIR FEEDBACK?

12:54PM   16       A.    NO.

12:54PM   17       Q.    YOU GOT IT RIGHT THE FIRST TIME?

12:54PM   18       A.    YES.    THEY, THEY WERE VERY -- WHATEVER I MADE IN THE

12:54PM   19       SUMMARY CHARTS, THAT IS THE CHART.

12:54PM   20       Q.    OKAY.   SO THE CHARTS THAT WE'RE LOOKING AT TODAY ARE THE

12:54PM   21       ONE AND ONLY CHARTS IN EXISTENCE?        THERE WEREN'T DRAFTS, THERE

12:54PM   22       WEREN'T ITERATIONS, THERE WASN'T FEEDBACK OR NONE OF THAT?

12:55PM   23       A.    THE CHARTS WE'RE LOOKING AT TODAY ARE THE FINAL CHARTS.

12:55PM   24       I'M SURE THE NUMBERS MAY HAVE SHIFTED SLIGHTLY.

12:55PM   25       Q.    TELL ME ABOUT HOW THE NUMBERS SHIFTED.



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12:55PM    1       A.    UH, SO BASICALLY OCCASIONALLY SOME OF CHARTS, SOMEONE

12:55PM    2       WOULD HELP FILL OUT THE CHART TO SPEED UP THE PROCESS, AND THEN

12:55PM    3       I WOULD REVIEW IT TO MAKE SURE IT WAS ACCURATE, AND I WOULD

12:55PM    4       FIND INACCURACIES AND CORRECT THE DATE TO MAKE SURE THAT WAS,

12:55PM    5       IN FACT, THE TRUE AND FINAL COUNT.

12:55PM    6       Q.    AND WHO IS THE SOMEBODY WHO WOULD DO THAT?

12:55PM    7       A.    I'M NOT SURE.

12:55PM    8       Q.    YOU'RE NOT SURE?

12:55PM    9       A.    I'M NOT SURE.

12:55PM   10       Q.    OKAY.   DID YOU DRAFT THE SLIDES WE'RE LOOKING AT?

12:55PM   11       A.    I EDITED THE SLIDES THAT WE LOOKED AT.

12:55PM   12       Q.    SO SOMEONE ELSE DRAFTED THEM?

12:55PM   13       A.    SOMEONE MADE THE TEMPLATE.

12:55PM   14       Q.    OKAY.   WHO MADE THE TEMPLATE?

12:55PM   15       A.    I CANNOT SAY.

12:55PM   16       Q.    YOU DON'T KNOW?

12:55PM   17       A.    I DO NOT KNOW.

12:55PM   18       Q.    OKAY.   HOW DID YOU GET IT?

12:55PM   19       A.    I WAS PROVIDED TO THEM BY THE ATTORNEYS AT

12:55PM   20       WILLIAMS & CONNOLLY.

12:55PM   21       Q.    OKAY.   SO MS. TREFZ, MR. WADE, THEY GAVE YOU A TEMPLATE

12:55PM   22       AND YOU WORKED WITH THAT?

12:55PM   23       A.    AND THEN I FILLED IN THE DATA THAT I FOUND, YEP.

12:56PM   24       Q.    OKAY.   AND THE ONES THAT WE'RE LOOKING AT ARE THE ONE AND

12:56PM   25       ONLY DRAFTS OUT THERE?



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12:56PM    1       A.    I MEAN, IT WAS A LIVE DOCUMENT, SO, YEAH.

12:56PM    2       Q.    WOULD YOU EMAIL IT BACK AND FORTH?

12:56PM    3       A.    NO, WE DIDN'T EMAIL IT BACK AND FORTH.

12:56PM    4       Q.    YOU HAD IT ON A SHARED DRIVE AND YOU WOULD MAKE IT OUT --

12:56PM    5                     THE COURT:   ASK YOUR QUESTION AGAIN.

12:56PM    6       BY MR. LEACH:

12:56PM    7       Q.    YOU HAD IT ON A SHARED DRIVE AND YOU MADE EDITS TO THAT

12:56PM    8       ONE AND ONLY DOCUMENT?

12:56PM    9       A.    THAT'S CORRECT, YEAH.

12:56PM   10       Q.    HOW LONG DID YOUR MEETING WITH MS. TREFZ AND MR. WADE GO

12:56PM   11       AS YOU WERE OUT HERE IN SAN FRANCISCO?

12:56PM   12       A.    THEY WERE USUALLY ABOUT AN HOUR.

12:56PM   13       Q.    OKAY.    AND THEY WENT THROUGH THE QUESTIONS THAT THEY WERE

12:56PM   14       ASKING, SOME OF THE QUESTIONS THAT THEY WERE ASKING YOU HERE

12:56PM   15       TODAY?

12:56PM   16       A.    THAT'S CORRECT.

12:56PM   17       Q.    OKAY.    I'D LIKE TO LOOK AT SOME OF THE SLIDES THAT YOU

12:56PM   18       WENT THROUGH ON YOUR DIRECT EXAMINATION.

12:56PM   19       A.    SURE.

12:56PM   20       Q.    THE FIRST ONE HAD TO DO WITH PATENTS.

12:56PM   21             DO YOU RECALL THAT SLIDE?

12:56PM   22       A.    I DO.

12:56PM   23       Q.    NOW, YOU'RE NOT A PATENT LAWYER; RIGHT?

12:57PM   24       A.    NO.

12:57PM   25       Q.    NEVER WORKED FOR THE U.S. PATENT AND TRADEMARK OFFICE?



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12:57PM    1       A.    I HAVE NOT.

12:57PM    2       Q.    AND YOU'RE NOT FAMILIAR WITH THE WORK THAT THEY DO THERE?

12:57PM    3       A.    NO.

12:57PM    4       Q.    AND DID YOU READ ANY OF THE PATENTS?

12:57PM    5       A.    NO.

12:57PM    6       Q.    DO YOU UNDERSTAND ANY OF THE PATENTS?

12:57PM    7       A.    NO.

12:57PM    8       Q.    YOU'RE JUST TAKING DATA ON THE FRONT PAGE AND PUTTING THEM

12:57PM    9       INTO A SPREADSHEET?

12:57PM   10       A.    YOU'VE GOT IT.

12:57PM   11       Q.    AND YOU -- AND YOU HAVE NO IDEA WHETHER WHAT'S DESCRIBED

12:57PM   12       IN THE PATENT ACTUALLY WORKS, DO YOU?

12:57PM   13       A.    NO.

12:57PM   14       Q.    NO IDEA WHATSOEVER?

12:57PM   15       A.    NO.

12:57PM   16       Q.    IT'S JUST A PIECE OF PAPER YOU WERE LOOKING AT?

12:57PM   17       A.    THAT IS CORRECT.

12:57PM   18       Q.    OKAY.   IF WE COULD PLEASE DISPLAY EXHIBIT 5172.

12:57PM   19             IS THIS ONE OF THE DOCUMENTS, MR. MIDDLETON, THAT YOU WERE

12:57PM   20       ASKED TO SUMMARIZE?

12:57PM   21       A.    THAT'S CORRECT.

12:57PM   22       Q.    AND CAN YOU TELL US AGAIN WHICH ROWS YOU WERE ATTEMPTING

12:58PM   23       TO SUMMARIZE?

12:58PM   24       A.    SURE.   I FOCUSSED ON ROWS 26 AND 27.

12:58PM   25       Q.    OKAY.   SO THE ONE SAYING CUSTOMER RECEIPTS AND THEN



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12:58PM    1       OPTION/STOCK PROCEEDS; CORRECT?

12:58PM    2       A.    THAT IS CORRECT.

12:58PM    3       Q.    AND YOU DON'T KNOW WHO THE CUSTOMER RECEIPTS COME FROM;

12:58PM    4       CORRECT?

12:58PM    5       A.    I DO NOT.

12:58PM    6       Q.    YOU DON'T KNOW WHETHER THEY COME FROM WALGREENS?

12:58PM    7       A.    NO, I DO NOT.

12:58PM    8       Q.    YOU DON'T KNOW WHETHER THEY CAME FROM SAFEWAY?

12:58PM    9       A.    NO.

12:58PM   10       Q.    THIS IS THE SOLE SOURCE OF YOUR INFORMATION?

12:58PM   11       A.    THAT IS THE SOLE SOURCE OF MY INFORMATION.

12:58PM   12       Q.    OKAY.   AND IF WE CAN ZOOM TO THE LEFT, MS. HOLLIMAN, TO

12:58PM   13       THE COLUMN FOR SEPTEMBER OF 2013, AND MAYBE MOVE TO THE RIGHT

12:58PM   14       IF WE COULD, OR MAYBE MY RIGHT.        TO THE LEFT.    THERE WE GO.

12:59PM   15             AND I DRAW YOUR ATTENTION, MR. MIDDLETON, TO THE COLUMN

12:59PM   16       FOR TOTAL CASH BALANCES.

12:59PM   17             ACTUALLY IF WE CAN KEEP GOING TO 2013, MS. HOLLIMAN.           A

12:59PM   18       LITTLE FURTHER.     THERE WE GO.    THANK YOU.

12:59PM   19             MR. MIDDLETON, I'M DRAWING YOUR ATTENTION TO COLUMN EN.

12:59PM   20             DO YOU SEE A TOTAL CASH BALANCE THERE OF $14,463,111?

12:59PM   21       A.    YES, I BELIEVE COLUMN EN IS $14,463,111.

12:59PM   22       Q.    OKAY.   AND WILLIAMS & CONNOLLY DIDN'T ASK YOU TO REVIEW

12:59PM   23       ANY CHANGES IN THE THERANOS CASH BALANCE FOR PARTICULAR

01:00PM   24       PERIODS?

01:00PM   25       A.    NO, I DID NOT FOCUS ON THIS ROW.



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01:00PM    1       Q.    AND YOU HAVE NO REASON TO DOUBT THE DATA IN THIS COLUMN?

01:00PM    2       A.    I HAVE NO REASON TO.

01:00PM    3       Q.    THE SECOND PAGE OF 10685 IS TITLED OPTION/STOCK PROCEEDS.

01:00PM    4             DO YOU SEE THAT?

01:00PM    5       A.    HOLD ON.

01:00PM    6             YES, I SEE THAT.

01:00PM    7       Q.    AND YOU DON'T KNOW WHETHER THESE COME FROM OPTIONEES

01:00PM    8       EXERCISING THEIR OPTIONS AND GIVING MONEY TO THE COMPANY OR

01:00PM    9       INVESTORS PUTTING NEW MONEY INTO THE COMPANY, DO YOU?

01:00PM   10       A.    I DO NOT.

01:00PM   11       Q.    OKAY.   LET ME DRAW YOUR ATTENTION TO WHAT WAS MARKED

01:00PM   12       DURING YOUR DIRECT EXAMINATION AS EXHIBIT 10685.          I'M SORRY,

01:01PM   13       10686.

01:01PM   14       A.    OKAY.

01:01PM   15       Q.    DO YOU RECALL BEING ASKED QUESTIONS ABOUT THIS SLIDE?

01:01PM   16       A.    I DO.

01:01PM   17       Q.    THE TITLE OF THIS SLIDE IS ENTITY THAT INVESTED IN

01:01PM   18       THERANOS.

01:01PM   19             DO YOU SEE THAT?

01:01PM   20       A.    I DO.

01:01PM   21       Q.    AND WHERE DO YOU GET THAT TERM, "ENTITIES"?

01:01PM   22       A.    WELL, ENTITIES IN TERMS OF THERE'S, LIKE, TRUSTS, AS WELL

01:01PM   23       AS INDIVIDUALS, AND SO ENTITIES.

01:01PM   24       Q.    IS THAT A WORD THAT YOU CAME UP WITH, OR WAS THAT

01:01PM   25       SOMETHING FROM THE LAWYERS AT WILLIAMS & CONNOLLY?



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01:01PM    1       A.    WILLIAMS & CONNOLLY PROVIDED THE TERM.

01:01PM    2       Q.    OKAY.    IT'S MORE THAN ENTITIES THAT INVESTED IN THERANOS;

01:01PM    3       ISN'T THAT RIGHT, MR. MIDDLETON?

01:01PM    4       A.    I CANNOT SAY.

01:01PM    5       Q.    WELL, LET'S LOOK AT THE DOCUMENT THAT YOU SUMMARIZE HERE.

01:01PM    6       A.    OKAY.

01:01PM    7       Q.    IF WE COULD GO TO EXHIBIT 10692.

01:02PM    8             YOU MIGHT NEED THE NATIVE FILE FOR THIS ONE, MS. HOLLIMAN.

01:02PM    9             IF WE COULD SCROLL DOWN TO THE, IF WE COULD SCROLL DOWN TO

01:02PM   10       THE BOTTOM, MS. HOLLIMAN, OF THE SHEET.

01:02PM   11             ACTUALLY, I THINK IT WILL BE EASIER IF I USE THE ELMO.

01:02PM   12             MAY I USE THE ELMO, MS. KRATZMANN?

01:02PM   13                     THE CLERK:   YES.

01:02PM   14       BY MR. LEACH:

01:02PM   15       Q.    ARE YOU ABLE TO SEE THIS, MR. MIDDLETON?

01:02PM   16       A.    I AM.

01:02PM   17                     MS. TREFZ:   MR. LEACH, I WASN'T SURE ABOUT THE

01:02PM   18       POTENTIAL REDACTIONS.      I'M HAPPY WITH YOU DISPLAYING THIS, I

01:03PM   19       JUST WANTED TO FLAG FOR YOU I WASN'T SURE WHETHER YOU WERE

01:03PM   20       GOING TO IDENTIFY INDIVIDUALS -- I JUST WANTED TO FLAG IT.

01:03PM   21                     MR. LEACH:   THIS IS IN EVIDENCE, YOUR HONOR.       I

01:03PM   22       DON'T SEE ANY PII IN HERE.

01:03PM   23             SOME OF THESE ARE INDIVIDUALS WHO INVESTED IN THERANOS,

01:03PM   24       AND THAT'S THE --

01:03PM   25                     THE COURT:   NO.    GO RIGHT AHEAD.    YOU MAY CONTINUE.



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01:03PM    1       BY MR. LEACH:

01:03PM    2       Q.    UP AT THE TOP, MR. MIDDLETON, DO YOU SEE THE NAMES

01:03PM    3       ALAN EISENMAN, SHERRIE EISENMAN, AND KENDRA FADIL?

01:03PM    4       A.    I DO.

01:03PM    5       Q.    AND THOSE APPEAR TO BE INDIVIDUALS TO YOU, NOT ENTITIES;

01:03PM    6       CORRECT?

01:03PM    7       A.    THAT APPEARS TO BE INDIVIDUALS, YES.

01:03PM    8       Q.    AND YOU HAVE NO IDEA WHY KENDRA FADIL INVESTED $75,000

01:03PM    9       INTO THERANOS?

01:03PM   10       A.    I CANNOT SAY.

01:03PM   11       Q.    YOU DON'T KNOW WHETHER THAT WAS -- WHAT THE PURPOSE OF

01:03PM   12       THAT INVESTMENT WAS OR WHY SHE WAS COMMITTING $75,000 TO

01:03PM   13       THERANOS?

01:03PM   14       A.    I HAVE NO KNOWLEDGE ABOUT THAT.

01:03PM   15       Q.    AND YOU DON'T KNOW WHY MR. EISENMAN INVESTED IN THERANOS?

01:03PM   16       A.    I DO NOT.

01:03PM   17       Q.    AND YOU WOULD AGREE WITH ME THAT THESE LOOK LIKE

01:04PM   18       INDIVIDUALS, NOT ENTITIES?

01:04PM   19       A.    THEY APPEAR TO BE INDIVIDUALS.

01:04PM   20       Q.    OKAY.   AND IF WE LOOK AT THE NEXT PAGE, IN THE MIDDLE

01:04PM   21       THERE'S A REFERENCE TO NANCY MINNIG, MELISSA FINDLEY.

01:04PM   22             DO YOU KNOW WHETHER THEY WERE ADMINISTRATIVE ASSISTANTS AT

01:04PM   23       PARTICULAR FIRMS?

01:04PM   24       A.    I CANNOT SAY.

01:04PM   25       Q.    YOU DON'T KNOW WHO THEY ARE?



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01:04PM    1       A.    I HAVE NO IDEA.

01:04PM    2       Q.    AND YOU DON'T KNOW WHY THEY INVESTED THE AMOUNTS THAT THEY

01:04PM    3       INVESTED LISTED HERE, DO YOU?

01:04PM    4       A.    I CANNOT KNOW.     I DON'T SAY.

01:04PM    5       Q.    AND WHY DID YOU USE THE TERM "ENTITIES"?

01:04PM    6       A.    BECAUSE THERE ARE VARIOUS TRUSTS, ALONG WITH INDIVIDUALS,

01:04PM    7       AND SO IT'S MORE THAN JUST INDIVIDUALS.

01:04PM    8       Q.    OKAY.   YOU WEREN'T TRYING TO SUGGEST THAT AN ENTITY, IF

01:04PM    9       THEY LOSE MONEY, THAT DOESN'T MATTER; BUT AN INDIVIDUAL, IF

01:04PM   10       THEY LOSE MONEY, THAT MATTERS MORE?        THAT WASN'T WHAT YOU WERE

01:04PM   11       TRYING TO DO?

01:04PM   12       A.    THAT ALL SOUNDS WELL BEYOND MY SCOPE, YEAH.

01:05PM   13       Q.    BECAUSE YOU GOT THAT FROM THE LAWYERS AT

01:05PM   14       WILLIAMS & CONNOLLY?

01:05PM   15       A.    IN TERMS OF WHAT DID I GET?

01:05PM   16       Q.    WHAT TO PUT ON THE SLIDE.

01:05PM   17       A.    THEY SUGGESTED IT, YES.

01:05PM   18       Q.    OKAY.   LET'S LOOK AT 10689.

01:05PM   19       A.    OKAY.

01:05PM   20       Q.    AND I'LL DISPLAY THIS.

01:05PM   21             DO YOU RECALL TESTIMONY ABOUT THE THERANOS TEST MENU?

01:05PM   22       A.    I DO.

01:05PM   23       Q.    AND YOU TOOK THAT PIECE OF PAPER AND COUNTED UP THE NUMBER

01:05PM   24       OF TESTS THAT WERE DONE ON ANY GIVEN PERIOD OF TIME, OR IN THAT

01:05PM   25       PERIOD OF TIME; CORRECT?



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01:05PM    1       A.    I COUNTED THE NUMBER OF TESTS THAT APPEARED ON THAT TEST

01:05PM    2       MENU.

01:05PM    3       Q.    AND THERE'S A NUMBER FOR REFLEX TESTS, 23.

01:06PM    4             DO YOU SEE THAT?

01:06PM    5       A.    I DO.

01:06PM    6       Q.    AND DO YOU KNOW WHETHER THOSE WERE TESTS THAT WERE RUN ON

01:06PM    7       EDISON OR AN FDA APPROVED MACHINE?

01:06PM    8       A.    I HAVE NO IDEA.

01:06PM    9       Q.    BEYOND WHAT YOU WERE ASKED TO DO?

01:06PM   10       A.    YEAH, UH-HUH.

01:06PM   11       Q.    AND WITH RESPECT TO 10687, THE SUMMARY OF VISITS RELATING

01:06PM   12       TO DR. ASIN, DO YOU RECALL BEING ASKED QUESTIONS ABOUT THAT?

01:06PM   13       A.    I DO.

01:06PM   14       Q.    AND YOU DON'T HAVE ANY IDEA WHY PARTICULAR PATIENTS WERE

01:06PM   15       GOING TO THERANOS ON ANY GIVEN DAY?

01:06PM   16       A.    I DO NOT.

01:06PM   17       Q.    YOU DON'T KNOW WHETHER THAT WAS SOMETHING THAT DR. ASIN

01:06PM   18       TOLD THEM TO DO, OR SOMEBODY ELSE TOLD THEM TO DO, OR ANYBODY

01:06PM   19       TOLD THEM TO DO?

01:06PM   20       A.    I DO NOT HAVE THAT KNOWLEDGE.

01:06PM   21       Q.    YOU JUST COUNTED UP NUMBERS AND YOU DIDN'T KNOW ANYTHING

01:06PM   22       BEHIND THE REASONS?

01:06PM   23       A.    YOU'VE GOT IT.

01:06PM   24       Q.    YOU WERE NOT ASKED TO -- I'M SORRY.        I HAVE ONE QUESTION

01:06PM   25       ON 10688.     IF I COULD DISPLAY THAT ONE.



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01:07PM    1             DO YOU RECALL BEING ASKED SOME QUESTIONS ABOUT HCG TESTS

01:07PM    2       IN CONNECTION WITH THIS EXHIBIT?

01:07PM    3       A.    I DO.

01:07PM    4       Q.    AND THIS IS FOR THE TIME PERIOD AFTER AUGUST OF 2015; IS

01:07PM    5       THAT CORRECT?

01:07PM    6       A.    THAT'S CORRECT.

01:07PM    7       Q.    AND YOU DON'T KNOW WHETHER THERANOS STOPPED RUNNING THE

01:07PM    8       HCG TESTS ON THE EDISON DEVICE EARLIER IN 2015, DO YOU?

01:07PM    9       A.    I CANNOT SAY.

01:07PM   10       Q.    YOU'VE NEVER SEEN ANY DOCUMENTS ABOUT WHETHER THERANOS WAS

01:07PM   11       RUNNING THE HCG TEST ON ITS PROPRIETARY DEVICE?

01:07PM   12       A.    I DO NOT KNOW ANYTHING ABOUT THAT.

01:07PM   13       Q.    OKAY.   AND THE SUMMARIES THAT YOU WERE ASKED TO PROVIDE,

01:07PM   14       THE IDEAS FOR THESE COME FROM THE LAWYERS AT

01:07PM   15       WILLIAMS & CONNOLLY; CORRECT?

01:07PM   16       A.    THE IDEAS OF WHAT SUMMARIES TO PROVIDE?         YES, THAT IS

01:07PM   17       CORRECT.

01:07PM   18       Q.    THESE WEREN'T YOUR IDEAS?

01:07PM   19       A.    NO, NO.

01:07PM   20       Q.    OKAY.   AND YOU WERE NEVER ASKED TO SUMMARIZE HOW MANY

01:07PM   21       ASSAYS WERE RUN ON THERANOS'S SAMPLE PROCESSING UNIT IN THE

01:08PM   22       CLIA LAB?

01:08PM   23       A.    NO.

01:08PM   24       Q.    I'M GOING TO VENTURE TO GUESS YOU DON'T KNOW WHAT THE CLIA

01:08PM   25       LAB IS.



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01:08PM    1       A.    I HAVE NO IDEA WHAT YOU SAID.

01:08PM    2       Q.    OKAY.    AND YOU WERE NEVER ASKED TO SUMMARIZE TEXT MESSAGES

01:08PM    3       BETWEEN MS. HOLMES AND MR. BALWANI ABOUT THINGS THAT WERE GOING

01:08PM    4       ON AT THERANOS?

01:08PM    5       A.    NO, I'VE NEVER SEEN TEXT MESSAGES.

01:08PM    6       Q.    AND YOU WERE NEVER ASKED TO SUMMARIZE EMAILS BETWEEN

01:08PM    7       ADAM ROSENDORFF AND MS. HOLMES ABOUT WHAT WAS GOING ON?

01:08PM    8       A.    NO, I DIDN'T REVIEW ANY EMAILS.

01:08PM    9       Q.    AND YOU WERE NOT ASKED TO SUMMARIZE MEDIA ARTICLES WITH

01:08PM   10       STATEMENTS BY MS. HOLMES?

01:08PM   11       A.    NO, I DIDN'T REVIEW MEDIA ARTICLES.

01:08PM   12       Q.    AND YOU WERE NOT ASKED TO SUMMARIZE THE NUMBER OF TESTS

01:08PM   13       THAT WERE VOIDED BY THERANOS IN 2016, WERE YOU?

01:08PM   14       A.    NO.

01:08PM   15       Q.    THEY NEVER ASKED YOU TO DO THAT?

01:08PM   16       A.    NO.

01:08PM   17       Q.    OKAY.

01:08PM   18             MAY I HAVE A MOMENT, YOUR HONOR?

01:09PM   19             (DISCUSSION AMONGST GOVERNMENT COUNSEL OFF THE RECORD.)

01:09PM   20                     MR. LEACH:   NO FURTHER QUESTIONS, YOUR HONOR.

01:09PM   21                     THE COURT:   MS. TREFZ?

01:09PM   22                     MS. TREFZ:   NO FURTHER QUESTIONS, YOUR HONOR.

01:09PM   23                     THE COURT:   MAY THIS WITNESS BE EXCUSED?

01:09PM   24                     MS. TREFZ:   YES, YOUR HONOR.

01:09PM   25                     THE COURT:   YOU'RE EXCUSED.



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01:09PM    1                    THE WITNESS:    THANK YOU.

01:09PM    2                    THE COURT:    DOES THE DEFENSE HAVE ANOTHER WITNESS TO

01:09PM    3       CALL?

01:09PM    4                    MS. TREFZ:    WE DO, YOUR HONOR.     WE'RE JUST MAKING

01:09PM    5       SURE HE'S ON HIS WAY.

01:09PM    6                    THE COURT:    DOES THE DEFENSE REST?

01:09PM    7                    MS. TREFZ:    NO, YOUR HONOR.    WE WERE JUST MAKING

01:09PM    8       SURE THEY WERE IN THE BUILDING, AND WE'RE GETTING THE WITNESS

01:09PM    9       HERE.

01:09PM   10             YES, YOUR HONOR, THE DEFENSE CALLS DR. FABRIZIO BONANNI.

01:10PM   11             (PAUSE IN PROCEEDINGS.)

01:10PM   12                    THE COURT:    GOOD AFTERNOON, SIR.      IF YOU WOULD JUST

01:10PM   13       WALK OVER HERE AND FACE OUR COURTROOM DEPUTY WHILE YOU RAISE

01:10PM   14       YOUR RIGHT HAND, SHE HAS A QUESTION FOR YOU.

01:10PM   15                    THE CLERK:    GOOD AFTERNOON.

01:10PM   16                    THE WITNESS:    GOOD AFTERNOON.

01:10PM   17             (DEFENDANT'S WITNESS, FABRIZIO BONANNI, WAS SWORN.)

01:10PM   18                    THE WITNESS:    YES.

01:10PM   19                    THE COURT:    PLEASE HAVE A SEAT UP HERE.      I'LL INVITE

01:10PM   20       YOU TO MAKE YOURSELF COMFORTABLE.         FEEL FREE TO ADJUST THE

01:10PM   21       CHAIR AND MICROPHONE.

01:10PM   22             I'LL ENCOURAGE YOU TO SPEAK DIRECTLY INTO THE MICROPHONE.

01:10PM   23             WHEN YOU ARE COMFORTABLE, WOULD YOU PLEASE STATE YOUR NAME

01:10PM   24       AND THEN SPELL IT, PLEASE.

01:10PM   25                    THE WITNESS:    FABRIZIO BONANNI.     F-A-B-R-I-Z-I-O,



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01:11PM    1       B-O-N-A-N-N-I.

01:11PM    2                    THE COURT:    THANK YOU.

01:11PM    3             COUNSEL.

01:11PM    4                                 DIRECT EXAMINATION

01:11PM    5       BY MS. TREFZ:

01:11PM    6       Q.    GOOD MORNING -- GOOD AFTERNOON, DR. BONANNI.

01:11PM    7       A.    GOOD AFTERNOON.

01:11PM    8       Q.    IF YOU ARE FULLY VACCINATED AND YOU'RE COMFORTABLE DOING

01:11PM    9       SO, YOU CAN TESTIFY WITHOUT YOUR MASK.

01:11PM   10       A.    THANK YOU.

01:11PM   11       Q.    AND I WILL AS WELL.

01:11PM   12             YOUR HONOR, I'M GOING TO APPROACH AND HAND THE WITNESS THE

01:11PM   13       BINDER.

01:11PM   14                    THE COURT:    YES.

01:11PM   15       BY MS. TREFZ:

01:11PM   16       Q.    (HANDING.)

01:11PM   17       A.    THANK YOU.

01:11PM   18       Q.    WE MAY OR MAY NOT REFER TO EXHIBITS IN THAT BINDER DURING

01:11PM   19       YOUR EXAMINATION HERE TODAY.

01:11PM   20             DR. BONANNI, IN MAY 2016, DID YOU AGREE TO JOIN THE BOARD

01:11PM   21       OF DIRECTORS OF THERANOS?

01:11PM   22       A.    I DID.

01:11PM   23       Q.    AND HOW LONG DID YOU SERVE IN THAT ROLE?

01:11PM   24       A.    UNTIL SEPTEMBER 2018.       ABOUT TWO AND A HALF YEARS.

01:12PM   25       Q.    AND WE'LL COME BACK TO THAT.



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01:12PM    1             BUT JUST FOR THE PURPOSES OF INTRODUCTION, CAN YOU

01:12PM    2       DESCRIBE YOUR EDUCATIONAL BACKGROUND FOR US?

01:12PM    3       A.    I HAVE A DOCTORATE IN CHEMISTRY FROM THE UNIVERSITY OF

01:12PM    4       FLORENCE, MY HOME TOWN; AND I SPENT TWO YEARS AT M.I.T. ON A

01:12PM    5       POST DOC ASSIGNMENT; AND I'VE HAD EXECUTIVE COURSES AT HARVARD

01:12PM    6       BUSINESS SCHOOL AND NORTHWESTERN KELLOGG SCHOOL.

01:12PM    7       Q.    AND WHAT DID YOU DO AFTER YOUR POST DOC?

01:12PM    8       A.    I SERVED MY TIME IN THE ITALIAN ARMY, AND THEN I JOINED

01:12PM    9       BAXTER INTERNATIONAL IN A SMALL PLANT THAT THEY HAVE OUTSIDE OF

01:12PM   10       FLORENCE.

01:12PM   11       Q.    AND WHAT IS BAXTER INTERNATIONAL?

01:12PM   12       A.    BAXTER INTERNATIONAL AT THE TIME WAS A VERY DIVERSIFIED

01:12PM   13       MANUFACTURER, DEVELOPER, SUPPLIER OF HEALTH CARE PRODUCTS.

01:12PM   14             IT HAD DIVISIONS THAT COVERED BLOOD PLASMA PROTEINS, BLOOD

01:13PM   15       TRANSFUSION, RENAL THERAPY PRODUCTS, GENERAL PHARMACEUTICALS,

01:13PM   16       CARDIO VASCULAR DEVICES, AND THEN A LARGE DIAGNOSTICS GROUP.

01:13PM   17       Q.    AND HOW LONG DID YOU WORK AT BAXTER?

01:13PM   18       A.    TWENTY-FIVE YEARS.

01:13PM   19       Q.    WHAT --

01:13PM   20       A.    AND THREE MONTHS.

01:13PM   21       Q.    AND WHAT ROLES DID YOU SERVE THERE?

01:13PM   22       A.    IN MANUFACTURING, QUALITY, OPERATIONS IN GENERAL, AND

01:13PM   23       REGULATORY AFFAIRS AS WELL.

01:13PM   24       Q.    AND DID YOU LEAVE BAXTER IN 1999?

01:13PM   25       A.    I DID LEAVE BAXTER IN 1999 TO JOIN AMGEN, WHICH IS THE



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01:13PM    1       LARGEST INDEPENDENT BIOTECHNOLOGY COMPANY BASED IN

01:13PM    2       THOUSAND OAKS, CALIFORNIA.

01:13PM    3       Q.    AND HOW LONG DID YOU WORK AT AMGEN?

01:13PM    4       A.    ABOUT 14 YEARS.

01:13PM    5       Q.    AND WHAT ROLES DID YOU HOLD THERE?

01:13PM    6       A.    I JOINED THE COMPANY AS HEAD OF QUALITY AND COMPLIANCE AND

01:13PM    7       SERVED AS THE FIRST CORPORATE COMPLIANCE OFFICER; AND THEN HEAD

01:13PM    8       OF MANUFACTURING; AND THEN FINALLY HEAD OF OPERATIONS, WHICH

01:13PM    9       INCLUDES MANUFACTURING, QUALITY, ENGINEERING, PROCESS

01:14PM   10       DEVELOPMENT, DRUG DELIVERY DEVICES, ENVIRONMENT HEALTH AND

01:14PM   11       SAFETY, THINGS LIKE THAT.

01:14PM   12       Q.    AND WHAT DID YOU DO BETWEEN THE TIME THAT YOU RETIRED FROM

01:14PM   13       AMGEN AND THE TIME THAT YOU JOINED THE THERANOS BOARD?

01:14PM   14       A.    I JOINED TWO BOARDS OF TWO COMPANIES.        ONE, STEVANATO

01:14PM   15       GROUP, IS BASED, A COMPANY THAT IS JUST LISTED ON THE NEW YORK

01:14PM   16       STOCK EXCHANGE; AND I ALSO JOINED THE BOARD OF A SMALL BIOTECH

01:14PM   17       COMPANY, XBIOTECH BASED IN TEXAS; AND MENARINI BIOTECH, ANOTHER

01:14PM   18       ITALIAN COMPANY.

01:14PM   19       Q.    SO DID YOU SERVE ON THE BOARD OF VARIOUS BIOTECH COMPANIES

01:14PM   20       BETWEEN THE TIME THAT YOU --

01:14PM   21       A.    YEAH, TWO, TWO.

01:14PM   22       Q.    -- RETIRED?

01:15PM   23             AND CAN YOU TURN IN YOUR BINDER TO 10312.

01:15PM   24       A.    I'M WITH YOU.

01:15PM   25       Q.    AND LET ME ASK A QUESTION.       ARE YOU AT 10312?



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01:15PM    1       A.    YES.

01:15PM    2       Q.    AND WHAT IS 10312?

01:15PM    3       A.    IT'S MY CURRICULUM.

01:15PM    4       Q.    AND IS THIS A DOCUMENT THAT YOU PROVIDED TO MS. HOLMES?

01:15PM    5       A.    I DID.

01:15PM    6       Q.    AND WHAT IS THE DATE OF -- THIS IS YOUR CURRICULUM VITAE,

01:15PM    7       IS THAT WHAT YOU'RE --

01:15PM    8       A.    YES.

01:15PM    9       Q.    AND AS OF AROUND WHAT DATE?

01:15PM   10       A.    APRIL 2016.

01:15PM   11                    MS. TREFZ:    YOUR HONOR, I WOULD MOVE THE ADMISSION

01:15PM   12       OF 10312.

01:15PM   13                    MR. SCHENK:    NO OBJECTION.

01:15PM   14                    THE COURT:    IS THIS GOING TO BE REDACTED WITH

01:15PM   15       PERSONAL IDENTIFIERS?

01:15PM   16                    MS. TREFZ:    IT SHOULD BE.    IS IT?   YES.

01:15PM   17                    THE COURT:    IT'S ADMITTED WITH THOSE REDACTIONS.

01:16PM   18             (DEFENDANT'S EXHIBIT 10312 WAS RECEIVED IN EVIDENCE.)

01:16PM   19       BY MS. TREFZ:

01:16PM   20       Q.    IF WE CAN PUBLISH IT, PLEASE.

01:16PM   21             AND, DR. BONANNI, DOES THIS CURRICULUM VITAE ACCURATELY

01:16PM   22       SUMMARIZE YOUR EXPERIENCE AS OF APRIL 2016?

01:16PM   23       A.    YES, IT DOES.

01:16PM   24       Q.    WE CAN MOVE ON FROM THERE.       YOU CAN TAKE THAT DOWN.

01:16PM   25             DR. BONANNI, WERE YOU FIRST INTRODUCED TO THE COMPANY



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01:16PM    1       THERANOS IN LATE APRIL 2016?

01:16PM    2       A.     I WAS.

01:16PM    3       Q.     AND DESCRIBE HOW YOU WERE INTRODUCED TO THE COMPANY.

01:16PM    4       A.     MY FORMER BOSS AT AMGEN, KEVIN SHARER, THE CEO OF AMGEN,

01:16PM    5       WHO AT THE TIME WAS A PROFESSOR AT THE HARVARD BUSINESS SCHOOL,

01:16PM    6       CALLED ME UP AND ASKED ME TO TAKE A CALL FROM SOMEONE IN THIS

01:16PM    7       COMPANY THERANOS BECAUSE HE HAD MET ELIZABETH HOLMES THAT HAD

01:16PM    8       COME TO HARVARD TO SPEAK WITH HIM AND ASK FOR HIS ADVICE, AND

01:17PM    9       HE HAD RECOMMENDED ME AS ONE OF THE PERSONS THAT THEY COULD

01:17PM   10       TALK TO.    AND SO THAT WAS THE CONNECTION.

01:17PM   11       Q.     DID YOU HAVE AN UNDERSTANDING OF WHY MR. SHARER RECOMMEND

01:17PM   12       THAT THERANOS TALK TO YOU?

01:17PM   13       A.     IN VERY BROAD TERMS.

01:17PM   14              AT THE TIME THAT THERE WERE SOME REGULATORY COMPLIANCE

01:17PM   15       DIFFICULTIES AND SOME OTHER DIFFICULTIES ORIGINATING FROM

01:17PM   16       ARTICLES IN NEWSPAPERS, AND THAT HE THOUGHT THAT I COULD HELP

01:17PM   17       OUT.

01:17PM   18       Q.     AND DID YOU, SOON AFTER THAT INTRODUCTION, DID YOU VISIT

01:17PM   19       THERANOS FOR A MEETING?

01:17PM   20       A.     I DID.   I THINK IT WAS THE 2ND OF MAY, THE MONDAY.        I

01:17PM   21       REMEMBER A MONDAY.

01:17PM   22       Q.     OF 2016?

01:17PM   23       A.     2016, YES.

01:17PM   24       Q.     AND AT THAT MEETING, DID YOU MEET MS. HOLMES?

01:17PM   25       A.     I DID.



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01:17PM    1       Q.    AND DESCRIBE -- HOW LONG DID YOU SPEND -- WAS THAT MEETING

01:17PM    2       AT THERANOS?

01:17PM    3       A.    THE MEETING WAS AT THERANOS IN PALO ALTO.

01:17PM    4       Q.    AND HOW LONG DID YOU SPEND AT THERANOS?

01:18PM    5       A.    I SPENT THE WHOLE DAY THERE FROM, I DON'T KNOW, 9:30, 9:00

01:18PM    6       IN THE MORNING UNTIL 4:30 IN THE AFTERNOON, YEAH.

01:18PM    7       Q.    AND CAN YOU DESCRIBE WHAT -- DESCRIBE AT A HIGH LEVEL WHAT

01:18PM    8       HAPPENED AT THAT MEETING, AND THEN WE MAY BREAK IT DOWN.

01:18PM    9       A.    YOU KNOW, I WAS INTRODUCED TO WHAT THE COMPANY WAS ABOUT,

01:18PM   10       WHAT THE TECHNOLOGY LOOKED LIKE.        I VISITED THE FACILITY AND

01:18PM   11       TOURED THE DIFFERENT AREAS, AND WE HAD DISCUSSIONS ABOUT WHAT

01:18PM   12       THE VISION WAS ABOUT THE DEPLOYMENT OF THE TECHNOLOGY INTO THE

01:18PM   13       HEALTH CARE SYSTEM.      AND THEN, YOU KNOW, WE HAD GENERAL

01:18PM   14       DISCUSSIONS ABOUT THE COMPANY.

01:18PM   15       Q.    DID YOU LEARN ABOUT THE CHALLENGES THAT THE COMPANY WAS

01:18PM   16       FACING?

01:18PM   17       A.    I DID, YES.

01:18PM   18       Q.    AND AT THE MEETING, DID YOU HAVE A CHANCE TO SEE THE

01:18PM   19       THERANOS DEVICE?

01:19PM   20       A.    I DID.

01:19PM   21       Q.    AND WERE YOU ABLE TO SEE OTHER ASPECTS OF THE TECHNOLOGY

01:19PM   22       THAT THEY HAD DEVELOPED?

01:19PM   23       A.    NOT REALLY, NO.     NO.   JUST THE DEVICE AND THE ANCILLARY

01:19PM   24       COMPONENTS OF THE TECHNOLOGY, YES.

01:19PM   25       Q.    AND BY "ANCILLARY COMPONENTS," WHAT DO YOU MEAN?



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01:19PM    1       A.     WELL, I MEAN THE TECHNOLOGY CONSISTED AT A VERY HIGH LEVEL

01:19PM    2       OF FOUR COMPONENTS IN MY, IN MY ESTIMATE.

01:19PM    3              ONE IS THE COLLECTION DEVICE FOR THE SAMPLES OF BLOOD FROM

01:19PM    4       A PATIENT, THE CARTRIDGE THAT CONTAINED THE REAGENTS INTO WHICH

01:19PM    5       THE SAMPLE WOULD FIT.        AND THEN THE CARTRIDGE ITSELF WOULD GO

01:19PM    6       INSIDE THE MINILAB, MINIATURIZED, YOU KNOW, MACHINE.

01:19PM    7              AND THE MACHINE WOULD BE RUN BY A REMOTE COMPUTER THAT

01:20PM    8       WOULD GIVE IT INSTRUCTIONS ON THE TESTS TO BE PERFORMED AND

01:20PM    9       INTERPRET THE OUTPUT OF THE DATA.

01:20PM   10              SO I DID NOT GET TO SEE THE COMPUTER, FOR INSTANCE, BUT I

01:20PM   11       SAW THE COLLECTION DEVICE AND THE CARTRIDGE AND THE MINILAB.

01:20PM   12       Q.     AND THE MINILAB THAT YOU SAW, DID YOU UNDERSTAND THAT IT

01:20PM   13       WAS THE 4 SERIES MINILAB?

01:20PM   14       A.     YES.

01:20PM   15       Q.     OKAY.    OVER THE YEARS -- WELL, HOW ABOUT LET ME LIMIT IT

01:20PM   16       TO 2016.

01:20PM   17              DURING 2016, DID YOU LEARN MORE -- DID YOU CONTINUE TO

01:20PM   18       LEARN MORE ABOUT THE CAPABILITIES OF THE DEVICE THAT YOU SAW?

01:20PM   19       A.     YES, INDEED, YES.

01:20PM   20       Q.     AND DID YOU FORM AN INITIAL IMPRESSION AT THAT MEETING

01:20PM   21       ABOUT THE, ABOUT THE CAPABILITIES OF THE DEVICE?

01:20PM   22       A.     I DID.    AND I, I WAS VERY IMPRESSED BY THOSE CAPABILITIES,

01:20PM   23       YES.

01:20PM   24                      MR. SCHENK:   OBJECTION.   RELEVANCE.

01:20PM   25                      THE COURT:    I'LL ALLOW THAT TO REMAIN.



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01:20PM    1              YOU CAN MOVE ON.

01:20PM    2                     MS. TREFZ:    I WILL.

01:21PM    3       Q.     I BELIEVE YOU TESTIFIED THAT YOU MET MS. HOLMES AT THAT

01:21PM    4       FIRST MEETING.

01:21PM    5       A.     I DID.

01:21PM    6       Q.     AND WHAT, WHAT WAS YOUR IMPRESSION OF MS. HOLMES AT THAT

01:21PM    7       MEETING?

01:21PM    8                     MR. SCHENK:   OBJECTION.    RELEVANCE.

01:21PM    9                     THE COURT:    SUSTAINED.

01:21PM   10       BY MS. TREFZ:

01:21PM   11       Q.     DID MS. HOLMES ASK YOU QUESTIONS DURING THAT MEETING?

01:21PM   12       A.     VERY MUCH SO.

01:21PM   13       Q.     AND DID YOU PROVIDE ANSWERS -- DID YOU -- HOW LONG WERE

01:21PM   14       YOUR INTERACTIONS WITH MS. HOLMES?

01:21PM   15       A.     OH, SEVERAL HOURS.

01:21PM   16       Q.     AT THAT MEETING, DID MS. HOLMES ASK YOU TO TAKE ON A ROLE

01:21PM   17       AT THE COMPANY?

01:21PM   18       A.     SHE DID.

01:21PM   19       Q.     AND WHAT, WHAT DID YOU UNDERSTAND HER TO BE ASKING YOU TO

01:21PM   20       TAKE ON?

01:21PM   21       A.     THE QUESTION WAS, WOULD I BE WILLING TO JOIN THE COMPANY

01:21PM   22       AND HAVE A SENIOR EXECUTIVE ROLE IN THE COMPANY?

01:21PM   23       Q.     DID SHE -- DID -- WAS A PARTICULAR ROLE COMMUNICATED TO

01:22PM   24       YOU?

01:22PM   25       A.     COO.



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01:22PM    1       Q.    AND WHAT DID YOU SAY?

01:22PM    2       A.    I SAID I WAS TOO OLD FOR THAT.

01:22PM    3             (LAUGHTER.)

01:22PM    4       BY MS. TREFZ:

01:22PM    5       Q.    DID YOU, DID YOU NEVERTHELESS OFFER TO TAKE ON A ROLE IN

01:22PM    6       THE COMPANY OTHER THAN COO?

01:22PM    7       A.    I DID.

01:22PM    8       Q.    AND DESCRIBE WHAT ROLE YOU OFFERED TO TAKE ON.

01:22PM    9       A.    I PROPOSED THAT I JOIN THE BOARD AS A MECHANISM FOR ME TO

01:22PM   10       STAY DIRECTLY INVOLVED WITH THE COMPANY AND OFFER ADVICE ON THE

01:22PM   11       PROPER, YOU KNOW, CONDUCT OF THE COMPANY.

01:22PM   12       Q.    AND DID YOU BELIEVE THAT YOU HAD PARTICULAR EXPERTISE THAT

01:22PM   13       THERANOS WAS IN NEED OF?

01:22PM   14       A.    I DID.

01:22PM   15       Q.    WHAT TYPES OF EXPERTISE WAS THAT?

01:22PM   16                    MR. SCHENK:    OBJECTION.    RELEVANCE.

01:22PM   17                    THE COURT:    SUSTAINED WITHOUT A FOUNDATION.

01:22PM   18       BY MS. TREFZ:

01:23PM   19       Q.    I BELIEVE YOU TESTIFIED BEFORE THAT YOU, THAT YOU LEARNED

01:23PM   20       ABOUT CERTAIN CHALLENGES THAT THE COMPANY WAS FACING IN THAT

01:23PM   21       MEETING THAT YOU HAD ON MAY 2ND; CORRECT?

01:23PM   22       A.    YES.

01:23PM   23       Q.    AND WERE THE CHALLENGES -- DID THOSE CHALLENGES INCLUDE

01:23PM   24       REGULATORY CHALLENGES?

01:23PM   25       A.    THEY DID.



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01:23PM    1       Q.    AND DID THEY INCLUDE OPERATIONAL CHALLENGES?

01:23PM    2       A.    THEY DID.

01:23PM    3       Q.    AND WERE BOTH REGULATORY AND OPERATIONAL MATTERS, MATTERS

01:23PM    4       THAT YOU HAD EXPERIENCE IN?

01:23PM    5       A.    YES.

01:23PM    6       Q.    AND DID YOU BELIEVE THAT THERANOS WAS IN NEED, OR THAT YOU

01:23PM    7       COULD PROVIDE ADVICE TO THERANOS ON THE -- BASED ON YOUR

01:23PM    8       EXPERIENCE?

01:23PM    9       A.    I DID, YES.

01:23PM   10       Q.    WERE YOU PAID FOR YOUR SERVICE ON THE BOARD?

01:23PM   11       A.    NO.

01:23PM   12       Q.    AND I'M SORRY, JUST TO BACK UP.

01:24PM   13             I THINK WE ESTABLISHED YOU SUGGESTED THAT YOU MIGHT BE

01:24PM   14       ABLE TO SERVE AS A BOARD MEMBER.        AND WAS THAT -- DID YOU

01:24PM   15       ULTIMATELY AGREE TO JOIN THE BOARD OF DIRECTORS?

01:24PM   16       A.    I DID, YES.

01:24PM   17       Q.    AND WAS YOUR APPOINTMENT TO THE BOARD OF DIRECTORS

01:24PM   18       ANNOUNCED SHORTLY AFTER THIS MEETING?

01:24PM   19       A.    IT WAS ANNOUNCED SHORTLY AFTER I THINK THE CONSENT.           THE

01:24PM   20       DECISION BY THE BOARD WAS ON JUNE 3RD, SO A FEW WEEKS LATER.

01:24PM   21       Q.    DO YOU RECALL WHEN YOUR APPOINTMENT TO THE BOARD OF

01:24PM   22       DIRECTORS WAS ANNOUNCED?

01:24PM   23       A.    ON THE 11TH.    I THINK THERE WAS A PRESS RELEASE ON THE

01:24PM   24       11TH OF MAY.

01:24PM   25       Q.    OKAY.   AND IF YOU CAN LOOK AT -- IF I COULD JUST DRAW YOUR



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01:24PM    1       ATTENTION TO EXHIBIT 7664.       ACTUALLY, WE DON'T NEED TO DO THAT.

01:24PM    2             IN ADDITION TO YOU, WAS ANYBODY ELSE ANNOUNCED AS BEING

01:24PM    3       APPOINTED TO THE BOARD OF DIRECTORS AT THE SAME TIME?

01:25PM    4       A.    YES.    DR. BILL FOEGE AND MR. KOVACEVICH.

01:25PM    5       Q.    AND WHAT WAS DR. FOEGE'S BACKGROUND, IF YOU KNOW?

01:25PM    6       A.    HE'S A WELL-KNOWN EPIDEMIOLOGIST WHO WAS A DIRECTOR OF THE

01:25PM    7       CDC FOR A TIME.

01:25PM    8       Q.    AND WHAT WAS MR. KOVACEVICH'S BACKGROUND, IF YOU KNOW?

01:25PM    9       A.    HE HAD BEEN THE CEO OF WELLS FARGO BANK.

01:25PM   10       Q.    OKAY.   AND DID YOU UNDERSTAND -- DID YOU HAVE AN

01:25PM   11       UNDERSTANDING OF WHETHER EITHER OR BOTH OF THEM HAD A PRIOR

01:25PM   12       RELATIONSHIP WITH THERANOS BEFORE THE ANNOUNCEMENT OF THEIR

01:25PM   13       APPOINTMENT TO THE BOARD OF DIRECTORS?

01:25PM   14       A.    YES.    DR. FOEGE HAD SERVED ON THE ADVISORY BOARD OF THE

01:25PM   15       COMPANY BEFORE.

01:25PM   16       Q.    AND DO YOU KNOW WHETHER MR. KOVACEVICH HAD?

01:25PM   17       A.    I DON'T.

01:25PM   18       Q.    OKAY.   DID YOU EVER MEET SUNNY BALWANI?

01:25PM   19       A.    NO.

01:25PM   20       Q.    DID YOU HAVE AN UNDERSTANDING OF THE ROLE THAT

01:25PM   21       SUNNY BALWANI HAD PLAYED AT THE COMPANY PRIOR TO YOUR ARRIVAL?

01:25PM   22       A.    YES.

01:25PM   23       Q.    AND WHAT WAS THAT ROLE?

01:26PM   24       A.    HE WAS COO OF THE COMPANY.

01:26PM   25       Q.    AND WHAT WAS THE STATUS OF MR. BALWANI'S RELATIONSHIP WITH



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01:26PM    1       THERANOS AS YOU UNDERSTOOD IT WHEN YOU WERE APPOINTED TO THE

01:26PM    2       BOARD OF DIRECTORS?

01:26PM    3       A.    THAT HE WAS LEAVING THE COMPANY OR HAD LEFT THE COMPANY.

01:26PM    4       Q.    OKAY.    I THINK WE TALKED BEFORE ABOUT HOW YOU BECAME

01:26PM    5       FAMILIAR WITH THERANOS'S TECHNOLOGY OVER THE COURSE OF 20 -- IN

01:26PM    6       THAT INITIAL MEETING AND THEN OVER THE COURSE OF 2016; IS THAT

01:26PM    7       RIGHT?

01:26PM    8       A.    YES.

01:26PM    9       Q.    AND I WANT TO -- AND I THINK YOU DESCRIBED CERTAIN

01:26PM   10       COMPONENTS OF THAT.

01:26PM   11             I WANT TO DRAW YOUR ATTENTION TO EXHIBIT -- WHAT HAS BEEN

01:26PM   12       MARKED AS 7673B, WHICH IS IN YOUR BINDER.

01:27PM   13       A.    OKAY.

01:27PM   14       Q.    AND IS 7673B REPRESENTATIVE OF THE DIFFERENT TYPES OF

01:27PM   15       TECHNOLOGY THAT YOU UNDERSTOOD THERANOS HAD DEVELOPED BY THE

01:27PM   16       TIME YOU GOT TO THERANOS?

01:27PM   17       A.    YES.

01:27PM   18                     MS. TREFZ:   YOUR HONOR, I WOULD OFFER 7673B AS A

01:27PM   19       DEMONSTRATIVE SIMPLY FOR THE PURPOSES OF HELPING EXPLAIN THE

01:27PM   20       DIFFERENT PIECES.

01:27PM   21                     THE COURT:   NOT INTO EVIDENCE?

01:27PM   22                     MS. TREFZ:   CORRECT, JUST AS A DEMONSTRATIVE.

01:27PM   23                     THE COURT:   ALL RIGHT.   THIS CAN BE DISPLAYED AS A

01:27PM   24       DEMONSTRATIVE.

01:27PM   25                     MS. TREFZ:   CORRECT.



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01:27PM    1       Q.    AND, DR. BONANNI, CAN YOU EXPLAIN YOUR UNDERSTANDING OF

01:27PM    2       THE ROLE OF THE TECHNOLOGIES IDENTIFIED ON 73 -- 7673B IN THE

01:27PM    3       SUITE OF THE THERANOS TECHNOLOGIES, MAYBE PERHAPS FROM THE

01:27PM    4       PERSPECTIVE OF PATIENT EXPERIENCE?

01:28PM    5       A.    YES.   SO ASSUMING I WOULD GO TO MY PHYSICIAN AND AS I, AS

01:28PM    6       I ENTERED THE OFFICE A NURSE WOULD TAKE A SAMPLE OF A FEW DROPS

01:28PM    7       OF BLOOD THROUGH A FINGERTIP PRICK, AND THEY WOULD BE COLLECTED

01:28PM    8       IN THE SAMPLE COLLECTION DEVICE, THE APPROPRIATE AMOUNT OF

01:28PM    9       ANTICOAGULANT WOULD BE DELIVERED, AND THE BLOOD WOULD COLLECT

01:28PM   10       INTO THOSE SMALL TUBES CALLED NANOTAINER TUBES.

01:28PM   11             THEN THEY WOULD BE PLACED IN A CARTRIDGE, THE SPECIFIC

01:28PM   12       CARTRIDGE FOR THE SET OF TESTS THAT THE DOCTOR WOULD ORDER FOR

01:28PM   13       ME.

01:28PM   14             AND THE CARTRIDGE WOULD BE PUT INTO THE MINILAB WHERE THE

01:28PM   15       TESTS WOULD BE PERFORMED RECEIVING INSTRUCTIONS FROM THE

01:28PM   16       VIRTUAL ANALYZER.     THAT'S THE CENTRAL COMPUTER.

01:28PM   17             AND THEN AFTER THE PROTOCOLS ARE RUN, THE COMPUTER WOULD

01:29PM   18       ANALYZE THE OUTPUT AND CONVERT THAT INTO CLINICAL INFORMATION

01:29PM   19       THAT WOULD REACH THE DOCTOR, AND THEN 45 MINUTES LATER WHEN I

01:29PM   20       WOULD SEE THE PHYSICIAN, SHE WOULD HAVE THE APPROPRIATE

01:29PM   21       DIAGNOSTIC INFORMATION AND WE WOULD HAVE A VERY MEANINGFUL

01:29PM   22       CLINICAL DISCUSSION AT THAT POINT.

01:29PM   23             IN ADDITION, THERE WERE ADAPTIONS MADE TO COMMERCIAL

01:29PM   24       ANALYZERS, LIKE THOSE BY SIEMENS AND OTHERS, TO PROCESS THE,

01:29PM   25       THE MINI SAMPLES IN THE NANOTAINER TUBES.



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01:29PM    1             SO THAT WAS MY UNDERSTANDING OF THE SITUATION.

01:29PM    2       Q.    OKAY.    AND DID -- YOU MENTIONED THE MINILAB.

01:29PM    3             DO YOU SEE THE MINILAB ON THIS DEMONSTRATIVE?

01:29PM    4       A.    YES, IT'S THE BOX ON THE BOTTOM RIGHT.

01:29PM    5       Q.    AND WERE YOU FAMILIAR WITH THE COMPONENTS INSIDE OF THE

01:30PM    6       MINILAB, ITS ARCHITECTURE?

01:30PM    7       A.    I BECAME FAMILIAR WITH THEM AS IT WAS DEMONSTRATED HOW

01:30PM    8       THEY WORKED OUT, YEAH.

01:30PM    9       Q.    AND WAS THAT DURING 2016 THAT YOU BECAME FAMILIAR?

01:30PM   10       A.    YES, YES.

01:30PM   11       Q.    AND IF I COULD DRAW YOUR ATTENTION TO 7673C.

01:30PM   12             DO YOU HAVE THAT IN FRONT OF YOU?

01:30PM   13       A.    YES, I DO.

01:30PM   14       Q.    AND IS EXHIBIT 7673C AN ACCURATE REPRESENTATION OF THE

01:30PM   15       4 SERIES MINILAB AS YOU UNDERSTOOD IT IN 2016?

01:30PM   16       A.    YES.

01:30PM   17                     MS. TREFZ:   YOUR HONOR, I WOULD ASK AGAIN TO DISPLAY

01:30PM   18       FOR DEMONSTRATIVE PURPOSES EXHIBIT 7673C.

01:30PM   19                     THE COURT:   NOT INTO EVIDENCE, JUST FOR

01:30PM   20       DEMONSTRATIVE PURPOSES?

01:30PM   21                     MS. TREFZ:   AGAIN, YES, YOUR HONOR.

01:30PM   22                     THE COURT:   IT MAY BE DISPLAYED FOR THAT PURPOSE.

01:31PM   23       BY MS. TREFZ:

01:31PM   24       Q.    ALL RIGHT.    DR. BONANNI, WHAT I WOULD LIKE TO DO HERE IS

01:31PM   25       THAT I WOULD LIKE TO WALK THROUGH THE DIFFERENT COMPONENTS THAT



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01:31PM    1       WE SEE ON THE SCREEN.

01:31PM    2             IN PARTICULAR, LET'S START WITH THE BOTTOM LEFT WITH THE

01:31PM    3       CARTRIDGE.    WHAT DID YOU UNDERSTAND THAT TO BE?

01:31PM    4       A.    SO THE CARTRIDGE IS CUSTOMIZED FOR A SPECIFIC SET OF TESTS

01:31PM    5       TO BE PERFORMED ON THE SAMPLE.

01:31PM    6             SO IT WOULD CONTAIN THE REAGENTS TO PERFORM THOSE TESTS,

01:31PM    7       THE PIPET TIPS, AND OTHER COMPONENTRY THAT MAY BE NEEDED TO RUN

01:31PM    8       THOSE ASSAYS INSIDE OF THE MACHINE.

01:31PM    9       Q.    OKAY.   AND WERE THERE COMPONENTS INSIDE OF THE MINILAB

01:31PM   10       THAT WERE -- WOULD ALLOW THE MINILAB TO PERFORM HEMATOLOGY

01:31PM   11       ASSAYS?

01:31PM   12       A.    YES, INDEED.    YOU KNOW, THERE IS A MINIATURIZED CENTRIFUGE

01:32PM   13       TO THE FAR RIGHT, THERE'S A CYTOMETER, WHICH IS A SPECIALIZED

01:32PM   14       INSTRUMENT TO IMAGE THE CELLS COMPONENT OF THE BLOOD.

01:32PM   15       Q.    AND WERE THERE COMPONENTS THAT WOULD ALLOW THE MINILAB TO

01:32PM   16       PERFORM IMMUNOASSAYS?

01:32PM   17       A.    THERE ARE, INDEED.

01:32PM   18       Q.    AND WHICH ARE THOSE?

01:32PM   19       A.    THEY WOULD INCLUDE THE -- WELL, THERE IS A ROBOT INSIDE

01:32PM   20       THAT WOULD MAKE IT PERFORM A NUMBER OF MIXINGS AND REACTIONS.

01:32PM   21       THERE'S AN LUMINOMETER HERE.       THAT IS SOMETHING THAT WOULD

01:32PM   22       MEASURE THE LIGHT EMITTED THROUGH CHEMILUMINESCENCE DURING

01:32PM   23       CERTAIN REACTIONS, AND IT'S A HIGH SENSITIVITY INSTRUMENT.

01:32PM   24       Q.    AND WERE THERE COMPONENTS THAT WOULD ALLOW THE MINILAB TO

01:33PM   25       PERFORM CLINICAL CHEMISTRY ASSAYS?



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01:33PM    1       A.    YES, INDEED.    AGAIN, THE ROBOT AND THE VARIOUS PROCESSING

01:33PM    2       AND THE MIXING OF REAGENTS, AND THEN THEY WOULD BE TAKEN TO THE

01:33PM    3       SPECTROPHOTOMETER, WHICH IS A VISUAL -- A VISIBLE AND

01:33PM    4       ULTRAVIOLENT LIGHT SPECTROPHOTOMETER THAT WOULD MEASURE THE

01:33PM    5       INTENSITY OF COLORS GENERATED DURING THE REACTIONS DURING THOSE

01:33PM    6       ASSAYS AND CORRELATE THAT TO THE AMOUNT OF THE ANALYTES IN THE

01:33PM    7       SAMPLE.

01:33PM    8       Q.    AND WERE THERE COMPONENTS THAT WOULD ALLOW THE MINILAB TO

01:33PM    9       PERFORM MICROBIOLOGY ASSAYS?       WERE THERE COMPONENTS IN THAT --

01:33PM   10       A.    THEY'RE NOT MICROBIOLOGY.      MOLECULAR BIOLOGY.

01:33PM   11       Q.    I'M SORRY.    MOLECULAR BIOLOGY.

01:33PM   12       A.    MOLECULAR BIOLOGY, YES.

01:33PM   13             THERE WOULD BE THINGS LIKE THE THERMOCYCLER THAT WOULD

01:33PM   14       ALLOW THE NUCLEIC ACIDS TO EXPAND, AND THE DETECTOR, THE

01:33PM   15       FLUORESCENCE-BASED DETECTOR OVER THERE, YES.

01:34PM   16       Q.    AND I THINK YOU MENTIONED A ROBOT.        WE CAN'T SEE IT ON THE

01:34PM   17       SCREEN, BUT WAS THERE ALSO A ROBOT INSIDE OF THE MINILAB?

01:34PM   18       A.    RIGHT, THERE'S A ROBOT THAT HANDLES, THAT PERFORMS THE

01:34PM   19       DIFFERENT OPERATIONS THAT ARE NEEDED FOR THE ASSAYS.

01:34PM   20             THERE IS ALSO A CAMERA THERE THAT WE HAVE NOT MENTIONED

01:34PM   21       THAT WAS SOMETHING THAT WAS USED TO VERIFY THE INTEGRITY OF THE

01:34PM   22       SAMPLES, MAKE SURE THERE WAS NOTHING THAT WAS WRONG.           YOU KNOW,

01:34PM   23       IF YOU DO HEMATOLOGY, THERE WOULD BE NO HEMOLYSIS IN THE

01:34PM   24       THINGS.

01:34PM   25             SO THERE WAS AN INSIDE, YOU KNOW, CONTROL CHECK FOR THE



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01:34PM    1       VARIOUS OPERATIONS OF THE MACHINE.

01:34PM    2       Q.    AND WHILE YOU WERE A BOARD MEMBER AT THERANOS, IN

01:34PM    3       PARTICULAR IN 2016, DID YOU HAVE THE OPPORTUNITY TO SEE THE

01:34PM    4       MINILAB IN ACTION, TO SEE IT RUNNING ASSAYS?

01:34PM    5       A.    YES, YES, I DID.

01:34PM    6       Q.    AND HAVE YOU HAD THE CHANCE, PRIOR TO YOUR TESTIMONY

01:34PM    7       TODAY, TO REVIEW CERTAIN CLIPS THAT I'M MARKING FOR

01:34PM    8       IDENTIFICATION PURPOSES AS 9819A THROUGH 9819D?

01:35PM    9       A.    I DID.   THEY'RE ON YOUTUBE, SO I SAW THEM, YES.

01:35PM   10       Q.    AND DID YOU REVIEW THESE SPECIFIC CLIPS THAT, THAT I'M

01:35PM   11       GOING TO INTRODUCE TODAY?

01:35PM   12       A.    YES, I DID.

01:35PM   13       Q.    ATTEMPT TO INTRODUCE?

01:35PM   14       A.    YES, I DID.

01:35PM   15       Q.    AND DID 9819A THROUGH 9819D ACCURATELY REFLECT YOUR MEMORY

01:35PM   16       OF HOW THE TSPU PERFORMED CERTAIN FUNCTIONS?

01:35PM   17       A.    I DON'T HAVE THAT.

01:35PM   18       Q.    IT'S THE CLIPS.

01:35PM   19       A.    OH, THE CLIPS.      YES.

01:35PM   20                    MS. TREFZ:    AND AGAIN, FOR DEMONSTRATIVE PURPOSES,

01:35PM   21       YOUR HONOR, WE WOULD PURPORT TO -- OR WE WOULD REQUEST TO BE

01:35PM   22       ABLE TO DISPLAY FOR THE JURY, NOT ADMITTED INTO EVIDENCE, BUT

01:35PM   23       DISPLAY FOR THE JURY CERTAIN CLIPS, AND I'LL ASK QUESTIONS

01:35PM   24       ABOUT EACH ONE.

01:35PM   25             BUT I JUST WANTED TO LET THE COURT KNOW WHAT I'M INTENDING



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01:36PM    1       TO DO.

01:36PM    2                    THE COURT:    ARE THESE -- HOW MANY ARE THERE?

01:36PM    3                    MS. TREFZ:    THERE ARE FOUR.    THEY ARE A TOTAL OF

01:36PM    4       1 MINUTE AND 51 SECONDS.       THEY'RE CLIPS OF 11 SECONDS,

01:36PM    5       12 SECONDS, 49 SECONDS, AND 38 SECONDS.

01:36PM    6                    THE COURT:    AND YOU INTEND TO PLAY EACH ONE AND TALK

01:36PM    7       THE WITNESS THROUGH THE CLIP; RIGHT?

01:36PM    8                    MS. TREFZ:    THE WITNESS WILL EXPLAIN IT TO US, BUT

01:36PM    9       YES.

01:36PM   10                    THE COURT:    ALL RIGHT.   ALL RIGHT.    THAT'S FINE.

01:36PM   11       THEY'RE DEMONSTRATIVE ONLY, AND YOU'LL IDENTIFY WHICH ONE IS

01:36PM   12       PLAYING.

01:36PM   13                    MS. TREFZ:    CORRECT.

01:36PM   14              AND LET'S FIRST START WITH 9819A IF WE CAN.        THIS IS AN 11

01:36PM   15       SECOND VIDEO, AND THERE'S NO SOUND.

01:36PM   16              AND IF WE CAN PLAY THAT?

01:36PM   17                    MR. DOWNEY:    YOUR HONOR, MAY I JUST ASK MS. TREFZ

01:36PM   18       SOMETHING?

01:36PM   19                    THE COURT:    YES.

01:36PM   20                    MS. TREFZ:    I GUESS THE QUESTION IS, SHOULD WE DO

01:37PM   21       THIS OR SHOULD WE TAKE A BREAK NOW, YOUR HONOR?

01:37PM   22                    THE COURT:    DO WE NEED A BREAK NOW?     IS NOW A TIME

01:37PM   23       FOR A BREAK?

01:37PM   24                    MS. TREFZ:    IT APPEARS WE DO.

01:37PM   25                    THE COURT:    SO LET'S DO THAT AND WE'LL HOLD OFF THE



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01:37PM    1       MOVIES UNTIL AFTER OUR BREAK.         WE'LL TAKE 30 MINUTES, A 30

01:37PM    2       MINUTE BREAK.     OKAY.

01:37PM    3             (RECESS FROM 1:37 P.M. UNTIL 2:10 P.M.)

02:10PM    4                    THE COURT:    PLEASE BE SEATED.    THANK YOU.

02:10PM    5             WE'RE BACK ON THE RECORD.       ALL COUNSEL ARE PRESENT.

02:10PM    6       MS. HOLMES IS PRESENT.      THE JURY IS PRESENT.      THE WITNESS IS ON

02:10PM    7       THE STAND.

02:10PM    8             MS. TREFZ, YOU WOULD LIKE TO CONTINUE?

02:10PM    9                    MS. TREFZ:    I WOULD.    THANK YOU, YOUR HONOR.

02:10PM   10       Q.    DR. BONANNI, I BELIEVE WHEN WE TOOK OUR BREAK WE WERE

02:10PM   11       ABOUT TO WATCH THE FIRST CLIP THAT I'M PLAYING FOR

02:10PM   12       DEMONSTRATIVE PURPOSES, WHICH IS 9819A.

02:11PM   13             MR. BENNETT.

02:11PM   14             AND WE'RE GOING TO WATCH THE CLIP, AND THEN, DR. BONANNI,

02:11PM   15       I'D LIKE TO ASK YOU WHAT WE HAVE SEEN IN THE CLIP AFTER IT'S

02:11PM   16       DONE.

02:11PM   17             (VIDEO PLAYING OFF THE RECORD.)

02:11PM   18                    THE WITNESS:    SO WE SEE A TECHNICIAN TOUCHING THE

02:11PM   19       SCREEN AND INDICATING TO THE MACHINE THAT A CASSETTE IS READY

02:11PM   20       TO BE LOADED.

02:11PM   21             THE CASSETTE IS DRAWN IN, THE CARTRIDGE IS DRAWN IN

02:11PM   22       AUTOMATICALLY BY THE MINILAB.         AND AS SOON AS IT'S IN, THE BAR

02:11PM   23       CODE IS READ SO THAT THE MACHINE CAN RECEIVE THE INSTRUCTIONS

02:11PM   24       FROM THE CENTRAL COMPUTER, THE VIRTUAL ANALYZER, AND THE LID IS

02:11PM   25       OPENED.



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02:11PM    1       BY MS. TREFZ:

02:11PM    2       Q.    OKAY.    AND --

02:11PM    3                     THE COURT:   I'M SORRY TO INTERRUPT YOU.

02:11PM    4             PARDON ME.    I'M SORRY, MS. TREFZ.

02:12PM    5                     MS. TREFZ:   THAT'S OKAY, YOUR HONOR.      THANK YOU.

02:12PM    6             (PAUSE IN PROCEEDINGS.)

02:12PM    7                     THE COURT:   ALL RIGHT.   MS. TREFZ, WOULD YOU LIKE TO

02:12PM    8       CONTINUE?     THANK YOU.

02:12PM    9                     MS. TREFZ:   YES, PLEASE.

02:12PM   10       Q.    IF YOU DON'T MIND, I'D LIKE TO PLAY THE CLIP ONE MORE TIME

02:12PM   11       NOW THAT WE UNDERSTAND WHAT WAS HAPPENING IN THE CLIP.

02:12PM   12             AND, MR. BENNETT, IF YOU COULD JUST PAUSE IT WHEN IT'S --

02:12PM   13       I'LL TELL YOU WHEN TO PAUSE IT ACTUALLY.

02:12PM   14             GO AHEAD.

02:12PM   15             (VIDEO PLAYING OFF THE RECORD.)

02:12PM   16                     MS. TREFZ:   GO AHEAD.    AND CAN YOU PAUSE IT HERE.

02:12PM   17       Q.    SO, DR. BONANNI, WHAT DO WE SEE DEPICTED IN THIS

02:12PM   18       DEMONSTRATIVE?

02:12PM   19       A.    THE TECHNICIAN TOUCHING THE SCREEN INDICATING THAT A

02:12PM   20       CARTRIDGE IS ABOUT TO ARRIVE.

02:12PM   21       Q.    AND DID YOU HAVE AN UNDERSTANDING OF WHETHER THE, OF

02:13PM   22       WHETHER THE TECHNICIAN WOULD TYPE ANY INSTRUCTIONS ON THE

02:13PM   23       SCREEN?

02:13PM   24       A.    NO.   THERE WERE NO INSTRUCTIONS TO BE TYPED.

02:13PM   25       Q.    THE INSTRUCTIONS -- WELL, WHERE WOULD THE INSTRUCTIONS



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02:13PM    1       COME FROM?

02:13PM    2       A.    THE INSTRUCTIONS COME FROM THE CENTRAL COMPUTER ONCE THE

02:13PM    3       BAR CODE IS READ ON THE CARTRIDGE.

02:13PM    4       Q.    AND THE CARTRIDGE, JUST SO WE UNDERSTAND IT, IS THAT WHAT

02:13PM    5       THE INDIVIDUAL HAS AND IS HOLDING IN THEIR RIGHT HAND?

02:13PM    6       A.    YES.

02:13PM    7       Q.    AND IF YOU COULD FINISH THE CLIP.

02:13PM    8             (VIDEO PLAYING OFF THE RECORD.)

02:13PM    9                    MS. TREFZ:    THANK YOU.

02:13PM   10             THE -- WE'RE GOING TO -- THE NEXT CLIP THAT I'D LIKE TO

02:13PM   11       PLAY, YOUR HONOR, IS 9819B.       AGAIN, WE'RE PLAYING THIS FOR

02:14PM   12       DEMONSTRATIVE PURPOSES.

02:14PM   13                    THE COURT:    ALL RIGHT.

02:14PM   14                    MS. TREFZ:    AND IT'S 12 SECONDS.

02:14PM   15       Q.    AND, DR. BONANNI, I WOULD -- LET'S WATCH THE CLIP, AND

02:14PM   16       THEN I WANT -- THEN I'M GOING TO ASK YOU SOME QUESTIONS ABOUT

02:14PM   17       WHAT WE'VE SEEN IN THE CLIP.

02:14PM   18             GO AHEAD.

02:14PM   19             (VIDEO PLAYING OFF THE RECORD.)

02:14PM   20                    MS. TREFZ:    ALL RIGHT.   IF YOU COULD PAUSE THERE,

02:14PM   21       MR. BENNETT.

02:14PM   22       Q.    SO, DR. BONANNI, CAN YOU DESCRIBE WHAT WE JUST SAW IN

02:14PM   23       9819B?

02:14PM   24       A.    THE COVER IS REMOVED TO SHOW THE INTERNAL PARTS OF THE

02:14PM   25       DEVICE, AND YOU CAN SEE THE CARTRIDGE WITH THE LID OPENED UP AS



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02:14PM    1       I SAID BEFORE.

02:14PM    2       Q.    AND SO JUST SO WE UNDERSTAND IT, IS THIS THE INSIDE OF THE

02:14PM    3       MINILAB?

02:14PM    4       A.    YES.

02:14PM    5       Q.    AND ARE -- I THINK A FEW MINUTES AGO, OR EARLIER IN YOUR

02:14PM    6       EXAMINATION WE WERE LOOKING AT DIFFERENT -- AT A DEMONSTRATIVE

02:15PM    7       THAT SHOWED DIFFERENT COMPONENTS OF THE MINILAB THAT YOU

02:15PM    8       DESCRIBED FOR US.

02:15PM    9             DO YOU RECALL THAT?

02:15PM   10       A.    YES.

02:15PM   11       Q.    AND DO YOU SEE ANY OF THE COMPONENTS THAT WERE DESCRIBED

02:15PM   12       IN THE EXHIBIT HERE, OR IN THIS DEMONSTRATIVE?

02:15PM   13       A.    I CAN SEE THE TOP OF THE MATERIAL HANDLING ROBOT TOWARD

02:15PM   14       THE CENTER OF THIS IMAGE.

02:15PM   15       Q.    OKAY.   AND THE ITEM THAT'S OPENED, WHAT IS THAT?

02:15PM   16       A.    THAT IS THE CARTRIDGE, THE WHITE THING.

02:15PM   17       Q.    OKAY.   AND IS YOUR UNDERSTANDING THAT THE OTHER

02:15PM   18       INSTRUMENTS THAT WE IDENTIFIED BEFORE WOULD BECOME PART OF --

02:15PM   19       EXCUSE ME, WOULD RESIDE IN THE ARCHITECTURE OF THE MINILAB?

02:15PM   20       A.    YES.

02:15PM   21       Q.    LET'S MOVE ON TO THE -- WELL, LET'S FINISH THAT CLIP FIRST

02:15PM   22       OF ALL JUST TO MAKE SURE THAT WE'VE SEEN THE WHOLE THING.

02:16PM   23             (VIDEO PLAYING OFF THE RECORD.)

02:16PM   24       BY MS. TREFZ:

02:16PM   25       Q.    NOW LET'S MOVE ON TO 9819C.



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02:16PM    1             AND, DR. BONANNI, BEFORE WE PLAY 9819C, WE MENTIONED

02:16PM    2       EARLIER -- YOU MENTIONED EARLIER HEMATOLOGY ASSAYS.

02:16PM    3             DO YOU RECALL THAT?

02:16PM    4       A.    YES.

02:16PM    5       Q.    AND WHAT -- CAN YOU GIVE AN EXAMPLE OF THE TYPES OF ASSAYS

02:16PM    6       THAT, OR THE TYPES OF TESTS THAT ARE INCLUDED IN HEMATOLOGY?

02:16PM    7       A.    IT WOULD BE MEASURING THE CELLS, THE NATURE AND THE NUMBER

02:16PM    8       OF CELLS THAT ARE IN THE BLOOD SAMPLE THROUGHOUT THE PATIENT.

02:16PM    9       Q.    SUCH AS?

02:16PM   10       A.    RED BLOOD CELLS, HEMATOCRIT, WHITE CELLS, PLATELETS, AND

02:16PM   11       SO FORTH.

02:16PM   12                    MS. TREFZ:    MR. BENNET, IF WE COULD PLAY 9819C.

02:16PM   13             AND, YOUR HONOR, WITH THE COURT'S PERMISSION, AGAIN, FOR

02:16PM   14       DEMONSTRATIVE PURPOSES.

02:17PM   15                    THE COURT:    YES.

02:17PM   16                    MS. TREFZ:    THIS IS A TOTAL OF 49 SECONDS, AND WHAT

02:17PM   17       I'D LIKE TO DO IS FIRST WATCH THE CLIP AND I WOULD LIKE TO HAVE

02:17PM   18       DR. BONANNI EXPLAIN WHAT WE'RE SEEING IN THE CLIP.

02:17PM   19             (VIDEO PLAYING OFF THE RECORD.)

02:17PM   20                    MS. TREFZ:    ACTUALLY, CAN WE GO BACK, MR. BENNETT,

02:17PM   21       TO THE BEGINNING OF THE CLIP.       PAUSE THERE.     ONE MORE SECOND.

02:17PM   22       PAUSE THERE.     THANK YOU.

02:17PM   23       Q.    DR. BONANNI, CAN YOU IDENTIFY -- CAN YOU WALK US THROUGH

02:17PM   24       WHAT WE'RE SEEING IN THE DIFFERENT PIECES OF -- ON THE SCREEN

02:17PM   25       HERE?



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02:17PM    1       A.    SO WHAT WE SEE, THE BIG WHITE THING IS THE CARTRIDGE

02:17PM    2       OPENED UP WITH THE DIFFERENT REAGENTS IN IT, THE PIPET TIPS,

02:17PM    3       THE SLIDES THAT WILL GO INTO THE CYTOMETER.

02:18PM    4             AND REALIZE THAT THE PERSPECTIVE IS ODD, BECAUSE THIS

02:18PM    5       WHOLE THING IS ABOUT 12 INCHES WIDE.        SO THIS IS, YOU KNOW,

02:18PM    6       THIS IS DISTORTED, ENLARGED.

02:18PM    7             BEHIND THE CARTRIDGE WE SEE THE MINIATURIZED CENTRIFUGE

02:18PM    8       WITH FIVE BUCKETS.

02:18PM    9             OVER IT IS THE MATERIAL HANDLING ROBOT THAT WE WILL SEE IN

02:18PM   10       ACTION.

02:18PM   11             AND TO THE LEFT WE HAVE AT THE BOTTOM THE

02:18PM   12       SPECTROPHOTOMETER, AND IN THE CENTER THE CAMERA, THE

02:18PM   13       LUMINOMETER, AND SOME OTHER THINGS.

02:18PM   14       Q.    OKAY.    LET'S GO AHEAD AND PLAY THE CLIP, AND AS WE PLAY

02:18PM   15       IT, DR. BONANNI, IF YOU CAN EXPLAIN TO THE JURY WHAT IS -- HOW

02:18PM   16       THE MINILAB IS WORKING ON THESE HEMATOLOGY ASSAY.

02:18PM   17             (VIDEO PLAYING OFF THE RECORD.)

02:18PM   18                     THE WITNESS:   SO THE ROBOT IS PICKING UP THE SLIDE

02:19PM   19       THAT IT WILL BRING TO THE CYTOMETER, WHICH IS A FLUORESCENCE

02:19PM   20       MICROSCOPY INSTRUMENT, AND NOW IT IS CENTERED AND ADJUSTED AND

02:19PM   21       WILL DO ITS MEASUREMENT TO IMAGE THE CELLS.

02:19PM   22             THEN IT PICKS UP THE SAMPLE OF THE BLOOD FROM THE

02:19PM   23       NANOTAINER, TAKES IT TO THE CAMERA FOR A QUICK CHECK THAT THERE

02:19PM   24       IS NO HEMOLYSIS, PUTS THE SAMPLE INTO A CENTRIFUGE VESSEL,

02:19PM   25       MOVES IT CAREFULLY INTO THE CENTRIFUGE BUCKET WHERE IT IS GOING



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02:19PM    1       TO BE SPUN DOWN FOR, I DON'T KNOW, A FEW MINUTES AT 1300G.

02:19PM    2       THAT'S TO MEASURE THE HEMATOCRIT, THE AMOUNT OF RED CELLS.

02:19PM    3       BY MS. TREFZ:

02:19PM    4       Q.    AND THAT'S ONE OF THE ASSAYS IN THE --

02:19PM    5       A.    THAT'S ONE OF THE ASSAYS IN THE HEMATOLOGY, YES.

02:19PM    6       Q.    THANK YOU.

02:19PM    7             I'M GOING TO SHOW YOU ONE MORE CLIP, WHICH IS 9819D, AND

02:19PM    8       THAT'S GOING TO BE 38 SECONDS.

02:20PM    9             WITH THE COURT'S PERMISSION?

02:20PM   10                     THE COURT:   YES.

02:20PM   11                     MS. TREFZ:   BEFORE I DO, YOUR HONOR, MAY --

02:20PM   12       Q.    OR BEFORE I DO, DR. BONANNI, LET ME ASK YOU, CAN YOU

02:20PM   13       REMIND US WHAT CLINICAL CHEMISTRY MEANS?

02:20PM   14       A.    THESE ARE THE, THE BASIC METABOLIC PANEL ASSAYS THAT ARE

02:20PM   15       DONE, YOU KNOW, GLUCOSE AND POTASSIUM AND CALCIUM AND OTHER

02:20PM   16       THINGS THAT YOU DO IN A REGULAR TEST, YOU KNOW, CLINICAL TEST.

02:20PM   17       Q.    AND IS THAT SOMETIMES REFERRED TO AS COLOR CHEMISTRY?

02:20PM   18       A.    COLOR CHEMISTRY IS A GOOD ELEMENT OF IT, YES.

02:20PM   19       Q.    OKAY.    AND MR. BENNETT, IF WE CAN START ON 9819D.

02:20PM   20             AND, DR. BONANNI, WHAT I'D LIKE TO HAVE YOU DO IS TO

02:20PM   21       EXPLAIN WHAT WE'RE SEEING AS WE SEE IT.

02:20PM   22             (VIDEO PLAYING OFF THE RECORD.)

02:20PM   23                     THE WITNESS:   SO THE ROBOT IS DISPENSING REAGENTS,

02:21PM   24       MIXING THEM UP.     I THINK THE VIDEO IS ACCELERATED HERE.

02:21PM   25             AND EVENTUALLY PUTS THE SAMPLES INTO A CUVETTE, A REACTION



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02:21PM    1       CUVETTE, THAT IS THEN TAKEN TO THE SPECTROPHOTOMETER AND THE

02:21PM    2       INTENSITY OF THOSE COLORS IN EACH ONE OF THE WELLS IS MEASURED

02:21PM    3       BY THE SPECTROPHOTOMETER, AND THEN THE CUVETTE IS BROUGHT BACK

02:21PM    4       INTO THE CARTRIDGE, WHICH IS ONE ELEMENT OF THIS TECHNOLOGY IS

02:21PM    5       THAT ALL OF THE WASTE IS COLLECTED BACK INTO THE CARTRIDGE.

02:21PM    6       NOTHING IS LEFT INTO THE MINILAB, WHICH CAN THEN BE USED FOR

02:21PM    7       THE NEXT SAMPLE, AND THE NEXT PATIENT.

02:21PM    8       Q.    CAN YOU REMIND US WHAT THE SPECTROPHOTOMETER DOES?

02:21PM    9       A.    IT'S AN INSTRUMENT THAT MEASURES THE INTENSITY OF LIGHT

02:21PM   10       THAT GOES THROUGH THE SAMPLE AT DIFFERENT COLORS AND CORRELATES

02:21PM   11       THAT TO THE AMOUNT OF ANALYTE THAT IS PRESENT IN THE SAMPLE.

02:22PM   12       Q.    AS A PERSON WHO HAD WORKED IN THE MEDICAL DEVICE AND BIO

02:22PM   13       PHARMA INDUSTRY FOR QUITE A WHILE, DID YOU HAVE A VIEW IN 2016

02:22PM   14       AS TO WHETHER THE THERANOS DEVICE AND TECHNOLOGY HAD POTENTIAL

02:22PM   15       COMMERCIAL USES?

02:22PM   16                    MR. SCHENK:    OBJECTION.    IMPROPER OPINION TESTIMONY.

02:22PM   17                    THE COURT:    SUSTAINED.

02:22PM   18       BY MS. TREFZ:

02:22PM   19       Q.    DID YOU HAVE -- DID YOU HAVE ANY, NOT BASED ON -- STRIKE

02:22PM   20       THAT, YOUR HONOR.

02:22PM   21             DID YOU PERSONALLY ENVISION ANY POTENTIAL USES FOR THE

02:22PM   22       COMMERCIAL -- FOR THE TECHNOLOGY?

02:22PM   23                    MR. SCHENK:    OBJECTION.    SAME OBJECTION AND

02:22PM   24       RELEVANCE.

02:22PM   25                    THE COURT:    SUSTAINED.



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02:23PM    1             (PAUSE IN PROCEEDINGS.)

02:23PM    2       BY MS. TREFZ:

02:23PM    3       Q.    DO YOU RECALL WHETHER THE COMPANY HAD ANY PERSPECTIVE ON

02:23PM    4       THE POTENTIAL COMMERCIAL USES FOR THE TECHNOLOGY?

02:23PM    5                    MR. SCHENK:    OBJECTION.    RELEVANCE, AND IT CALLS FOR

02:23PM    6       HEARSAY.

02:23PM    7                    THE COURT:    SUSTAINED WITHOUT A FURTHER FOUNDATION.

02:23PM    8       BY MS. TREFZ:

02:23PM    9       Q.    DURING YOUR TIME ON THE BOARD OF DIRECTORS, DID YOU COME

02:23PM   10       TO UNDERSTAND, DID YOU COME TO UNDERSTAND -- DID YOU EVER COME

02:23PM   11       TO UNDERSTAND THE POTENTIAL COMMERCIAL USES THAT THE COMPANY

02:23PM   12       WAS DEVELOPING FOR THE TECHNOLOGY?

02:23PM   13                    MR. SCHENK:    OBJECTION.

02:23PM   14                    THE COURT:    SUSTAINED.

02:23PM   15                    MS. TREFZ:    OKAY.

02:23PM   16       Q.    DR. BONANNI, WHEN YOU FIRST JOINED THE BOARD IN JUNE 2016,

02:23PM   17       WHAT WAS THE MAKEUP OF THE BOARD?

02:23PM   18       A.    AT THAT TIME, SO THERE WAS DR. FOEGE, MR. BOIES,

02:24PM   19       GENERAL MATTIS, RILEY BECHTEL, MR. KOVACEVICH,

02:24PM   20       ELIZABETH HOLMES, AND I.       YEAH, I THINK THAT'S IT.

02:24PM   21       Q.    AND DESCRIBE WHAT BOARD MEETINGS WERE LIKE BETWEEN JUNE

02:24PM   22       AND DECEMBER OF 2016 AT A HIGH LEVEL.

02:24PM   23       A.    THEY WERE LIVELY DISCUSSIONS.       TYPICALLY THE CHAIRMAN,

02:24PM   24       ELIZABETH HOLMES, WOULD INTRODUCE -- YOU KNOW, CALLED THE

02:24PM   25       MEETING TO ORDER AND INTRODUCED THE SUBJECTS AND THE AGENDA,



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02:24PM    1       AND THEN DIFFERENT PEOPLE FROM THE COMPANY, AND SOMETIMES

02:24PM    2       OUTSIDE OF THE COMPANY, WOULD COME IN AND MAKE PRESENTATIONS,

02:24PM    3       AND THE BOARD MEMBERS WOULD ASK QUESTIONS, AND HAVE GOOD

02:24PM    4       DISCUSSIONS ABOUT THE SUBJECTS.

02:24PM    5       Q.    WERE -- WAS MS. HOLMES THE ONLY SPEAKER IN THE MEETINGS?

02:24PM    6       A.    NO.

02:24PM    7       Q.    WAS THERE SPIRITED DISCUSSION IN YOUR EXPERIENCE?

02:25PM    8       A.    YES, LIVELY DISCUSSIONS.

02:25PM    9       Q.    WERE THERE SOMETIMES DEBATES OVER STRATEGY?

02:25PM   10       A.    THERE WERE.

02:25PM   11       Q.    WERE THERE AREAS OF THE COMPANY BETWEEN JUNE AND DECEMBER

02:25PM   12       OF 2016 THAT YOU WERE PARTICULARLY ACTIVE IN?

02:25PM   13       A.    YES, THE STRENGTHENING OF THE QUALITY MANAGEMENT SYSTEM

02:25PM   14       AND THE CREATION OF A CORPORATE COMPLIANCE PROGRAM IN

02:25PM   15       PARTICULAR.

02:25PM   16       Q.    DID YOU UNDERSTAND MS. HOLMES TO SEEK YOUR ADVICE ON THOSE

02:25PM   17       AREAS?

02:25PM   18       A.    SHE DID.

02:25PM   19       Q.    IN YOUR OPINION, DID MS. HOLMES LISTEN TO AND IMPLEMENT

02:25PM   20       YOUR ADVICE?

02:25PM   21       A.    SHE DID.

02:25PM   22       Q.    DID YOU ALSO UNDERSTAND THAT OTHERS ON THE BOARD OF

02:25PM   23       DIRECTORS ADVISED MS. HOLMES ON VARIOUS ASPECTS OF THE COMPANY?

02:26PM   24       A.    YES.

02:26PM   25       Q.    AND WHAT ROLE DID YOU UNDERSTAND THAT MR. BOIES HAD?



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02:26PM    1       A.    OH, MR. BOIES, SPECIFICALLY, HIS FIRM WAS REPRESENTING

02:26PM    2       THERANOS ON A NUMBER OF SUBJECTS, YES.

02:26PM    3       Q.    DID -- WAS MR. BECHTEL A MENTOR TO MS. HOLMES AS FAR AS

02:26PM    4       YOU UNDERSTOOD?

02:26PM    5       A.    FROM MY STANDPOINT HE WAS, YES.

02:26PM    6       Q.    AND WHAT ABOUT GENERAL MATTIS, DID HE -- WAS HE A MENTOR

02:26PM    7       TO MS. HOLMES DURING THIS TIME PERIOD AS WELL?

02:26PM    8       A.    I THINK SO, YES.

02:26PM    9       Q.    WHEN YOU JOINED THE BOARD, DID YOU UNDERSTAND THAT

02:26PM   10       THERANOS WAS FACING PUBLIC CRITICISM AND QUESTIONS ABOUT THE

02:26PM   11       STATE OF ITS TECHNOLOGY?

02:26PM   12       A.    YES.

02:26PM   13       Q.    AND WAS THERE DEBATE ABOUT HOW TO -- HOW BEST TO RESPOND

02:26PM   14       TO THOSE CRITICISMS IN THE BOARD OF DIRECTORS?

02:26PM   15       A.    YES.

02:26PM   16       Q.    DESCRIBE THE NATURE OF THE DEBATE AS YOU UNDERSTOOD IT.

02:26PM   17       A.    THE NATURE -- A NUMBER OF DIRECTORS WERE CONVINCED THAT

02:27PM   18       THE COMPANY SHOULD COUNTER THE ALLEGATIONS MADE IN THE PRESS

02:27PM   19       WITH DISCLOSURES, PRESS RELEASES, AND WITH A GENERATION OF DATA

02:27PM   20       SUPPORTING THE EFFECTIVENESS OF THE TECHNOLOGY BY REPUTABLE

02:27PM   21       INSTITUTIONS LIKE THE CLEVELAND CLINIC AND UCSF AND SO FORTH.

02:27PM   22       Q.    IS THAT A VIEW THAT YOU SHARED?

02:27PM   23       A.    NO.    MY VIEW WAS THAT THE VALIDATION THAT MATTERED IN THIS

02:27PM   24       WHOLE DISCUSSION WAS THAT OBTAINED BY FDA AND OTHER REGULATORY

02:27PM   25       AGENCIES, AND THAT THE COMPANY SHOULD PURSUE -- WITH A VERY



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02:27PM    1       HIGH FOCUS ON THE PURSUIT OF CLEARANCE BY FDA AND BY THE

02:27PM    2       EUROPEANS IN PARTICULAR.

02:27PM    3       Q.    IS THAT THE APPROACH THAT THERANOS DECIDED TO FOLLOW?

02:28PM    4       A.    YES.

02:28PM    5       Q.    DID THERANOS END UP PUBLISHING ANY PEER REVIEWED ARTICLES?

02:28PM    6       A.    YES, THEY DID.

02:28PM    7       Q.    TOWARD THE END OF 2016, WERE THERE SOME CHANGES TO THE

02:28PM    8       MAKEUP OF THE BOARD OF DIRECTORS?

02:28PM    9       A.    YES.

02:28PM   10       Q.    DID YOU UNDERSTAND THAT MR. BECHTEL STEPPED DOWN?

02:28PM   11       A.    HE DID, YES.

02:28PM   12       Q.    AND DID YOU HAVE AN UNDERSTANDING AS TO WHY, AT A HIGH

02:28PM   13       LEVEL, HE STEPPED DOWN?

02:28PM   14                    MR. SCHENK:    OBJECTION.    RELEVANCE.

02:28PM   15                    THE COURT:    SUSTAINED.

02:28PM   16       BY MS. TREFZ:

02:28PM   17       Q.    DID YOU HAVE AN UNDERSTANDING OF WHETHER MR. BECHTEL

02:28PM   18       REMAINED SUPPORTIVE OF THE COMPANY AND MS. HOLMES AFTER HIS

02:28PM   19       DEPARTURE?

02:28PM   20                    MR. SCHENK:    OBJECTION.    RELEVANCE AND HEARSAY.

02:28PM   21                    THE COURT:    SUSTAINED.

02:28PM   22       BY MS. TREFZ:

02:28PM   23       Q.    DID YOU HAVE AN UNDERSTANDING AS TO WHY GENERAL MATTIS

02:28PM   24       STEPPED DOWN AT THE END OF 2016?

02:28PM   25                    MR. SCHENK:    OBJECTION.    SAME.



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02:29PM    1                    MS. TREFZ:    YOUR HONOR, I WOULD SAY IN THIS

02:29PM    2       PARTICULAR CIRCUMSTANCE WE HAVE HAD TESTIMONY ABOUT THIS.

02:29PM    3                    THE COURT:    AND IF HE'S AWARE OF THE REASONS FOR

02:29PM    4       GENERAL MATTIS LEAVING?       IS THAT WHAT YOU'RE ASKING?

02:29PM    5                    MS. TREFZ:    YEAH, DID HE HAVE AN UNDERSTANDING.

02:29PM    6                    THE COURT:    OKAY.

02:29PM    7             DO YOU UNDERSTAND THAT QUESTION, SIR?

02:29PM    8                    THE WITNESS:    I DO.

02:29PM    9                    THE COURT:    YOU CAN ANSWER THAT.

02:29PM   10                    THE WITNESS:    MY UNDERSTANDING WAS THAT IT WAS PART

02:29PM   11       OF HIS GETTING PREPARED FOR THE CONFIRMATION HEARINGS IN THE

02:29PM   12       SENATE, AND THAT PART OF THAT PREPARATION WAS TO DISENGAGE

02:29PM   13       HIMSELF FROM ACTIVITIES SUCH AS THE PRESENCE AS A DIRECTOR OF

02:29PM   14       THERANOS.

02:29PM   15       BY MS. TREFZ:

02:29PM   16       Q.    DID GENERAL MATTIS, OR LATER SECRETARY MATTIS, EVER TELL

02:29PM   17       YOU THAT HE LEFT OVER CONCERNS ABOUT INTEGRITY?

02:29PM   18       A.    NO.

02:29PM   19       Q.    DID HE EVER TELL YOU THAT HE WAS CONCERNED MS. HOLMES HAD

02:29PM   20       MISREPRESENTED TO HIM THE CAPABILITY OF THE TECHNOLOGY?

02:29PM   21       A.    NO.

02:29PM   22       Q.    DID HE EVER TELL YOU THAT HE WAS CONCERNED THAT MS. HOLMES

02:29PM   23       HAD MISREPRESENTED TO HIM WHAT TECHNOLOGY WAS IN THE CLINICAL

02:29PM   24       LABORATORY?

02:30PM   25       A.    NO.



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02:30PM    1       Q.    DID ANY OF THE BOARD MEMBERS THAT PREDATED YOUR ARRIVAL

02:30PM    2       TELL YOU THAT THEY WERE CONCERNED THAT MS. HOLMES HAD

02:30PM    3       MISREPRESENTED TO THEM THE CAPABILITIES OF THERANOS'S

02:30PM    4       TECHNOLOGY?

02:30PM    5       A.    NO.

02:30PM    6       Q.    COMING INTO AND EARLY IN YOUR SERVICE ON THE BOARD, WHAT

02:30PM    7       DID YOU UNDER -- STRIKE THAT.

02:30PM    8             BEGINNING IN JUNE OF 2016 WHEN YOU JOINED THE BOARD OF

02:30PM    9       DIRECTORS AND THROUGHOUT AT LEAST THE FOLLOWING SIX MONTHS,

02:30PM   10       WERE EFFORTS MADE TO STRENGTHEN THE POLICIES, SYSTEMS, AND

02:30PM   11       PERSONNEL AT THERANOS?

02:30PM   12       A.    MAJOR EFFORTS, YES.

02:30PM   13       Q.    WAS MS. HOLMES SUPPORTIVE OF THOSE EFFORTS?

02:30PM   14       A.    YES, VERY MUCH.

02:30PM   15       Q.    DID SHE ENSURE THAT THESE EFFORTS COULD PROCEED WITHOUT

02:30PM   16       DELAY?

02:30PM   17       A.    DEFINITELY.

02:30PM   18       Q.    DID SHE COMMIT RESOURCES TO THOSE EFFORTS?

02:31PM   19       A.    YES.

02:31PM   20       Q.    I'D LIKE TO TALK ABOUT A FEW PARTICULAR CHANGES THAT WERE

02:31PM   21       MADE BETWEEN JUNE AND DECEMBER OF 2016.

02:31PM   22             ACTUALLY, BEGINNING A LITTLE BEFORE THAT, WERE YOU AWARE

02:31PM   23       WHEN YOU JOINED THE BOARD THAT JUST BEFORE YOU JOINED,

02:31PM   24       THERANOS, THE COMPANY, HAD CREATED A SCIENTIFIC AND MEDICAL

02:31PM   25       ADVISORY BOARD?



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02:31PM    1       A.    YES.

02:31PM    2       Q.    AND DID YOU HAVE AN UNDERSTANDING OF WHO WAS ON THAT

02:31PM    3       BOARD?

02:31PM    4       A.    I DID.   PARTICULARLY I KNEW ONE PERSON, DR. SUE EVANS, SHE

02:31PM    5       HAD BEEN A COLLEAGUE OF MINE AT BAXTER WHERE SHE WAS IN CHARGE

02:31PM    6       OF R&D FOR DIAGNOSTICS AND HAD PLAYED A LEADERSHIP ROLE IN THE

02:31PM    7       PROFESSIONAL ASSOCIATION FOR CLINICAL CHEMISTRY.          AND OTHER

02:31PM    8       MEMBERS WERE SIMILAR, YOU KNOW, EXPERTS EITHER FROM ACADEMIA OR

02:31PM    9       INDUSTRY, IN THE BROAD AREAS OF CLINICAL CHEMISTRY.

02:31PM   10       Q.    AND DID YOU HAVE AN UNDERSTANDING OF THE -- AS A BOARD

02:31PM   11       MEMBER OF THE PURPOSE OF THE SCIENTIFIC AND MEDICAL ADVISORY

02:31PM   12       BOARD?

02:31PM   13       A.    TO SERVE AS A SOUNDING BOARD FOR THE INTERNAL DEVELOPMENT

02:32PM   14       OF THE TECHNOLOGIES INSIDE OF THERANOS, TO HELP IN THE

02:32PM   15       PREPARATION OF PEER REVIEWED ARTICLES, AND BE GENERAL, YOU

02:32PM   16       KNOW, SCIENTIFIC ADVISORS TO THE COMPANY.

02:32PM   17       Q.    AND DID YOU UNDERSTAND THAT THE MEMBERS OF THE SCIENTIFIC

02:32PM   18       AND MEDICAL ADVISORY BOARD WERE OUTSIDERS TO THERANOS?

02:32PM   19       A.    YES.

02:32PM   20       Q.    WAS DR. FOEGE ALSO INVOLVED IN THE SCIENTIFIC AND MEDICAL

02:32PM   21       ADVISORY BOARD?

02:32PM   22       A.    HE WAS, YES.

02:32PM   23       Q.    AND SO HE WAS --

02:32PM   24       A.    AND SO HE WAS AN INTERNAL PERSON I GUESS, YES.

02:32PM   25       Q.    OTHERWISE WERE THE PEOPLE ON THE BOARD OUTSIDERS FROM THE



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02:32PM    1       COMPANY?

02:32PM    2       A.    YES.

02:32PM    3       Q.    AND WERE YOU AWARE THAT LATER IN 2016 THERANOS DEVELOPED A

02:32PM    4       TECHNICAL ADVISORY BOARD?

02:32PM    5       A.    YES.

02:32PM    6       Q.    AND WHAT IS YOUR UNDERSTANDING OF THE FOCUS OF THAT BOARD?

02:32PM    7       A.    THEY WERE MORE -- IT WAS MORE COMPOSED FROM EXPERTS IN

02:33PM    8       ENGINEERING AND BIOENGINEERING AND PEOPLE THAT WOULD BE

02:33PM    9       ADVISORS IN THE DEVELOPMENT OF THE ENGINEERING ELEMENTS OF THE

02:33PM   10       TECHNOLOGY ITSELF, NOT THE MEDICAL PART.

02:33PM   11       Q.    AND FOR THE MOST PART, WERE THE MEMBERS OF THE TECHNICAL

02:33PM   12       ADVISORY BOARD ALSO OUTSIDERS TO THERANOS?

02:33PM   13       A.    YES.

02:33PM   14       Q.    WAS DR. CHANNING ROBERTSON ALSO A MEMBER?

02:33PM   15       A.    HE WAS.

02:33PM   16       Q.    AND DID YOU UNDERSTAND WHETHER DR. ROBERTSON HAD A PRIOR

02:33PM   17       ASSOCIATION WITH THERANOS?

02:33PM   18       A.    I UNDERSTOOD HE HAD, YES, FROM THE VERY BEGINNING, YES.

02:33PM   19       Q.    WAS ONE MAJOR TASK YOU ADVISED ON INCREASING QUALITY AND

02:33PM   20       COMPLIANCE FUNCTIONS AT THERANOS?

02:33PM   21       A.    YES.

02:33PM   22       Q.    AND I WANT TO, I WANT TO EXPLORE EACH OF THOSE DIFFERENT

02:33PM   23       PIECES.

02:33PM   24             FIRST, CAN YOU DESCRIBE WHAT YOU MEAN BY COMPLIANCE

02:33PM   25       FUNCTION?



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02:33PM    1       A.    SO IN GENERAL TERMS?

02:33PM    2       Q.    CORRECT.

02:33PM    3       A.    THAT WOULD LEAD ME TO THE CORPORATE COMPLIANCE PROGRAM.

02:34PM    4             THAT IS A COLLECTION OF PROCESSES AND PROCEDURES TO MAKE

02:34PM    5       SURE THAT EVERYBODY IN A COMPANY UNDERSTANDS THE EXPECTATIONS

02:34PM    6       AND THE REQUIREMENTS ON HOW TO COMPLY WITH LAWS AND REGULATIONS

02:34PM    7       THAT APPLY TO THAT COMPANY, TO THAT BUSINESS.

02:34PM    8             AND PEOPLE ARE TRAINED IN THOSE REQUIREMENTS; THAT THEY

02:34PM    9       ARE AUDITED; THAT THEY PERFORM AS INTENDED; AND THAT THERE ARE

02:34PM   10       CHANNELS OF COMMUNICATION BETWEEN STAFF AND MANAGEMENT ABOUT

02:34PM   11       OBSERVATIONS OF NONCONFORMANCE, NONCOMPLIANCE BEHAVIORS THAT

02:34PM   12       ARE AGAINST LAWS AND REGULATIONS, AND THAT THOSE REPORTS ARE

02:34PM   13       ACTED UPON BY AN APPROPRIATE MECHANISM OF INVESTIGATIONS AND SO

02:34PM   14       FORTH.

02:34PM   15             SO THAT'S THE BROADER ELEMENT OF COMPLIANCE THAT WE DID

02:34PM   16       START IN THE COMPANY DURING THAT SUMMER.

02:34PM   17       Q.    AND WHAT SUMMER WAS THAT?

02:34PM   18       A.    2016.

02:34PM   19       Q.    THANK YOU.

02:34PM   20             AND WITH RESPECT TO QUALITY FUNCTIONS OF THE COMPANY, WHAT

02:35PM   21       ARE THOSE AS FAR AS YOU UNDERSTAND?

02:35PM   22       A.    I REFER TO THE QUALITY MANAGEMENT SYSTEM, WHICH IS A

02:35PM   23       COLLECTION OF, AGAIN, PROCESSES AND PROCEDURES THAT ARE

02:35PM   24       DESIGNED TO MAKE SURE THAT THE OUTPUT OF THE COMPANY IS

02:35PM   25       RELIABLE, THAT THE DATA GENERATED HAVE INTEGRITY AND CAN BE



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02:35PM    1       RELIED UPON.

02:35PM    2             I'LL GIVE YOU EXAMPLES.      THE SIMPLEST THING TO THINK ABOUT

02:35PM    3       IS EVERY INSTRUMENT THAT IS USED TO TAKE ANY MEASUREMENT SHOULD

02:35PM    4       BE CALIBRATED AGAINST RECOGNIZED STANDARDS, AND THAT THEN THOSE

02:35PM    5       DATA GENERATED SHOULD BE DOCUMENTED IN A CERTAIN FASHION; THAT

02:35PM    6       PEOPLE SHOULD BE TRAINED IN WHAT THEY DO, AND IF THEY'RE NOT

02:35PM    7       TRAINED, THEY SHOULD NOT BE ALLOWED TO PERFORM THOSE TASKS.

02:35PM    8             FOR DEVICES, THE REGULATION -- SO THIS AREA IS COVERED BY

02:35PM    9       SOMETHING CALLED QUALITY SYSTEM REGULATION IN THE U.S. THAT

02:35PM   10       COVERS ALSO ASPECTS OF DEVELOPMENT, NOT JUST MANUFACTURING.              SO

02:36PM   11       THERE ARE DESIGN CONTROLS ON HOW THE DEVICE SHOULD BE DESIGNED,

02:36PM   12       DEVELOPED, AND THE OUTPUT DOCUMENTED AND VERIFIED AND VALIDATED

02:36PM   13       AND SO FORTH.

02:36PM   14             SO THAT BODY -- THERE WERE ELEMENTS OF THAT SYSTEM IN

02:36PM   15       PLACE AT THERANOS AS I FIRST VISITED.         THEY NEEDED TO BE

02:36PM   16       STRENGTHENED AND MADE MORE COMPLETE.

02:36PM   17       Q.    AND DID YOU HAVE EXPERIENCE WITH THOSE TYPES OF FUNCTIONS

02:36PM   18       FROM YOUR PRIOR WORK AT AMGEN AND BAXTER?

02:36PM   19       A.    I DID.

02:36PM   20       Q.    AS PART OF YOUR EFFORTS TO STRENGTHEN THESE ASPECTS OF THE

02:36PM   21       COMPANY, DID THERANOS HIRE ADDITIONAL PERSONNEL?

02:36PM   22       A.    YES.   IMMEDIATELY THERANOS HIRED A HEAD OF QUALITY AND

02:36PM   23       REGULATORY AFFAIRS, AND ALSO A HEAD OF CORPORATE COMPLIANCE.

02:36PM   24             AND IN RECORD TIME I SHOULD ADD, BECAUSE BY MID-JULY, MID,

02:36PM   25       END JULY 2016 THEY WERE RECRUITED AND ON BOARD.



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02:36PM    1       Q.    AND DID THERANOS ALSO HIRE OUTSIDE CONSULTANTS TO ASSIST

02:37PM    2       IN THOSE EFFORTS AS WELL?

02:37PM    3       A.    YES, IN TWO WAYS.     CONSULTANTS TO SERVE AS CONSULTANTS TO

02:37PM    4       THE COMPANY, BUT WE ADDED TWO PROFESSIONALS IN THOSE FIELDS TO

02:37PM    5       PUT INTO A COMMITTEE OF THE BOARD THAT WE CREATED TO COVER

02:37PM    6       QUALITY AND COMPLIANCE.

02:37PM    7       Q.    AND WAS -- DO YOU RECALL WHEN THAT QUALITY AND COMPLIANCE,

02:37PM    8       OR COMPLIANCE AND QUALITY COMMITTEE OF THE BOARD OF DIRECTORS

02:37PM    9       WAS ANNOUNCED?

02:37PM   10       A.    I DO NOT.

02:37PM   11       Q.    LET ME SEE IF I CAN JUST REFRESH YOUR RECOLLECTION.

02:37PM   12             CAN YOU TURN TO 7671 IN YOUR BINDER.        AND DON'T READ IT

02:37PM   13       OUTSIDE -- OR OUT LOUD.       I'M JUST TRYING TO REFRESH YOUR

02:37PM   14       RECOLLECTION.

02:37PM   15       A.    YES.   SO IT IS ON THE 20TH OF JULY.       IT'S THE SAME

02:37PM   16       ANNOUNCEMENT THAT ANNOUNCED THE JOINING OF MR. WURTZ AND

02:38PM   17       MR. GUGGENHEIM INTO THE COMPANY.

02:38PM   18             IT ALSO ANNOUNCED THE CREATION OF THE COMMITTEE, OF THE

02:38PM   19       BOARD, AND THAT WAS COMPOSED OF DR. FOEGE AND ME, WITH TWO

02:38PM   20       EXTERNAL EXPERTS TO HELP US.

02:38PM   21       Q.    AND YOU MENTIONED MR. WURTZ.       WHAT ROLE DID HE SERVE?

02:38PM   22       A.    HE JOINED IN AS SENIOR VICE PRESIDENT, QUALITY AND

02:38PM   23       REGULATORY.

02:38PM   24       Q.    AND WHAT ABOUT MR. GUGGENHEIM?

02:38PM   25       A.    AS CHIEF COMPLIANCE OFFICER.



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02:38PM    1       Q.    WAS ONE OF THE STEPS -- I BELIEVE YOU ALLUDED TO THIS

02:38PM    2       EARLIER, BUT JUST TO IDENTIFY IT IN A LITTLE BIT MORE DETAIL,

02:38PM    3       WAS ONE OF THE STEPS YOU WERE INVOLVED IN HELPING TO CREATE A

02:38PM    4       ROBUST QUALITY MANAGEMENT PROGRAM AT THERANOS?

02:38PM    5       A.    YES.

02:38PM    6       Q.    AND DID THIS EFFORT TAKE AWHILE TO COMPLETE?

02:38PM    7       A.    IT DID.    IT IS A COMPLICATED THING TO PUT TOGETHER.         SO

02:38PM    8       THE HIGH LEVEL DOCUMENTATION CORPORATE QUALITY MANUAL WAS

02:39PM    9       CREATED RATHER RAPIDLY, WITHIN TWO OR THREE MONTHS, AND THEN IT

02:39PM   10       TOOK, YOU KNOW, THE REST OF A YEAR TO PUT TOGETHER ALL OF THE

02:39PM   11       POLICIES AND PROCEDURES, TRAIN PEOPLE INTO THEM, AND MAKE SURE

02:39PM   12       THAT THEY WERE USED IN PRACTICE IN DAILY OPERATIONS, YES.

02:39PM   13       Q.    AND WAS MS. HOLMES SUPPORTIVE OF THAT EFFORT?

02:39PM   14       A.    YES.

02:39PM   15       Q.    DID -- WERE YOU ALSO AWARE THAT UPON YOUR ARRIVAL AT

02:39PM   16       THERANOS, UPON THE TIME YOU JOINED THE BOARD AT THERANOS, WERE

02:39PM   17       YOU AWARE THAT NEW LAB DIRECTORS HAD BEEN HIRED WITHIN THE PAST

02:39PM   18       SIX MONTHS?

02:39PM   19       A.    YES.

02:39PM   20       Q.    AND WERE THERE OTHER EFFORTS TO HIRE MEMBERS OF THE

02:39PM   21       MANAGEMENT TEAM OUTSIDE OF THE COMPANY, IN PARTICULAR I WANT TO

02:39PM   22       FOCUS ON LATE -- FROM THE TIME THAT YOU JOINED THE BOARD TO THE

02:39PM   23       END OF 2016.

02:39PM   24       A.    YES, THERE WERE.     THE COMPANY ENDED UP HIRING A HEAD OF

02:39PM   25       OPERATIONS, MCCHESNEY; CHANGED THE GENERAL COUNSEL; AND WAS



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02:40PM    1       SEARCHING FOR A CHIEF FINANCIAL OFFICER.         THAT DID NOT SUCCEED,

02:40PM    2       BUT INTERVIEWED A NUMBER OF CANDIDATES FOR THAT.

02:40PM    3       Q.    IN WORKING ON THESE EFFORTS, WERE YOU EVER DENIED ACCESS

02:40PM    4       TO INFORMATION THAT WAS IN THERANOS'S FILES?

02:40PM    5       A.    NO.

02:40PM    6       Q.    WERE YOU EVER DENIED THE OPPORTUNITY TO TALK TO SOMEONE

02:40PM    7       THAT YOU WANTED TO SPEAK WITH?

02:40PM    8       A.    NO.

02:40PM    9       Q.    AND WAS -- TO YOUR IMPRESSION, WAS MAKING THESE

02:40PM   10       IMPROVEMENT A FOCUS OF MS. HOLMES?

02:40PM   11       A.    IT WAS.

02:40PM   12       Q.    IN AUGUST OF 2016, DID MS. HOLMES PRESENT AT THE ACC

02:40PM   13       CONFERENCE?

02:40PM   14       A.    SHE DID.

02:40PM   15                     MR. SCHENK:   OBJECTION.    RELEVANCE.

02:40PM   16                     MS. TREFZ:    THE RELEVANCE IS INTENT AND STATE OF

02:40PM   17       BELIEF OF THE TECHNOLOGY.

02:40PM   18             IF I COULD ASK A COUPLE MORE QUESTIONS, IT MAY BECOME

02:41PM   19       CLEARER.

02:41PM   20                     THE COURT:    ALL RIGHT.   OKAY.

02:41PM   21       BY MS. TREFZ:

02:41PM   22       Q.    DID YOU UNDERSTAND -- DID YOU HAVE AN UNDERSTANDING AS TO

02:41PM   23       THE PURPOSE OF PRESENTING AT THIS CONFERENCE?

02:41PM   24       A.    I DO.

02:41PM   25       Q.    WHAT IS YOUR UNDERSTANDING?



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02:41PM    1       A.    IT WAS TO OVERCOME THE CRITICISM OF LACK OF TRANSPARENCY

02:41PM    2       THAT THERANOS HAD RECEIVED AT THAT TIME AND TO SHOW WHAT THE

02:41PM    3       TECHNOLOGY WAS ALL ABOUT IN A SCIENTIFIC CONTEXT, AS THAT

02:41PM    4       SCIENTIFIC MEETING WAS.

02:41PM    5       Q.    AND IS YOUR UNDERSTANDING THAT PART OF THIS EFFORT WAS

02:41PM    6       RELATED TO THAT DEBATE THAT YOU WERE DISCUSSING ON THE BOARD OF

02:41PM    7       DIRECTORS -- THAT WAS OCCURRING ON THE BOARD OF DIRECTORS?

02:41PM    8       A.    IN A WAY.    IN A WAY IT WAS, YES, YES.

02:41PM    9       Q.    DID YOU ASSIST IN THE PREPARATION FOR THE AACC

02:41PM   10       PRESENTATION?

02:41PM   11       A.    I DID.

02:42PM   12       Q.    AND DID YOU, DID YOU WATCH IT?

02:42PM   13       A.    YES.

02:42PM   14       Q.    DID YOU HAVE A VIEW ON HOW IT WAS RECEIVED?

02:42PM   15                    MR. SCHENK:    OBJECTION.    RELEVANCE.

02:42PM   16                    THE COURT:    SUSTAINED.

02:42PM   17       BY MS. TREFZ:

02:42PM   18       Q.    OVER YOUR TIME AS A BOARD MEMBER, DID YOU FORM AN

02:42PM   19       IMPRESSION OF MS. HOLMES'S STRENGTHS AND WEAKNESSES AS A CEO?

02:42PM   20       A.    I DID.

02:42PM   21       Q.    AND WHAT WERE HER STRENGTHS?

02:42PM   22       A.    HER VISION FOR THE COMPANY; HER TECHNOLOGY SAVVY AND

02:42PM   23       MASTERING OF ALL ASPECTS THAT RELATED TO THE SYSTEM OF

02:42PM   24       TECHNOLOGIES THAT HAD BEEN DEVELOPED; AMOUNT OF ENERGY,

02:42PM   25       ENTHUSIASM, DRIVE THAT SHE HAD TO, TO, YOU KNOW, BRING THIS



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02:42PM    1       COMPLICATED THING FORWARD.

02:42PM    2             I ADMIRED HER LACK OF DEFENSIVENESS AND HER WILLINGNESS TO

02:43PM    3       LISTEN TO OTHER PEOPLE'S OPINIONS THAT I THOUGHT WAS

02:43PM    4       REMARKABLE.

02:43PM    5       Q.    CAN YOU EXPLAIN WHAT YOU MEAN BY THAT?

02:43PM    6       A.    WHEN PEOPLE HAVE A STRONG SENSE OF OWNERSHIP OVER WHAT

02:43PM    7       THEY'VE DONE AND YOU VENTURE OTHER OPINIONS AND CRITIQUES AND

02:43PM    8       OTHER VIEWS, THEY TEND TO LISTEN AND THEN TO SAY, "YES, BUT"

02:43PM    9       AND DEFEND THEIR PAST DOINGS.

02:43PM   10             AND I NEVER HAD A "BUT" FROM ELIZABETH HOLMES.          SHE WAS

02:43PM   11       DILIGENT IN LISTENING AND INTERNALIZING WHAT SHE RECEIVED AS

02:43PM   12       ADVICE FROM A NUMBER OF PEOPLE, INCLUDING ME.

02:43PM   13       Q.    SO WE TALKED ABOUT HER STRENGTHS.

02:43PM   14             WHAT WERE HER WEAKNESSES, IN YOUR VIEW, AS A CEO?

02:43PM   15       A.    PERHAPS THE AREA OF FOCUSSING; PERHAPS THE AREA OF BEING

02:44PM   16       INCREDIBLY PERSEVERING IN ACHIEVING -- IN BRINGING ONE ELEMENT

02:44PM   17       OF THE HUNDREDS OF ONES THAT WERE IN DEVELOPMENT, BRINGING ONE

02:44PM   18       THROUGH THE GOAL AND THE TARGET OF REGULATORY APPROVAL, AND THE

02:44PM   19       FACT THAT THERE WERE SO MANY DIFFERENT COMPLEX THINGS BEING

02:44PM   20       WORKED ON THAT I THOUGHT COULD HAVE BEEN IMPROVED.

02:44PM   21       Q.    DID YOU HAVE A VIEW ABOUT MS. HOLMES'S SKILLS IN TERMS OF

02:44PM   22       OPERATIONAL MANAGEMENT?

02:44PM   23       A.    WELL, THAT'S WHAT I'M REFERRING TO.

02:44PM   24             AND WE BROUGHT IN PEOPLE THAT WOULD HELP IN CREATING THE

02:44PM   25       STRUCTURES THAT ALLOW YOU TO MANAGE DIFFERENT PROGRAMS



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02:44PM    1       REQUIRING MULTIDISCIPLINARY EXPERTS TO BE INVOLVED, AND WE

02:44PM    2       BROUGHT IN PEOPLE FROM AMGEN THAT HAD LIVED THROUGH THAT KIND

02:45PM    3       OF PROBLEMATIC, SO --

02:45PM    4       Q.    AND BETWEEN JUNE AND DECEMBER OF 2016, WAS IT YOUR VIEW

02:45PM    5       THAT THERANOS -- DID YOU HAVE A VIEW AS TO WHETHER THERANOS

02:45PM    6       FACED HURDLES IN ITS FUTURE SUCCESS?

02:45PM    7                    MR. SCHENK:    OBJECTION.    OPINION AND RELEVANCE.

02:45PM    8                    THE COURT:    IF YOU WANT TO REPHRASE THIS AS TO HIS

02:45PM    9       TIME ON THE BOARD AND HIS SERVICE?        IS THAT WHAT YOU'RE --

02:45PM   10                    MS. TREFZ:    THAT WAS THE TIME PERIOD THAT I WAS

02:45PM   11       REFERRING TO, YOUR HONOR.

02:45PM   12                    THE COURT:    WHY DON'T YOU REPEAT THE QUESTION?

02:45PM   13       BY MS. TREFZ:

02:45PM   14       Q.    BASED ON YOUR EXPERIENCE ON THE BOARD BETWEEN JUNE AND

02:45PM   15       DECEMBER OF 2016, DID YOU HAVE A VIEW AT THAT TIME ABOUT THE

02:45PM   16       HURDLES THAT THERANOS FACED IN MOVING FORWARD AS A COMPANY?

02:45PM   17       A.    YES.

02:45PM   18       Q.    WHAT WAS YOUR VIEW?

02:46PM   19       A.    WELL, THERE WERE, THERE WERE TWO CATEGORIES FOR ME.           ONE

02:46PM   20       WAS THEY -- ENSURING THE FINANCING AND THE FINANCIAL WELL BEING

02:46PM   21       OF THE COMPANY GOING FORWARD; AND THE OTHER ONE WAS, AGAIN, THE

02:46PM   22       ACHIEVEMENT OF REGULATORY EXPERIENCE FOR THE TECHNOLOGY.

02:46PM   23       Q.    AND DID YOU HAVE THE -- DID YOU VIEW -- HAVE A VIEW AS TO

02:46PM   24       WHETHER THE COMPANY HAD A FOUNDATION TO OVERCOME THOSE HURDLES?

02:46PM   25       A.    IT DID.    YES, I DID.



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02:46PM    1       Q.    AND WHAT WAS THE FOUNDATION IN YOUR VIEW?

02:46PM    2       A.    WELL, THE FOUNDATION WAS THAT THERE WERE, YOU KNOW,

02:46PM    3       SPECIFIC ASSAYS BEING DEVELOPED AND THE COMPANY FOCUSSED IN ON

02:46PM    4       ONE SPECIFICALLY, THE ONE FOR ZIKA; AND THAT THE COMPANY HAD

02:46PM    5       THE LARGE PORTFOLIO OF PATENTS THAT HAD BEEN CREATED THAT WERE

02:46PM    6       VALUABLE; AND THAT, WITH THE DEMONSTRATION OF COMMERCIAL

02:46PM    7       ABILITY OF THE DEVICE, THE COMPANY WAS IN A GOOD POSITION TO

02:47PM    8       ATTRACT EITHER ADDITIONAL FUNDING OR PARTNERSHIPS WITH

02:47PM    9       INDUSTRIAL PARTNERS.

02:47PM   10       Q.    AND YOU JUST -- YOU WORKED AT THE COMPANY UNTIL ITS END;

02:47PM   11       IS THAT RIGHT?

02:47PM   12       A.    YES.

02:47PM   13       Q.    AND WOULD YOU HAVE WORKED AT THERANOS IF YOU DID NOT

02:47PM   14       BELIEVE THAT THE TECHNOLOGY WAS SOUND?

02:47PM   15                    MR. SCHENK:    OBJECTION.    RELEVANCE.

02:47PM   16                    THE COURT:    SUSTAINED.

02:47PM   17                    MS. TREFZ:    ONE MOMENT, YOUR HONOR.

02:47PM   18             (DISCUSSION AMONGST DEFENSE COUNSEL OFF THE RECORD.)

02:47PM   19                    MS. TREFZ:    NO FURTHER QUESTIONS AT THIS TIME.

02:47PM   20                    THE COURT:    CROSS-EXAMINATION?

02:48PM   21                                  CROSS-EXAMINATION

02:48PM   22       BY MR. SCHENK:

02:48PM   23       Q.    GOOD AFTERNOON, DOCTOR.      MY NAME IS JEFF SCHENK.      IT'S

02:48PM   24       NICE TO MEET YOU.

02:48PM   25       A.    GOOD AFTERNOON.      IT'S NICE TO MEET YOU.



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02:48PM    1       Q.    THERE'S A COUPLE OF TOPICS I'D LIKE TO COVER WITH YOU, BUT

02:48PM    2       THE FIRST IS I'D LIKE TO PICK UP ON A CONVERSATION THAT YOU

02:48PM    3       WERE HAVING WITH MS. TREFZ A MOMENT AGO.

02:48PM    4             SHE WAS ASKING YOU ABOUT THE OPINIONS OF CERTAIN BOARD

02:48PM    5       MEMBERS REGARDING INTEGRITY AND WHETHER THEY HAD DEPARTED THE

02:48PM    6       COMPANY OR THE BOARD BECAUSE OF INTEGRITY CONCERNS.

02:48PM    7             DO YOU RECALL THAT LINE OF QUESTIONING?

02:48PM    8       A.    I DO, I DO.

02:48PM    9       Q.    AND I JUST WANT TO BE VERY CLEAR.        WHAT YOU WERE

02:48PM   10       TESTIFYING WAS THAT GENERAL MATTIS NEVER TOLD YOU THAT HE HAD

02:48PM   11       THOSE CONCERNS; IS THAT RIGHT?

02:48PM   12       A.    YES.

02:48PM   13       Q.    YOU WERE NOT SAYING THAT GENERAL MATTIS DID NOT HAVE THOSE

02:48PM   14       CONCERNS?     YOU DON'T KNOW WHETHER HE HAD THOSE CONCERNS, HE

02:48PM   15       JUST DIDN'T EXPRESS THEM TO YOU; CORRECT?

02:48PM   16       A.    CORRECT.

02:48PM   17       Q.    OKAY.   I WANT TO BE VERY CLEAR ABOUT THAT.

02:49PM   18             YOU SPENT TIME ON THE BOARD BEGINNING IN 2016; IS THAT

02:49PM   19       RIGHT?

02:49PM   20       A.    YES.

02:49PM   21       Q.    AND THAT STAYED THROUGH YOUR, YOUR SERVICE -- YOUR SERVICE

02:49PM   22       REMAINED THROUGH 2018?

02:49PM   23       A.    YES.

02:49PM   24       Q.    SO YOU DID NOT COME HERE TO TESTIFY ABOUT EVENTS THAT

02:49PM   25       OCCURRED AT THERANOS FROM ITS FOUNDING IN 2003 UNTIL MAY OF



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02:49PM    1       2016; IS THAT CORRECT?

02:49PM    2       A.    CORRECT.

02:49PM    3       Q.    YOU DON'T HAVE PERSONAL KNOWLEDGE OF THOSE EVENTS; IS THAT

02:49PM    4       CORRECT?

02:49PM    5       A.    NO.

02:49PM    6       Q.    YOU TESTIFIED ABOUT A DEVICE, THE MINILAB, TODAY; IS THAT

02:49PM    7       CORRECT?

02:49PM    8       A.    YES.

02:49PM    9       Q.    AND ALL OF YOUR TESTIMONY TODAY WAS ABOUT A DEVICE CALLED

02:49PM   10       A MINILAB; IS THAT RIGHT?

02:49PM   11       A.    YES.

02:49PM   12       Q.    AND WHICH VERSION OF THE MINILAB WAS THAT AGAIN?

02:49PM   13       A.    IT WAS, I THINK, 4.2.

02:49PM   14       Q.    OKAY.   THAT WAS NEVER USED TO TEST PATIENTS; IS THAT

02:49PM   15       CORRECT?

02:49PM   16       A.    COMMERCIALLY?     NO.

02:49PM   17       Q.    CORRECT.    IT WAS NOT FDA CLEARED; IS THAT RIGHT?

02:49PM   18       A.    NO, IT WAS NOT.

02:49PM   19       Q.    SO WHEN THERANOS -- YOU'RE AWARE THAT THERANOS WAS TESTING

02:50PM   20       PATIENTS' BLOOD IN ITS PARTNERSHIP WITH WALGREENS; RIGHT?

02:50PM   21       A.    YES.

02:50PM   22       Q.    YOU'RE AWARE THAT THAT HAPPENED EVEN BEFORE YOU ARRIVED;

02:50PM   23       RIGHT?

02:50PM   24       A.    YES.

02:50PM   25       Q.    THERANOS DIDN'T USE THE DEVICE THAT YOU TALKED ABOUT



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02:50PM    1       TODAY; CORRECT?

02:50PM    2       A.    NOT TO MY KNOWLEDGE.

02:50PM    3       Q.    CORRECT.    THE DEVICE THAT YOU TALKED ABOUT TODAY WAS NEVER

02:50PM    4       USED COMMERCIALLY TO TEST PATIENTS' BLOOD; CORRECT?

02:50PM    5       A.    CORRECT.

02:50PM    6       Q.    AND NO MEDICAL DECISIONS WERE BASED UPON RESULTS GENERATED

02:50PM    7       FROM THE DEVICE THAT YOU TESTIFIED ABOUT TODAY, THE 4.2?

02:50PM    8       A.    TO MY KNOWLEDGE, NO.

02:50PM    9       Q.    BECAUSE THAT WOULD HAVE BEEN INAPPROPRIATE.         IT WASN'T FDA

02:50PM   10       APPROVED?

02:50PM   11       A.    RIGHT.

02:50PM   12       Q.    CORRECT.    THERANOS DIDN'T HAVE A CLIA LAB WHEN YOU WERE

02:50PM   13       THERE; CORRECT?

02:50PM   14       A.    CAN YOU REPEAT THAT?

02:50PM   15       Q.    DO YOU KNOW WHAT A CLIA LAB IS?

02:50PM   16       A.    YES.

02:50PM   17       Q.    DID THERANOS OPERATE A CLIA LAB WHILE YOU WERE THERE?

02:50PM   18       A.    YES.

02:50PM   19       Q.    AND DID YOU TALK TO AN INDIVIDUAL NAMED DR. DAS ABOUT

02:50PM   20       THAT?

02:50PM   21       A.    I DID.

02:50PM   22       Q.    AND HIS ROLE WAS LAB DIRECTOR; CORRECT?

02:50PM   23       A.    YES.

02:50PM   24       Q.    AND DR. DAS MADE A DECISION TO VOID PATIENT TESTS, THE

02:50PM   25       RESULTS THAT THERANOS HAD PROVIDED TO PATIENTS IN THE PERIOD OF



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02:50PM    1       TIME WHEN IT WAS OPERATING THAT CLIA LAB; CORRECT?

02:51PM    2       A.    YES.

02:51PM    3       Q.    AND YOU THOUGHT THAT WAS THE CORRECT DECISION.          YOU DIDN'T

02:51PM    4       DISAGREE WITH DR. DAS ABOUT THAT?

02:51PM    5                    MS. TREFZ:    OBJECTION.   FOUNDATION.

02:51PM    6                    THE COURT:    WELL, HE TESTIFIED HE KNEW ABOUT THAT.

02:51PM    7       OVERRULED.

02:51PM    8             YOU CAN ANSWER, SIR.

02:51PM    9                    THE WITNESS:    I DID NOT DISAGREE.

02:51PM   10       BY MR. SCHENK:

02:51PM   11       Q.    YOU THOUGHT IT WAS AN APPROPRIATE DECISION?

02:51PM   12       A.    THE DECISION WAS HIS TO MAKE.

02:51PM   13       Q.    DID YOU THINK IT WAS WRONG?

02:51PM   14       A.    NO.

02:51PM   15       Q.    AND THAT WAS BECAUSE THE TECHNOLOGY THAT THERANOS WAS

02:51PM   16       USING, NOT THE 4.2, BUT THE TECHNOLOGY THAT THERANOS WAS USING

02:51PM   17       WAS NOT CAPABLE OF ACCURATELY TESTING PATIENTS; CORRECT?

02:51PM   18                    MS. TREFZ:    OBJECTION.   FOUNDATION.

02:51PM   19                    THE COURT:    DO YOU WANT TO JUST LAY SOME FOUNDATION

02:51PM   20       AS TO --

02:51PM   21                    MR. SCHENK:    SURE.

02:51PM   22                    THE COURT:    -- THAT MACHINE THAT YOU'RE TALKING

02:51PM   23       ABOUT?

02:51PM   24       BY MR. SCHENK:

02:51PM   25       Q.    YOU TOLD ME THAT YOU DIDN'T DISAGREE WITH DR. DAS'S



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02:51PM    1       DECISION TO VOID TESTS; CORRECT?

02:51PM    2       A.    YES.

02:51PM    3       Q.    AND YOU TOLD ME THAT TESTS WERE CONDUCTED ON A DIFFERENT

02:52PM    4       DEVICE, NOT THE 4.2; CORRECT?

02:52PM    5       A.    YES.

02:52PM    6       Q.    AND YOU ALSO KNOW THAT THE REASON THAT THE TESTS WERE

02:52PM    7       VOIDED HAD TO DO WITH CONCERNS ABOUT WHETHER THOSE TESTS WERE

02:52PM    8       ACCURATE, WHETHER THEY WERE APPROPRIATE FOR PATIENTS AND

02:52PM    9       DOCTORS TO BE MAKING MEDICAL DECISIONS BASED UPON.

02:52PM   10             DO YOU ALSO KNOW THAT?

02:52PM   11       A.    YES.

02:52PM   12       Q.    SO THEN MY QUESTION IS, YOU AGREE WITH THE FACT THAT THE

02:52PM   13       OTHER DEVICE, NOT THE 4.2, BUT THE THERANOS DEVICE THAT WAS

02:52PM   14       USED TO TEST PATIENTS BEFORE YOU ARRIVED ON THE BOARD WAS NOT

02:52PM   15       SUITABLE FOR PATIENT TESTING, COULD NOT GENERATE ACCURATE

02:52PM   16       RESULTS.

02:52PM   17             WE BOTH AGREE ON THAT; CORRECT?

02:52PM   18       A.    NO.    THIS IS A GENERAL STATEMENT THAT YOU'RE MAKING THAT I

02:52PM   19       AM NOT COMFORTABLE AGREEING OR DISAGREEING WITH.

02:52PM   20       Q.    WHICH --

02:52PM   21       A.    RESULTS ARE VOIDED FOR SPECIFIC REASONS.         IT DOESN'T MEAN

02:52PM   22       THAT THE WHOLE THING IS WRONG.

02:52PM   23       Q.    DID THERANOS VOID EVERY SINGLE EDISON TEST, NOT SPECIFIC

02:52PM   24       REASONS ON IT, BUT IT VOIDED EVERY SINGLE ONE; RIGHT?

02:53PM   25       A.    I DON'T KNOW THAT.



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02:53PM    1       Q.    HOW LONG WERE YOU ON THE BOARD?

02:53PM    2       A.    HOW LONG?

02:53PM    3       Q.    HOW LONG WAS YOUR BOARD SERVICE?

02:53PM    4       A.    TWO AND A HALF YEARS.

02:53PM    5       Q.    AND WHEN YOU JOINED THE BOARD, YOU TESTIFIED THAT YOU WERE

02:53PM    6       AWARE OF SOME REGULATORY, AND I THINK YOU ALSO SAID OPERATIONAL

02:53PM    7       CHALLENGES?

02:53PM    8       A.    YES.

02:53PM    9       Q.    AND WAS ONE OF THOSE CHALLENGES THAT THERANOS VOIDED ALL

02:53PM   10       OF ITS TESTS?     WERE YOU AWARE OF THAT FACT?

02:53PM   11       A.    I WAS NOT AWARE THAT THERANOS VOIDED ALL OF ITS TESTS.

02:53PM   12       Q.    EDISON TESTS.     YOU WERE NOT AWARE THAT THERANOS VOIDED ALL

02:53PM   13       OF ITS EDISON TESTS?

02:53PM   14       A.    NO, I WAS NOT.

02:53PM   15       Q.    DOES NOW KNOWING THAT FACT CHANGE SOME OF THE TESTIMONY

02:53PM   16       THAT YOU GAVE ON DIRECT?

02:53PM   17       A.    NO.

02:53PM   18       Q.    HELP ME UNDERSTAND THAT.      WHAT DO YOU STILL FEEL --

02:54PM   19       A.    I JOINED THE COMPANY TO INFLUENCE THE FUTURE OF THE

02:54PM   20       COMPANY.     I DID NOT -- WHAT YOU CALL THE EDISON DEVICE, I

02:54PM   21       REALLY HAVE NO KNOWLEDGE OF AN EDISON DEVICE.

02:54PM   22             ALL I WAS -- ALL I SAW WAS THE MINILAB AND THE EFFORTS

02:54PM   23       WERE TO COMMERCIALIZE THE MINILAB.

02:54PM   24             AND I HAVE SEEN IN THE NEWSPAPERS, ET CETERA, THE TERM

02:54PM   25       EDISON.     THAT IS NOT SOMETHING THAT I'M FAMILIAR WITH, AND I AM



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02:54PM    1       NOT COMFORTABLE TESTIFYING ABOUT IT ONE WAY OR THE OTHER.

02:54PM    2       Q.    AND YOU SPENT YOUR TIME FOCUSSING ON THE FUTURE WHEN YOU

02:54PM    3       WERE ON THE BOARD?

02:54PM    4       A.    YES.

02:54PM    5       Q.    YOU KNEW THERANOS HAD A LOT OF CHALLENGES, AND YOU WERE

02:54PM    6       TRYING TO GET THEM THROUGH THAT; IS THAT RIGHT?

02:54PM    7       A.    YES.

02:54PM    8       Q.    AND YOU SAID YOU WERE NEVER DENIED INFORMATION.          IF YOU

02:54PM    9       HAD A QUESTION OR WANTED TO SEE DOCUMENTS, MS. HOLMES, OR

02:54PM   10       SOMEONE ELSE AT THERANOS, NEVER SAID, YOU CAN'T SEE THIS

02:54PM   11       DOCTOR; CORRECT?

02:54PM   12       A.    CORRECT.

02:54PM   13       Q.    AND I GUESS WHAT I'M WONDERING IS, ISN'T IT A BIG FACT

02:55PM   14       THAT WAS HIDDEN FROM YOU THAT THEY VOIDED ALL OF THOSE EDISON

02:55PM   15       TESTS?    HOW DOESN'T THAT CHANGE YOUR VIEW NOW?

02:55PM   16             (PAUSE IN PROCEEDINGS.)

02:55PM   17                    THE WITNESS:    I, I, I DON'T KNOW WHAT TO SAY.

02:55PM   18       BY MR. SCHENK:

02:55PM   19       Q.    LET'S MOVE ON THEN.

02:55PM   20             YOU ALSO -- HELP ME UNDERSTAND HOW MANY HOURS YOU WORKED.

02:55PM   21             YOUR ROLE ON THE BOARD WAS AS AN ADVISOR; IS THAT RIGHT?

02:55PM   22       A.    YES.

02:55PM   23       Q.    AND WAS THAT A FULL-TIME JOB?

02:55PM   24       A.    NO, NO.

02:55PM   25       Q.    HOW -- DO YOU HAVE AN ESTIMATE?       CAN YOU HELP ME SORT OF



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02:55PM    1       FIGURE OUT HOW MUCH TIME YOU SPENT AT THERANOS OR WORKING ON

02:55PM    2       THERANOS PROJECTS?

02:55PM    3       A.    MAYBE A DAY A WEEK AT ONE POINT.

02:55PM    4       Q.    EIGHT HOURS PER WEEK, SO ROUGHLY -- I DON'T KNOW, CAN YOU

02:56PM    5       HELP ME FIGURE OUT WHAT YOU WOULD HAVE DONE A MONTH?           WHAT IS

02:56PM    6       THAT, FOUR DAYS A MONTH?

02:56PM    7       A.    MAYBE THREE OR FOUR DAYS A MONTH, YES.

02:56PM    8       Q.    AND AS A RESULT, IT ONLY TOOK YOU, WHAT, ABOUT FOUR MONTHS

02:56PM    9       TO FIGURE OUT THAT EVEN CURRENT DATA AT THERANOS, NOT 2013,

02:56PM   10       2010 TIME, BUT THE TIME YOU WERE THERE, 2016 DATA, YOU

02:56PM   11       DISCOVERED THAT THERE WERE PROBLEMS WITH THAT DATA ALSO,

02:56PM   12       CORRECT, JUST WORKING ONE DAY A WEEK?

02:56PM   13             DO YOU REMEMBER THAT?

02:56PM   14       A.    YES.

02:56PM   15       Q.    AND YOU WARNED MS. HOLMES ABOUT THAT; RIGHT?

02:56PM   16       A.    NO, NO.    YOU'RE REFERRING TO THE DATA THAT WAS GENERATED

02:56PM   17       BY THE CLINICAL LABS.

02:56PM   18       Q.    I'M REFERRING TO DATA WITH REGARD TO ZIKA.

02:56PM   19       A.    I DID NOT HAVE TO DISCOVER ANYTHING ABOUT THE DATA ON THE

02:57PM   20       ZIKA.    THE COMPANY ITSELF WAS TRYING TO DEVELOP A ZIKA ASSAY,

02:57PM   21       AND OF THE FOUR ELEMENTS OF THE TECHNOLOGY, THREE WERE

02:57PM   22       DEVELOPED FULLY AND IN A FALLIBLE VERSION.

02:57PM   23             THE CASSETTE, THE CARTRIDGE, AND THE REAGENTS HAD

02:57PM   24       DIFFICULTIES ACHIEVING THE RIGHT STATISTICS FOR THE THING AND

02:57PM   25       THEY KEPT BEING DEVELOPED.



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02:57PM    1             I DIDN'T HAVE TO POINT THAT OUT.        THAT WAS COMING OUT

02:57PM    2       THROUGH THE COMPANY.

02:57PM    3       Q.    YOU RAISED SOME CONCERNS ABOUT THERANOS'S ABILITY TO

02:57PM    4       GENERATE DATA THAT THE FDA WOULD ACCEPT; RIGHT?

02:57PM    5             DO YOU REMEMBER DOING THAT?

02:57PM    6       A.    YES, IN THE CONTEXT OF STRENGTHENING THE QUALITY

02:57PM    7       MANAGEMENT SYSTEM THAT WAS NECESSARY, YES.

02:57PM    8       Q.    AND YOU ADVISED MS. HOLMES OF THAT FACT?

02:57PM    9       A.    YES.

02:57PM   10       Q.    SO WHEN YOU TESTIFIED THAT YOU WERE FORWARD LOOKING, THE

02:57PM   11       CONCERNS THAT SORT OF PREDATED YOUR ARRIVAL WERE NOT SOMETHING

02:58PM   12       THAT YOU CONCERNED YOURSELF AS MUCH WITH, YOU DIDN'T HAVE TO,

02:58PM   13       THERE WERE ALREADY NEW CONCERNS THAT YOU HAD TO CONCERN

02:58PM   14       YOURSELF WITH; CORRECT?       THAT EVEN NEW PROJECTS WITH THIS NEW

02:58PM   15       SCIENTIFIC ADVISORY BOARD, WITH NEW EMPLOYEES, THERE WERE STILL

02:58PM   16       CHALLENGES WITH THE ZIKA DATA?

02:58PM   17       A.    YES.

02:58PM   18       Q.    FROM WHAT YOU LEARNED BEGINNING IN 2016 WHEN YOU JOINED

02:58PM   19       THE THERANOS BOARD, WOULD YOU HAVE TOLD ANY INVESTORS, ANY

02:58PM   20       PEOPLE INTERESTED IN GIVING MONEY TO THERANOS, THAT THERANOS

02:58PM   21       WAS PRESENTLY CAPABLE OF TESTING ABOUT 200 ASSAYS ON A THERANOS

02:58PM   22       DEVICE?    WOULD YOU HAVE MADE THAT STATEMENT?

02:58PM   23       A.    I WOULD NOT HAVE MADE THAT STATEMENT.

02:58PM   24       Q.    BECAUSE IT WOULD NOT HAVE BEEN ACCURATE EVEN IN 2016;

02:58PM   25       CORRECT?



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02:58PM    1       A.    CORRECT.

02:58PM    2       Q.    AND IN 2016, YOU WOULD NOT HAVE MADE A STATEMENT ABOUT A

02:59PM    3       DEVICE BEING DEPLOYED TO THE BATTLEFIELD IN AFGHANISTAN?            YOU

02:59PM    4       NEVER WOULD HAVE MADE THAT STATEMENT?

02:59PM    5       A.    NO.

02:59PM    6       Q.    MS. HOLMES HAD -- WERE YOU AWARE MS. HOLMES HAD MEETINGS

02:59PM    7       WITH VARIOUS INVESTORS BEFORE YOU ARRIVED?         I'M TALKING ABOUT

02:59PM    8       IN THE 2010 THROUGH 2013 OR '14 TIMEFRAME.

02:59PM    9       A.    YES.

02:59PM   10       Q.    YOU'RE AWARE THAT THAT HAPPENED; CORRECT?

02:59PM   11       A.    YES.

02:59PM   12       Q.    BUT YOU DON'T KNOW WHAT WAS SAID DURING THOSE MEETINGS?

02:59PM   13       A.    NO.

02:59PM   14       Q.    YOU DON'T KNOW WHAT SHE SAID TO GET ALAN EISENMAN TO

02:59PM   15       INVEST $100,000; CORRECT?

02:59PM   16       A.    I DON'T.

02:59PM   17       Q.    AND YOU DON'T KNOW WHAT SHE SAID TO GET CHRIS LUCAS TO

02:59PM   18       INVEST ABOUT $5.3 MILLION?

02:59PM   19       A.    NO.

02:59PM   20       Q.    YOU DON'T KNOW WHAT SHE SAID TO GET CRAIG HALL OR

02:59PM   21       BRYAN TOLBERT TO INVEST ABOUT $4.8 MILLION?

02:59PM   22       A.    I DON'T.

02:59PM   23       Q.    YOU DON'T KNOW WHAT MS. HOLMES SAID TO GET AN INVESTMENT

02:59PM   24       FIRM NAMED PFM TO INVEST ABOUT $38 MILLION; CORRECT?

02:59PM   25       A.    NO.



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03:00PM    1       Q.    YOU DON'T KNOW WHAT SHE SAID TO GET RDV TO INVEST ABOUT A

03:00PM    2       HUNDRED MILLION DOLLARS?

03:00PM    3       A.    NO.

03:00PM    4       Q.    YOU DON'T KNOW WHAT SHE SAID TO GET DAN MOSLEY TO INVEST

03:00PM    5       ABOUT $6 MILLION; CORRECT?

03:00PM    6       A.    NO.

03:00PM    7       Q.    THANK YOU.

03:00PM    8             NO FURTHER QUESTIONS.

03:00PM    9                    MS. TREFZ:    JUST VERY BRIEFLY, YOUR HONOR.

03:00PM   10                                 REDIRECT EXAMINATION

03:00PM   11       BY MS. TREFZ:

03:00PM   12       Q.    DR. BONANNI, JUST ON THE TOPIC OF VOIDED TESTS, I WANT TO

03:00PM   13       MAKE SURE THE RECORD IS CLEAR.

03:00PM   14             THE DECISION TO VOID THERANOS TESTS WAS MADE BEFORE YOU

03:00PM   15       ARRIVED AT THERANOS; CORRECT?

03:00PM   16       A.    YES.

03:00PM   17       Q.    AND DID YOU UNDERSTAND THAT WAS A DECISION MADE BY

03:00PM   18       DR. DAS?

03:00PM   19       A.    YES.

03:00PM   20       Q.    AND DID YOU -- WHY DID YOU DEFER TO DR. DAS ON THE REASONS

03:01PM   21       FOR THAT DECISION?

03:01PM   22       A.    IT'S THE RESPONSIBILITY OF THE MEDICAL DIRECTOR OF A

03:01PM   23       CLINICAL LAB TO VOID ASSAYS.       HE HAS THE AUTHORITY TO DO THAT.

03:01PM   24             IT WOULD CERTAINLY BE INAPPROPRIATE FOR A BOARD MEMBER OF

03:01PM   25       ALL THINGS TO HAVE SOMETHING TO SAY ABOUT THAT.



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03:01PM    1       Q.    DID MS. HOLMES EVER TELL YOU THAT RESULTS WERE NOT VOIDED

03:01PM    2       AT THERANOS?

03:01PM    3                    MR. SCHENK:    OBJECTION.    CALLS FOR HEARSAY.

03:01PM    4                    THE COURT:    SUSTAINED.

03:01PM    5       BY MS. TREFZ:

03:01PM    6       Q.    DID YOU EVER INVESTIGATE THE REASONS FOR THE TESTS BEING

03:01PM    7       VOIDED BEFORE YOU GOT THERE?

03:01PM    8       A.    I DID NOT.

03:01PM    9                    MS. TREFZ:    JUST ONE MOMENT, YOUR HONOR.

03:01PM   10                    THE COURT:    YES.

03:01PM   11             (DISCUSSION AMONGST DEFENSE COUNSEL OFF THE RECORD.)

03:02PM   12       BY MS. TREFZ:

03:02PM   13       Q.    DID YOU SPEAK WITH DAS REGARDING THE VOIDING OF THE TESTS?

03:02PM   14       A.    NO.

03:02PM   15       Q.    DID YOU EVER DO AN EXAMINATION OF THE EDISON DEVICE?

03:02PM   16       A.    NO.

03:02PM   17       Q.    DID YOU EVER RE-REVIEW THE RESULTS THAT -- AND DATA THAT

03:02PM   18       DR. DAS HAD LOOKED AT?

03:02PM   19       A.    NO.

03:02PM   20       Q.    DID ANYONE EVER ASK YOU TO DO THAT?

03:02PM   21       A.    NO.

03:02PM   22                    MS. TREFZ:    NO FURTHER QUESTIONS, YOUR HONOR.

03:02PM   23                    THE COURT:    MR. SCHENK?

03:02PM   24                    MR. SCHENK:    NOTHING FURTHER.

03:02PM   25                    THE COURT:    MAY THIS WITNESS BE EXCUSED?



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03:02PM    1                    MR. SCHENK:    YES, YOUR HONOR.

03:02PM    2                    MS. TREFZ:    YES, YOUR HONOR.

03:02PM    3                    THE COURT:    YOU'RE EXCUSED, SIR.

03:02PM    4                    THE WITNESS:    THANK YOU.

03:03PM    5                    THE COURT:    MR. DOWNEY?

03:03PM    6                    MR. DOWNEY:    YES, SIR.

03:03PM    7             THE DEFENSE CALLS ELIZABETH HOLMES.

03:03PM    8                    THE COURT:    MS. HOLMES, IF YOU WOULD WALK OVER HERE

03:03PM    9       AND GIVE MS. KRATZMANN JUST A MOMENT.

03:03PM   10             IF YOU WOULD RAISE YOUR RIGHT HAND WHILE YOU FACE HER, SHE

03:03PM   11       HAS A QUESTION.

03:03PM   12             (DEFENDANT'S WITNESS, ELIZABETH HOLMES, WAS SWORN.)

03:03PM   13                    THE WITNESS:    YES.

03:03PM   14                    THE CLERK:    THANK YOU.

03:03PM   15                    THE COURT:    I'LL INVITE YOU TO HAVE A SEAT HERE.

03:03PM   16       MAKE YOURSELF COMFORTABLE.

03:03PM   17                    THE WITNESS:    YES, THANK YOU.

03:03PM   18                    THE COURT:    YOU'RE WELCOME.

03:03PM   19             FEEL FREE TO ADJUST THE CHAIR AND THE MICROPHONE AS YOU

03:03PM   20       NEED.    THERE'S REFRESHMENTS THERE AS I THINK YOU'RE AWARE.

03:03PM   21             FEEL FREE TO HELP YOURSELF.

03:03PM   22                    THE WITNESS:    OKAY.   THANK YOU.

03:03PM   23                    THE COURT:    WHEN YOU ARE COMFORTABLE, WOULD YOU

03:03PM   24       PLEASE STATE YOUR NAME AND THEN SPELL IT, PLEASE.

03:03PM   25                    THE WITNESS:    YES.    MY NAME IS ELIZABETH HOLMES.



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03:04PM    1       E-L-I-Z-A-B-E-T-H, H-O-L-M-E-S.

03:04PM    2                    THE COURT:    THANK YOU.

03:04PM    3                    MR. DOWNEY:    YOUR HONOR, MAY I APPROACH?

03:04PM    4                    THE COURT:    YES.

03:04PM    5                                  DIRECT EXAMINATION

03:04PM    6       BY MR. DOWNEY:

03:04PM    7       Q.    (HANDING.)

03:04PM    8             MS. HOLMES, WILL YOU CONFIRM FOR US THAT YOU ARE

03:04PM    9       VACCINATED SO YOU MIGHT REMOVE YOUR MASK IF YOU PREFER?

03:04PM   10       A.    I AM VACCINATED, YES.

03:04PM   11       Q.    DID YOU FOUND THERANOS?

03:04PM   12       A.    YES.

03:04PM   13       Q.    HOW LONG DID YOU WORK THERE?

03:04PM   14       A.    I WORKED THERE FROM 2004 TO 2018.

03:04PM   15       Q.    WHILE YOU WERE THERE, DID YOU BELIEVE THAT THERANOS

03:04PM   16       DEVELOPED TECHNOLOGY THAT WAS CAPABLE OF RUNNING ANY BLOOD

03:05PM   17       TEST?

03:05PM   18       A.    I DID.

03:05PM   19       Q.    EXPLAIN THAT.

03:05PM   20       A.    WE WORKED FOR YEARS WITH TEAMS OF SCIENTISTS AND ENGINEERS

03:05PM   21       TO MINIATURIZE ALL OF THE TECHNOLOGIES IN A LABORATORY.

03:05PM   22             THE CORE PART OF THAT WAS A FORMULA FOR BEING ABLE TO RUN

03:05PM   23       TESTS ON SMALL SAMPLES AND RUN THAT FORMULA.          WE MINIATURIZED

03:05PM   24       THE TOOLS IN A LAB, LIKE A CENTRIFUGE OR A MICROSCOPE, TO

03:05PM   25       EXECUTE IT.



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03:05PM    1             BY 2009, 2010, WE HAD A BREAKTHROUGH IN WHICH WE FIGURED

03:05PM    2       OUT HOW TO APPLY THE FORMULA NOT JUST TO ONE METHOD OF TESTS,

03:05PM    3       BUT TO FOUR.

03:05PM    4             AND ACROSS THOSE FOUR METHODS WE COULD RUN ANY TEST.

03:05PM    5       Q.    AND IS IT THAT WORK THAT LED YOU TO CONCLUDE THAT THE

03:05PM    6       COMPANY WAS CAPABLE OF PERFORMING ANY BLOOD TEST ESSENTIALLY?

03:06PM    7       A.    YES.

03:06PM    8       Q.    HOW MANY SMALL SAMPLE ASSAYS DID THERANOS DEVELOP AND

03:06PM    9       VALIDATE IN ITS RESEARCH LABORATORY WHILE YOU WERE AT THE

03:06PM   10       COMPANY?

03:06PM   11       A.    OVER 300.

03:06PM   12       Q.    HOW MANY SMALL -- AND DO YOU KNOW THAT THERE WAS A TIME

03:06PM   13       THAT THERANOS OPERATED A CLINICAL LABORATORY OFFERING BLOOD

03:06PM   14       TESTING SERVICES TO THE PUBLIC?

03:06PM   15       A.    YES.

03:06PM   16       Q.    HOW MANY SMALL SAMPLE ASSAYS DID THERANOS OFFER IN ITS

03:06PM   17       CLINICAL LABORATORY?

03:06PM   18       A.    OVER 70 OR SO.

03:06PM   19       Q.    HOW MANY OF THOSE ASSAYS WERE OFFERED WHERE THE ANALYSIS

03:06PM   20       WAS PERFORMED ON A MINIATURIZED THERANOS DEVICE?

03:06PM   21       A.    TWELVE.

03:06PM   22       Q.    WHEN YOU SPOKE PUBLICLY ABOUT THE CAPABILITIES OF

03:06PM   23       THERANOS'S TECHNOLOGY, WERE YOU ALWAYS LIMITING YOUR COMMENTS

03:06PM   24       TO WHAT WAS AVAILABLE IN THERANOS'S CLINICAL LAB?

03:06PM   25       A.    NO.



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03:06PM    1       Q.    I'D LIKE TO TAKE A STEP BACK AND ASK YOU ABOUT YOUR

03:06PM    2       BACKGROUND.

03:06PM    3             WHEN WERE YOU BORN?

03:06PM    4       A.    I WAS BORN ON FEBRUARY 3RD, 1984.

03:06PM    5       Q.    WHERE WERE YOU BORN?

03:07PM    6       A.    IN WASHINGTON, DC.

03:07PM    7       Q.    DID YOU GROW UP THERE?

03:07PM    8       A.    I DID FOR A FEW YEARS.      I MOVED TO CALIFORNIA.      I MOVED

03:07PM    9       BACK TO DC AND THEN TO HOUSTON, TEXAS.

03:07PM   10       Q.    DID YOU GO TO HIGH SCHOOL IN HOUSTON?

03:07PM   11       A.    I DID.

03:07PM   12       Q.    DID YOU ATTEND COLLEGE?

03:07PM   13       A.    FIRST YEAR AND A HALF.

03:07PM   14       Q.    AND WHERE DID YOU ATTEND COLLEGE?

03:07PM   15       A.    I WENT TO STANFORD UNIVERSITY.

03:07PM   16       Q.    SO TELL US, IN YOUR FRESHMAN YEAR AT STANFORD, WHAT DID

03:07PM   17       YOU STUDY?

03:07PM   18       A.    I WAS STUDYING CHEMICAL ENGINEERING AND STARTING TO

03:07PM   19       EXPLORE ELECTRICAL ENGINEERING.

03:07PM   20       Q.    DURING YOUR FIRST YEAR AT STANFORD, DID YOU MEET A

03:07PM   21       PROFESSOR NAMED CHANNING ROBERTSON?

03:07PM   22       A.    I DID.

03:07PM   23       Q.    AND WHO WAS DR. ROBERTSON AT THAT TIME?

03:07PM   24       A.    I THINK HE WAS THE CHAIR OF THE CHEMICAL ENGINEERING

03:07PM   25       DEPARTMENT AT THAT TIME AND A CHEMICAL ENGINEERING PROFESSOR



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03:07PM    1       WHO HAD BEEN INVOLVED IN A LOT OF COMPANIES IN THE LIFE SCIENCE

03:07PM    2       SPACE.

03:07PM    3       Q.    AND HOW DID YOU COME TO MEET DR. ROBERTSON?

03:08PM    4       A.    WHEN I GOT TO STANFORD, I WENT THROUGH THE HANDBOOK OF

03:08PM    5       PROFESSORS LOOKING FOR EVERY PROFESSOR WHO WAS INVOLVED IN BOTH

03:08PM    6       HEALTH TECHNOLOGY, AS WELL AS TRADITIONAL TECHNOLOGY, AND THERE

03:08PM    7       WAS ONLY THREE OR SO OF THEM, SO I SHOWED UP AT HIS OFFICE AND

03:08PM    8       ASKED IF I COULD TAKE HIS CLASS.

03:08PM    9       Q.    AND DID YOU TAKE HIS CLASS?

03:08PM   10       A.    YES.

03:08PM   11       Q.    OUTSIDE OF CLASS, DID PROFESSOR ROBERTSON ALSO HAVE A

03:08PM   12       RESEARCH LABORATORY?

03:08PM   13       A.    HE DID.

03:08PM   14       Q.    DID YOU COME TO WORK IN THAT RESEARCH LABORATORY DURING

03:08PM   15       YOUR FIRST YEAR AT STANFORD?

03:08PM   16       A.    YES.

03:08PM   17       Q.    WHO WORKED WITH YOU IN THAT RESEARCH LABORATORY?

03:08PM   18       A.    SEVERAL OF DR. ROBERTSON'S STUDENTS.        I WORKED FOR

03:08PM   19       DR. SHAUNAK ROY.

03:08PM   20       Q.    AND WHAT KIND OF WORK DID YOU DO IN THAT RESEARCH

03:08PM   21       LABORATORY DURING YOUR FRESHMAN YEAR AT STANFORD?

03:08PM   22       A.    I WORKED ON WHAT IS CALLED MICROFLUIDICS.

03:08PM   23       Q.    AND WHAT ARE MICROFLUIDICS?

03:08PM   24       A.    IT'S THE HANDLING OF VERY SMALL VOLUMES OF FLUID, SO HOW

03:08PM   25       THEY MOVE AND HOW TO PROCESS THEM.



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03:09PM    1       Q.    AND AFTER YOUR FIRST YEAR AT STANFORD, DID YOU CONTINUE TO

03:09PM    2       WORK IN THE SUMMER DURING OR AROUND THE SUBJECTS OF

03:09PM    3       ENGINEERING?

03:09PM    4       A.    YES.

03:09PM    5       Q.    AND WHERE DID YOU WORK?

03:09PM    6       A.    I WORKED AT THE GENOME INSTITUTE IN SINGAPORE.

03:09PM    7       Q.    AND WHAT IS THE GENOME INSTITUTE?

03:09PM    8       A.    IT IS THE RESEARCH INSTITUTE THAT STUDIES THE HUMAN

03:09PM    9       GENOME, SO DNA, MEDICINES THAT CAN AFFECT IT, AND TESTS BASED

03:09PM   10       ON GENETICS.

03:09PM   11       Q.    AND WHAT DID YOU DO WHEN YOU WERE WORKING AT THE GENOME

03:09PM   12       INSTITUTE?

03:09PM   13       A.    I WAS A RESEARCHER WORKING ON WHAT IS CALLED A MICROARRAY,

03:09PM   14       WHICH IS A TEST SYSTEM FOR THE DETECTION OF THE SARS VIRUS.

03:09PM   15       Q.    CAN YOU REMIND US WHAT THE SARS VIRUS WAS?

03:09PM   16       A.    YES.   IT WAS A PRECURSOR TO COVID IN SOME WAYS.         IT WAS AN

03:09PM   17       INFLUENZA-LIKE VIRUS THAT WAS BREAKING OUT AT THAT TIME.

03:09PM   18       Q.    AND WHILE YOU WERE WORKING AT THE GENOME INSTITUTE, DID

03:09PM   19       YOU COME TO DEVELOP A MENTOR AT THE GENOME INSTITUTE AS WELL?

03:10PM   20       A.    I DID.

03:10PM   21       Q.    AND WHO WAS THAT?

03:10PM   22       A.    DR. EDISON LIU.

03:10PM   23       Q.    AND WHO WAS DR. EDISON LIU AS OF -- WHAT YEAR WAS THIS

03:10PM   24       APPROXIMATELY?

03:10PM   25       A.    THIS WAS 2003.



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03:10PM    1       Q.    AND WHO WAS DR. EDISON LIU AS OF 2003?

03:10PM    2       A.    HE WAS A RESEARCHER IN THE BREAST CANCER SPACE.          HE HAD

03:10PM    3       BEEN A LEADER AT THE NATIONAL CANCER INSTITUTE, AND HE HAD COME

03:10PM    4       TO SINGAPORE TO RUN THE GENOME INSTITUTE IN SINGAPORE.

03:10PM    5       Q.    NOW, IN YOUR TIME WORKING AT THE GENOME INSTITUTE, DID YOU

03:10PM    6       BEGIN TO, TO DEVELOP AN IDEA THAT LED YOU TO FILE A PATENT

03:10PM    7       APPLICATION?

03:10PM    8       A.    I DID.

03:10PM    9       Q.    AND IS THE INVENTION THAT WAS THE SUBJECT OF THAT PATENT

03:10PM   10       APPLICATION SOMETHING THAT ULTIMATELY FORMED PART OF THE BASIS

03:10PM   11       OF THE TECHNOLOGIES THAT WERE USED AT THERANOS?

03:10PM   12       A.    YES.

03:10PM   13       Q.    DID YOU WORK ON THAT PATENT APPLICATION WHILE YOU WERE AT

03:10PM   14       THE GENOME INSTITUTE OR AFTER YOU RETURNED?

03:10PM   15       A.    BOTH.

03:10PM   16       Q.    OKAY.    NOW, TELL US BEFORE -- I WANT TO ASK YOU ABOUT WHAT

03:11PM   17       IDEA IT IS THAT YOU HAD, BUT BEFORE I DO THAT, CAN YOU TELL US

03:11PM   18       WHAT WAS HAPPENING IN YOUR HEAD THAT GENERATED THE IDEA THAT

03:11PM   19       YOU MIGHT FILE A PATENT APPLICATION?

03:11PM   20       A.    I HAD BEEN WORKING AT STANFORD ON THE HANDLING OF SMALL

03:11PM   21       VOLUMES OF FLUID.     I HAD BEEN WORKING IN SINGAPORE ON THESE

03:11PM   22       MICROARRAY MACHINES, WHICH ARE BIG DIAGNOSTIC MACHINES, AND I

03:11PM   23       HAD ALSO HAD THE OPPORTUNITY TO DO SOME RESEARCH ON DRUG

03:11PM   24       DELIVERY TECHNOLOGIES.

03:11PM   25             AND I THOUGHT I COULD COMBINE THEM AND MINIATURIZE SOME OF



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03:11PM    1       THE TECHNOLOGY THAT I HAD SEEN IN THE LAB IN SINGAPORE.

03:11PM    2       Q.    AND DID YOU THINK OF A PARTICULAR INVENTION?

03:11PM    3       A.    I DID.

03:11PM    4       Q.    AND WHAT WAS THAT?

03:11PM    5       A.    I THOUGHT ABOUT MINIATURIZING THOSE TECHNOLOGIES TO THE

03:11PM    6       POINT THAT THEY COULD BE PUT IN A PILL THAT SOMEONE COULD

03:11PM    7       SWALLOW AND DO TESTING THROUGH THE PILL WHILE IT'S GOING

03:12PM    8       THROUGH YOUR BODY, OR IN A PATCH THAT SOMEONE COULD WEAR.

03:12PM    9       Q.    DID YOU DISCUSS THE IDEA THAT YOU WERE CONSIDERING WITH

03:12PM   10       ANYONE IN SINGAPORE?

03:12PM   11       A.    I DID.

03:12PM   12       Q.    AND WITH WHOM DID YOU DISCUSS IT?

03:12PM   13       A.    I DISCUSSED IT WITH DR. LIU.

03:12PM   14       Q.    AND TELL US ABOUT THAT CONVERSATION.

03:12PM   15       A.    DR. LIU WAS VERY ENCOURAGING.       HE WAS EXCITED ABOUT THE

03:12PM   16       IDEA.    HE THOUGHT IT WAS POSSIBLE AND ENCOURAGED ME TO PURSUE

03:12PM   17       IT.

03:12PM   18       Q.    AND AT THE TIME THAT YOU WERE FILING THIS PATENT

03:12PM   19       APPLICATION, WERE THERE ANY TECHNOLOGIES THAT EXISTED THAT

03:12PM   20       ALLOWED SOMEONE AT THE POINT OF THE BODY TO RECEIVE AN

03:12PM   21       IMMEDIATE DIAGNOSIS, OR A READING OF THEIR BLOOD OR OTHER

03:12PM   22       BODILY FLUID?

03:12PM   23       A.    NOT THAT I KNEW OF IN THE SAME WAY.        THERE WAS GLUCOSE

03:12PM   24       METERS THAT COULD DO GLUCOSE TESTING, OR CHOLESTEROL METERS

03:12PM   25       THAT COULD DO CHOLESTEROL TESTING.        THESE ARE MOSTLY



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03:12PM    1       TECHNOLOGIES FOR A SINGLE OR A FEW TESTS.         BUT THEY WEREN'T

03:13PM    2       INGESTIBLES OR WEARABLES.

03:13PM    3       Q.    WHEN YOU RETURNED FROM SINGAPORE, DID YOU WORK ON THAT

03:13PM    4       PATENT APPLICATION?

03:13PM    5       A.    I DID.

03:13PM    6       Q.    AND WHERE DID YOU DO THAT?

03:13PM    7       A.    AT MY PARENTS' HOME IN HOUSTON.

03:13PM    8       Q.    AND DID YOU ULTIMATELY FILE THAT PATENT APPLICATION?

03:13PM    9       A.    YES.

03:13PM   10       Q.    LET ME ASK YOU TO LOOK AT EXHIBIT 7051.

03:13PM   11             THAT SHOULD BE IN YOUR NOTEBOOK NEXT TO A TAB THAT SAYS

03:13PM   12       7051.

03:13PM   13       A.    OH.    OKAY.

03:13PM   14       Q.    AND JUST TAKE A MOMENT TO LOOK AT THAT.

03:13PM   15             AND CAN YOU TELL US, IS THIS THE PATENT APPLICATION THAT

03:13PM   16       YOU FILED IN SEPTEMBER OF 2003?

03:13PM   17       A.    YES.

03:13PM   18                    MR. DOWNEY:    YOUR HONOR, I MOVE THE ADMISSION OF

03:13PM   19       7051.

03:13PM   20                    MR. LEACH:    NO OBJECTION.

03:13PM   21                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

03:13PM   22             (DEFENDANT'S EXHIBIT 7051 WAS RECEIVED IN EVIDENCE.)

03:13PM   23       BY MR. DOWNEY:

03:13PM   24       Q.    NOW, AT THE TIME THAT YOU -- LET'S GET THE DATE FOR WHEN

03:14PM   25       YOU FILED THIS APPLICATION.



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03:14PM    1             DID YOU FILE THIS IN SEPTEMBER OF 2003?

03:14PM    2       A.    I DID.

03:14PM    3       Q.    OKAY.    AND AT THE TIME THAT YOU FILED IT, DID YOU HAVE A

03:14PM    4       PROTOTYPE OF AN ACTUAL PILL OR PATCH THAT YOU WERE SEEKING A

03:14PM    5       PATENT ON?

03:14PM    6       A.    NO.

03:14PM    7       Q.    AND DID THE APPLICATION THAT YOU FILED DESCRIBE THE

03:14PM    8       INVENTION THAT REFLECTED THE IDEA THAT YOU HAD?

03:14PM    9       A.    YES.

03:14PM   10       Q.    LET ME ASK YOU TO LOOK AT PAGE 30 WITHIN EXHIBIT 7051.

03:14PM   11       AND WE CAN PUT THAT UP ON THE SCREEN.

03:14PM   12             I'D ASK YOU JUST TO EXPLAIN FROM THIS -- THIS IS A DIAGRAM

03:14PM   13       THAT WAS CONTAINED WITHIN YOUR PATENT APPLICATION?

03:14PM   14       A.    IT IS.

03:14PM   15       Q.    AND DOES THIS DIAGRAM REFLECT THE INVENTIONS THAT YOU WERE

03:15PM   16       FILING AN APPLICATION ON?

03:15PM   17       A.    YES.

03:15PM   18       Q.    AND TAKING -- USING THIS DIAGRAM, CAN YOU EXPLAIN THE IDEA

03:15PM   19       FOR THE INVENTION?

03:15PM   20       A.    YES.    AND IT SOUNDS LIKE I CAN'T POINT.       NO?   OKAY.

03:15PM   21                     THE COURT:    I DON'T THINK IT'S WORKING.

03:15PM   22             IS THIS OPERATIONAL, MS. KRATZMANN?        THE TOUCH SCREEN?

03:15PM   23                     THE CLERK:    NO, THAT FEATURE IS NOT WORKING,

03:15PM   24       YOUR HONOR.

03:15PM   25                     MR. DOWNEY:   WELL, MAYBE I CAN ASK MR. BENNETT TO



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03:15PM    1       HIGHLIGHT THE RELEVANT PORTIONS AS SHE DISCUSSES THEM.

03:15PM    2       Q.    SO WHERE ON THIS DIAGRAM SHOULD WE START TO UNDERSTAND THE

03:15PM    3       INVENTION?

03:15PM    4       A.    YEAH.   SO START AT THE TOP.

03:15PM    5             SO FIRST OF ALL, THIS IS A PILL.

03:15PM    6       Q.    IS THAT WITH THE CIRCULAR PART ON THE TOP?

03:15PM    7       A.    YES, IT'S THE CIRCULAR PART ON THE TOP.

03:15PM    8       Q.    LET ME JUST ASK MR. BENNETT TO HIGHLIGHT THAT SO WE --

03:15PM    9       A.    AND WHAT WE'RE LOOKING AT IS A PILL THAT COULD BE

03:15PM   10       SWALLOWED WHERE FLUID COULD FLOW IN AND OUT OF THE PILL AS IT

03:15PM   11       GOES THROUGH THE BODY.

03:16PM   12             SO THE IDEA WAS THOSE LITTLE HOLES THAT ARE CALLED

03:16PM   13       MEMBRANES WOULD ALLOW FLUID TO MOVE IN, RUN OVER THOSE BEADS,

03:16PM   14       WHICH ARE SENSORS, TO REACT --

03:16PM   15       Q.    ARE THE BEADS THE BLACK DOTS UNDERNEATH?

03:16PM   16       A.    EXACTLY.

03:16PM   17       Q.    I INTERRUPTED YOU.      I'M SORRY.

03:16PM   18             WHAT ARE THE SENSORS?

03:16PM   19       A.    THE BEADS THEMSELVES ARE SENSORS.        SO THERE'S CHEMISTRY

03:16PM   20       THERE THAT WOULD INTERACT WITH THE SAMPLE, AND THE SAMPLE WOULD

03:16PM   21       FLOW OUT THE OTHER SIDE.

03:16PM   22             WHEN THE CHEMISTRY INTERACTED WITH THE SAMPLE, IT WOULD

03:16PM   23       RUN A TEST.

03:16PM   24             AND THE SIGNAL, OR THE DATA FROM THAT TEST WOULD BE

03:16PM   25       TRANSFERRED WIRELESSLY TO SOME TYPE OF HANDHELD DEVICE WHERE



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03:16PM    1       PROCESSING OF THAT DATA WOULD BE DONE, AND THEN INFORMATION

03:16PM    2       WOULD BE TRANSFERRED BACK TO THE PILL WHICH HAD DRUGS LOADED

03:16PM    3       INTO THOSE LITTLE RESERVOIRS OR CHANNELS.

03:17PM    4       Q.    ARE THEY THE FLAT LINES IN THE -- NEXT TO NUMBER 10 AND

03:17PM    5       11?

03:17PM    6       A.    EXACTLY, YES.

03:17PM    7             AND THE IDEA WAS THAT THE DRUG COULD BE RELEASED BASED ON

03:17PM    8       WHAT IS MEASURED IN THE BODY.

03:17PM    9             SO, FOR EXAMPLE, IF YOU WERE SICK WITH AN INFECTION, THE

03:17PM   10       PILL COULD PICK IT UP AND DELIVER A MEDICATION, LIKE AN

03:17PM   11       ANTIBIOTIC, IN REALTIME.

03:17PM   12       Q.    AND DID YOU GET THIS APPLICATION FOR A PATENT ON FILE

03:17PM   13       BEFORE YOU RETURNED TO YOUR SOPHOMORE YEAR AT STANFORD?

03:17PM   14       A.    I DID.

03:17PM   15       Q.    WHEN YOU RETURNED TO STANFORD, DID YOU DISCUSS WITH

03:17PM   16       PROFESSOR ROBERTSON THE IDEA OF THE PATENT AND THE PATENT

03:17PM   17       APPLICATION THAT YOU FILED?

03:17PM   18       A.    YES.

03:17PM   19       Q.    AND WHAT WAS HIS REACTION?

03:17PM   20       A.    I THINK HE WAS A BIT SKEPTICAL AT FIRST.         I GAVE HIM A

03:17PM   21       COPY OF THE PROVISIONAL APPLICATION.        HE READ IT.    HE SAID IT

03:17PM   22       WAS SOMETHING THAT HAD NOT BEEN DONE BEFORE, AND HE ENCOURAGED

03:18PM   23       ME TO CONTINUE MY RESEARCH.

03:18PM   24       Q.    DURING YOUR SOPHOMORE YEAR, DID YOU CONTINUE TO WORK IN

03:18PM   25       DR. ROBERTSON'S RESEARCH LABORATORY?



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03:18PM    1       A.    I DID.

03:18PM    2       Q.    AND DID YOU CONTINUE TO WORK ON MICROFLUIDICS?

03:18PM    3       A.    YES.

03:18PM    4       Q.    AND DID YOU ALSO BEGIN TO DO INDEPENDENT RESEARCH AT

03:18PM    5       STANFORD IN THE AREAS OF MICROFLUIDICS AND NANO FABRICATION?

03:18PM    6       A.    I DID.

03:18PM    7       Q.    AND TELL US WHAT NANO FABRICATION IS.

03:18PM    8       A.    IT'S LITERALLY THE FABRICATION OR THE MAKING OF NANO SCALE

03:18PM    9       TECHNOLOGY, SO VERY SMALL TECHNOLOGIES, OFTEN CHIPS, LIKE

03:18PM   10       SILICON CHIPS, THAT CAN BE BUILT IN A FAB.

03:18PM   11       Q.    AND WERE BOTH OF THOSE DISCIPLINES RELEVANT TO THE

03:18PM   12       INVENTION ON WHICH YOU FILED A PATENT APPLICATION?

03:18PM   13       A.    YES.

03:18PM   14       Q.    HOW MUCH TIME DID YOU SPEND WORKING IN -- BETWEEN THE

03:18PM   15       INDEPENDENT RESEARCH AND YOUR WORK IN DR. ROBERTSON'S RESEARCH

03:18PM   16       LABORATORY, HOW MUCH TIME DID YOU SPEND ON THAT RELATIVE TO

03:19PM   17       YOUR CLASS WORK?

03:19PM   18       A.    I SPENT ALMOST ALL OF MY TIME ON THAT.

03:19PM   19       Q.    OKAY.    DID THAT ULTIMATELY CAUSE YOU -- IS THAT ONE OF THE

03:19PM   20       REASONS THAT YOU DECIDED TO LEAVE STANFORD UNIVERSITY?

03:19PM   21       A.    THAT'S ONE OF THE REASONS, YES.

03:19PM   22       Q.    WHEN DID YOU ACTUALLY END UP LEAVING STANFORD AS A

03:19PM   23       STUDENT?

03:19PM   24       A.    I LEFT IN MARCH OF 2004.

03:19PM   25       Q.    DID YOU HAVE ANY CONVERSATIONS WITH PROFESSOR ROBERTSON



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03:19PM    1       ABOUT YOUR DECISION TO LEAVE?

03:19PM    2       A.    I DID.

03:19PM    3       Q.    AND TELL US ABOUT THAT CONVERSATION.

03:19PM    4       A.    I TOLD HIM I WANTED TO TAKE A LEAVE OF ABSENCE.          HE

03:19PM    5       EXPRESSED SOME CONCERN ABOUT ME NOT FINISHING COLLEGE, BUT I

03:19PM    6       WAS ALWAYS ABLE TO GO BACK.

03:19PM    7             AND HE ULTIMATELY WAS SUPPORTIVE AND SAID HE WOULD HELP ME

03:20PM    8       BUILD.

03:20PM    9       Q.    AND WHEN YOU HAD THE PATENT APPLICATION ON FILE, WAS THE

03:20PM   10       NEXT STEP TO TRY TO BUILD A PROTOTYPE OF THE INVENTION?

03:20PM   11       A.    YES.

03:20PM   12       Q.    IS THAT WHAT YOU BEGAN TO DO AFTER YOU LEFT STANFORD?

03:20PM   13       A.    YES.

03:20PM   14       Q.    AND TELL US ABOUT HOW YOU DID THAT.        DID YOU START THE

03:20PM   15       COMPANY, OR DID YOU DO IT ON YOUR OWN AT FIRST?

03:20PM   16       A.    I WAS DOING IT ON MY OWN.      I DID THEN START A COMPANY AND

03:20PM   17       TRIED TO RAISE THE MONEY TO GET A LAB AND TO BE ABLE TO HIRE

03:20PM   18       SCIENTISTS TO WORK WITH TO BUILD.

03:20PM   19       Q.    OKAY.    AND TELL US ABOUT JUST THE FIRST FEW MONTHS OF THAT

03:20PM   20       COMPANY'S -- FIRST OF ALL, WHAT WAS THAT COMPANY CALLED?

03:20PM   21       A.    I CALLED IT REAL-TIME CURES.

03:20PM   22       Q.    OKAY.    AND THEN LATER HOW DID IT COME TO BE CALLED

03:20PM   23       THERANOS?

03:20PM   24       A.    CHANGED THE NAME TO THERANOS.

03:20PM   25       Q.    OKAY.    AND WHEN WAS THAT?



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03:20PM    1       A.    IN 2005, I THINK.

03:20PM    2       Q.    OKAY.    SO LET'S TALK ABOUT THE EARLY PART OF THE COMPANY

03:20PM    3       WHEN IT WAS STILL REAL-TIME CURES.        WHAT -- OTHER THAN BUILDING

03:21PM    4       THE TEAM AND TRYING TO FIND SPACE FOR A LAB, WHAT ELSE WERE YOU

03:21PM    5       DOING WITH RESPECT TO THE PRODUCT OR THE INVENTION?

03:21PM    6       A.    WE, WE WERE PROTOTYPING.      SO WE WERE TRYING TO BUILD THE

03:21PM    7       COMPONENTS OF THE TECHNOLOGY IN THIS LITTLE LAB THAT WE

03:21PM    8       ULTIMATELY GOT SET UP.

03:21PM    9       Q.    YOU MENTIONED YOU WERE TRYING TO HIRE EMPLOYEES.          WERE YOU

03:21PM   10       ULTIMATELY ABLE TO HIRE SOME EMPLOYEES TO WORK WITH YOU ON IT?

03:21PM   11       A.    YES.

03:21PM   12       Q.    AND WHO WERE THEY?

03:21PM   13       A.    I HAD THE OPPORTUNITY TO HIRE SOME OF THE PEOPLE THAT I

03:21PM   14       WAS WORKING FOR AND WITH AT STANFORD, TWO OF DR. ROBERTSON'S

03:21PM   15       STUDENTS AND TWO PEOPLE THAT I HAD MET IN THE FAB, THE

03:21PM   16       FABRICATION FACILITY, WHO HAD WORKED AT I.B.M. FOR A LONG TIME.

03:21PM   17       Q.    AND DID DR. ROBERTSON HAVE ANY ROLE WITH REGARD TO THE NEW

03:21PM   18       COMPANY, REAL-TIME CURES?

03:21PM   19       A.    HE DID.

03:21PM   20       Q.    AND WHAT ROLE DID HE HAVE?

03:21PM   21       A.    HE BECAME OUR FIRST BOARD MEMBER.

03:22PM   22       Q.    NOW, DID THERE COME A TIME WHEN YOU -- I BELIEVE YOU SAID

03:22PM   23       YOU HAD FILED A PATENT APPLICATION IN 2003; IS THAT RIGHT?

03:22PM   24       A.    I DID.

03:22PM   25       Q.    AND WAS THAT AN APPLICATION FOR A FINAL PATENT OR WAS IT



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03:22PM    1       WHAT IS KNOWN AS A PROVISIONAL PATENT APPLICATION?

03:22PM    2       A.    IT WAS A PROVISIONAL PATENT.

03:22PM    3       Q.    AND CAN YOU EXPLAIN WHAT THAT MEANS?

03:22PM    4       A.    IT'S THE VERY FIRST STEP IN THE PATENT PROCESS WHERE YOU

03:22PM    5       PUT YOUR IDEA ON FILE TO MARK THE DATE OF THE INVENTION.

03:22PM    6       Q.    OKAY.    DID YOU ULTIMATELY -- WERE YOU ULTIMATELY

03:22PM    7       SUCCESSFUL IN OBTAINING A PATENT ON THE APPLICATION THAT YOU

03:22PM    8       FILED IN 2003 BEFORE YOUR SOPHOMORE YEAR AT STANFORD?

03:22PM    9       A.    YES.

03:22PM   10       Q.    LET ME ASK YOU TO LOOK AT EXHIBIT 9501.

03:22PM   11       A.    OKAY.

03:22PM   12       Q.    CAN YOU TELL US WHAT THIS IS?

03:23PM   13       A.    THIS IS THE ACTUAL PATENT THAT WAS ISSUED ON THAT IDEA.

03:23PM   14                     MR. DOWNEY:   YOUR HONOR, I MOVE TO ADMIT 9501.

03:23PM   15                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

03:23PM   16                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:23PM   17             (DEFENDANT'S EXHIBIT 9501 WAS RECEIVED IN EVIDENCE.)

03:23PM   18       BY MR. DOWNEY:

03:23PM   19       Q.    I'D LIKE TO JUST HIGHLIGHT THE FIRST PAGE OF THIS PATENT.

03:23PM   20             WHEN WAS THIS GRANTED?

03:23PM   21       A.    IT WAS GRANTED ON NOVEMBER 6TH OF 2007.

03:23PM   22       Q.    OKAY.    AND DO YOU SEE ON THE LEFT-HAND SIDE THERE'S AN

03:23PM   23       ITEM, INVENTORS, AND THEN THERE'S YOUR NAME AND SOME OTHERS?

03:23PM   24       A.    YES.

03:23PM   25       Q.    AND WHY ARE THE OTHERS LISTED AS INVENTORS ON THE PATENT?



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03:23PM    1       A.    BECAUSE THEY CAME UP WITH SOME OF THE KEY IDEAS IN

03:23PM    2       DEVELOPING THE PROTOTYPE.

03:23PM    3       Q.    NOW, YOU WERE ULTIMATELY ABLE TO BUILD A PROTOTYPE?

03:23PM    4       A.    YES.

03:23PM    5       Q.    AND WHEN DID THAT HAPPEN?

03:24PM    6       A.    STARTING IN 2004 AND OVER THE COURSE OF THE YEAR.

03:24PM    7       Q.    ABOUT A YEAR AFTER YOU FILED THE APPLICATION?

03:24PM    8       A.    YES.

03:24PM    9       Q.    AND ONCE YOU HAD A PROTOTYPE, DID YOU BEGIN TO START TO

03:24PM   10       THINK ABOUT HOW YOU MIGHT TURN THIS INVENTION INTO SOME KIND OF

03:24PM   11       A PRODUCT THAT MIGHT BE USED BY SOMEONE WHO MIGHT PAY YOU MONEY

03:24PM   12       FOR IT?

03:24PM   13       A.    YES.

03:24PM   14       Q.    TELL US ABOUT THAT PROCESS.

03:24PM   15       A.    I KNEW A PROFESSOR AT STANFORD WHO HAD AN ENTREPRENEURSHIP

03:24PM   16       CLASS AND HE SAID I COULD WORK WITH HIS CLASS ON A PROJECT TO

03:24PM   17       COME UP WITH A BUSINESS PLAN, AND I DID THAT.

03:24PM   18       Q.    AND WERE YOU ULTIMATELY ABLE TO COME UP WITH A BUSINESS

03:24PM   19       PLAN FOR THE INVENTION?

03:24PM   20       A.    YES.

03:24PM   21       Q.    AND TELL US ABOUT THAT BUSINESS PLAN.

03:24PM   22       A.    THE BUSINESS PLAN FOCUSSED ON INTRODUCING OUR TECHNOLOGY

03:24PM   23       TO PHARMACEUTICAL COMPANIES FOR USE IN CLINICAL TRIALS WHERE WE

03:24PM   24       COULD DEVELOP A LIBRARY OF TESTS AND TRY TO HELP PHARMA

03:25PM   25       COMPANIES GET DRUGS TO MARKET FASTER.



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03:25PM    1       Q.    WE'VE HEARD SOME TESTIMONY IN THE CASE ABOUT CLINICAL

03:25PM    2       TRIALS AND PHARMACEUTICAL COMPANIES.

03:25PM    3             IS THIS PERIOD OF 2004 REALLY THE FIRST TIME THAT YOU

03:25PM    4       STARTED WORKING ON A PRODUCT THAT COULD BE USED BY

03:25PM    5       PHARMACEUTICAL COMPANIES?

03:25PM    6       A.    YES.

03:25PM    7       Q.    NOW, WITH THE BUSINESS PLAN IN MIND, DID YOU GO ABOUT

03:25PM    8       TRYING TO INTEREST PHARMACEUTICAL COMPANIES?

03:25PM    9       A.    I DID, YES.

03:25PM   10       Q.    AND TELL US ABOUT THAT.

03:25PM   11       A.    I MET WITH EVERYONE I COULD WHO KNEW SOMEONE WHO WORKED IN

03:25PM   12       PHARMA OR WAS IN PHARMA TO TRY TO UNDERSTAND WHAT THEY DID AND

03:25PM   13       WHAT THEY WOULD BE INTERESTED IN.

03:25PM   14       Q.    OKAY.   LET ME SHOW YOU EXHIBIT 15015.

03:25PM   15       A.    OKAY.

03:25PM   16       Q.    TAKE A MOMENT TO REVIEW THAT.

03:26PM   17       A.    OKAY.

03:26PM   18       Q.    WHO IS -- DO YOU KNOW WHO THE RECIPIENT OF THIS EMAIL IS,

03:26PM   19       TOW CHONG?

03:26PM   20       A.    I DO GENERALLY, YES.

03:26PM   21       Q.    AND WHO IS HE?

03:26PM   22       A.    I BELIEVE HE EITHER LED OR WAS ONE OF THE LEADERS AT A

03:26PM   23       RESEARCH INSTITUTE IN SINGAPORE.

03:26PM   24       Q.    AND WHO -- AND YOU SENT HIM THIS EMAIL IN CONNECTION WITH

03:26PM   25       YOUR EFFORTS TO OBTAIN PHARMACEUTICAL BUSINESS?



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03:26PM    1       A.    I THINK THIS IS AN EMAIL FROM DR. LIU TO HIM TO FACILITATE

03:26PM    2       AN INTRODUCTION SO I COULD TALK TO HIM ABOUT THAT AND BUILDING

03:26PM    3       OUR PRODUCT.

03:26PM    4       Q.    OKAY.

03:26PM    5             YOUR HONOR, I MOVE THE ADMISSION OF 15015.

03:26PM    6                     MR. LEACH:   NO OBJECTION.

03:26PM    7                     THE COURT:   IT'S ADMITTED.

03:26PM    8             (DEFENDANT'S EXHIBIT 15015 WAS RECEIVED IN EVIDENCE.)

03:26PM    9       BY MR. DOWNEY:

03:26PM   10       Q.    IF WE CAN JUST SHOW THE FIRST PARAGRAPH OF 15015.

03:27PM   11             SO AS YOU SAID HERE, DR. LIU IS WRITING TO TOW CHONG --

03:27PM   12       AND JUST AS A REMINDER, DR. LIU WAS THE MENTOR THAT YOU HAD

03:27PM   13       DEVELOPED WHILE YOU WERE IN SINGAPORE?

03:27PM   14       A.    YES.

03:27PM   15       Q.    AND IS WHAT IS REFLECTED IN THIS EMAIL AN EXAMPLE OF YOU

03:27PM   16       REACHING OUT TO EVERYONE YOU KNEW TO SEE IF YOU COULD FIND A

03:27PM   17       WAY TO GET SOME ENTRE TO PHARMACEUTICAL COMPANIES?

03:27PM   18       A.    YES.

03:27PM   19       Q.    AND HOW MUCH WORK DID YOU DO DOING THAT KIND OF EFFORT?

03:27PM   20       A.    I STARTED WORKING ALL OF THE TIME.        I WAS, I WAS TALKING

03:27PM   21       TO MY FAMILY, TALKING TO THEIR FRIENDS, TALKING TO PEOPLE I HAD

03:27PM   22       KNOWN AT STANFORD, TRYING TO MEET PEOPLE WHO COULD HELP ME

03:27PM   23       BUILD THIS.

03:27PM   24       Q.    NOW, IN THE FIRST YEAR OR SO OF THE COMPANY, HOW DID YOU

03:27PM   25       GO ABOUT FINANCING WORK ON THE TECHNOLOGY, YOUR EMPLOYEES, AN



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03:28PM    1       OFFICE AND SO FORTH?      HOW DID YOU DO THAT?

03:28PM    2       A.    I STARTED WITH TALKING TO MY PARENTS, AND THEY LET ME TAKE

03:28PM    3       THE MONEY THAT THEY HAD SAVED FOR ME TO BE ABLE TO GO TO

03:28PM    4       COLLEGE TO WORK ON MY PATENT.

03:28PM    5             AND THEN I WENT TO TRY TO RAISE OR BORROW MONEY.

03:28PM    6       Q.    OKAY.    AND WERE YOU ABLE TO BORROW MONEY?

03:28PM    7       A.    I WAS.

03:28PM    8       Q.    OKAY.    AND WERE YOU ABLE TO RAISE ENOUGH MONEY THROUGH

03:28PM    9       THOSE KIND OF STEPS TO KEEP THE COMPANY GOING?

03:28PM   10       A.    YES.

03:28PM   11       Q.    I'D LIKE TO ASK YOU ABOUT ONCE YOU HAD A PROTOTYPE AND

03:28PM   12       TRYING TO DEVELOP IT INTO A PRODUCT.        DID YOU STRUCTURE THE

03:28PM   13       COMPANY TO TRY TO BUILD AN ACTUAL PRODUCT OUT OF THE, OUT OF

03:28PM   14       THE PROTOTYPE THAT YOU HAD?

03:28PM   15       A.    YES.

03:28PM   16       Q.    HOW DID YOU STRUCTURE THE COMPANY TO TRY TO DO THAT?

03:28PM   17       A.    I STRUCTURED IT AROUND THREE CORE AREAS:         THE FIRST WAS

03:29PM   18       CHEMISTRY OR THE ASSAYS; THE SECOND WAS HARDWARE; AND THE THIRD

03:29PM   19       WAS SOFTWARE.

03:29PM   20       Q.    AND CAN YOU JUST REMIND US, WHEN YOU SAY CHEMISTRY OR

03:29PM   21       ASSAYS, ARE THEY SYNONYMS IN YOUR MIND?

03:29PM   22       A.    THEY ARE, YES.

03:29PM   23       Q.    OKAY.    EXPLAIN WHY THAT IS AND WHAT THAT IS FOR THE

03:29PM   24       BENEFIT OF THE JURY, WHO HAS HEARD ABOUT IT BEFORE, BUT JUST

03:29PM   25       EXPLAIN THAT, PLEASE.



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03:29PM    1       A.    YES.   THE ASSAYS ARE WHAT WE HAVE BEEN TALKING ABOUT AS

03:29PM    2       TESTS.    ASSAYS IS THE TECHNICAL WORD THAT WE WOULD USE IN OUR

03:29PM    3       LAB TO DESCRIBE THE TESTS.

03:29PM    4             THE CHEMISTRY IS WHAT THE ASSAY ACTUALLY IS.         SO IT'S

03:29PM    5       CHEMICALS THAT MAKE UP THE TESTS.        SO I SOMETIMES SAY CHEMISTRY

03:29PM    6       OR ASSAY OR TEST.

03:29PM    7       Q.    NOW, YOU MENTIONED THAT YOU BROKE THE TEAMS INTO A GROUP

03:29PM    8       WORKING ON THE ASSAYS; RIGHT?

03:29PM    9       A.    YES.

03:29PM   10       Q.    AND A GROUP WORKING ON THE HARDWARE; CORRECT?

03:29PM   11       A.    YES.

03:29PM   12       Q.    AND A GROUP WORKING ON THE SOFTWARE; CORRECT?

03:30PM   13       A.    YES.

03:30PM   14       Q.    NOW, AT SOME POINT DID THE -- YOUR IDEA AS TO WHAT THE

03:30PM   15       HARDWARE SHOULD BE CHANGE?

03:30PM   16       A.    YES.

03:30PM   17       Q.    AND I THINK YOU SAID THAT, IN CONNECTION WITH THE ORIGINAL

03:30PM   18       PATENT APPLICATION, THAT YOU HAD BEEN THINKING ABOUT A PILL

03:30PM   19       THAT WOULD BE SWALLOWED.

03:30PM   20       A.    I WAS.

03:30PM   21       Q.    TELL US HOW THE IDEAS ABOUT THE HARDWARE EVOLVED AND WHY

03:30PM   22       THEY EVOLVED?

03:30PM   23       A.    THE IDEA STARTED WITH THE PILL WITH THE IDEA THAT SOMEONE

03:30PM   24       COULD LITERALLY SWALLOW A TECHNOLOGY LIKE THAT AND NOT HAVE TO

03:30PM   25       TAKE ANY OTHER ACTIONS AND A TEST COULD BE DONE AND A DRUG



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03:30PM    1       COULD BE DELIVERED.

03:30PM    2             THAT SAME TECHNOLOGY IDEA EXPANDED TO A PATCH THAT COULD

03:30PM    3       BE WORN AND BLOOD COULD BE MEASURED AND DELIVERED.

03:30PM    4             AS I STARTED TALKING TO PEOPLE ABOUT WHAT COULD BE USEFUL

03:30PM    5       FOR A PHARMACEUTICAL CLINICAL TRIAL, I LEARNED THAT PEOPLE WERE

03:30PM    6       INTERESTED IN A BENCHTOP OR A TABLETOP DEVICE, AND WE MOVED TO

03:31PM    7       TRYING TO BUILD THAT.

03:31PM    8       Q.    OKAY.    AND WERE YOU SUCCESSFUL IN BUILDING THAT?

03:31PM    9       A.    YES.

03:31PM   10       Q.    LET ME ASK YOU TO LOOK AT EXHIBIT 15026.

03:31PM   11       A.    OKAY.

03:31PM   12       Q.    AND IS THIS A PROTOTYPE OF THE DEVICE THAT YOU JUST

03:31PM   13       DESCRIBED?

03:31PM   14       A.    YES.

03:31PM   15                     MR. DOWNEY:   YOUR HONOR, I MOVE THE ADMISSION OF

03:31PM   16       15026.

03:31PM   17                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

03:31PM   18                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:31PM   19             (DEFENDANT'S EXHIBIT 15026 WAS RECEIVED IN EVIDENCE.)

03:31PM   20       BY MR. DOWNEY:

03:31PM   21       Q.    AND CAN YOU, IN BRIEF TERMS, JUST EXPLAIN THIS TECHNOLOGY

03:31PM   22       AND HOW THE VARIOUS COMPONENTS OF WHAT YOU HAVE BEEN

03:31PM   23       MENTIONING, THAT IS, THE SOFTWARE AND THE HARDWARE AND THE

03:31PM   24       ASSAYS, WERE DESIGNED TO WORK ON THIS TECHNOLOGY?

03:31PM   25       A.    YES.



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03:31PM    1                    MR. LEACH:    YOUR HONOR, I DON'T MEAN TO INTERRUPT.

03:31PM    2       THE IMAGE OF MY 15026 IS DIFFERENT FROM WHAT IS BEING DISPLAYED

03:32PM    3       ON THE SCREEN.

03:32PM    4                    MR. DOWNEY:    OH, I BEG YOUR PARDON.

03:32PM    5             (DISCUSSION AMONGST COUNSEL OFF THE RECORD.)

03:32PM    6                    MR. DOWNEY:    HAS THAT BEEN CORRECTED?

03:32PM    7                    MR. LEACH:    I NOW HAVE A DIFFERENT COPY, YOUR HONOR.

03:32PM    8       THANK YOU.

03:32PM    9                    MR. DOWNEY:    YES.   SO I MOVE THAT IN.

03:32PM   10                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

03:32PM   11             (DEFENDANT'S EXHIBIT 15026 WAS RECEIVED IN EVIDENCE.)

03:32PM   12                    THE WITNESS:    WOULD YOU MIND REPEATING THE QUESTION

03:32PM   13       JUST SO I CAN --

03:32PM   14       BY MR. DOWNEY:

03:32PM   15       Q.    THE QUESTION WAS, CAN YOU EXPLAIN HOW THE HARDWARE AND THE

03:32PM   16       SOFTWARE AND THE ASSAYS WERE DESIGNED TO WORK IN CONNECTION

03:32PM   17       WITH THIS PROTOTYPE?       EXPLAIN HOW EACH PIECE WORKS.

03:33PM   18       A.    I CAN.

03:33PM   19             SO WHAT WE DID, IT WAS MOVED FROM SOMETHING LIKE A PATCH

03:33PM   20       WHERE YOU COULD MONITOR AND RUN A CHEMISTRY AND DETECT

03:33PM   21       SOMETHING ALL IN ONE DESIGN TO A NEW IDEA, WHICH IS YOU WOULD

03:33PM   22       HAVE A DISPOSABLE THAT COULD CONTAIN THE CHEMISTRIES THAT YOU

03:33PM   23       MIGHT RUN AND A DEVICE THAT COULD READ THAT DISPOSABLE.

03:33PM   24             THIS IS THE INSIDE OF ONE OF THOSE EARLY DEVICES THAT

03:33PM   25       WOULD RECEIVE WHAT WE CALLED A CARTRIDGE, THE PIECE OF PLASTIC



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03:33PM    1       THAT HOLDS THE CHEMISTRY.

03:33PM    2             YOU SEE HERE ARE THESE LITTLE WHITE PUMPS AND VALVES ON

03:33PM    3       TOP --

03:33PM    4       Q.    LET ME JUST SLOW YOU DOWN THERE.

03:33PM    5             ARE THOSE WHERE THE ARROW IS RIGHT NOW IN THE DISPLAY?

03:33PM    6       A.    THOSE ARE THE VALVES, YEAH, EXACTLY.

03:33PM    7             AND RIGHT ABOVE IT, THE ROUND CIRCULAR TECHNOLOGY IS A

03:33PM    8       PUMP.

03:34PM    9             AND A CARTRIDGE COULD BE INTRODUCED TO THIS DEVICE.

03:34PM   10             THAT PUMP AND THOSE VALVES WOULD ACTIVATE THE CARTRIDGE

03:34PM   11       AND FLUID WOULD START TO MOVE THROUGH THE CARTRIDGE TO RUN A

03:34PM   12       CHEMISTRY.

03:34PM   13             YOU CAN SEE THE ELECTRONICS OR THE BOARD ON THE RIGHT SIDE

03:34PM   14       THAT WOULD CONTROL THAT PROCESS, ANALYZE DATA, AND TRANSMIT IT

03:34PM   15       WIRELESSLY.

03:34PM   16       Q.    OKAY.    NOW, WE TALKED ABOUT PHARMACEUTICAL COMPANIES AND

03:34PM   17       YOUR EFFORTS THERE, AND WE TALKED ABOUT BUILDING THIS

03:34PM   18       PROTOTYPE.

03:34PM   19             DID YOU ULTIMATELY DEVELOP THIS INTO AN ACTUAL PRODUCT?

03:34PM   20       A.    YES.

03:34PM   21       Q.    AND TO BUILD THAT PRODUCT, DID YOU GO OUT AND TRY TO RAISE

03:34PM   22       SOME ADDITIONAL MONEY TO TRY TO FINANCE THAT RESEARCH AND THE

03:34PM   23       EMPLOYEES AND THE OFFICE AND ALL OF THE THINGS THAT IT TAKES TO

03:34PM   24       RUN A BUSINESS?

03:34PM   25       A.    I DID.



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03:34PM    1       Q.    AND WAS THAT SERIES OF FUND RAISING CALLED A SERIES B FUND

03:35PM    2       RAISING OF THERANOS?

03:35PM    3       A.    YES.

03:35PM    4       Q.    AND WE TALKED EARLIER ABOUT THE MONEY THAT YOU RAISED AT

03:35PM    5       THE OUTSET THROUGH LOANS AND SO FORTH AND FROM EARLY

03:35PM    6       INVESTMENTS INTO THE COMPANY.

03:35PM    7             WAS THAT THE SERIES A?

03:35PM    8       A.    YES.

03:35PM    9       Q.    OKAY.    SO WITHIN THE SERIES B, DID YOU BEGIN TO TRY TO

03:35PM   10       TALK TO VENTURE CAPITALISTS ABOUT FINANCING THE COMPANY?

03:35PM   11       A.    I DID.

03:35PM   12       Q.    AND WAS DON LUCAS, SENIOR ONE OF THOSE INDIVIDUALS?

03:35PM   13       A.    YES.

03:35PM   14       Q.    WHO WAS DON LUCAS?      TELL US ABOUT HIM AS OF 2005 WHEN YOU

03:35PM   15       MET HIM.

03:35PM   16       A.    DON LUCAS WAS ONE OF THE EARLY VENTURE CAPITALISTS IN

03:35PM   17       SILICON VALLEY.     HE HAD HELPED BUILD A NUMBER OF TECHNOLOGY

03:35PM   18       COMPANIES LIKE ORACLE AND NATIONAL SEMICONDUCTOR, ADOBE, AND I

03:35PM   19       KNEW HIM AS SOMEONE WHO FOCUSSED ON BUILDING GREAT COMPANIES

03:36PM   20       FOR THE LONG-TERM.

03:36PM   21       Q.    AND HOW DID YOU COME TO MEET HIM?

03:36PM   22       A.    I WAS INTRODUCED TO HIM BY SOMEONE WHO HAD GONE TO COLLEGE

03:36PM   23       WITH MY DAD.

03:36PM   24       Q.    AND DID YOU HAVE A PITCH MEETING WITH HIM?

03:36PM   25       A.    I HAD AN INTRODUCTORY MEETING WITH HIM, YES.



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03:36PM    1       Q.    OKAY.    AND WHAT WAS HIS REACTION TO YOUR DESCRIPTION OF

03:36PM    2       THE BUSINESS YOU WERE TRYING TO BUILD?

03:36PM    3       A.    HE HAD A LOT OF QUESTIONS.       HE BEGAN A VERY COMPREHENSIVE

03:36PM    4       DILIGENCE PROCESS.

03:36PM    5       Q.    AND WHAT DID THAT DILIGENCE PROCESS CONSIST OF?

03:36PM    6       A.    IT CONSISTED OF GIVING HIM A LOT OF INFORMATION ABOUT OUR

03:36PM    7       PATENTS.     HE HIRED A LAW FIRM TO REVIEW OUR PATENTS.        HE ASKED

03:36PM    8       US TO GET AN AUDIT OF OUR FINANCIALS.          HE WANTED COPIES OF

03:36PM    9       CONTRACTS AND OTHER INFORMATION ABOUT THE BUSINESS.           HE WANTED

03:36PM   10       TO SPEAK TO PEOPLE THAT WE WERE TALKING TO AND INTERACTING

03:36PM   11       WITH.

03:36PM   12       Q.    I WANT TO SHOW YOU EXHIBIT 12027.

03:37PM   13             AND MY QUESTION IN THE FIRST INSTANCE IS JUST WHETHER THIS

03:37PM   14       IS AN EMAIL EXCHANGE BETWEEN YOU AND MR. LUCAS AND OTHERS

03:37PM   15       DURING THE DUE DILIGENCE PROCESS ASSOCIATED WITH HIS INVESTING

03:37PM   16       IN THERANOS?

03:37PM   17       A.    YES.

03:37PM   18                     MR. DOWNEY:   YOUR HONOR, I MOVE THE ADMISSION OF

03:37PM   19       12027.

03:37PM   20                     MR. LEACH:    401, YOUR HONOR.

03:37PM   21                     THE COURT:    INCLUDING ALL OF THE PAGES, MR. DOWNEY?

03:37PM   22                     MR. DOWNEY:   WELL, I WAS JUST GOING TO SHOW ONE OF

03:37PM   23       THE PAGES.     I'M HAPPY TO EXPLAIN THE RELEVANCE, BUT NOT OUT

03:37PM   24       LOUD.

03:37PM   25                     THE COURT:    SURE.   I UNDERSTAND.



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03:37PM    1             YOU WANT TO DISPLAY TO THE WITNESS JUST THIS FIRST PAGE

03:37PM    2       AND SPEAK ON THE FIRST PAGE WITHOUT -- CAN YOU DO THAT WITHOUT

03:37PM    3       THE SECONDARY PAGES?

03:38PM    4                    MR. DOWNEY:    SURE.   YOUR HONOR, I THINK THAT THERE

03:38PM    5       IS A -- I CAN CERTAINLY DO THAT.

03:38PM    6             I JUST WANTED TO DISPLAY, AND I DON'T HAVE TO ADMIT IT --

03:38PM    7       BUT I THINK I WILL NEED TO DO THAT TO DISPLAY IT -- JUST AN

03:38PM    8       ATTACHMENT WHICH RELATES TO THE FINANCIAL INFORMATION THAT HE

03:38PM    9       ASKED FOR AND GOT AS PART OF THE DUE DILIGENCE PROCESS WHEN HE

03:38PM   10       WAS LOOKING INTO AN INVESTMENT IN THERANOS.

03:38PM   11                    THE COURT:    THAT MS. HOLMES SENT HIM?

03:38PM   12                    MR. DOWNEY:    THAT MS. HOLMES SENT HIM, YES.

03:38PM   13                    THE COURT:    IS THAT THE LAST TWO PAGES?

03:38PM   14                    MR. DOWNEY:    NO.   IT'S THE LAST PAGE OF THE

03:38PM   15       ATTACHMENT.

03:38PM   16             LET ME SEE IF I CAN MAKE THIS EASIER.

03:38PM   17                    THE COURT:    IT'S ALWAYS HELPFUL.

03:38PM   18                    MR. DOWNEY:    YOUR HONOR, I THINK I CAN DO IT JUST BY

03:38PM   19       WAY OF EXAMPLE.

03:38PM   20             SO WHAT I REALLY WANT TO DO IS IF I CAN JUST ADMIT THE

03:38PM   21       FIRST AND SECOND PAGE, I DON'T NEED TO ADMIT THE ENTIRE --

03:39PM   22                    THE COURT:    THAT'S FINE.    THAT'S FINE.    THOSE WILL

03:39PM   23       BE ADMITTED.

03:39PM   24             (DEFENDANT'S EXHIBIT 12027, PAGES 1 AND 2 WAS RECEIVED IN

03:39PM   25      EVIDENCE.)



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03:39PM    1       BY MR. DOWNEY:

03:39PM    2       Q.    FIRST OF ALL, LET ME JUST DISPLAY, IF I MIGHT, THE EMAIL

03:39PM    3       THAT IS THE FIRST PAGE OF 12027.

03:39PM    4             AND WHY ARE YOU SENDING THIS EMAIL TO MR. LUCAS AT THIS

03:39PM    5       TIME?

03:39PM    6       A.    THIS IS A RESPONSE TO ONE OF HIS DILIGENCE REQUESTS.

03:39PM    7       Q.    OKAY.   AND LET ME ASK YOU TO LOOK AT THE SECOND PAGE.

03:39PM    8             AND WHAT IS LISTED HERE ON THE SECOND PAGE OF THE EXHIBIT?

03:39PM    9       A.    THIS IS EVERY EXPENSE WE HAD IN THE COMPANY.

03:39PM   10       Q.    DID YOU SEND THAT IN RESPONSE TO HIS REQUEST TO UNDERSTAND

03:39PM   11       THE FINANCIAL CONDITION OF THE COMPANY?

03:39PM   12       A.    YES.

03:39PM   13       Q.    OKAY.   DID MR. LUCAS ULTIMATELY DECIDE TO INVEST IN

03:40PM   14       THERANOS AS PART OF THE SERIES B ROUND OF THERANOS?

03:40PM   15       A.    HE DID.

03:40PM   16       Q.    AND AFTER HE INVESTED, DID HE PLAY A ROLE OTHER THAN BEING

03:40PM   17       AN INVESTOR IN THE COMPANY?

03:40PM   18       A.    YES.    HE BECAME THE CHAIRMAN OF OUR BOARD.

03:40PM   19       Q.    AND HOW LONG DID HE SERVE IN THAT ROLE?

03:40PM   20       A.    HE SERVED IN THAT ROLE FROM I THINK EITHER END OF 2005 OR

03:40PM   21       EARLY 2006 TO JANUARY OF 2013.

03:40PM   22       Q.    IN ADDITION TO MR. LUCAS, DID ANOTHER VENTURE CAPITALIST,

03:40PM   23       PETE THOMAS, INVEST IN THE SERIES B ROUND IN THERANOS?

03:40PM   24       A.    HE DID.

03:40PM   25       Q.    AND WHO WAS MR. THOMAS?



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03:40PM    1       A.    MR. THOMAS WAS ALSO A SILICON VALLEY VENTURE CAPITALIST.

03:40PM    2       HE HAD BEEN A PARTNER AT A VENTURE CAPITAL FIRM CALLED IVP FOR

03:40PM    3       A LONG TIME, AND THEN LEFT TO BUILD HIS OWN VENTURE CAPITAL

03:41PM    4       FIRM CALLED ATA VENTURES.

03:41PM    5       Q.    AND DID MR. LUCAS -- OR MR. THOMAS ALSO CONDUCT DUE

03:41PM    6       DILIGENCE IN CONNECTION WITH HIS INVESTMENT INTO THERANOS?

03:41PM    7       A.    HE DID.

03:41PM    8       Q.    LET ME ASK YOU TO LOOK AT 14219.

03:41PM    9       A.    OKAY.

03:41PM   10       Q.    AND IS THIS AN EMAIL EXCHANGE BETWEEN YOU AND MR. THOMAS?

03:41PM   11       A.    YES.

03:41PM   12       Q.    AND I WOULD JUST ASK YOU, IS IT ACCURATE THAT HE ASKED TO

03:41PM   13       REVIEW ALL OF THE INTELLECTUAL PROPERTY RECORDS OF THE COMPANY?

03:41PM   14       A.    YES.

03:41PM   15       Q.    AND DID HE ALSO LOOK AT ALL OF THE FINANCIAL RECORDS OF

03:41PM   16       THE COMPANY?

03:41PM   17       A.    HE DID.

03:42PM   18       Q.    AND DID HE ALSO LOOK AT THE AGREEMENTS THAT THE COMPANY

03:42PM   19       HAD MADE WITH THIRD PARTIES?

03:42PM   20       A.    YES.

03:42PM   21       Q.    NOW, WE'VE HEARD SOME TESTIMONY IN THE CASE ABOUT

03:42PM   22       RELATIONSHIPS WITH PHARMACEUTICAL COMPANIES.          AS PART OF THE

03:42PM   23       SERIES B ROUND, WERE YOU TALKING TO INVESTORS ABOUT THE

03:42PM   24       POTENTIAL FOR THERANOS TO MARKET ITS PRODUCT TO PHARMACEUTICAL

03:42PM   25       COMPANIES?



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03:42PM    1       A.    I WAS.

03:42PM    2       Q.    AND DID SOME OF THE INVESTORS TELL YOU THAT THEY WANTED TO

03:42PM    3       UNDERSTAND BETTER THE POTENTIAL RELATIONSHIP THAT THERANOS

03:42PM    4       MIGHT HAVE WITH PHARMACEUTICAL COMPANIES?

03:42PM    5       A.    YES.

03:42PM    6       Q.    WAS MR. THOMAS ONE OF THOSE INVESTORS?

03:42PM    7       A.    HE WAS.

03:42PM    8       Q.    AND WHAT DID YOU DO IN RESPONSE TO REQUESTS FROM INVESTORS

03:42PM    9       ABOUT THE PHARMACEUTICAL BUSINESS AT THAT TIME OF THERANOS?

03:42PM   10       A.    I OFFERED TO PUT THEM IN TOUCH WITH THE PEOPLE WE WERE

03:42PM   11       WORKING WITH IN THE PHARMACEUTICAL COMPANIES DIRECTLY.

03:42PM   12       Q.    LET ME SHOW YOU EXHIBIT 15016.

03:43PM   13       A.    OKAY.

03:43PM   14       Q.    IS THIS AN EMAIL EXCHANGE ON WHICH YOURSELF AND MR. THOMAS

03:43PM   15       APPEAR RELATED TO HIS POTENTIAL INVESTMENT IN THERANOS?

03:43PM   16       A.    YES.

03:43PM   17                     MR. DOWNEY:   YOUR HONOR, I MOVE THE ADMISSION OF

03:43PM   18       15016.

03:43PM   19                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

03:43PM   20                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:43PM   21             (DEFENDANT'S EXHIBIT 15016 WAS RECEIVED IN EVIDENCE.)

03:43PM   22       BY MR. DOWNEY:

03:43PM   23       Q.    LET ME LOOK FIRST AT THE BOTTOM EMAIL EXCHANGE.

03:43PM   24             DO YOU SEE WHERE YOU INDICATE THAT YOU'RE INTRODUCING

03:43PM   25       MR. THOMAS TO SOMEONE NAMED DAVID LESTER?



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03:43PM    1       A.    I DO.

03:43PM    2       Q.    AND WHO WAS DAVID LESTER?      WHERE WAS HE WORKING AS OF

03:43PM    3       2005?

03:43PM    4       A.    DR. LESTER WAS OUR POINT PERSON AT PFIZER, AND HE LED SOME

03:44PM    5       OF THE TECHNOLOGY AND INNOVATION GROUPS AT PFIZER.

03:44PM    6       Q.    AND HAD MR. THOMAS SPECIFICALLY ASKED TO SPEAK TO SOMEONE

03:44PM    7       FROM PFIZER?

03:44PM    8       A.    HE DID.

03:44PM    9       Q.    AND DOES THIS EMAIL JUST REFLECT YOUR PUTTING THE TWO IN

03:44PM   10       TOUCH SO THEY COULD TALK?

03:44PM   11       A.    YES.

03:44PM   12       Q.    AND DO YOU KNOW IF THEY SPOKE?

03:44PM   13       A.    YES.

03:44PM   14       Q.    AND LET ME ASK YOU TO LOOK AT THE EMAIL AT THE TOP OF THE

03:44PM   15       PAGE.    THIS IS AN EMAIL FROM DAVID LESTER TO YOU AND TO

03:44PM   16       MR. THOMAS.

03:44PM   17             DO YOU SEE THAT?

03:44PM   18       A.    YES, I DO.

03:44PM   19       Q.    AND DO YOU SEE THAT HE INDICATES THAT HE'S WILLING TO TALK

03:44PM   20       TO MR. THOMAS?

03:44PM   21       A.    YES.

03:44PM   22       Q.    WAS THIS TYPICAL OF YOUR INTRODUCTIONS OF POTENTIAL

03:44PM   23       INVESTORS TO PHARMACEUTICAL COMPANIES AS OF THIS TIME?

03:44PM   24       A.    YES.

03:44PM   25       Q.    OKAY.   NOW, WE TALKED A MOMENT AGO ABOUT DON LUCAS,



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03:45PM    1       SENIOR.

03:45PM    2             I'D LIKE TO ASK YOU ABOUT CHRIS LUCAS, WHO THE JURY HAS

03:45PM    3       HEARD TESTIMONY FROM IN THIS CASE.

03:45PM    4             WAS CHRIS LUCAS MR. DON LUCAS, SENIOR'S NEPHEW?

03:45PM    5       A.    YES.

03:45PM    6       Q.    AND DID CHRIS LUCAS ALSO BECOME AN INVESTOR IN THERANOS AS

03:45PM    7       PART OF THE SERIES B INVESTMENT?

03:45PM    8       A.    HE DID.

03:45PM    9       Q.    AND HOW DID YOU COME TO MEET CHRIS LUCAS?

03:45PM   10       A.    I MEET HIM THROUGH HIS UNCLE, DON.

03:45PM   11       Q.    AND DID YOU AT SOME POINT COME TO SPEAK TO HIM ABOUT A

03:45PM   12       POTENTIAL INVESTMENT FOR HIS FIRM IN THERANOS?

03:45PM   13       A.    I DID.    I DON'T KNOW IF I INITIALLY SPOKE TO HIM DIRECTLY

03:45PM   14       OR IF HIS UNCLE DID.

03:45PM   15       Q.    OKAY.    DID YOU -- DID HE ASK FOR ANY OF THE ACCESS TO

03:45PM   16       INFORMATION THAT HIS UNCLE AND MR. THOMAS HAD REQUESTED?

03:45PM   17       A.    NO.

03:45PM   18       Q.    DO YOU KNOW IF HE REQUESTED TO SPEAK TO ANY PHARMACEUTICAL

03:46PM   19       COMPANIES AT THAT TIME?

03:46PM   20       A.    I DON'T THINK SO.

03:46PM   21       Q.    WOULD YOU HAVE BEEN WILLING AT THAT TIME TO PERMIT HIM TO

03:46PM   22       SPEAK TO PHARMACEUTICAL COMPANIES WITH WHOM PFIZER -- OR WITH

03:46PM   23       WHOM THERANOS POTENTIALLY WOULD HAVE A RELATIONSHIP?

03:46PM   24       A.    YES.

03:46PM   25       Q.    OKAY.    WERE YOU SUCCESSFUL IN RAISING SOME MONEY AS PART



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03:46PM    1       OF THIS SERIES B ROUND OF INVESTMENT?

03:46PM    2       A.    I WAS.

03:46PM    3       Q.    AND DID YOU HIRE SOME ADDITIONAL SCIENTISTS AND ENGINEERS

03:46PM    4       WITH THAT MONEY?

03:46PM    5       A.    I DID.

03:46PM    6       Q.    AND AT THIS TIME, WHAT DID THE RESEARCH AND DEVELOPMENT OF

03:46PM    7       THE COMPANY REALLY FOCUS ON?       WAS IT CONTINUING TO FOCUS ON THE

03:46PM    8       ASSAYS AND THE HARDWARE AND THE SOFTWARE?

03:46PM    9       A.    YES, THE ASSAYS, THE HARDWARE, THE SOFTWARE, FIGURING OUT

03:46PM   10       HOW TO BUILD THE TECHNOLOGY, THE MANUFACTURING THAT WENT INTO

03:46PM   11       THAT, AND HOW TO GROW THE COMPANY.

03:46PM   12       Q.    AND I'D LIKE TO SHOW YOU EXHIBIT 15024.

03:47PM   13             IS 15024 THE FIRST ACTUAL VERSION OF AN ACTUAL DEVICE THAT

03:47PM   14       WAS BUILT OUT OF THE PROTOTYPE?

03:47PM   15       A.    YES.

03:47PM   16                    MR. DOWNEY:    YOUR HONOR, I MOVE THE ADMISSION OF

03:47PM   17       15024.

03:47PM   18                    MR. LEACH:    NO OBJECTION, YOUR HONOR.

03:47PM   19                    THE COURT:    IT'S ADMITTED.    IT MAY BE PUBLISHED.

03:47PM   20             (DEFENDANT'S EXHIBIT 15024 WAS RECEIVED IN EVIDENCE.)

03:47PM   21       BY MR. DOWNEY:

03:47PM   22       Q.    AND CAN YOU IDENTIFY AND JUST TELL THE JURY WHAT IS SHOWN

03:47PM   23       IN THIS DEVICE, WHAT DEVICE THIS IS, AND WHAT OTHER MATERIALS

03:47PM   24       ARE SHOWN IN THE PICTURE?

03:47PM   25       A.    THIS IS THE THERANOS 1.0.      IT WAS OUR FIRST SYSTEM.       AND



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03:47PM    1       YOU SEE ON THE LEFT THE CARTRIDGE, WHICH IS THE DISPOSABLE THAT

03:48PM    2       CONTAINED THE CHEMICALS OR THE CHEMISTRY.

03:48PM    3             AT THE TOP RIGHT, IT'S REALLY SMALL, BUT THERE'S A LITTLE

03:48PM    4       FINGER WHERE YOU COULD TOUCH THE CARTRIDGE AND BLOOD WOULD FLOW

03:48PM    5       IN.

03:48PM    6             AND ON THE RIGHT IS THE DEVICE THAT YOU COULD PUT THE

03:48PM    7       CARTRIDGE INTO.     IT WOULD PROCESS THE SAMPLE.

03:48PM    8             AND THEN THE BIG ANTENNA ON THE BACK WAS TO CONNECT TO A

03:48PM    9       CELL NETWORK AND HAVE DATA TRANSFERRED TO THE CLOUD.

03:48PM   10       Q.    OKAY.    AND IS THIS THE PRODUCT THAT YOU WERE TALKING TO

03:48PM   11       PHARMACEUTICAL COMPANIES ABOUT DURING THIS TIMEFRAME?

03:48PM   12       A.    IT IS.

03:48PM   13       Q.    OKAY.    NOW, WERE THERE -- DURING 2006 AND 2007, DO YOU

03:48PM   14       RECALL WHICH PHARMACEUTICAL COMPANIES YOU HAD CONVERSATIONS

03:48PM   15       WITH ABOUT USING THIS DEVICE AND THE OTHER TECHNOLOGIES OF

03:48PM   16       THERANOS?

03:48PM   17       A.    I DO, SOME OF THEM.

03:49PM   18       Q.    OKAY.    CAN YOU TELL US WHAT COMPANIES THEY WERE?

03:49PM   19       A.    WE WERE TALKING TO PFIZER, TO GLAXOSMITHKLINE, TO

03:49PM   20       NOVARTIS, AND TO BRISTOL MYERS SQUIBB.

03:49PM   21       Q.    OKAY.    DID YOU ULTIMATELY SUCCEED IN SIGNING A CONTRACT

03:49PM   22       WITH GLAXOSMITHKLINE --

03:49PM   23       A.    YES.

03:49PM   24       Q.    -- RELATED TO THERANOS'S TECHNOLOGY?

03:49PM   25       A.    WE DID.



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03:49PM    1       Q.    AND WHEN DID YOU SIGN THAT AGREEMENT?

03:49PM    2       A.    IN 2006.

03:49PM    3       Q.    OKAY.    DO YOU KNOW WHEN IN 2006?

03:49PM    4       A.    I THINK TOWARD THE END OF THE YEAR, PROBABLY THE SECOND

03:49PM    5       HALF OF 2006.

03:49PM    6       Q.    AND JUST SO WE GET THESE DATES DOWN RELATIVE TO INVESTMENT

03:49PM    7       PERIODS, LET ME ASK YOU TO LOOK AT EXHIBIT 14111, WHICH IS

03:49PM    8       ALREADY IN EVIDENCE.

03:49PM    9             AND DID YOU ENTER INTO THAT AGREEMENT IN 2006?

03:49PM   10       A.    I'M SORRY, I WAS LOOKING AT THE SCREEN.         14111.

03:50PM   11             YES.

03:50PM   12       Q.    AND DID YOU ALSO IN 2006 ENTER INTO AN AGREEMENT WITH

03:50PM   13       PFIZER RELATED TO THEIR USE OF THERANOS TECHNOLOGY?

03:50PM   14       A.    YES.

03:50PM   15       Q.    LET ME ASK YOU TO LOOK FOR A MOMENT AT EXHIBIT 14112.

03:50PM   16       THAT'S ALSO ALREADY IN EVIDENCE.

03:50PM   17       A.    YES.

03:50PM   18       Q.    AND DID YOU -- WHEN DID YOU ENTER INTO THAT AGREEMENT WITH

03:50PM   19       PFIZER?

03:50PM   20                     THE COURT:    I'M NOT SURE THIS IS IN EVIDENCE,

03:50PM   21       COUNSEL.

03:50PM   22                     MR. DOWNEY:   14112?

03:50PM   23                     THE COURT:    I DON'T BELIEVE IT IS.

03:50PM   24                     THE CLERK:    NEITHER 14111 NOR 14112 ARE IN EVIDENCE.

03:50PM   25                     MR. DOWNEY:   WELL, IN THAT CASE I WILL MOVE 14111



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03:50PM    1       AND THEN I'LL MOVE THE OTHER.

03:50PM    2                     MR. LEACH:   NO OBJECTION TO EITHER, YOUR HONOR.

03:50PM    3                     THE COURT:   THEY'RE ADMITTED.

03:50PM    4             (DEFENDANT'S EXHIBITS 14111 AND 14112 WERE RECEIVED IN

03:50PM    5      EVIDENCE.)

03:50PM    6       BY MR. DOWNEY:

03:50PM    7       Q.    DID YOU SIGN THE AGREEMENT WITH PFIZER IN NOVEMBER OF

03:51PM    8       2006?

03:51PM    9       A.    YES, NOVEMBER 2ND OF 2006.

03:51PM   10       Q.    NOW, WERE THE AGREEMENTS WITH GSK AND THE AGREEMENTS WITH

03:51PM   11       PFIZER SOMETHING THAT YOU TALKED TO INVESTORS ABOUT WHEN YOU

03:51PM   12       WERE RAISING MONEY FOR THE COMPANY IN 2006?

03:51PM   13       A.    YES.

03:51PM   14       Q.    ALSO IN 2006, DID THE COMPANY CONDUCT DEMONSTRATIONS

03:51PM   15       FOR -- OF ITS TECHNOLOGY FOR CERTAIN PHARMACEUTICAL COMPANIES?

03:51PM   16       A.    WE DID.

03:51PM   17       Q.    WHAT COMPANIES DID YOU CONDUCT DEMONSTRATIONS FOR?

03:51PM   18       A.    FOR NOVARTIS AND FOR ELI LILLY.

03:51PM   19       Q.    TELL US ABOUT THE DEMONSTRATION THAT YOU CONDUCTED FOR

03:51PM   20       NOVARTIS OF THE THERANOS TECHNOLOGY.

03:51PM   21       A.    WE RAN OUR TECHNOLOGY IN SWITZERLAND AT ONE OF THEIR

03:51PM   22       OFFICES AND PROCESSED SAMPLES ON CARTRIDGES THAT WE BROUGHT

03:51PM   23       THERE, AND THEN HAD DATA WIRELESSLY TRANSMITTED BACK TO OUR

03:52PM   24       SITE IN CALIFORNIA.

03:52PM   25       Q.    OKAY.    LET ME ASK YOU TO LOOK AT EXHIBIT 15017.



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03:52PM    1       A.    150 -- OKAY.

03:52PM    2       Q.    IS 15017 AN EMAIL CONCERNING THE DEMONSTRATION THAT YOU

03:52PM    3       CONDUCTED FOR NOVARTIS IN 2006?

03:52PM    4       A.    YES.

03:52PM    5                    MR. DOWNEY:    YOUR HONOR, I MOVE THE ADMISSION OF

03:52PM    6       BOTH PAGES OF THIS EXHIBIT.

03:52PM    7                    MR. LEACH:    YOUR HONOR, FOUNDATION, HEARSAY.

03:52PM    8             I ALSO DON'T BELIEVE THIS WAS PRODUCED IN DISCOVERY UNTIL

03:52PM    9       LAST NIGHT.

03:52PM   10                    MR. DOWNEY:    YOUR HONOR, THIS IS A FIVE LINE EMAIL

03:52PM   11       WITH A PICTURE ATTACHED.

03:52PM   12                    THE COURT:    I SEE THAT.

03:52PM   13             CAN YOU LAY A FOUNDATION AS TO -- A LITTLE MORE FOUNDATION

03:53PM   14       ON THIS.

03:53PM   15       BY MR. DOWNEY:

03:53PM   16       Q.    WHEN YOU WERE TALKING TO INVESTORS IN 2006, DID YOU

03:53PM   17       DISCUSS A POTENTIAL RELATIONSHIP BETWEEN NOVARTIS AND THERANOS?

03:53PM   18       A.    I DID.

03:53PM   19       Q.    AND DID YOU SAY TO SOME OF THOSE POTENTIAL INVESTORS THAT

03:53PM   20       THERANOS WAS GOING TO CONDUCT A DEMONSTRATION OF ITS TECHNOLOGY

03:53PM   21       AT NOVARTIS?

03:53PM   22       A.    YES.

03:53PM   23                    MR. DOWNEY:    YOUR HONOR, I MOVE THE ADMISSION OF

03:53PM   24       15017.

03:53PM   25                    THE COURT:    JUST LAY A FOUNDATION ON WHAT THE



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03:53PM    1       PHOTOGRAPH IS AND WHAT THE IMAGE IS.

03:53PM    2                     MR. DOWNEY:   OH, I'M SORRY.    YES.

03:53PM    3       Q.    DO YOU RECOGNIZE THE INDIVIDUALS IN THE PHOTOGRAPH THAT IS

03:53PM    4       ATTACHED TO 15017?

03:53PM    5       A.    I DO.

03:53PM    6       Q.    AND WHO ARE THEY?

03:53PM    7       A.    THEY ARE SCIENTISTS AND ENGINEERS FROM THERANOS.

03:53PM    8       Q.    AND DO YOU KNOW WHEN THIS PHOTOGRAPH WAS TAKEN?

03:53PM    9       A.    I BELIEVE IN NOVEMBER OF 2006, YES.

03:54PM   10       Q.    AND WHAT WAS -- WHAT WERE THEY DOING IN THIS PHOTOGRAPH,

03:54PM   11       IF YOU KNOW?

03:54PM   12       A.    THEY ARE MONITORING THE RESULTS COMING IN FROM THE

03:54PM   13       PROCESSING OF THE SAMPLES IN SWITZERLAND.

03:54PM   14                     MR. DOWNEY:   OKAY.   YOUR HONOR, I MOVE THE ADMISSION

03:54PM   15       OF THE EXHIBIT.

03:54PM   16                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:54PM   17             (DEFENDANT'S EXHIBIT 15017 WAS RECEIVED IN EVIDENCE.)

03:54PM   18       BY MR. DOWNEY:

03:54PM   19       Q.    LET'S LOOK FIRST AT THE EMAIL.

03:54PM   20             AND IF WE JUST LOOK AT THE ADDRESS ON TOP, THIS IS AN

03:54PM   21       EMAIL FROM AN INDIVIDUAL NAMED JOHN HOWARD TO YOU IN NOVEMBER

03:54PM   22       OF 2006.

03:54PM   23             DO YOU SEE THAT?

03:54PM   24       A.    I DO.

03:54PM   25       Q.    AND WHO WAS JOHN HOWARD?



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03:54PM    1       A.    JOHN HOWARD WAS LEADING OUR R&D AT THIS POINT.          HE WAS ONE

03:54PM    2       OF THE EXECUTIVES FROM I.B.M. THAT I HAD MET AT STANFORD.

03:54PM    3       Q.    AND LET'S GO DOWN TO THE BOTTOM OF THE EMAIL.

03:54PM    4             AND HE SAYS TO YOU, "WHAT A GRATIFYING MORNING.          THIS HAS

03:55PM    5       BEEN OUR FIRST LIVE DEMO."

03:55PM    6             WAS THE DEMONSTRATION THAT THERANOS CONDUCTED FOR NOVARTIS

03:55PM    7       IN SWITZERLAND THE FIRST DEMONSTRATION OF THE COMPANY'S

03:55PM    8       TECHNOLOGY?

03:55PM    9       A.    OF THAT ONE SERIES SYSTEM, YES.

03:55PM   10       Q.    AND THEN HE GOES ON TO SAY, "THE ABCS TEAM WAS ALL OVER

03:55PM   11       EVERY KEYSTROKE AND LOG ENTRY AS THE DATA CAME BACK."

03:55PM   12             CAN YOU TELL US WHAT THE ABCS TEAM WAS?

03:55PM   13       A.    YES.   THAT IS WHAT WE WERE CALLING OUR SOFTWARE AT THE

03:55PM   14       TIME, THE SOFTWARE THAT WOULD TELL THE INSTRUMENT WHAT TO DO.

03:55PM   15             SO YOU WOULD PUT A CARTRIDGE IN A DEVICE, THE BAR CODE ON

03:55PM   16       THE CARTRIDGE WOULD CALL THE CLOUD, AND THE CLOUD WOULD SEND

03:55PM   17       COMMANDS BACK TO THE DEVICE TO TELL IT WHAT TO RUN, AND THEN

03:55PM   18       THE DATA WOULD GO BACK TO THE CLOUD.

03:55PM   19             SO THAT CLOUD TECHNOLOGY WAS WHAT WE CALLED THE ABCS.

03:55PM   20       Q.    AND DID YOU UNDERSTAND THAT OTHERS AT THERANOS THOUGHT

03:55PM   21       THAT THE DEMONSTRATION OF THERANOS'S TECHNOLOGY IN 2006 WAS

03:56PM   22       SUCCESSFUL?

03:56PM   23       A.    I DID.

03:56PM   24       Q.    AND DID YOU FEEL THAT WAY?

03:56PM   25       A.    I DID.



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03:56PM    1       Q.     LET ME ASK YOU TO LOOK AT EXHIBIT 13762.

03:56PM    2              IS THIS AN EMAIL THAT YOU SENT TO ALL THERANOS EMPLOYEES

03:56PM    3       AFTER THE DEMONSTRATION AT NOVARTIS?

03:56PM    4       A.     YES.

03:56PM    5                     MR. DOWNEY:   YOUR HONOR, I MOVE THE ADMISSION OF

03:56PM    6       13762.

03:56PM    7                     MR. LEACH:    NO OBJECTION, YOUR HONOR.

03:56PM    8                     THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:56PM    9              (DEFENDANT'S EXHIBIT 13762 WAS RECEIVED IN EVIDENCE.)

03:56PM   10       BY MR. DOWNEY:

03:56PM   11       Q.     LET ME JUST DISPLAY IT.

03:56PM   12              DO YOU SEE WHERE YOU SAY, "WE NAILED THIS ONE.         YOU ALL

03:56PM   13       DID AN INCREDIBLE JOB IN MAKING THIS HAPPEN - THIS IS THE

03:56PM   14       THERANOS WAY."

03:56PM   15              IS THAT A COMMENT ON THE DEMONSTRATION THAT HAD BEEN

03:56PM   16       CONDUCTED IN SWITZERLAND?

03:56PM   17       A.     YES.

03:56PM   18       Q.     BY THE WAY, WHEN YOU WENT TO SWITZERLAND, WHO WAS WITH

03:56PM   19       YOU?

03:56PM   20       A.     SOME OF OUR ENGINEERS AND SCIENTISTS AND THE BUSINESS

03:56PM   21       PEOPLE THAT WE HAD WHO WERE WORKING WITH PHARMACEUTICAL

03:57PM   22       COMPANIES.

03:57PM   23       Q.     NOW, AROUND THE SAME TIME THAT YOU WERE SIGNING THESE

03:57PM   24       CONTRACTS AND CONDUCTING THESE DEMONSTRATIONS, DID YOU DECIDE

03:57PM   25       TO CONDUCT ANOTHER SERIES OF FUND RAISING FOR THERANOS TO FUND



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03:57PM    1       SOME OF THESE ACTIVITIES?

03:57PM    2       A.    YES.

03:57PM    3       Q.    AND WAS THAT IN LATE 2006?

03:57PM    4       A.    IT WAS.

03:57PM    5       Q.    DID MR. LUCAS AND MR. THOMAS ALSO INVEST IN THE SERIES C

03:57PM    6       ROUND OF THERANOS?

03:57PM    7       A.    THEY DID.

03:57PM    8       Q.    AND WHO ELSE?     DID MR. CHRIS LUCAS INVEST IN THAT ROUND?

03:57PM    9       A.    YES.

03:57PM   10       Q.    AND WHO ELSE INVESTED IN THE SERIES C ROUND AT THERANOS?

03:57PM   11       A.    LARRY ELLISON INVESTED, AND SOME OF THE FRIENDS AND

03:57PM   12       FAMILY, OR PEOPLE THAT I HAD MET THROUGH FRIENDS AND FAMILY IN

03:57PM   13       THE EARLIER ROUNDS INVESTED AS WELL.

03:58PM   14       Q.    OKAY.   AND HOW DID YOU COME TO BE IN TOUCH WITH

03:58PM   15       MR. ELLISON?

03:58PM   16       A.    THROUGH DON LUCAS.

03:58PM   17       Q.    AND DID YOU ALSO HAVE THE EXPERIENCE, AS PART OF THIS

03:58PM   18       ROUND OF FUND RAISING, THAT SOME POTENTIAL INVESTORS WANTED TO

03:58PM   19       TALK TO THE PHARMACEUTICAL COMPANIES THAT THERANOS WAS SIGNING

03:58PM   20       CONTRACTS WITH AND HOPING TO WORK WITH?

03:58PM   21       A.    YES.

03:58PM   22       Q.    OKAY.   LET ME SHOW YOU EXHIBIT 15013.       I'M NOT GOING TO

03:58PM   23       INTRODUCE THIS FOR THE TIME BEING.

03:58PM   24             IF YOU'LL JUST TAKE A MOMENT TO REVIEW THAT.

03:58PM   25             WELL, YOU KNOW, IT MIGHT JUST BE EASIER TO ADMIT IT.



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03:58PM    1       LET'S -- IS THIS AN EMAIL FROM YOU TO A POTENTIAL INVESTOR IN

03:58PM    2       CONNECTION WITH RAISING MONEY FOR THE SERIES C INVESTMENT?

03:58PM    3       A.    IT IS.

03:59PM    4                    MR. DOWNEY:    YOUR HONOR, I MOVE THE ADMISSION OF

03:59PM    5       15013.

03:59PM    6                    MR. LEACH:    NO OBJECTION, YOUR HONOR.

03:59PM    7                    THE COURT:    IT'S ADMITTED.

03:59PM    8             (DEFENDANT'S EXHIBIT 15013 WAS RECEIVED IN EVIDENCE.)

03:59PM    9       BY MR. DOWNEY:

03:59PM   10       Q.    IF WE COULD DISPLAY THAT.

03:59PM   11             IF YOU WOULD LOOK AT THE BOTTOM EMAIL, IT'S AN EMAIL FROM

03:59PM   12       YOU TO BOB GRADY IN JULY OF 2006.

03:59PM   13             WHO WAS BOB GRADY?

03:59PM   14       A.    HE WAS A PARTNER AT AN INVESTMENT FIRM CALLED CARLYLE.

03:59PM   15       Q.    AND WAS HE EVALUATING A POTENTIAL INVESTMENT IN THERANOS

03:59PM   16       AS OF THIS TIME?

03:59PM   17       A.    HE WAS.

03:59PM   18       Q.    AND WOULD THAT INVESTMENT ULTIMATELY HAVE BEEN AS PART OF

03:59PM   19       THE SERIES C INVESTMENT IN THERANOS?

03:59PM   20       A.    YES.

03:59PM   21       Q.    AND IS THAT THE SAME ROUND OF INVESTMENT THAT -- WHEN

03:59PM   22       ALAN EISENMAN FIRST INVESTED IN THERANOS?

03:59PM   23       A.    YES.

03:59PM   24       Q.    AND ALSO CHRIS LUCAS INVESTED IN THAT ROUND AGAIN;

03:59PM   25       CORRECT?



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03:59PM    1       A.    HE DID.

03:59PM    2       Q.    AND ALSO DID MR. HALL, CRAIG HALL INVESTED IN THAT ROUND

03:59PM    3       OF INVESTMENT?

03:59PM    4       A.    HE DID.    I THINK HE INVESTED IN CHRIS'S FUND, WHICH

04:00PM    5       INVESTED IN THAT ROUND OF INVESTMENT.

04:00PM    6       Q.    OKAY.   SO I SHOULD ASK YOU, WAS MR. HALL AN INDIRECT

04:00PM    7       INVESTOR IN THERANOS AS PART OF THAT ROUND?

04:00PM    8       A.    YES.

04:00PM    9       Q.    IF YOU TAKE A LOOK AT THE EMAIL BETWEEN YOURSELF AND

04:00PM   10       MR. GRADY, YOU LIST A NUMBER OF NAMES, AND THEY APPEAR TO BE

04:00PM   11       INDIVIDUALS AT, AMONG OTHER COMPANIES, PFIZER, GLAXOSMITHKLINE,

04:00PM   12       BRISTOL MYERS, NOVARTIS.

04:00PM   13             CAN YOU -- IS THAT, IN FACT, WHO THESE INDIVIDUALS ARE?

04:00PM   14       A.    YES.

04:00PM   15       Q.    AND CAN YOU TELL US WHY YOU'RE GIVING THE NAMES OF THOSE

04:00PM   16       INDIVIDUALS TO THIS POTENTIAL INVESTOR?

04:00PM   17       A.    YES.    HE HAD ASKED FOR THE ABILITY TO SPEAK WITH PEOPLE

04:00PM   18       THAT WE WERE WORKING WITH IN PHARMACEUTICAL COMPANIES, AND I

04:00PM   19       WAS CONNECTING HIM TO THOSE PEOPLE.

04:00PM   20       Q.    AND DID SOME -- WERE THERE SOME OCCASIONS WHERE THERE WERE

04:01PM   21       INVESTORS WHO WOULD NOT ASK FOR THIS INFORMATION?

04:01PM   22       A.    YES.

04:01PM   23       Q.    BUT IF INDIVIDUALS ASKED FOR THIS INFORMATION, DID YOU

04:01PM   24       PROVIDE THEM INFORMATION ABOUT CONTACTS AT THE PHARMACEUTICAL

04:01PM   25       COMPANIES SO THAT THEY COULD TALK TO THEM?



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04:01PM    1       A.    I DID.

04:01PM    2       Q.    WHY DID YOU DO THAT?

04:01PM    3       A.    BECAUSE I THOUGHT THAT THE PEOPLE THAT WE WERE WORKING

04:01PM    4       WITH IN THE PHARMA COMPANIES COULD EXPLAIN THE IMPACT AND THE

04:01PM    5       POTENTIAL OF OUR WORK DIRECTLY.

04:01PM    6       Q.    OKAY.

04:01PM    7             YOUR HONOR, I'M GOING TO MOVE TO ABOUT A 20 MINUTE SECTION

04:01PM    8       NOW, SO --

04:01PM    9                     THE COURT:    LET'S TAKE OUR WEEKEND BREAK NOW, LADIES

04:01PM   10       AND GENTLEMEN.

04:01PM   11             THANK YOU, MR. DOWNEY.

04:01PM   12             I THINK MONDAY, MS. KRATZMANN, THAT'S A HALF DAY; IS THAT

04:01PM   13       RIGHT?

04:01PM   14                     THE CLERK:    YES, YOUR HONOR.

04:01PM   15                     THE COURT:    SO WE'LL BE IN SESSION AT 9:00 O'CLOCK,

04:01PM   16       9:00 O'CLOCK, AND WE'LL END PROBABLY AT ABOUT 1:00 O'CLOCK.

04:01PM   17             SO, LADIES AND GENTLEMEN, LET ME REMIND YOU OF THE

04:01PM   18       ADMONITION, PLEASE.        DO NOT DO ANY RESEARCH.    DO NOT READ,

04:01PM   19       LISTEN TO, TALK ABOUT OR MAKE ANY DECISIONS ABOUT ANYTHING IN

04:02PM   20       THIS CASE.

04:02PM   21             BEFORE YOU LEAVE -- MS. HOLMES, YOU CAN STAND DOWN,

04:02PM   22       PLEASE.    THANK YOU.

04:02PM   23             LADIES AND GENTLEMEN, I DO WANT TO TALK TO YOU.

04:02PM   24             YOU RECALL THAT WE HAD SOME DISCUSSION ABOUT THE MEDIA

04:02PM   25       MOTION AND YOUR INFORMATION REGARDING THE QUESTIONNAIRES.



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04:02PM    1             PLEASE RECALL THAT I HAD INTERVIEWS WITH YOU, EACH OF YOU,

04:02PM    2       WITH COUNSEL IN MY OFFICE REGARDING YOUR SPECIFIC COMMENTS AND

04:02PM    3       THOUGHTS ABOUT THOSE QUESTIONNAIRES.

04:02PM    4             I THINK I TOLD YOU ABOUT FIVE WEEKS AGO THAT I WAS GOING

04:02PM    5       TO REVIEW THE MOTION AND I WAS GOING TO KEEP YOU INFORMED ABOUT

04:02PM    6       THE COURT'S DECISION.      I THINK YOU HAD EXPRESSED SOME QUESTIONS

04:02PM    7       ABOUT THAT.

04:02PM    8             I JUST WANT TO TELL YOU NOW --

04:02PM    9             MR. DOWNEY, I JUST WANT TO CONFIRM, IS THIS A GOOD TIME?

04:02PM   10       SHOULD WE WAIT FOR ANOTHER TIME FOR THIS?         I'M SORRY, SIR.

04:03PM   11                    MR. DOWNEY:    WHATEVER SUITS THE COURT.

04:03PM   12                    MR. SCHENK:    YES, THIS IS FINE.     THANK YOU.

04:03PM   13                    THE COURT:    ALL RIGHT.   THANK YOU.

04:03PM   14             SO, LADIES AND GENTLEMEN, I DO WANT TO TELL YOU THAT I

04:03PM   15       HAVE MADE A DECISION ON THAT MOTION.        IT IS GOING TO BE POSTED,

04:03PM   16       THAT MEANS IT WILL BE POSTED ON OUR ECF DOCKET THIS AFTERNOON.

04:03PM   17       IT WILL BE A PUBLIC POSTING SO EVERYONE WILL HAVE ACCESS TO IT.

04:03PM   18             I DO WANT TO LET YOU KNOW THAT IN REGARDS TO THE MOTION

04:03PM   19       FROM THE MEDIA COALITION, I HAVE GRANTED IN PART AND DENIED IN

04:03PM   20       PART THAT MOTION.

04:03PM   21             AND I JUST WANT TO TELL YOU, I AM GOING TO MAINTAIN THE

04:03PM   22       COMPLETED JUROR QUESTIONNAIRES UNDER SEAL FOR THE REMAINDER OF

04:03PM   23       THE TRIAL.    THEY WILL REMAIN UNDER SEAL.

04:03PM   24             AFTER THERE'S A VERDICT IN THIS CASE, OR AFTER THIS

04:03PM   25       EVIDENCE AND THIS CASE IS FINISHED, THE COURT -- AND AFTER I



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04:03PM    1       HAVE RELEASED YOU FROM YOUR JURY SERVICE -- I WILL THEN

04:03PM    2       PARTIALLY UNSEAL THE QUESTIONNAIRES WITH LIMITED REDACTIONS,

04:04PM    3       WHICH IS TO SAY INFORMATION IS GOING TO BE REDACTED, NAMES AND

04:04PM    4       ADDRESSES.

04:04PM    5             SOME OF YOU HAVE EXPRESSED TO ME IN CHAMBERS SPECIFIC

04:04PM    6       ISSUES, AND I'VE ADDRESSED THOSE IN THE ORDER.

04:04PM    7             SOME OF THEM -- SOME OF YOU HAVE ALSO INDICATED THAT YOU

04:04PM    8       HAVE LESS FEELINGS ABOUT REDACTIONS.

04:04PM    9             AND I'M MINDFUL OF THOSE REQUESTS AND THOSE FEELINGS, AND

04:04PM   10       THE ORDER WILL REFLECT THAT ACCORDINGLY AS WELL.

04:04PM   11             BUT I JUST WANT YOU TO KNOW THAT NONE OF THIS INFORMATION

04:04PM   12       IS GOING TO BE RELEASED WHILE YOU'RE STILL IN TRIAL AND YOU'RE

04:04PM   13       STILL SERVING AS JURORS IN THIS TRIAL.

04:04PM   14             I JUST WANT TO LET YOU KNOW THAT.        THOSE QUESTIONNAIRES

04:04PM   15       WILL REMAIN CONFIDENTIAL PURSUANT TO THIS ORDER UNTIL YOUR

04:04PM   16       TRIAL SERVICE IS FINISHED.

04:04PM   17             AND THEN, AGAIN, AS I SAID, THERE WILL BE LIMITED, LIMITED

04:04PM   18       REDACTIONS.

04:04PM   19             (PAUSE IN PROCEEDINGS.)

04:04PM   20                    THE COURT:    LET ME SAY, I DON'T -- AND I'M TELLING

04:05PM   21       YOU THIS NOW BECAUSE I DON'T WANT YOU TO -- YOU'VE RAISED A

04:05PM   22       CONCERN ABOUT IT.     I DON'T WANT YOU TO BE THINKING ABOUT THIS

04:05PM   23       OR LET THIS IN ANY WAY INTERFERE WITH YOUR, AS I TOLD YOU IN

04:05PM   24       CHAMBERS WHEN WE MET, INTERFERE IN ANY WAY WITH YOUR ABILITY TO

04:05PM   25       CONTINUE TO FOCUS AS YOU HAVE BEEN DOING ON THE ISSUES IN THIS



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04:05PM    1       CASE.

04:05PM    2             I SHOULD TELL YOU THAT ADDRESSES, THOSE ARE GOING TO

04:05PM    3       REMAIN REDACTED, THAT TYPE OF PERSONAL INFORMATION.

04:05PM    4             BUT I JUST WANT TO LET YOU KNOW THAT TODAY SO YOU'LL HAVE

04:05PM    5       THAT INFORMATION.

04:05PM    6             ALL RIGHT.    LET ME REMIND YOU OF THE ADMONITION THAT

04:05PM    7       REMAINS IN PLACE.

04:05PM    8             LADIES AND GENTLEMEN, LET ME TELL YOU THIS, TOO, AND I

04:05PM    9       APOLOGIZE I DIDN'T GET THIS DONE NOW, BUT WHEN YOU COME BACK

04:05PM   10       MONDAY, I WILL HAVE A COPY OF THIS ORDER FOR EACH OF YOU, AND

04:05PM   11       YOU'LL HAVE A COPY OF IT.

04:05PM   12             AND MS. KRATZMANN WILL PROVIDE YOU A COPY OF MY ORDER THAT

04:05PM   13       IS A LITTLE MORE INFORMATIVE THAN WHAT I'M TELLING YOU NOW.

04:05PM   14             BUT NOTHING IS GOING TO BE RELEASED UNTIL THE TRIAL IS

04:06PM   15       OVER.

04:06PM   16             ALL RIGHT.    THANK YOU VERY MUCH.      HAVE A GREAT WEEKEND,

04:06PM   17       AND WE'LL SEE YOU MONDAY MORNING.        THANK YOU.

04:06PM   18             (JURY OUT AT 4:06 P.M.).

04:06PM   19                    THE COURT:    THANK YOU.   PLEASE BE SEATED.

04:06PM   20             THE RECORD SHOULD REFLECT THAT THE JURY HAS LEFT FOR THE

04:06PM   21       WEEKEND.

04:06PM   22             COUNSEL, I JUST WANT TO CHECK IN, ANYTHING FURTHER BEFORE

04:06PM   23       WE BREAK?

04:06PM   24                    MR. LEACH:    VERY BRIEFLY, YOUR HONOR.      I JUST WANT

04:06PM   25       TO NOTE.



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04:06PM    1                    THE COURT:    YOU CAN TAKE YOUR MASK OFF.      THANK YOU.

04:06PM    2       I APPRECIATE IT.

04:06PM    3                    MR. LEACH:    I DON'T HAVE THE EXACT NUMBER, BUT

04:06PM    4       THERE'S AT LEAST 20 TO 25 EXHIBITS IN THE DIRECT EXAMINATION

04:06PM    5       BINDER FROM MS. HOLMES THAT WERE PRODUCED TO US LAST NIGHT.

04:07PM    6       MOST OF THEM WE DIDN'T OBJECT TO BECAUSE WE DIDN'T WANT TO DO

04:07PM    7       THAT IN FRONT OF THE JURY.

04:07PM    8             THE COURT HAS SET MULTIPLE RULE 16 DEADLINES IN THIS CASE.

04:07PM    9       THESE ARE DOCUMENTS THAT SHOULD HAVE BEEN PRODUCED IN DISCOVERY

04:07PM   10       AND ARE BEING PRODUCED IN ADVANCE OF THE EXAMINATION THE NIGHT

04:07PM   11       BEFORE.

04:07PM   12             WE'LL HAVE AN OPPORTUNITY TO GO THROUGH THOSE OVER THE

04:07PM   13       WEEKEND, AND THAT PART I'M NOT RAISING AN OBJECTION TO.

04:07PM   14             AND I DO THINK THERE ARE MORE COMING.        I JUST NEED TO

04:07PM   15       NOTE, THESE AREN'T PRODUCED IN DISCOVERY.         WE'RE GETTING THEM

04:07PM   16       LITERALLY FOR THE FIRST TIME THE NIGHT BEFORE.

04:07PM   17             SO IT'S NOT A MATTER OF TAKING A DOCUMENT THAT WAS

04:07PM   18       PRODUCED AND MAKING AN ASSESSMENT AND WE'RE GOING TO ACTUALLY

04:07PM   19       USE THAT IN THE TRIAL.

04:07PM   20             WE'RE GETTING THIS IN REALTIME.       IT'S NOT CONSISTENT WITH

04:07PM   21       THE COURT'S ORDERS.

04:07PM   22             I'M NOT ASKING FOR ANYTHING NOW.        I JUST DON'T WANT THIS

04:07PM   23       TO CONTINUE.

04:07PM   24                    THE COURT:    THIS IS SORT OF WHAT WE WERE TALKING

04:07PM   25       ABOUT THIS MORNING, MR. DOWNEY.



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04:07PM    1                    MR. DOWNEY:    LET ME --

04:07PM    2                    THE COURT:    YOU CAN TAKE YOUR MASK OFF, MR. DOWNEY.

04:07PM    3                    MR. DOWNEY:    LET ME CUT THROUGH THIS.

04:07PM    4              I MEAN, I OBVIOUSLY HAVE SOME CONCERNS, AND HAD SOME

04:08PM    5       CONCERNS UNTIL THE CASE RESTED.

04:08PM    6              BUT I WILL GET -- I DON'T KNOW IF THERE ARE MATERIALS THAT

04:08PM    7       WILL BE RELEVANT TO MONDAY AND TUESDAY'S EXAMINATION THAT

04:08PM    8       MR. LEACH DOESN'T HAVE, BUT IF THERE ARE, I WILL MAKE SURE HE

04:08PM    9       GETS THEM SO HE CAN LOOK AT THEM ALL DAY SUNDAY AND SEE WHAT

04:08PM   10       VIEW HE HAS.

04:08PM   11              I DON'T KNOW ALL OF WHAT THEY ARE, YOUR HONOR, TO BE

04:08PM   12       CANDID.    SO I'M NOT SITTING ON SOME TROVE OF DOCUMENTS, BUT

04:08PM   13       I --

04:08PM   14                    THE COURT:    I APPRECIATE THAT.

04:08PM   15              BUT YOUR TEAM MIGHT HAVE SOME KNOWLEDGE ABOUT THAT THAT

04:08PM   16       THEY COULD SHARE WITH YOU.

04:08PM   17                    MR. DOWNEY:    WELL, YOUR HONOR, IN FAIRNESS, I MEAN,

04:08PM   18       THEY JUST RESTED.     YOU KNOW, SOME OF THESE -- AND I GAVE THEM

04:08PM   19       THE DOCUMENTS BEFORE THEY RESTED.        I WANT TO BE COOPERATIVE

04:08PM   20       WITH HIM SO THAT WE CAN HAVE GOOD ORDER IN COURT.

04:08PM   21              I DON'T THINK THE WITNESS WILL BE ON CROSS-EXAMINATION

04:08PM   22       PROBABLY EVEN UNTIL NEXT WEEK, BUT IF HE HAS ISSUES RELATIVE TO

04:09PM   23       THE ADMISSIBILITY OR HE WANTS TO RAISE THOSE IN ADVANCE, I'LL

04:09PM   24       GET THEM TO HIM IN ADVANCE SO HE CAN --

04:09PM   25                    THE COURT:    WELL, THANK YOU.



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04:09PM    1             LET ME JUST SAY, YOU KNOW, YOU'VE BEEN -- BOTH SIDES HAVE

04:09PM    2       BEEN COOPERATIVE --

04:09PM    3                    MR. DOWNEY:    YES.

04:09PM    4                    THE COURT:    -- NOTWITHSTANDING MY COMMENTS.       AND MY

04:09PM    5       COMMENTS, YOU UNDERSTAND THE GENESIS OF MY COMMENTS IN TRYING

04:09PM    6       TO KEEP THE TRIAL GOING AND THAT TYPE OF THING.

04:09PM    7             BUT YOU BOTH HAVE BEEN VERY COOPERATIVE.

04:09PM    8             THE TRIALS HAVE -- AS MS. SAHARIA REMINDED ME THIS

04:09PM    9       MORNING, TRIALS ARE, THEY'RE A MOVEABLE FEAST.          AND THINGS

04:09PM   10       HAPPEN IN TRIALS.     WE ALL UNDERSTAND THAT.

04:09PM   11             AND SO I APPRECIATE YOUR EFFORTS, BOTH SIDES' EFFORTS TO

04:09PM   12       TAKE CARE OF THESE ISSUES AS BEST YOU CAN OUTSIDE OF COURT,

04:09PM   13       OUTSIDE OF THE JURY'S TIME, AND THAT'S REALLY WHAT WE'RE AFTER.

04:09PM   14                    MR. DOWNEY:    I UNDERSTAND THAT, YOUR HONOR.

04:09PM   15             AND JUST IN THE -- A COMMENT ON SORT OF A CASE MANAGEMENT

04:09PM   16       NATURE FOR YOUR HONOR.      I DON'T -- I HAVE IN MY MIND, WHICH I

04:09PM   17       WON'T SAY TO THE COURT, BUT I HAVE IN MIND HOW LONG I THINK THE

04:09PM   18       DEFENSE CASE WILL GO.

04:09PM   19             I THINK SORT OF CONSISTENT WITH THAT, MY EXPECTATION HAS

04:10PM   20       BEEN NOW THAT, YOU KNOW, THE DIRECT EXAMINATION MAY CONTINUE

04:10PM   21       THROUGH NEXT WEEK.      WE JUST HAVE, YOU KNOW, A DAY AND A HALF.

04:10PM   22                    THE COURT:    SURE.   RIGHT.

04:10PM   23                    MR. DOWNEY:    BUT IT DOESN'T -- I THINK WHERE WE ARE

04:10PM   24       DOES NOT CHANGE MY BASIC ESTIMATE OF HOW LONG THE DEFENSE CASE

04:10PM   25       IS LIKELY TO LAST.



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04:10PM    1                    THE COURT:    OKAY.   THANK YOU.   I APPRECIATE THAT.

04:10PM    2       THANK YOU.

04:10PM    3             ANYTHING FURTHER FROM YOUR SIDE, MR. LEACH?

04:10PM    4                    MR. LEACH:    NO, YOUR HONOR.

04:10PM    5                    MR. DOWNEY:    NOTHING FURTHER, YOUR HONOR.

04:10PM    6                    THE COURT:    OKAY.   HAVE A GOOD WEEKEND.

04:10PM    7                    MR. DOWNEY:    YOUR HONOR, CAN I JUST SAY ON THE

04:10PM    8       QUESTIONNAIRE ISSUE --

04:10PM    9                    THE COURT:    YEAH.

04:10PM   10                    MR. DOWNEY:    -- I WOULD LIKE TO LOOK AT THE ORDER.

04:10PM   11             THE ONLY QUESTION THAT REMAINS IN MY MIND IS -- AND I

04:10PM   12       DON'T KNOW IF THIS CONCERN WAS EXPRESSED OR NOT, BUT I JUST

04:10PM   13       WANT TO LOOK AT THE TRANSCRIPT -- I DON'T WANT TO TAKE THE

04:10PM   14       JURY'S TIME OR OUR TIME TO HAVE TO TALK TO THE JURY AGAIN, BUT

04:10PM   15       I HAVE THAT CONCERN.

04:10PM   16             SO I WANT TO SEE IF, ON ONE READING OF THE TRANSCRIPT

04:10PM   17       THAT'S UNNECESSARY, BUT LET ME TAKE A LOOK, AND IF THERE IS,

04:10PM   18       I'LL LET THE COURT KNOW ON MONDAY AND WE CAN DO IT AT SOME

04:10PM   19       POINT I SUPPOSE.

04:10PM   20                    THE COURT:    ARE YOU AND MR. SCHENK BUSY JUST NOW?

04:11PM   21                    MR. DOWNEY:    NO, NO, I'M AVAILABLE, YEAH.

04:11PM   22                    THE COURT:    ALL RIGHT.   THANK YOU.

04:11PM   23             MAYBE -- YOU CAN CHECK WITH MR. SCHENK TO SEE HIS

04:11PM   24       AVAILABILITY, AND MR. LEACH, BECAUSE I MIGHT HAVE COPIES

04:11PM   25       AVAILABLE.    LET ME CHECK AND SEE.



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04:11PM    1                    MR. DOWNEY:    NO, NO.   I HAVE THE -- MAYBE I'M NOT

04:11PM    2       MAKING MYSELF CLEAR.       MY RECOLLECTION OF THE --

04:11PM    3                    THE COURT:    NO, I'M GOING TO GIVE YOU A COPY OF THE

04:11PM    4       ORDER.

04:11PM    5                    MR. DOWNEY:    FAIR ENOUGH.    I'LL TAKE A LOOK AT IT

04:11PM    6       AND WE CAN SEE.

04:11PM    7                    THE COURT:    ALL RIGHT.   THANK YOU.

04:11PM    8                    MR. DOWNEY:    YES.

04:11PM    9                    MR. LEACH:    THANK YOU.

04:11PM   10                    THE CLERK:    COURT IS ADJOURNED.

04:11PM   11             (COURT ADJOURNED AT 4:11 P.M.)

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 3                              CERTIFICATE OF REPORTERS

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 6

 7             WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

 8       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9       CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10       HEREBY CERTIFY:

11             THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12       A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13       ABOVE-ENTITLED MATTER.

14

15
                                     ______________________________
16                                   IRENE RODRIGUEZ, CSR, CRR
                                     CERTIFICATE NUMBER 8076
17

18
                                     _______________________________
19                                   LEE-ANNE SHORTRIDGE, CSR, CRR
                                     CERTIFICATE NUMBER 9595
20

21                                   DATED:   NOVEMBER 19, 2021

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